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                       IN THE UNITED STATES DISTRICT COURT
17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
18
     MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
19   a Delaware corporation; and           )
     CERCACOR LABORATORIES, INC.,          ) JOINT PROPOSED
20   a Delaware corporation                ) JURY INSTRUCTIONS
                                           )
21            Plaintiffs,                  )
                                           ) Trial:             April 4, 2023
22       v.                                )
                                           ) Hon. James V. Selna
23   APPLE INC., a California corporation ))
24            Defendant.                   )
                                           )
25                                         )
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1                  APPLE’S PROPOSED INITIAL INSTRUCTION NO. 11
2                                          Duty of the Jury
3           Members of the jury: You are now the jury in this case. It is my duty to instruct
4    you on the law.
5           These instructions are preliminary instructions to help you understand the
6    principles that apply to civil trials and to help you understand the evidence as you listen
7    to it. At the end of the trial, I will give you a final set of instructions. It is the final set
8    of instructions that will govern your deliberations.
9           It is your duty to find the facts from all the evidence in the case. To those facts
10   you will apply the law as I give it to you. You must follow the law as I give it to you
11   whether you agree with the law or not. And you must not be influenced by any personal
12   likes or dislikes, opinions, prejudices, or sympathy. Nor may you consider the overall
13   wealth or size of any party, because that is not relevant to any of the issues you must
14   decide. That means that you must decide the case solely on the evidence before you.
15   You will recall that you took an oath to do so.
16          Please do not read into these instructions, or anything I may say or do, that I have
17   an opinion regarding the evidence or what your verdict should be.
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      Authority: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
27   Circuit § 1.3; Judge Selna’s Exemplar Initial Jury Instructions No. 1; CACI 117
28   (adapted).

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1                        Apple’s Position: Proposed Instruction No. 1
2          Apple respectfully requests that the Court include in its first initial instruction on
3    the jury’s duty of impartiality an adaptation of the CACI 117 model instruction
4    admonishing the jurors not to consider the wealth or size of any party. See Proposed
5    Initial Instruction No. 1, lines 12-13. Apple objects to Plaintiffs’ counter-proposal
6    because it does not include this important language.
7          As Plaintiffs argued in opposition to Apple’s motion in limine No. 2, “there is no
8    practical way to prevent the jury from knowing that Apple is a huge company with
9    significant financial resources” with a “market capitalization” that makes it “the biggest
10   company in the world.” Dkt. 1342-1 at 13. Therefore, even though the Court’s order
11   granting Apple’s motion in limine precludes Plaintiffs from affirmatively offering
12   evidence or argument concerning Apple’s overall wealth or size, because it would be
13   irrelevant, see Dkt. 1439 at 3, the cautionary language in Apple’s proposed instruction
14   is necessary to limit any bias that may arise from jurors’ knowledge of Apple’s overall
15   financial resources and size. Indeed, the Supreme Court has recognized that knowledge
16   of “a defendant’s net worth creates the potential that juries will use their verdicts to
17   express biases against big businesses,” and it cautioned that “[v]ague instructions, or
18   those that merely inform the jury to avoid ‘passion or prejudice’ do little to aid the
19   decisionmaker.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 417 (2003).
20         Apple properly substituted “size” for CACI 117’s reference to the “poverty” of a
21   party. A reference to “poverty” has no applicability here, so using that term could only
22   confuse the jury. By contrast, the Court has already concluded that Apple’s overall size
23   is irrelevant, and nothing in Apple’s proposed instruction suggests that the jury should
24   disregard the only potentially relevant aspect facts about Apple’s resources, i.e., “the
25   size and resources of Apple’s teams that worked on or in relation to the alleged
26   misappropriated trade secrets.” Dkt. 1439 at 3.
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1            Masimo’s Objections to Apple’s Proposed Initial Instruction No. 1
2          Masimo defers to the Court’s standard preliminary instruction on this issue.
3    Apple’s proposal modified the Ninth Circuit model instruction but combined it with part
4    of CACI No. 117 and then modified the latter. The Court should reject Apple’s proposal.
5          Apple adds the following sentence: “Nor may you consider the overall wealth or
6    size of any party, since that is not relevant to any of the issues that you must decide.”
7    Apple’s addition would significantly expand the scope of this Court’s ruling on Apple’s
8    motion in limine No. 2.
9          The Court held that Apple’s overall size and financial resources are “largely
10   irrelevant” to the issues in this case. See Dkt. 1439 at 3. However, the Court specifically
11   held that Masimo may “present evidence regarding the size and resources of Apple’s
12   teams that worked on or in relation to the alleged misappropriated trade secrets.” Id.
13   The Court found that “testimony about the size of the hardware team working on the
14   Apple Watch is relevant to how quickly Apple could have discovered the trade secrets
15   on its own.” Id. Thus, Apple’s additional sentence would instruct the jury to disregard
16   evidence the Court already determined may be relevant.
17         Moreover, Apple’s reference to “the wealth or size of any party” differs materially
18   from the model instruction on which Apple relies. Apple cites an instruction regarding
19   “the wealth or poverty of any party.” CACI No. 117 (emphasis added). This instruction
20   aims to curb “a deliberate attempt by counsel to appeal to social or economic prejudices
21   of the jury, including the wealth or poverty of the litigants.” CACI No. 117 Sources and
22   Authority (citing Hoffman v. Brandt, 65 Cal. 2d 549, 552–553 (1966)). Masimo is a
23   billion-dollar company that is hardly going to curry jury sympathy by claiming poverty.
24   By substituting “size” for “poverty” Apple seeks to misuse an instruction created for a
25   specific purpose to exclude consideration of potentially relevant evidence.
26         Apple’s cited case, State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,
27   417 (2003), does not support its proposed instruction. Campbell does not address jury
28   instructions at all. Instead, Campbell addressed the propriety of a punitive damages
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1    award against an insurance company in a fraud case brought by individual defendants.
2    Id. at 417.     In dicta, the Supreme Court noted “the presentation of evidence of
3    defendant’s net worth creates the potential that juries will use their verdicts to express
4    biases against big businesses.” Id. Here, however, Masimo will not be presenting
5    evidence of Apple’s net worth. Further, both parties are large businesses. Thus, there
6    is little concern the jury will express a bias against big business by favoring one side.
7          Apple’s proposed placement of its added sentence within the instruction would
8    also cause additional confusion. Apple inserts its sentence immediately before the
9    statement: “You will recall that you took an oath promising to do so at the beginning of
10   the case.” The jury will not have taken an oath to avoid considering the wealth or size
11   of any party.
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1                 MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 2A2
2                                      Claims and Defenses
3            To help you follow the evidence, I will give you a brief summary of the positions
4    of the parties:
5            The Plaintiffs in this case are Masimo Corporation and Cercacor Laboratories,
6    Inc. The Defendant is Apple Inc. Masimo and Cercacor assert claims for trade secret
7    misappropriation, correction of inventorship on patents, and ownership of patents.
8            Masimo and Cercacor assert that Apple hired former Masimo and Cercacor
9    employees and improperly obtained Masimo and Cercacor’s Asserted Trade Secrets
10   from them. Specifically, Masimo and Cercacor assert that Apple misappropriated the
11   Asserted Trade Secrets through two former employees that Apple recruited, Marcelo
12   Lamego and Michael O’Reilly. Masimo and Cercacor assert that Apple used the
13   Asserted Trade Secrets to develop products, market products, and obtain patents.
14           The Asserted Trade Secrets and patents relate generally to
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17                     The Asserted Trade Secrets also relate to business and marketing
18   strategies for
19                                                    .
20           Masimo and Cercacor assert that Apple filed patent applications on subject matter
21   that Marcelo Lamego obtained from Masimo and Cercacor employees during his
22   employment at those companies. Masimo and Cercacor assert that their employees who
23   disclosed this subject matter to Lamego should be added as named inventors to the patent
24   applications that Apple filed.
25           Masimo and Cercacor assert that their employees who disclosed the patented
26   subject matter to Marcelo Lamego, and Marcelo Lamego himself, contributed to the
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28       Authority: Judge Selna’s Exemplar Initial Jury Instructions No. 2

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1    claimed inventions while under an obligation to assign patent rights to Masimo and/or
2    Cercacor.
3          Masimo and Cercacor have the burden of proof on these claims.
4          Apple denies all of Plaintiffs’ claims. Apple contends the alleged trade secrets
5    are not trade secrets under California law. Apple contends it did not misappropriate any
6    of this information, and instead independently discovered the information. Apple also
7    disputes Masimo and Cercacor’s theories of harm, lost profits, and unjust enrichment.
8          Apple also asserts a defense to the claim for misappropriation of trade secrets.
9    Apple contends that Masimo and Cercacor waited too long to file this lawsuit. Apple
10   has the burden of proof on this defense.
11         Apple contends that no Masimo or Cercacor employees are inventors of the
12   disputed patents, and that neither Masimo nor Cercacor is a joint owner of those patents,
13   because Apple employees invented the subject matter claimed in the disputed patents.
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1                 Masimo’s Argument: Proposed Initial Instruction No. 2A
2          The Court should adopt Masimo’s proposed instruction because it recites, in
3    neutral and balanced language, the claims and defenses the jury will be asked to resolve
4    (subject to any revisions as a result of motions for judgment as a matter of law).
5          The Court should reject Apple’s proposed instruction because it presents a one-
6    sided description of the parties’ positions.         For example, Apple’s instruction
7    misrepresents Masimo’s trade secret claim as limited to “that Apple disclosed certain
8    alleged secrets in patents, and that Apple used other alleged secrets.” Masimo alleges
9    that Apple misappropriated trade secrets by acquisition, use, and disclosure. Masimo
10   also alleges that Apple misused some trade secrets by including them in patents and by
11   using the same trade secret. Apple’s proposal also includes burdensome details about
12   its denials that may confuse the jury before the jury has been instructed on the law of
13   trade secrets (e.g. “including because the information was generally known,” “did not
14   misappropriate Plaintiffs’ alleged trade secrets including because Apple independently
15   developed the information that Plaintiffs allege Apple misappropriated,” and “Apple
16   further disputes that the alleged misappropriation was a substantial cause of any unjust
17   enrichment to Apple”). Such language does not belong in this instruction, which aims
18   to succinctly recite the claims and defenses of the parties.
19         Apple’s proposed instruction describes a readily ascertainable defense that Apple
20   agrees is no longer available pursuant to the Court’s prior ruling. See Dkt. 1284 at 4.
21   Apple’s proposed instruction also describes Apple’s unclean hands defense, which may
22   not be presented to the jury.
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1                 APPLE’S PROPOSED INITIAL INSTRUCTION NO. 2B3
2                                      Claims and Defenses
3           To help you follow the evidence, I will give you a brief summary of the positions
4    of the parties:
5           The Plaintiffs in this case are Masimo Corporation and Cercacor Laboratories,
6    Inc. The Defendant is Apple Inc.
7           Masimo and Cercacor allege that Apple improperly obtained their trade secret
8    information through hiring two of their former employees (Marcelo Lamego and
9    Michael O’Reilly), that Apple disclosed certain alleged secrets in patents, and that used
10   other alleged secrets.
11          Masimo and Cercacor also assert that Apple filed patents that claim inventions to
12   which Masimo and Cercacor employees contributed, and those employees should be
13   added as named inventors. Masimo and Cercacor allege they should be part owners of
14   those patents.
15          Masimo and Cercacor seek monetary damages for Apple’s alleged trade secret
16   misappropriation. Masimo and Cercacor have the burden of proof on all of their claims.
17          Apple denies all of Plaintiffs’ claims. Apple contends that the alleged trade
18   secrets do not meet the definition of trade secrets under California law, including
19   because the information was generally known to the public and industry participants.
20   Apple contends that it did not misappropriate Plaintiffs’ alleged trade secrets, including
21   because Apple independently developed the information that Plaintiffs allege Apple
22   misappropriated.    Apple further disputes that the alleged misappropriation was a
23   substantial cause of any unjust enrichment to Apple.4
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      Authority: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
26   Circuit § 1.5; Judge Selna’s Exemplar Initial Jury Instructions No. 2.
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27    As detailed in Apple’s March 17, 2023 memorandum, Plaintiffs’ untimely disclosure
     of their lost profits theory on March 15, 2023 is insufficient to support a request for lost
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1          Apple has also asserted a number of defenses to the claim for misappropriation of
2    trade secrets. Apple contends that Masimo and Cercacor did not file this lawsuit within
3    the time permitted by law, that they are not entitled to obtain relief because they have
4    unclean hands, and that the information alleged to be trade secrets was readily
5    ascertainable by proper means. Apple has the burden of proof on these defenses.
6          Apple also contends that Plaintiffs’ employees should not be added as co-
7    inventors to the disputed patents and that neither Masimo nor Cercacor is a joint owner
8    of those patents.
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26   on profits. Apple does not believe Plaintiffs have properly disclosed an admissible lost
     profits theory. To the extent the Court disagrees, and Plaintiffs are permitted to seek
27   lost profits damages, the language “lost profits for Plaintiffs or” should be inserted
28   before the phrase “unjust enrichment to Apple.”

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1                        Apple’s Position: Proposed Instruction No. 2B
2          Apple’s instruction provides a brief, neutrally worded introduction to the basic
3    positions of the parties.     It is consistent with this Court’s exemplar initial jury
4    instructions and other, similar summary instructions that this Court has delivered at the
5    start of recent trials. See, e.g., Instruction No. 2, B12 Consulting, LLC v. UST Global,
6    Inc., No. SACV 2-1773 (C.D. Cal. Aug. 24, 2022) (Selna, J.).
7          Plaintiffs’ counter-proposal has several flaws.
8          First, Apple objects to factual inaccuracies in some of its statements about
9    Plaintiffs’ claims. For instance, the paragraph beginning on page 1, line 14 incorrectly
10   suggests that all the alleged trade secrets relate both to
11                                 and to business and marketing strategies. However, these
12   are distinct categories of trade secrets without any overlap. Plaintiffs’ descriptions of
13   their purported allegations of “use” are similarly vague and inconsistent with the record.
14         Second, Apple objects to Plaintiffs’ counter-proposal’s vague, incomplete, and
15   inaccurate information about Apple’s defenses.          For instance, Plaintiffs’ counter-
16   proposal fails to mention Apple’s unclean hands defense, and it inaccurately portrays
17   Apple’s independent development defense as the only grounds on which Apple disputes
18   misappropriation.
19         If the Court decides not to charge the jury on any specific claim or defense
20   currently listed in the proposed instruction (e.g., Apple’s readily ascertainable defense),
21   Apple requests that the Court delete that specific language from the proposed instruction
22   but otherwise use the instruction as is.
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1               MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 3A5
2                            Court Procedures Are Not Evidence
3          This action involves allegations that certain information is subject to protection
4    as trade secrets. To protect this information from public disclosure, the Court has taken
5    certain precautions to prevent public access to the information, for example by removing
6    members of the public from the courtroom and sealing the courtroom. You are reminded
7    that Masimo and Cercacor bear the burden of proving all elements of their claim for
8    misappropriation of trade secrets, as in instruction number [insert]. When evaluating
9    whether Masimo and Cercacor have satisfied this burden, you are not permitted to take
10   into account, or consider in any way, the fact that the Court took such precautions.
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      Authority: Guideline No. 8, The Sedona Conference Commentary on Protecting Trade
27   Secrets in Litigation About Them at 20 (Mar. 2022), https://tinyurl.com/mvx8m4kn
28   (adapted).

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1                  Masimo’s Argument: Proposed Initial Instruction No. 3A
2          Masimo’s proposed instruction adheres to the exact language of the Sedona
3    Conference Commentary on Protecting Trade Secrets in Litigation About Them, at
4    Guideline No. 8. Apple’s proposal purports to be based on the same source, but bears
5    little resemblance to the model instruction. The Court should adopt Masimo’s proposed
6    instruction. The model instruction reads as follows:
7          This action involves allegations that certain materials are subject to protection as
8    trade secrets. To protect this information from public disclosure, the court has [describe
9    protections]. The jury is reminded that [the party asserting the trade secret] bears the
10   burden of proving all elements of its claim for misappropriation of trade secrets, as
11   explained in instruction number [insert]. When evaluating whether [the party asserting
12   the trade secret] has satisfied this burden, the jury is not permitted to take into account,
13   or consider in any way, the fact that the court [describe protections].
14         Id. The article explains that this instruction “makes the jury aware that the
15   restrictions themselves are not to be considered when determining whether the party
16   asserting the trade secret has satisfied its burden to establish the existence of the trade
17   secrets at issue.” Id.
18         Instead of focusing on Court procedures generally, or closing the courtroom
19   specifically, Apple proposes a confusing instruction regarding the jury’s role in deciding
20   trade secret protection (“while the issue of whether this information is actually subject
21   to protection as trade secrets is being decided by you”). Apple’s proposed language also
22   unfairly suggests trade secret protection does not, or is unlikely to, exist. For example,
23   “whether this information is actually subject to protection as trade secrets,” “that any
24   information actually qualifies as a trade secret,” “whether any information actually
25   qualifies as a trade secret,” if “the alleged trade secrets were in fact trade secrets,” and
26   “that any information in the document is actually confidential.” Apple’s attempt to
27   modify this instruction to bias the jury is inappropriate, particularly when other
28   instructions address those issues.
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1          Apple’s proposal also adds misleading language about confidentiality
2    designations on documents (“You also may see documents that include confidentiality
3    stamps at the bottom of the page that the attorneys to this case have added.”). This
4    language may mislead the jury because many of the parties’ documents include
5    confidentiality designations in the ordinary course of business that were not added by
6    the attorneys.
7          Apple’s proposal also adds repeated admonitions for the jury not to consider the
8    Court’s procedures. Apple’s repetitious language is unnecessary and risks biasing the
9    jury against Masimo. A single admonition is sufficient to instruct the jury on this point.
10   The Court should reject Apple’s proposal.
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1                  APPLE’S PROPOSED INITIAL INSTRUCTION NO. 3B6
2                             Court Procedures Are Not Evidence
3          This action involves allegations that certain information is subject to protection
4    as trade secrets. To protect this information from public disclosure while the issue of
5    whether this information is actually subject to protection as trade secrets is being decided
6    by you, the Court will times seal the courtroom and limit the ability for the attorneys and
7    witnesses to say certain details in front of the public. You also may see documents that
8    include confidentiality stamps at the bottom of the page that the attorneys to this case
9    have added.
10         You should make no inference from these measures that any information actually
11   qualifies as a trade secret as Plaintiffs contend. Nor should you make any inference from
12   my sealing the courtroom or permitting any other measures that the Court has any
13   opinion on whether any information actually qualifies as a trade secret.             These
14   precautions are standard practice in a case such as this and are taken in order to preserve
15   the possibility that the information qualifies as a trade secret, which will be for you to
16   decide.
17         As I will instruct you at the end of the trial, Masimo and Cercacor bear the burden
18   of proving all elements of their claim for misappropriation of trade secrets, including
19   that the alleged trade secrets were in fact trade secrets. When evaluating whether
20   Masimo and Cercacor have satisfied this burden, you are not permitted to take into
21   account, or consider in any way, the fact that the Court may occasionally seal the
22   courtroom from the public or take other precautions to prevent public access to certain
23   information. That is, whether the courtroom is sealed has no relevance to whether the
24   evidence provided during sealing is a trade secret, or not. And while the attorneys to
25   this case have added confidentiality stamps to the bottom of certain documents, you
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27   6
       Authority: The Sedona Conference, Commentary on Protecting Trade Secrets in
28   Litigation About Them, 23 Sedona Conf. J. 741, 788-789 (2022) (adapted).

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1    should make no inference from that stamp that any information in the document is
2    actually confidential.
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1                          Apple’s Position: Proposed Instruction No. 3B
2          This instruction is designed to minimize any risk of unfair prejudice arising from
3    the Court’s treatment of Plaintiffs’ alleged trade secrets as highly confidential through
4    measures visible to the jury (e.g., sealing the courtroom). Since such orders will come
5    from the Court, “restrictions like sealing the courtroom could send a message to the jury
6    that the information at issue is a trade secret, even though that determination may be in
7    the jury’s hands.” The Sedona Conference, Commentary on Protecting Trade Secrets
8    in Litigation About Them, 23 Sedona Conf. J. 741, 787 (2022). Commentaries on the
9    management of trade secret litigation recognize the risk “that the jury may draw”
10   “improper inferences” from court orders regarding confidentiality. Id. at 788-799.
11   Apple’s Proposed Instruction No. 3B is adapted from the model instruction proposed by
12   the trade secrets working group of the Sedona Conference. See id.
13         Plaintiffs agree that this type of instruction is necessary, but Apple objects to their
14   formulation because it does not go far enough. It describes only sealing the courtroom
15   and not other measures taken by this Court to ensure confidentiality that may have the
16   unintended effect of priming the jury to think that the Court has made a substantive legal
17   determination about the validity of Plaintiffs’ claims.
18         Plaintiffs provide no clear explanation for why this Court’s instruction should be
19   limited to the Sedona Conference’s language; even the model instruction itself assumes
20   that the parties will fill in case-specific details. Apple’s proposed instruction, for
21   example, adds several examples of the kinds of confidentiality procedures that the jury
22   may not consider—information that the instruction itself calls for (“[describe
23   protections]”). Apple’s proposed instruction also describes more specifically how the
24   jury should understand Plaintiffs’ burden of proof in light of the confidentiality
25   procedures. Plaintiffs do not dispute that Apple’s explanation is accurate and covers the
26   same basic topics that are already addressed by the model.
27         Apple respectfully submits that its proposed instruction is clearer and will be more
28   useful to the jury.
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1               MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 4A7
2                                         Taking Notes
3          If you wish, you may take notes to help you remember the evidence. If you do
4    take notes, please keep them to yourself until you and your fellow jurors go to the jury
5    room to decide the case. Do not let note-taking distract you. When you leave, your
6    notes should be left in the courtroom. No one will read your notes. They will be
7    destroyed at the conclusion of the case.
8          Whether or not you take notes, you should rely on your own memory of the
9    evidence. Notes are only to assist your memory. You should not be overly influenced
10   by your notes or those of your fellow jurors.
11         You will each be provided with a juror notebook for your individual use. The
12   notebook includes descriptions of the Asserted Trade Secrets that Masimo and Cercacor
13   claim Apple misappropriated. The law requires a trade secret plaintiff to provide a
14   written description of the trade secrets being asserted during the litigation so that the
15   defendant knows what it is accused of misappropriating. Those descriptions appear in
16   your juror notebook.
17         The juror notebook will also include a list of the patents at issue.
18         Over the course of the trial, the parties will provide for you pictures of the
19   witnesses before they testify whether live or by video. You may place these pictures in
20   your juror notebook.
21         You may take notes in this book as well. When you leave, your notebook should
22   be left in the courtroom. No one will read your notebook. You will be required to return
23   the notebook at the end of the case. It will be destroyed at the conclusion of the case.
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       Authority: Judge Selna’s Exemplar Initial Jury Instructions No. 12 [modified,
28   paragraph on juror notebook added]

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1                 Masimo’s Argument: Proposed Initial Instruction No. 4A
2          The parties dispute the contents of the juror notebook. Apple proposes including
3    copies of the patents that are the subject of Masimo’s inventorship and ownership claims,
4    as well as a “decision flowchart.” Masimo objects to the inclusion of those two items in
5    the juror notebook. The juror notebook should not contain an overwhelming amount of
6    information. Including the patents in the juror notebook would dramatically expand the
7    contents of the notebook and would unnecessarily overwhelm the jury. The patents will
8    be provided to the jury as part of the evidence in the case. The juror notebook need only
9    list the patent numbers.
10         Masimo also objects to Apple’s purported flowchart.          Apple’s flowchart is
11   inconsistent with Masimo’s allegations and the evidence in this case. It is missing
12   Masimo’s    claim    of    misappropriation by     acquisition,   Masimo’s    claims   of
13   misappropriation by disclosure or use via respondeat superior, and any mention of
14   Apple’s willful misappropriation. Moreover, Apple’s flowchart is visually one-sided
15   because it provides a far easier path to mark “No” (for Apple) than it does the “Yes” (for
16   Masimo). And even where a juror would follow the “Yes” path, they would not end up
17   with an answer favorable to Masimo. The only two final answers are “This Alleged
18   Trade Secret Fails” or “You Now Need To Consider Apple’s Defenses.” Apple’s
19   flowchart is misleading and highly prejudicial to Masimo. Providing this flowchart to
20   the jury will only serve to confuse and bias the jury in favor of Apple throughout the
21   evidence presentation.
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1                  APPLE’S PROPOSED INITIAL INSTRUCTION NO. 4B8
2                                           Taking Notes
3            If you wish, you may take notes to help you remember the evidence. If you do
4    take notes, please keep them to yourself until you and your fellow jurors go to the jury
5    room to decide the case. Do not let note-taking distract you. When you leave, your
6    notes should be left in the courtroom. No one will read your notes. They will be
7    destroyed at the conclusion of the case.
8            Whether or not you take notes, you should rely on your own memory of the
9    evidence. Notes are only to assist your memory. You should not be overly influenced
10   by your notes or those of your fellow jurors.
11           You will each be provided with a juror notebook for your individual use.
12           The notebook contains four tabs.
13           Behind the first tab is lined paper for you to take any notes you wish. If you need
14   more paper for notes, please let [name] know and more will be provided.
15           Behind the second tab the notebook includes the alleged trade secrets that Masimo
16   and Cercacor claim Apple misappropriated. The law requires a trade secret plaintiff to
17   provide the defendant during the litigation with a written description of the alleged trade
18   secrets being asserted so that the defendant knows what it is accused of
19   misappropriating. Masimo and Cercacor produced written descriptions of the alleged
20   trade secrets to Apple, and those are the descriptions that appear in your juror notebook
21   behind the second tab.
22           Behind the third tab are copies of the patents that are the subject of Plaintiffs’
23   claims regarding inventorship and ownership.
24           Behind the fourth tab is a flow chart that illustrates the decisions you will have to
25   make during your deliberations at the end of the case.
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28       Authority: Judge Selna’s Exemplar Initial Jury Instructions No. 12 (modified).

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1          Lastly, there is a fifth tab. Over the course of the trial, the parties will provide for
2    you pictures of the witnesses before they testify whether live or by video. You may put
3    the witness pictures behind the fourth tab. You may take notes anywhere you want in
4    this notebook as well. When you leave, your notebook should be left in the courtroom.
5    No one will read your notebook. You will be required to return the notebook at the end
6    of the case. It will be destroyed at the conclusion of the case.
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1                        Apple’s Position: Proposed Instruction No. 4B
2          The parties’ proposed initial instructions on notetaking differ in two ways. First,
3    Apple proposes to provide the jury with more information about the content of their juror
4    notebooks. Second, Apple proposes to include copies of the disputed patents in the
5    jurors’ notebooks, rather than just a list of the patents. Providing the jurors copies of the
6    patents will assist their understanding of the testimony and evidence as it comes in, since
7    the language of those patents is important to the parties’ claims and defenses. Plaintiffs’
8    proposed list, by contrast, would have only marginal value to the jurors.
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1               MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 5A9
2                                Trade Secret and Patent Basics
3          This case involves intellectual property rights and both trade secret and patent
4    law. To help you understand the evidence as it is presented, I will now give you a brief
5    overview of aspects of trade secret law and patent law and explain a few ways in which
6    they differ.
7          Trade secrets can be any type of information that has value from not being
8    generally known to the public or those in a relevant field. A trade secret can be any
9    information—such as a formula, pattern, compilation, program, device, method,
10   technique, or process—that has independent economic value from not being generally
11   known and is the subject of reasonable efforts to maintain its secrecy. Trade secrets do
12   not need to be registered with the government or written down. Information can be a
13   trade secret even if it has been published, including on the internet. A trade secret
14   plaintiff need not be the only, or even the first, to develop the trade secret if the
15   information is protectable and the defendant misappropriated it from the plaintiff.
16         By contrast, patents can be only on new inventions that are not obvious to those
17   in the field. A patent gives the right to prevent others from making, using, offering to
18   sell, selling, or importing the invention without the patent holder’s permission. In return
19   for these exclusive rights, the patent law requires the inventor to disclose the invention
20   to the public.
21         Protecting trade secrets and patents encourages innovation, but protecting trade
22   secrets also promotes business ethics and integrity. Trade secret law prohibits misuse
23   of the trade secret only by those who obtained it improperly or in confidence. Trade
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       Authority: Cal. Civ. Code § 3426.1(d); Kewanee Oil Co. v. Bicron Corp., 416 U.S.
26   470, 476-78 (1974); Brown v. 3M, 265 F.3d 1349, 1351 (Fed. Cir. 2001); Sinclair v.
     Aquarius Elecs., Inc., 42 Cal. App. 3d 216, 222 (1974); DVD Copy Control Ass’n., Inc.
27   v. Bunner, 31 Cal. 4th 864, 881 (2003); Imi-Tech v. Gagliani, 691 F. Supp. 214, 231
28   (S.D. Cal. 1986).

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1    secret law punishes misuse even if the trade secret could have been obtained ethically
2    and honestly. Whereas trade secret law does not prohibit discovery of the trade secret
3    by fair and honest means, such as by independent invention or by reverse engineering.
4          During the trial, the parties will familiarize you with the technology and business
5    information at issue. For your convenience, your Juror Notebooks will include a
6    description of the asserted trade secrets and a list of the patents at issue.
7          This is a general overview of patent law and trade secret law to provide you some
8    context for the evidence you will hear in this trial. At the close of the evidence, I will
9    give you more detailed instructions on aspects of trade secret law and patent law that
10   you will need to apply to reach a verdict in this case.
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1                  Masimo’s Argument: Proposed Initial Instruction No. 5A
2          Neither party bases this instruction on a model. But both agree some instruction
3    is required to educate the jury on trade secrets and patent law as they relate to this case.
4    Apple’s proposed instruction contains incorrect statements of the law and extraneous
5    detail that risk confusing the jury on legal concepts that are not even at issue in this case.
6          Apple claims “Once published, the information in a patent cannot be a trade
7    secret—because public information is not secret.” This is contrary to settled law,
8    including this Court’s prior holdings. First, there is no “secrecy” requirement in trade
9    secret law—only that it have independent economic value from not being generally
10   known to the public or to other persons who can obtain economic value from its
11   disclosure or use. Cal. Civ. Code § 3426.1(d). The statute mentions “secrecy” only as
12   part of the requirement that a trade secret “[i]s the subject of efforts that are reasonable
13   under the circumstances to maintain its secrecy.” Cal. Civ. Code. § 3426.1(d)(2).
14         Second, this Court previously held that “techniques described in articles published
15   as conference papers does not render the technique ‘generally known’ to individuals who
16   could obtain value from the techniques.” Dkt. 1284 at 6. (citing Masimo Corp. v. True
17   Wearables Inc., 2021 WL 2548690, at *4 (C.D. Cal. Apr. 28, 2021)).                    Indeed,
18   “publication does not mean the subject matter is generally known under CUTSA.”
19   Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396, at *15 (C.D. Cal., Nov. 7,
20   2022).
21         Apple also describes irrelevant patent prosecution and examination procedures:
22         To obtain a patent, one must first file an application with the PTO. The
23         PTO is an agency of the federal government and employs trained
24         Examiners who review applications for patents. Among other things, the
25         Examiner reviews certain information about the state of the technology at
26         the time the application was filed to determine whether the invention is
27         truly an advance over the state of the art at the time.
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1    None of these procedures are relevant to this case and should not be included in this
2    instruction.
3          Apple also claims that “trade secrets are—as their name suggests—secret,” “a
4    trade secret must derive independent economic value from being maintained as a secret,”
5    and that “information disclosed in a patent is no longer entitled to trade secret
6    protection.” As discussed above, there is no secrecy requirement in trade secret law,
7    and a patent publication does not preclude trade secret protection.
8          Apple’s proposed instruction claims that “patent law provides a patent holder with
9    the exclusive right to make or sell a patented technology.” This is not only irrelevant to
10   the claims of this case, but it is also incorrect. Patent law provides a patent holder with
11   the right to exclude others from making or selling the patented technology.
12         Apple objects that Masimo’s proposal uses “morally weighted terminology, such
13   as ‘ethically and honestly,’ ‘misuse,’ and ‘fair and honest.’” But this language will assist
14   the jury in understanding the difference between the purpose of patent law (promoting
15   the progress of science and the useful arts) and the purpose of trade secret law (“the
16   maintenance of standards of commercial ethics and the encouragement of invention are
17   the broadly stated policies behind trade secret law”). See Kewanee Oil Co. v. Bicron
18   Corp., 416 U.S. 470, 480–82 (1974) (discussing the objectives of patent and trade secret
19   law). Such an instruction would provide the jury helpful context when the jury evaluates
20   Masimo’s trade secret and patent inventorship/ownership claims.
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1                APPLE’S PROPOSED INITIAL INSTRUCTION NO. 5B10
2                          Overview of Patent and Trade Secret Law
3          In this case, you will be hearing about different types of intellectual property
4    rights. To help you understand the evidence as it is presented, I will now give you a
5    brief overview of patent and trade secret law and explain a few ways in which they differ.
6          Patents are granted by the United States Patent and Trademark Office (sometimes
7    called “the PTO”). To obtain a patent, one must first file an application with the PTO.
8    The PTO is an agency of the federal government and employs trained Examiners who
9    review applications for patents. Among other things, the Examiner reviews certain
10   information about the state of the technology at the time the application was filed to
11   determine whether the invention is truly an advance over the state of the art at the time.
12   A valid United States patent gives the patent holder the right for a certain period of time
13   to prevent others from making, using, offering to sell, or selling the patented invention
14   within the United States, or from importing it into the United States, without the patent
15   holder’s permission. In return for these exclusive rights, the patent law imposes upon
16   the inventor a requirement of public disclosure, so the PTO publishes patents, including
17   a full and clear description of the invention and of the manner and process of making
18   and using it. Once published, the information in a patent cannot be a trade secret—
19   because public information is not secret.
20         Unlike patents, which are public, trade secrets are—as their name suggests—
21   secret. Thus, in contrast to patents, trade secret law provides businesses with a different
22   form of protection for certain secret information. A trade secret is information—such
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       Authority: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § A.1 (2020);
25   Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 480-481 (1974); Jury Instruction,
26   United States v. Roberts, No. 3:08-cr-175 (E.D. Tenn., Dec. 8, 2010) Dkt. Nos. 147 at
     111:13-15; Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020) (quoting Ultimax
27   Cement Mfg. Co. v. CTS Cement Mfg. Co., 587 F.3d 1339, 1355-1356 (Fed. Cir. 2009));
28   Cal. Civ. Code § 3426.1; Trade Secret, Black’s Law Dictionary (11th ed. 2019).

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1    as a formula, pattern, compilation, program, device, method, technique, or process—that
2    a company keeps confidential to maintain an advantage over competitors. While a trade
3    secret need not be a new invention as is required to receive a patent, a trade secret must
4    derive independent economic value from being maintained as a secret, that is from not
5    being generally known by others who can obtain economic value from its disclosure or
6    use. As I mentioned earlier, information disclosed in a patent is no longer entitled to
7    trade secret protection, because such information is in the public domain. Unlike with a
8    patent, a business does not need to register or publish a trade secret with the government;
9    instead, the business must use reasonable efforts to maintain the secrecy of the business
10   information it seeks to protect as a trade secret. And whereas patent law provides a
11   patent holder with the exclusive right to make or sell a patented technology—even if a
12   competitor has independently developed the same technology—trade secret law only
13   prohibits competitors from misappropriating a company’s trade secrets by acquiring
14   them through improper means, such as through theft or by breaking a nondisclosure
15   agreement.
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1                       Apple’s Position: Proposed Instruction No. 5B
2          In order to equip the jury to decide Plaintiffs’ inventorship and ownership claims,
3    Apple believes it is important to describe (1) the basic rights and requirements associated
4    with obtaining a patent, (2) the rights and requirements associated with a protectable
5    trade secret under California law, and (3) the differences between these ways that a
6    business can protect its intellectual property rights. Apple’s proposed instruction is
7    adapted from the Federal Circuit Bar Association’s model patent overview instruction.
8          Plaintiffs’ legal objections to Apple’s proposed instruction are unavailing. First,
9    Plaintiffs object to the statement that “[o]nce published, the information in a patent
10   cannot be a trade secret—because public information is not secret.” But it is the “well
11   settled” rule in the Ninth and Federal Circuits that information published in patents and
12   patent applications is generally known. See Attia v. Google LLC, 983 F.3d 420, 426 (9th
13   Cir. 2020) (citing Ultimax Cement Mfg. Co. v. CTS Cement Mfg. Co., 587 F.3d 1339,
14   1355-1356 (Fed. Cir. 2009)). Indeed, an authority Plaintiffs cite in their own Proposed
15   Final Instruction No. 41A (“Overview of Patent Law”) states that if information were
16   published in a patent, “trade secret protection would be extinguished.” SkinMedica, Inc.
17   v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012). And although Plaintiffs
18   rely on this Court’s decision in True Wearables, the Federal Circuit expressly confirmed
19   on appeal that “information ‘disclosed in a patent’ is ‘generally known to the public’ for
20   purposes of the CUTSA.” Masimo Corp. v. True Wearables, Inc., 2022 WL 205485, at
21   *3 (Fed. Cir. Jan. 24, 2022).
22         Second, Plaintiffs object to Apple’s use of the word “secret,” arguing that “there
23   is no secrecy requirement in trade secret law.” But Plaintiffs do not cite any decision
24   from any jurisdiction supporting their contention that a trade secret need not be secret.
25   To the contrary, it is fundamental that “[t]he first element” in the definition of a trade
26   secret “is the crucial one…: in order to qualify as a trade secret, the information ‘must
27   be secret, and must not be of public knowledge or of a general knowledge in the trade
28   or business.’” DVD Copy Control Assn., Inc. v. Bunner, 116 Cal. App. 4th 241, 251
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1    (2004). Indeed, this Court has previously delivered a version of CACI 4403 (“Secrecy
2    Requirement”), which Apple also relies on for its proposed final instruction on the
3    secrecy requirement. See, e.g., Instruction No. 29, InfoSpan, Inc. v. Emirates NBD Bank
4    PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.). Plaintiffs also
5    incorrectly suggest that the “secrecy” requirement refers to the reasonable efforts
6    element. The case law explains that the two inquiries are distinct. Under the CUTSA,
7    a plaintiff must prove that there has not been “[p]ublic disclosure, that is the absence of
8    secrecy, [which] is fatal to the existence of a trade secret,” and an “entity claiming a
9    trade secret is also required to make [reasonable efforts].” In re Providian Credit Card
10   Cases, 96 Cal. App. 4th 292, 304 (2002) (emphasis added); see also Apple’s Position:
11   Proposed Final Instruction No. 21B. Plaintiffs’ objections should therefore be rejected.
12         Plaintiffs also object to Apple’s proposed description of the role of the Patent and
13   Trademark Office. But Plaintiffs have previously relied on Apple’s statements to the
14   PTO in support of their “generally known” arguments, see Dkt. 1098 at 14-15, and have
15   thus directly put the PTO at issue. In any event, because Plaintiffs’ inventorship claims
16   ask the jury to correct statements in patents issued by the PTO, providing a basic
17   overview of the patent issuance process and the PTO’s role in it will give the jury
18   necessary context and will prevent juror confusion.
19         Plaintiffs agree that an overview of patent and trade secret law is appropriate, but
20   their counter-proposal has several problems.
21         First, Apple objects to Plaintiffs’ statement that information can constitute a trade
22   secret even if it has been published. This statement elides the not generally known
23   requirement and will confuse the jury. While the mere fact of publication is not
24   necessarily fatal to trade secret protection, Plaintiffs’ proposed language suggests that
25   publication is irrelevant, which would create a misimpression about the law for jurors.
26         Second, Apple objects to how Plaintiffs’ proposed instruction inappropriately
27   moralizes about their allegations and the law of trade secrecy. CUTSA refers to proper
28   and improper means of obtaining information, but Plaintiffs have instead chosen morally
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1    weighted terminology, such as “ethically and honestly,” “misuse,” and “fair and honest.”
2    Such language is improper and designed to elicit bias against the defendant.
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1                     MASIMO’S PROPOSED INSTRUCTION NO. 1A11
2                                        Duty of the Jury
3          Members of the jury, now that you have heard all the evidence and the arguments
4    of the attorneys, it is my duty to instruct you on the law that applies to this case. A copy
5    of these instructions will be sent to the jury room for you to consult during your
6    deliberations.
7          It is your duty to weigh and to evaluate all the evidence received in the case and,
8    in that process, to decide the facts. It is also your duty to apply the law as I give it to
9    you to the facts as you find them, whether you agree with the law or not. You must
10   decide the case solely on the evidence and the law. Do not allow personal likes or
11   dislikes, sympathy, prejudice, fear, or public opinion to influence you. You will recall
12   that you took an oath promising to do so at the beginning of the case.
13         You must follow all these instructions and not single out some and ignore others;
14   they are all important.
15         Please do not read into these instructions, or into anything I may have said or
16   done, any suggestion as to what verdict you should return – that is a matter entirely up
17   to you.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28     Ninth Circuit § 1.4.

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1                     Masimo’s Argument: Proposed Instruction No. 1A
2          Masimo used the Ninth Circuit model instruction (with minor modifications that
3    are not disputed). See Manual of Model Civil Jury Instructions for the District Courts
4    of the Ninth Circuit (“Ninth Circuit Model Instructions”) § 1.4. Apple also started with
5    the Ninth Circuit model instruction but combined it with part of CACI No. 117 and then
6    modified the latter.
7          Apple adds the following sentence: “Nor may you consider the overall wealth or
8    size of any party, since that is not relevant to any of the issues that you must decide.”
9    Apple’s addition would significantly expand the scope of this Court’s ruling on Apple’s
10   motion in limine No. 2.
11         The Court held that Apple’s overall size and financial resources are “largely
12   irrelevant” to the issues in this case. See Dkt. 1439 at 3. However, the Court specifically
13   held that Masimo may “present evidence regarding the size and resources of Apple’s
14   teams that worked on or in relation to the alleged misappropriated trade secrets.” Id.
15   The Court found that “testimony about the size of the hardware team working on the
16   Apple Watch is relevant to how quickly Apple could have discovered the trade secrets
17   on its own.” Id. Thus, Apple’s additional sentence would instruct the jury to disregard
18   evidence the Court already determined may be relevant.
19         Moreover, Apple’s reference to “the wealth or size of any party” differs materially
20   from the model instruction on which Apple relies. Apple cites an instruction regarding
21   “the wealth or poverty of any party.” CACI No. 117 (emphasis added). This instruction
22   aims to curb “a deliberate attempt by counsel to appeal to social or economic prejudices
23   of the jury, including the wealth or poverty of the litigants.” CACI No. 117 Sources and
24   Authority (citing Hoffman v. Brandt, 65 Cal. 2d 549, 552–553 (1966)). Masimo is a
25   billion-dollar company that is hardly going to curry jury sympathy by claiming poverty.
26   By substituting “size” for “poverty” Apple seeks to misuse an instruction created for a
27   specific purpose to exclude consideration of potentially relevant evidence.
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1          Apple’s cited case, State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,
2    417 (2003), does not support its proposed instruction. Campbell does not address jury
3    instructions at all. Instead, Campbell addressed the propriety of a punitive damages
4    award against an insurance company in a fraud case brought by individual defendants.
5    Id. at 417.     In dicta, the Supreme Court noted “the presentation of evidence of
6    defendant’s net worth creates the potential that juries will use their verdicts to express
7    biases against big businesses.” Id. Here, however, Masimo will not be presenting
8    evidence of Apple’s net worth. Further, both parties are large businesses. Thus, there
9    is little concern the jury will express a bias against big business by favoring one side.
10         Apple’s proposed placement of its added sentence within the instruction would
11   also cause additional confusion. Apple inserts its sentence immediately before the
12   statement: “You will recall that you took an oath promising to do so at the beginning of
13   the case.” The jury will not have taken an oath to avoid considering the wealth or size
14   of any party.
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1                      APPLE’S PROPOSED INSTRUCTION NO. 1B12
2                                        Duty of the Jury
3          Members of the jury, now that you have heard all the evidence and the arguments
4    of the attorneys, it is my duty to instruct you on the law that applies to this case. A copy
5    of these instructions will be sent to the jury room for you to consult during your
6    deliberations.
7          It is your duty to weigh and to evaluate all the evidence received in the case and,
8    in that process, to decide the facts. It is also your duty to apply the law as I give it to
9    you to the facts as you find them, whether you agree with the law or not. You must
10   decide the case solely on the evidence and the law. Do not allow personal likes or
11   dislikes, sympathy, prejudice, fear, or public opinion to influence you. Nor may you
12   consider the overall wealth or size of any party, since that is not relevant to any of the
13   issues that you must decide. You will recall that you took an oath promising to do so at
14   the beginning of the case.
15         You must follow all these instructions and not single out some and ignore others;
16   they are all important.
17         Please do not read into these instructions, or into anything I may have said or
18   done, any suggestion as to what verdict you should return – that is a matter entirely up
19   to you.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit § 1.4; CACI 117 (adapted); Dkt. 1439 at 3 (“The Court finds that Apple’s
28   overall size and financial resources are largely irrelevant to the issues in this case.”).

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1                        Apple’s Position: Proposed Instruction No. 1B
2          The dispute between the parties is Apple’s addition of language from this Court’s
3    ruling on Apple’s motion in limine No. 2 and the CACI 117 model instruction
4    admonishing the jurors not to consider the wealth or size of any party. Apple objects to
5    Plaintiffs’ counter-proposal because it does not include this important language.
6          As Plaintiffs argued in opposition to Apple’s motion in limine No. 2, “there is no
7    practical way to prevent the jury from knowing that Apple is a huge company with
8    significant financial resources” with a “market capitalization” that makes it “the biggest
9    company in the world.” Dkt. 1342-1 at 13. Therefore, even though the Court’s order
10   granting Apple’s motion in limine precludes Plaintiffs from affirmatively offering
11   evidence or argument concerning Apple’s overall wealth or size, because it would be
12   irrelevant, see Dkt. 1439 at 3, the cautionary language in Apple’s Proposed Instruction
13   No. 1A is necessary to limit any bias that may arise from jurors’ knowledge of Apple’s
14   overall financial resources and size. Indeed, the Supreme Court has recognized that
15   knowledge of “a defendant’s net worth creates the potential that juries will use their
16   verdicts to express biases against big businesses,” and it cautioned that “[v]ague
17   instructions, or those that merely inform the jury to avoid ‘passion or prejudice’ do little
18   to aid the decisionmaker.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,
19   417 (2003).
20         Apple properly substituted “size” for CACI 117’s reference to the “poverty” of a
21   party. A reference to “poverty” has no applicability here, so using that term could only
22   confuse the jury. By contrast, the Court has already concluded that Apple’s overall size
23   is irrelevant, and nothing in Apple’s proposed instruction suggests that the jury should
24   disregard the only potentially relevant aspect facts about Apple’s resources, i.e., “the
25   size and resources of Apple’s teams that worked on or in relation to the alleged
26   misappropriated trade secrets.” Dkt. 1439 at 3.
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1                   MASIMO’S PROPOSED INSTRUCTION NO. 2A
2                                   Claims and Defenses
3         You will be asked to resolve the following claims and defenses:
4         1. Masimo and Cercacor’s claim that Apple misappropriated one or more of the
5            Asserted Trade Secrets.
6               a. Masimo and Cercacor seek monetary damages for this claim.
7               b. Masimo and Cercacor have the burden to prove this claim by a
8                  preponderance of the evidence.
9         2. Masimo and Cercacor’s claim to correct inventorship on the following five
10           patents: U.S. Patent Nos. 10,078,052, 10,247,670, 9,952,095, 11,009,390,
11           and 10,219,754.
12              a. Masimo and Cercacor do not seek monetary damages for this claim.
13              b. Masimo and Cercacor have the burden to prove this claim by clear and
14                 convincing evidence.
15        3. Masimo and Cercacor’s claim of ownership of the following five patents:
16           U.S. Patent Nos. 10,078,052, 10,247,670, 9,952,095, 11,009,390, and
17           10,219,754.
18              a. Masimo and Cercacor do not seek monetary damages for this claim.
19              b. Masimo and Cercacor have the burden to prove this claim by a
20                 preponderance of the evidence.
21        4. Apple denies all of Masimo and Cercacor’s claims.
22        5. Apple asserts the following defense to Masimo and Cercacor’s claim for
23           misappropriation of trade secrets:
24              a. Apple contends that Masimo and Cercacor did not file this lawsuit
25                 within the time permitted by law.
26              b. Apple has the burden of proof on this defense by a preponderance of
27                 the evidence.
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1                     Masimo’s Argument: Proposed Instruction No. 2A
2          Masimo’s proposed instruction succinctly recites the claims and the one
3    affirmative defense the jury will be asked to resolve.
4          Apple’s proposed instruction is inaccurate, overly detailed, and one-sided. For
5    example, Apple’s instruction mischaracterized Masimo’s trade secret claim as being
6    “that Apple disclosed certain alleged secrets in patents, and that used other alleged
7    secrets.” Apple omits that Masimo alleges that Apple misappropriated trade secrets by
8    acquisition, as well as by use, and disclosure. Apple’s proposal also includes details
9    about its denials that may confuse the jury before the jury has been instructed on the law
10   of trade secrets (e.g. “including because they do not have independent economic value
11   and claim ideas that are was generally known,” “did not misappropriate Plaintiffs’
12   alleged trade secrets including because Apple independently developed the information
13   that Plaintiffs allege Apple misappropriated,” and “Apple further disputes that the
14   alleged misappropriation was a substantial cause of any unjust enrichment to Apple”).
15   Such language does not belong in this instruction, which aims to succinctly recite the
16   claims and defenses of the parties before introducing the legal concepts at issue.
17         Apple’s proposed instruction describes a readily ascertainable defense that Apple
18   agrees is no longer available pursuant to the Court’s prior ruling. See Dkt. 1284 at 4.
19   Apple’s proposed instruction also describes Apple’s unclean hands defense.             As
20   described in further detail in Masimo’s arguments regarding Proposed Instruction
21   No. 35, the jury may not decide unclean hands.
22         If the Court decides to give a post-trial instruction that summarizes the parties’
23   positions, the Court should use the neutral language from the initial instruction or the
24   statement of the case for jury selection.
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1                       APPLE’S PROPOSED INSTRUCTION NO. 2B13
2                                      Claims and Defenses
3            As I did at the start of the case, I will first give you a summary of each side’s
4    contentions in this case. I will then provide you with detailed instructions on what each
5    side must prove to win on each of its contentions.
6            The Plaintiffs in this case are Masimo Corporation and Cercacor Laboratories,
7    Inc. The Defendant is Apple Inc.
8            Masimo and Cercacor allege that Apple improperly obtained their trade secret
9    information through hiring two of their former employees (Marcelo Lamego and
10   Michael O’Reilly), that Apple disclosed certain alleged secrets in patents, and that Apple
11   used other alleged secrets.
12           Masimo and Cercacor also assert that Apple filed patents that claim inventions to
13   which Masimo and Cercacor employees contributed, and those employees should be
14   added as named inventors. Masimo and Cercacor allege they should be part owners of
15   those patents.
16           Masimo and Cercacor seek monetary damages for Apple’s alleged trade secret
17   misappropriation. Masimo and Cercacor have the burden of proof on all of their claims.
18           Apple denies all of Plaintiffs’ claims. Apple contends that the alleged trade
19   secrets do not meet the definition of trade secrets under California law, including
20   because they do not have independent economic value and claim ideas that are generally
21   known. Apple contends that it did not misappropriate Plaintiffs’ alleged trade secrets,
22   including because Apple independently developed the information that Plaintiffs allege
23   Apple misappropriated. Apple further disputes that the alleged misappropriation was a
24   substantial cause of any unjust enrichment to Apple.14
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26     Authority: Manual of Model Civil Jury Instructions for the District Courts of the
     Ninth Circuit § 1.5 (adapted).
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          As detailed in Apple’s March 17, 2023 memorandum, Plaintiffs’ untimely disclosure
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1          Apple has also asserted a number of defenses to the claim for misappropriation of
2    trade secrets. Apple contends that Masimo and Cercacor did not file this lawsuit within
3    the time permitted by law, that they are not entitled to obtain relief because they have
4    unclean hands, and that the information alleged to be trade secrets was readily
5    ascertainable by proper means. Apple has the burden of proof on these defenses.
6          Apple also contends that Plaintiffs’ employees should not be added as co-
7    inventors to the disputed patents and that neither Masimo nor Cercacor is a joint owner
8    of those patents.
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25   of their lost profits theory on March 15, 2023 is insufficient to support a request for lost
26   on profits. Apple does not believe Plaintiffs have properly disclosed an admissible lost
     profits theory. To the extent the Court disagrees, and Plaintiffs are permitted to seek
27   lost profits damages, the language “lost profits for Plaintiffs or” should be inserted
28   before the phrase “unjust enrichment to Apple.”

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1                        Apple’s Position: Proposed Instruction No. 2B
2          Apple’s instruction provides a brief, neutrally worded reminder of the basic
3    positions of the parties. It is consistent with other, similar summary instructions that this
4    Court has delivered at the end of intellectual property trials. See, e.g., Instruction No. 2,
5    Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10,
6    2016) (Selna, J.), Dkt. 655 at 3; Instruction No. 11, Broadcom Corp. v. Emulex Corp.,
7    No. SACV 09-1058 (C.D. Cal. Oct. 12, 2011) (Selna, J.), Dkt. 888 at 15. Plaintiffs’
8    counter-proposal, in contrast, is duplicative of the information that the jury will receive
9    in the verdict form. If the Court decides not to charge the jury on any specific claim or
10   defense currently listed in the proposed instruction (e.g., Apple’s readily ascertainable
11   defense), Apple requests that the Court delete that language from the proposed
12   instruction but otherwise use the instruction as is.
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1                      JOINTLY PROPOSED INSTRUCTION NO. 315
2                                        Burden of Proof
3          When a party has the burden of proving any claim or defense by a preponderance
4    of the evidence, it means you must be persuaded by the evidence that the claim or
5    defense is more probably true than not true. A party’s burden of proof is by a
6    preponderance of the evidence unless I instruct you otherwise.
7          When a party has the burden of proving any claim or defense by clear and
8    convincing evidence, it means that the party must present evidence that leaves you with
9    a firm belief or conviction that it is highly probable that the factual contentions of the
10   claim or defense are true.     This is a higher standard of proof than proof by a
11   preponderance of the evidence, but it does not require proof beyond a reasonable doubt.
12         You should base your decision on all the evidence, regardless of which party
13   presented it.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit §§ 1.6, 1.7; Instruction No. 2, Takeya USA Corp. v. Power Play Marketing
28   Grp., No. SACV 21-835 (JVS) (C.D. Cal. Oct. 13, 2022).

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1                      JOINTLY PROPOSED INSTRUCTION NO. 416
2                                      What Is Evidence?
3          The evidence you are to consider in deciding what the facts are consists of:
4             1. the sworn testimony of any witness;
5             2. the exhibits that are admitted into evidence;
6             3. any facts to which the lawyers have agreed, which were read to you and
7                 placed into evidence; and
8             4. any facts that I have instructed you to accept as proved.
9          Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
10   such as testimony by a witness about what that witness personally saw or heard or did.
11   Circumstantial evidence is proof of one or more facts from which you could find another
12   fact. You should consider both kinds of evidence. The law makes no distinction
13   between the weight to be given to either direct or circumstantial evidence. It is for you
14   to decide how much weight to give to any evidence.
15         By way of example, if you wake up in the morning and see that the sidewalk is
16   wet, you may find from that fact that it rained during the night. However, other evidence,
17   such as a turned-on garden hose, may provide a different explanation for the presence of
18   water on the sidewalk. Therefore, before you decide that a fact has been proved by
19   circumstantial evidence, you must consider all the evidence in the light of reason,
20   experience, and common sense.
21         Some evidence may have been admitted only for a limited purpose. When I
22   instructed you that an item of evidence was admitted only for a limited purpose, you
23   may consider it only for that limited purpose and not for any other purpose.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit §§ 1.9, 1.11, 1.12, 2.2; Jury Instructions, B12 Consulting, LLC v. UST
28   Global, Inc., SACV 20-1773-JVS (Aug. 25, 2022).

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1                      JOINTLY PROPOSED INSTRUCTION NO. 517
2                                    What Is Not Evidence?
3          In reaching your verdict, you may consider only the testimony and exhibits
4    received into evidence. Certain things are not evidence, and you may not consider them
5    in deciding what the facts are. I will list them for you:
6              1. Arguments and statements by lawyers are not evidence. The lawyers are
7                 not witnesses. What they have said in their opening statements, closing
8                 arguments and at other times is intended to help you interpret the
9                 evidence, but it is not evidence. If the facts as you remember them differ
10                from the way the lawyers have stated them, your memory of the evidence
11                controls.
12             2. Questions and objections by lawyers are not evidence. Attorneys have a
13                duty to their clients to object when they believe a question is improper
14                under the rules of evidence. You should not be influenced by the
15                objection or by the court’s ruling on it.
16             3. Testimony that has been excluded or stricken, or that you have been
17                instructed to disregard, is not evidence and must not be considered. In
18                addition, some evidence may have been received only for a limited
19                purpose; when I have instructed you to consider certain evidence only for
20                a limited purpose, you must do so, and you may not consider that
21                evidence for any other purpose.
22             4. Anything you may have seen or heard when the court was not in session is
23                not evidence. You are to decide the case solely on the evidence received
24                at the trial.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 1.10.

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1                    MASIMO’S PROPOSED INSTRUCTION NO. 6A18
2                            Court Procedures Are Not Evidence
3          This action involves allegations that certain information is subject to protection
4    as trade secrets. To protect this information from public disclosure, the Court has taken
5    certain precautions to prevent public access to the information, for example by removing
6    members of the public from the courtroom and sealing the courtroom. You are reminded
7    that Masimo and Cercacor bear the burden of proving all elements of their claim for
8    misappropriation of trade secrets, as in instruction number [insert]. When evaluating
9    whether Masimo and Cercacor have satisfied this burden, you are not permitted to take
10   into account, or consider in any way, the fact that the Court took such precautions.
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        Authority: Guideline No. 8, The Sedona Conference Commentary on Protecting
27   Trade      Secrets   in  Litigation   About Them     at  20   (Mar.   2022),
28   https://tinyurl.com/mvx8m4kn (adapted).

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1                      Masimo’s Argument: Proposed Instruction No. 6A
2           Masimo’s proposed instruction adheres to the exact language of the Sedona
3    Conference Commentary on Protecting Trade Secrets in Litigation About Them, at
4    Guideline No. 8. Apple’s proposal purports to be based on the same source, but bears
5    little resemblance to the model instruction. The model instruction reads as follows:
6           This action involves allegations that certain materials are subject to
7           protection as trade secrets. To protect this information from public
8           disclosure, the court has [describe protections]. The jury is reminded that
9           [the party asserting the trade secret] bears the burden of proving all
10          elements of its claim for misappropriation of trade secrets, as explained in
11          instruction number [insert]. When evaluating whether [the party asserting
12          the trade secret] has satisfied this burden, the jury is not permitted to take
13          into account, or consider in any way, the fact that the court [describe
14          protections].
15   Id. The article explains that this instruction “makes the jury aware that the restrictions
16   themselves are not to be considered when determining whether the party asserting the
17   trade secret has satisfied its burden to establish the existence of the trade secrets at issue.”
18   Id.
19          Instead of focusing on Court procedures generally, or closing the courtroom
20   specifically, Apple proposes a confusing instruction regarding the jury’s role in deciding
21   trade secret protection (“while the issue of whether this information is actually subject
22   to protection as trade secrets is being decided by you”). Apple’s proposed language also
23   unfairly suggests trade secret protection does not, or is unlikely to, exist. For example,
24   “whether this information is actually subject to protection as trade secrets,” “that any
25   information actually qualifies as a trade secret,” “whether any information actually
26   qualifies as a trade secret,” if “the alleged trade secrets were in fact trade secrets,” and
27   “that any information in the document is actually confidential.” Apple’s attempt to
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1    modify this instruction to bias the jury is inappropriate, particularly when other
2    instructions address those issues.
3          Apple’s proposal also adds misleading language about confidentiality
4    designations on documents (“You also may see documents that include confidentiality
5    stamps at the bottom of the page that the attorneys to this case have added.”). This
6    language may mislead the jury because many of the parties’ documents include
7    confidentiality designations in the ordinary course of business that were not added by
8    the attorneys.
9          Apple’s proposal also adds repeated admonitions for the jury not to consider the
10   Court’s procedures. Apple’s repetitious language is unnecessary and risks biasing the
11   jury against Masimo. A single admonition is sufficient to instruct the jury on this point.
12   The Court should reject Apple’s proposal.
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1                      APPLE’S PROPOSED INSTRUCTION NO. 6B19
2                             Court Procedures Are Not Evidence
3          This action involves allegations that certain information is subject to protection
4    as trade secrets. To protect this information from public disclosure while the issue of
5    whether this information is actually subject to protection as trade secrets is being decided
6    by you, the Court has at times, for example, sealed the courtroom and limited the ability
7    for the attorneys and witnesses to say certain details in front of the public. You also may
8    have seen documents that include confidentiality stamps at the bottom of the page that
9    the attorneys to this case have added.
10         You should make no inference from these measures that any information actually
11   qualifies as a trade secret as Plaintiffs contend. Nor should you make any inference from
12   my sealing the courtroom or permitting any other measures that the Court has any
13   opinion on whether any information actually qualifies as a trade secret.             These
14   precautions are standard practice in a case such as this and are taken in order to preserve
15   the possibility that the information qualifies as a trade secret, which will be for you to
16   decide.
17         As I will instruct you, Masimo and Cercacor bear the burden of proving all
18   elements of their claim for misappropriation of trade secrets, including that the alleged
19   trade secrets were in fact trade secrets. When evaluating whether Masimo and Cercacor
20   have satisfied this burden, you are not permitted to take into account, or consider in any
21   way, the fact that the Court occasionally sealed the courtroom from the public or took
22   other precautions to prevent public access to certain information. While the attorneys to
23   this case have added confidentiality stamps to the bottom of certain documents, you
24   should make no inference from that stamp that any information in the document is
25   actually confidential.
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        Authority: The Sedona Conference, Commentary on Protecting Trade Secrets in
28   Litigation About Them, 23 Sedona Conf. J. 741, 788-789 (2022).

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1                       Apple’s Position: Proposed Instruction No. 6B
2          This instruction is designed to minimize any risk of unfair prejudice arising from
3    the Court’s treatment of Plaintiffs’ alleged trade secrets as highly confidential through
4    measures visible to the jury (e.g., sealing the courtroom). Since such orders will come
5    from the Court, “restrictions like sealing the courtroom could send a message to the jury
6    that the information at issue is a trade secret, even though that determination may be in
7    the jury’s hands.” The Sedona Conference, Commentary on Protecting Trade Secrets
8    in Litigation About Them, 23 Sedona Conf. J. 741, 787 (2022). Commentaries on the
9    management of trade secret litigation recognize the risk “that the jury may draw”
10   “improper inferences” from court orders regarding confidentiality. Id. at 788-799.
11   Apple’s Proposed Instruction No. 6B is adapted from the model instruction proposed by
12   the trade secrets working group of the Sedona Conference. See id.
13         Plaintiffs agree that this type of instruction is necessary, but Apple objects to their
14   formulation because it does not go far enough. It describes only sealing the courtroom
15   and not other measures taken by this Court to ensure confidentiality that may have the
16   unintended effect of priming the jury to think that the Court has made a substantive legal
17   determination about the validity of Plaintiffs’ claims.       Plaintiffs provide no clear
18   explanation for why this Court’s instruction should be limited to the Sedona
19   Conference’s language; even the model instruction itself assumes that the parties will
20   fill in case-specific details. Apple’s proposed instruction, for example, adds several
21   examples of the kinds of confidentiality procedures that the jury may not consider—
22   information that the instruction itself calls for (“[describe protections]”). Apple’s
23   proposed instruction also describes more specifically how the jury should understand
24   Plaintiffs’ burden of proof in light of the confidentiality procedures. Plaintiffs do not
25   dispute that Apple’s explanation is accurate and covers the same basic topics that are
26   already addressed by the model.
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1                      JOINTLY PROPOSED INSTRUCTION NO. 720
2                                      Taking Notes
3          You may have taken notes during the trial to help you remember the evidence.
4    Whether or not you took notes, you should rely on your own memory of the evidence.
5    Notes are only to assist your memory. You should not be overly influenced by your
6    notes or those of other jurors.
7          When you leave, your notes should be left in the jury room. No one will read
8    your notes.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 1.18 (adapted).

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1                      JOINTLY PROPOSED INSTRUCTION NO. 821
2                                     Ruling on Objections
3          There are rules of evidence that control what can be received into evidence. When
4    a lawyer asks a question or offers an exhibit into evidence and a lawyer on the other side
5    thinks that it is not permitted by the rules of evidence, that lawyer may object. When I
6    overruled the objection, the question may have been answered, or the exhibit received.
7    When I sustained the objection, the question was not answered, and the exhibit was not
8    received. Whenever I sustained an objection to a question, you must ignore the question
9    and must not guess what the answer might have been.
10         I may have ordered that some evidence be stricken from the record and that you
11   disregard or ignore that evidence. That means when you are deciding the case, you must
12   not consider the stricken evidence for any purpose.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 1.13.

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1                      JOINTLY PROPOSED INSTRUCTION NO. 922
2                                           Depositions
3          A deposition is the sworn testimony of a witness taken before trial. The witness
4    is placed under oath to tell the truth and the lawyers for each party may ask questions.
5    The questions and answers are recorded. You should not speculate about the reason why
6    a particular witness testified by deposition rather than in court. Insofar as possible, you
7    should consider deposition testimony presented to you in court in lieu of live testimony
8    in the same way as if the witness had been present to testify.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 2.4 (adapted).

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1                    MASIMO’S PROPOSED INSTRUCTION NO. 10A23
2                           Charts, Summaries, and Demonstratives
3            Certain charts, summaries, and other demonstratives have been shown to you in
4    order to help explain the contents of books, records, documents, or other evidence in the
5    case. Some charts and summaries have been admitted into evidence. Others have been
6    shown to you only as demonstratives.
7            Whether admitted as evidence, or used to illustrate information brought out in the
8    trial, charts and summaries are only as good as the underlying evidence that supports
9    them.
10           You should, therefore, give them only such weight as you think the underlying
11   evidence deserves. If they do not correctly reflect the facts or figures shown by the
12   evidence in the case, you should disregard these charts and summaries and determine
13   the facts from the underlying evidence.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit §§ 2.14, 2.15 (adapted); Jury Instruction No. 10, Broadcom Corp. v.
28   Emulex Corp., No. SACV 09-1058 (JVS) (C.D. Cal. Oct. 6, 2011).

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1                    Masimo’s Argument: Proposed Instruction No. 10A
2          Masimo proposes combining two largely duplicative model instructions into one
3    instruction. See Ninth Circuit Model Instructions § 2.14 (Charts and Summaries Not
4    Received in Evidence) and § 2.15 (Charts and Summaries Received in Evidence). Apple
5    proposes separate instructions with all the duplications.
6          The model provides very similar instructions on charts and summaries that do not
7    meaningfully differ based on whether they are admitted into evidence. The parties
8    agreed to amend the model language for charts and summaries not in evidence to state:
9    “If they [the charts or summaries] do not correctly reflect the facts or figures shown by
10   the evidence in the case, you should disregard these charts and summaries and determine
11   the facts from the underlying evidence.” Masimo’s proposal will help the jury by
12   reducing the number of instructions and combining two instructions that address the
13   same topic in the same way.
14         Apple proposes an additional instruction for charts and summaries not received
15   into evidence: “They [the charts or summaries] are not themselves evidence or proof of
16   any facts.” Apple’s additional language is unnecessary and potentially confusing. Any
17   document or exhibit not received into evidence is not evidence.
18         If the Court believes it would be helpful to have a specific instruction on the
19   difference between demonstrative exhibits (including non-documentary physical
20   exhibits) and evidence, it should not be given in the context of an instruction about charts
21   and summaries, because they are not the only potential type of non-evidentiary
22   demonstrative exhibit.
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1                    APPLE’S PROPOSED INSTRUCTION NO. 10B24
2                 Charts, Summaries, and Demonstratives Not In Evidence
3          Certain charts, summaries, and other demonstratives not admitted into evidence
4    have been shown to you in order to help explain the contents of books, records,
5    documents, or other evidence in the case. Charts, summaries, and other demonstratives
6    are only as good as the underlying evidence that supports them. They are not themselves
7    evidence or proof of any facts. You should, therefore, give them only such weight as
8    you think the underlying evidence deserves. If they do not correctly reflect the facts or
9    figures shown by the evidence in the case, you should disregard these charts and
10   summaries and determine the facts from the underlying evidence.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit §§ 2.14 (adapted); Jury Instruction No. 10, Broadcom Corp. v. Emulex
28   Corp., No. SACV 09-1058 (JVS) (C.D. Cal. Oct. 6, 2011).

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1                      Apple’s Position: Proposed Instruction No. 10B
2          The parties agree that the jury should be instructed about how to assess charts,
3    summaries, and demonstratives not in evidence, as well as charts and summaries
4    admitted into evidence under Fed. R. Evid. 1006. However, Apple believes that
5    combining these two separate points into a single instruction will confuse the jury.
6    Accordingly, Apple objects to Plaintiffs’ proposal and asks that the Court deliver two
7    separate instructions, as is contemplated by the Ninth Circuit’s model instructions.
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1                    APPLE’S PROPOSED INSTRUCTION NO. 1125
2                            Charts and Summaries In Evidence
3          Certain other charts and summaries have been admitted into evidence to illustrate
4    information brought out in the trial. Charts and summaries are only as good as the
5    testimony or other admitted evidence that supports them. You should, therefore, give
6    them only such weight as you think the underlying evidence deserves.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit §§ 2.14.

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1                       Apple’s Position: Proposed Instruction No. 11
2          As noted, Apple believes that delivering a separate instruction on charts and
3    summaries admitted into evidence will be less confusing to the jury than combining this
4    instruction with the instruction on charts, summaries, and demonstratives not in
5    evidence. See supra Apple’s Position: Proposed Instruction No. 10B.
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1               Masimo’s Objections to Apple’s Proposed Instruction No. 11
2          The subject matter of Apple’s Proposed Instruction No. 11 is fully addressed in
3    Masimo’s Proposed Instruction No. 10A. As discussed above, Masimo’s proposal
4    avoids duplication and juror confusion. If appropriate, the Court can provide a separate
5    instruction regarding the difference between demonstrative exhibits and evidence.
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1                        JOINTLY PROPOSED INSTRUCTION NO. 1226
2                                    Credibility of Witnesses
3           In deciding the facts in this case, you may have to decide which testimony to
4    believe and which testimony not to believe. You may believe everything a witness says,
5    or part of it, or none of it.
6           In considering the testimony of any witness, you may take into account:
7              1. the opportunity and ability of the witness to see or hear or know the things
8                  testified to;
9              2. the witness’s memory;
10             3. the witness’s manner while testifying;
11             4. the witness’s interest in the outcome of the case, if any;
12             5. the witness’s bias or prejudice, if any;
13             6. whether other evidence contradicted the witness’s testimony;
14             7. the reasonableness of the witness’s testimony in light of all the evidence;
15                 and
16             8. any other factors that bear on believability.
17          You must avoid bias, conscious or unconscious, based on a witness’s race, color,
18   ethnicity, religious beliefs, national ancestry, sexual orientation, gender identity, gender,
19   or economic circumstances in your determination of credibility.
20          Sometimes a witness may say something that is not consistent with something
21   else he or she said. Sometimes different witnesses will give different versions of what
22   happened. People often forget things or make mistakes in what they remember. Also,
23   two people may see the same event but remember it differently. You may consider these
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
27   Ninth Circuit § 1.14; Jury Instructions, B12 Consulting, LLC v. UST Global, Inc., SACV
28   20-1773-JVS (Aug. 25, 2022).

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1    differences, but do not decide that testimony is untrue just because it differs from other
2    testimony.
3           However, if you decide that a witness has deliberately testified untruthfully about
4    something important, you may choose not to believe anything that witness said. On the
5    other hand, if you think the witness testified untruthfully about some things but told the
6    truth about others, you may accept the part you think is true and ignore the rest.
7           The weight of the evidence as to a fact does not necessarily depend on the number
8    of witnesses who testify. What is important is how believable the witnesses were, and
9    how much weight you think their testimony deserves.
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1                     JOINTLY PROPOSED INSTRUCTION NO. 1327
2                                       Expert Testimony
3          You have heard testimony from [list of experts who testified] who testified to
4    opinions and the reasons for those opinions. This opinion testimony is allowed because
5    of the education or experience of these witnesses.
6          Such opinion testimony should be judged just like any other testimony. You may
7    accept it or reject it, and you should give it as much weight as you think it deserves,
8    considering the witness’s education and experience, the reasons given for the opinion,
9    and all the other evidence in the case.
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       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 2.13.

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1                   MASIMO’S PROPOSED INSTRUCTION NO. 14A
2                                (Offered in the Alternative)
3                     Party Having Power to Produce Better Evidence
4          If a party provided weaker evidence when it actually possessed and could have
5    provided stronger evidence, you may distrust the weaker evidence.
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1                 Masimo’s Objections to Apple’s Proposed Instruction No. 14B
2          The Court should not provide an instruction on this issue for multiple reasons.
3    Masimo proposed an instruction on this issue in case the Court decides an instruction is
4    necessary.
5          First, Apple’s proposed instruction is based on California procedural law (a
6    California Rule of Evidence), not California substantive law. See CACI No. 203
7    Sources and Authority (citing Cal. Evid. Code § 412). The Federal Rules of Evidence
8    render this instruction irrelevant under Erie and its progeny. See Internet Brands Inc. v.
9    Ultimatecoupons.com, LLC, 2013 WL 5575042, at *3 (C.D. Cal. Oct. 7, 2013),
10   amended, 2013 WL 6076513 (C.D. Cal. Oct. 15, 2013) (“the competence of evidence in
11   diversity cases is controlled by the Federal Rules of Evidence, not California state law”).
12         Second, Apple’s proposed instruction would be inappropriate even under
13   California procedural law. The CACI Directions for Use warn that “[a]n instruction on
14   failure to produce evidence should not be given if there is no evidence that the party
15   producing inferior evidence had the power to produce superior evidence.” (emphasis
16   added). Neither side has disclosed or identified any evidence that it intends to introduce
17   at trial that would be “inferior” to evidence it “had the power to produce[.]”
18         During the meet-and-confer process, Apple asserted that a hypothetical pre-
19   litigation document that used the exact wording in Masimo’s 2019.210 disclosure might
20   have constituted stronger evidence of possession of the trade secrets. That is irrelevant
21   because this instruction “relates only to the credibility of the evidence which actually
22   has been produced.” Hansen v. Warco Steel Corp., 237 Cal. App. 2d 870, 877 (1965)
23   (emphasis added). Just because a party can imagine stronger evidence does not mean
24   the actual evidence should be distrusted. In theory, it might have been stronger evidence
25   of Apple’s misappropriation if Tim Cook had sent Joe Kiani an email admitting to
26   Apple’s misappropriation. But hypothetical non-existent evidence is not a basis for
27   giving this instruction. Indeed, CACI confirms this instruction should not be given
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1    where there is “nothing in the record” of the trial “to which that instruction could apply.”
2    Id. at 876.
3          Apple argues its instruction is appropriate because Masimo will only present oral
4    testimony to establish its ownership of the trade secrets and that it is “probative that
5    Plaintiffs have not identified any single document showing that they possessed any of
6    the alleged trade secrets.” That is false. Masimo will corroborate the oral testimony of
7    its employees with numerous documents showing Masimo possessed the trade secrets,
8    including contemporaneous employee laboratory notebooks and emails. Apple never
9    identified any documents that would have provided stronger evidence of Masimo’s
10   possession but that Masimo indicated it will not rely on at trial.
11         Apple’s cited cases do not support its position.           In Largey v. Intrastate
12   Radiotelephone, Inc., the court provided a best evidence instruction when a party offered
13   oral testimony on the date a stockholder meeting occurred, despite the fact that corporate
14   records documented the actual date of the stockholder meeting. 136 Cal. App. 3d 660,
15   672 (1982). Similarly, in Mattei v. Corp. Mgmt. Sols., Inc., the court critiqued a party
16   for providing indirect evidence of the terms of a contract without producing the actual
17   contract at issue. 52 Cal. App. 5th 116, 126 n.9 (2020). Here, Apple has not identified
18   any records that actually exist on which Masimo is not relying.
19         Apple further argues that “Apple need not identify documents that Plaintiffs
20   declined to produce in discovery for CACI 203 to be appropriate.” (Emphasis added.)
21   That argument makes no sense because this instruction is not about alleged discovery
22   violations. As discussed above, this instruction “relates only to the credibility of the
23   evidence which actually has been produced.” Hansen, 237 Cal. App. 2d at 877
24   (emphasis added). Apple ignores that the CACI 203 instructions for use, and the cases
25   on which it is based (including Hansen), use the word “produce” to mean produce at
26   trial. CACI 203 (“[a]n instruction on failure to produce evidence should not be given if
27   there is no evidence that the party producing inferior evidence had the power to produce
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1    superior evidence.”) (emphasis added). Apple has presented no evidence that Masimo
2    could have produced superior evidence, either in discovery or at trial.
3          Apple attempts to distract from the CACI instructions for use by pointing to
4    CACI 204, which addresses “willful suppression of evidence.”              This observation
5    supports Masimo. The fact that CACI provides a separate instruction for the willful
6    suppression of evidence confirms that CACI 203 is not addressing alleged discovery
7    violations.
8          Apple also argues that the CACI instructions for use “do not clearly address the
9    situation here—i.e., where written evidence would be more probative than oral
10   testimony.” They most certainly do and, as set forth above, this instruction does not
11   apply unless there is evidence that Masimo could have, but chose not to, present superior
12   evidence. Again, Apple has not identified any additional evidence, written or otherwise,
13   that Masimo chose not to introduce.
14         Finally, Apple tacitly admits CACI 203 is a California procedural rule that does
15   not apply, but argues that the Court should still give this instructions because federal
16   courts recognize a similar doctrine. In support, Apple cites Int’l Union, United Auto.,
17   Aerospace & Agr. Implement Workers of Am. (UAW) v. NLRB, 459 F.2d 1329, 1338
18   (D.C. Cir. 1972). In that case, the court applied the “adverse inference rule” when a
19   party engaged in the “naked, willful suppression of the documents which could
20   conclusively prove its guilt.” Id. at 1332. Suppressing evidence of guilt would be the
21   opposite of failing to come forward with superior evidence supporting Masimo’s claim.
22   Moreover, Apple has identified no such behavior by Masimo. The court should reject
23   any suggestion that Apple could be entitled to an adverse inference based on asserting
24   Masimo could have hypothetically generated other documents. See Chrysler v. City of
25   West Covina, 1998 WL 845795, at *4 (9th Cir.1998) (rejecting an adverse inference jury
26   instruction because “[a]n essential condition of the application of the [adverse inference]
27   rule is that the evidence be under the adverse party’s control and reasonably available
28   to him.” (emphasis added)).
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1          If the Court decides to give an instruction on this issue, Masimo proposes a
2    shorter, more accurate version. Masimo’s proposal clarifies that the party must have
3    “actually possessed and could have provided stronger evidence” before the jury can
4    distrust “weaker evidence.”
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1                    APPLE’S PROPOSED INSTRUCTION NO. 14B28
2                     Party Having Power to Produce Better Evidence
3          You may consider the ability of each party to provide evidence. If a party
4    provided weaker evidence when it could have provided stronger evidence, you may
5    distrust the weaker evidence.
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28         Authority: CACI 203.

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                                  #:143109



1                       Apple’s Position: Proposed Instruction No. 14B
2          Apple anticipates that there will be several areas of Plaintiffs’ case that would
3    justify this instruction’s delivery to the jury. For example, Apple expects that Plaintiffs
4    will rely largely on the testimony of their employees to establish ownership. While oral
5    testimony is not insufficient as a matter of law under the possession element, it is
6    nonetheless probative that Plaintiffs have not identified any single document showing
7    that they possessed any of the alleged trade secrets in their entirety. See Dkt. 1439 at 10
8    (permitting Apple to cross examine Plaintiffs’ witnesses about whether any pre-
9    litigation documentation exists). Plaintiffs’ failure to identify any such document
10   provides a reason to cast doubt on the testimony of Plaintiffs’ witnesses that they
11   possessed the alleged trade secret information at the relevant time.
12         Apple’s proposed use of CACI 203 is consistent with the case law CACI cites
13   concerning when this instruction is appropriately delivered.        Largey v. Intrastate
14   Radiotelephone, Inc. is on point; it holds that it is appropriate to deliver CACI 203 when,
15   as here, an employee’s testimony is uncorroborated by corporate records. 136 Cal. App.
16   3d 660, 672 (1982). In Largey, employee testimony standing alone was deemed “weaker
17   and less satisfactory evidence.” Id.; see also, e.g., Mattei v. Corp. Mgmt. Sols., Inc., 52
18   Cal. App. 5th 116, 126 n.9 (2020) (“We view [defendant’s] failure to produce [a key]
19   contract … or any sample contract from the same time period with skepticism[.]”)
20         Contrary to Plaintiffs’ suggestion, Apple need not identify documents that
21   Plaintiffs declined to produce in discovery for CACI 203 to be appropriate. Indeed,
22   CACI’s Directions for Use state that CACI 203 is not intended for situations involving
23   “willful suppression of evidence,” which is addressed by CACI 204. See also Fed. R.
24   Civ. P. 37(c)(1)(B) (authorizing an adverse inference instruction for a party’s failure to
25   disclose discoverable information). And the cases cited in the Directions for Use for the
26   proposition that the instruction is not appropriate if “there is no evidence that the party
27   producing inferior evidence had the power to produce superior evidence” do not clearly
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1    address the situation here—i.e., where written evidence would be more probative than
2    oral testimony.
3          The only such case Plaintiffs cite, Hansen v. Warco Steel Corp., does not support
4    their position. 237 Cal. App. 2d 870 (1965). While Plaintiffs rely on a stray sentence
5    from the opinion (i.e., the instruction “relates only to the credibility of the evidence
6    which actually has been produced”), the instruction was clearly inappropriate in Hansen
7    primarily because it was “giv[en] … as an abstract statement of law, and unconnected
8    with any [supposedly weaker] evidence in the case.” Id. at 877. Here, Apple has
9    identified at least one piece of “weaker” evidence—Plaintiffs’ employees’ oral
10   testimony about the alleged trade secrets.
11         Nor could either piece of supposedly stronger evidence in Hansen logically
12   support the instruction’s inference. For example, the party opposing the instruction had
13   declined to call a particular doctor as a witness, but either party could have called him;
14   the testimony of the medical experts who were called was “not necessarily any weaker
15   or less satisfactory.” Id. Nor was the instruction justified by the opposing party’s failure
16   to proffer a document containing that doctor’s opinion, since the doctor’s written
17   treatment records were already in evidence and the document in question had been
18   excluded as hearsay. Id.
19         The Court should also reject Plaintiffs’ argument that, under the Erie doctrine,
20   CACI 203 does not apply in federal court. The principle that Apple’s proposed
21   instruction articulates is recognized in multiple jurisdictions and is derived from the
22   “commonsense observation that in most cases a party will introduce his most favorable
23   evidence without being compelled by legal process to do so.” Int’l Union, United Auto.,
24   Aerospace & Agr. Implement Workers of Am. (UAW) v. NLRB, 459 F.2d 1329, 1338
25   (D.C. Cir. 1972). Indeed, the invitation to draw an adverse inference from a party’s
26   failure to produce relevant evidence within its control “can be traced as far back as
27   1722,” has been included in leading evidence treatises, and has been approved by the
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1    U.S. Supreme Court. Id. at 1335-1336 (quoting 2 J. Wigmore, Evidence § 285 (3d ed.
2    1940) and Interstate Circuit, Inc. v. United States, 306 U.S. 208, 226 (1939)).
3          Plaintiffs’ only case cited in support of its Erie argument is inapposite. Internet
4    Brands Inc. v. Ultimatecoupons.com, LLC deals with the narrow issue of whether an
5    attorneys’ personal testimony is admissible in support of a motion for fees; it has nothing
6    to do with CACI 203 or the related provision of California evidence law. 2013 WL
7    5575042, at *3 (C.D. Cal. Oct. 7, 2013). That this is the best authority Plaintiffs can
8    muster shows how weak their position is.
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1                    MASIMO’S PROPOSED INSTRUCTION NO. 15A29
2                      Misappropriation of Trade Secrets – Introduction
3            Masimo and Cercacor claim that they possessed the Asserted Trade Secrets listed
4    in your Juror Notebooks.
5            Masimo and Cercacor claim that these Asserted Trade Secrets are protectable and
6    that Apple misappropriated them. “Misappropriation” means the improper acquisition,
7    use, or disclosure of trade secrets.
8            Masimo and Cercacor also claim that Apple’s misappropriation caused them harm
9    and caused Apple to be unjustly enriched.
10           Apple denies the trade secret misappropriation claims. Apple contends that the
11   information is not protectable as trade secrets and that Apple did not misappropriate this
12   information. Apple further contends that Masimo and Cercacor were not harmed and
13   that Apple was not unjustly enriched.
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28        Authority: CACI No. 4400

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1                    Masimo’s Argument: Proposed Instruction No. 15A
2          Masimo’s proposed instruction is based on CACI No. 4400. Masimo modified
3    the instruction to reflect the Court’s holding that a trade secret plaintiff need only show
4    possession, not ownership. Dkt. 1283 at 3–4. Masimo’s proposal succinctly presents
5    the parties’ contentions regarding Masimo’s claims of trade secret misappropriation, and
6    only those claims.     Other claims and affirmative defenses are addressed in other
7    instructions.
8          Apple argues that Masimo omits the model instruction’s language that Masimo
9    must prove its asserted trade secrets are “trade secrets” and instead stated that Masimo
10   must prove their asserted trade secrets are “protected under California law.” To the
11   extent Apple’s objection is to the language “under California law,” Masimo removed
12   that language. Masimo’s minor revision to the model language avoids redundantly
13   instructing the jury that Masimo must show its “Asserted Trade Secrets” are “trade
14   secrets.” Masimo provided a more helpful instruction that Masimo must show its
15   “Asserted Trade Secrets” are “protectable.”
16         Apple additionally argues that Masimo’s proposed instruction provides
17   insufficient information about the scope of Apple’s denials to Masimo’s claims. But
18   CACI 4400 contemplates identifying only the claims that the defendant denies. See
19   CACI 4400 (“[Name of defendant] denies [insert denial of any of the above claims]”).
20   It does not suggest the jury instruction should recite all the reasons that Apple denies the
21   elements of Masimo’s claims.
22         Apple also argues that Masimo’s instructions fail to list Apple’s affirmative
23   defenses. But as explained further below, the affirmative defenses Apple included in its
24   proposed instructions are addressed elsewhere in the jury instruction or involve
25   affirmative defenses that the Court has already rejected.
26         Finally, Apple argues that Masimo did not preserve an “acquisition” theory.
27   Masimo has preserved this theory and an acquisition instruction is appropriate. See
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1    Masimo’s argument regarding Proposed Instruction No. 25 (explaining the basis for
2    Masimo’s theory).
3          Apple’s proposed instruction omits aspects of Masimo’s claim and includes
4    extraneous instructions.
5          First, Apple’s proposed instruction omits that Masimo’s claim for trade secret
6    misappropriation includes misappropriation by acquisition. See Masimo’s argument
7    regarding Proposed Instruction No. 25 (explaining the basis for Masimo’s theory).
8          Second, Apple’s proposed instruction deviates from the CACI model and
9    misstates the law on misappropriation by use or disclosure. Apple proposes that
10   “‘Misappropriation’ means the use or disclosure of a trade secret knowing or with reason
11   to know that it was improperly acquired.” (Emphasis added.) But the statute provides
12   that misappropriation by use or disclosure can occur if a person:
13         (A)       Used improper means to acquire knowledge of the trade secret; or
14         (B)       At the time of disclosure or use, knew or had reason to know that his or
15                   her knowledge of the trade secret was:
16                       …
17               (ii)    Acquired under circumstances giving rise to a duty to maintain its
18                       secrecy or limit its use; or
19               (iii)   Derived from or through a person who owed a duty to the person
20                       seeking relief to maintain its secrecy or limit its use. … .”
21   Cal Civ. Code § 3426.1(b)(2). Masimo will present evidence in support of all of the
22   foregoing theories of misappropriation at trial. Thus, Apple’s proposed instruction omits
23   statutory provisions applicable to this case.
24         Third, Apple’s proposal repeats affirmative defenses that are addressed in other
25   instructions. This is unhelpful, confusing, and inappropriate in an instruction that
26   introduces the jury to the misappropriation claim. It is more than sufficient to recite
27   Apple’s contentions denying the elements of Masimo’s claim and then include separate
28   jury instructions to address Apple’s defenses (which Masimo denies).                It is not
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1    appropriate to repeat Apple’s defenses here.         Apple’s proposal is particularly
2    inappropriate because it includes defenses that Apple recognizes it cannot present at
3    trial. This Court rejected Apple’s “readily ascertainable” defense. Dkt. 1284 at 4. And,
4    as addressed in connection with Proposed Instruction No. 35, Apple’s unclean hands
5    should not be tried to the jury.
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1                      APPLE’S PROPOSED INSTRUCTION NO. 15B30
2                      Misappropriation of Trade Secrets—Introduction
3            Masimo and Cercacor claim that they owned the 12 alleged trade secrets listed on
4    Exhibit A and in your juror notebooks. Masimo and Cercacor claim that the information
5    described in Exhibit A meets the legal definition of trade secrets, and that Apple
6    misappropriated them.
7            “Misappropriation” means the use or disclosure of a trade secret knowing or with
8    reason to know that it was improperly acquired.
9            Masimo and Cercacor also claim that Apple’s alleged misappropriation caused
10   Apple to be unjustly enriched.31
11           Apple denies that any of the alleged trade secrets were protectable trade secrets
12   because they were generally known to people in the industry, denies that it
13   misappropriated any of them rather than independently developed them, and denies that
14   any alleged misappropriation caused any unjust enrichment.32
15           Apple also claims that the alleged trade secrets were readily ascertainable through
16   proper means, that Masimo and Cercacor waited too long after the alleged
17   misappropriation to file this suit, and that Masimo and Cercacor are not entitled to obtain
18   relief against Apple because they have “unclean hands.”
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          Authority: CACI 4400 (adapted).
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       As detailed in Apple’s March 17, 2023 memorandum, Plaintiffs’ untimely disclosure
23   of their lost profits theory on March 15, 2023 is insufficient to support a request for lost
24   on profits. Apple does not believe Plaintiffs have properly disclosed an admissible lost
     profits theory. To the extent the Court disagrees, and Plaintiffs are permitted to seek
25   lost profits damages, the language “Masimo and Cercacor to experience lost profits and”
26   should be inserted before the phrase “Apple to be unjustly enriched.”
27   32
       To the extent the Court permits Plaintiffs to seek lost profits damages, the language
28   “lost profits or” should be inserted before the phrase “unjust enrichment.”

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1                       Apple’s Position: Proposed Instruction No. 15B
2          Apple’s proposed instruction is a straightforward implementation of CACI 4400’s
3    modular “introduc[tion] … to the issues involved in a case involving the [alleged]
4    misappropriation of trade secrets,” Directions for Use, CACI 4400, and it should be
5    given in full. While no model instruction constitutes binding law, the California Rules
6    of Court “strongly encourage[]” CACI’s use because it provides “standardized
7    instructions that accurately state the law in a way that is understandable to the average
8    juror.” Cal. R. Ct. 2.1050(a), (e). Apple also proposes attaching an Exhibit A to the jury
9    instructions, providing the jury with the final numbered list of all Plaintiffs’ remaining
10   alleged trade secrets.
11         Plaintiffs fault Apple for defining misappropriation using a layperson-friendly
12   summary of the standard (i.e., “the use or disclosure of a trade secret knowing or with
13   reason to know that it was improperly acquired”). To be clear, this articulation fairly
14   summarizes Plaintiffs’ allegations in this case—they contend that Apple improperly
15   acquired the information through Lamego and/or O’Reilly and then used or disclosed it
16   without Masimo or Cercacor’s consent. Plaintiffs have not explained why this summary
17   is inaccurate or otherwise provided an evidentiary foundation for the other theories of
18   misappropriation mentioned in their argument section. And as discussed above, to the
19   extent this Court concludes that the jury should not be instructed on one or more of
20   Apple’s affirmative defenses, it can simply delete the relevant language from Apple’s
21   proposed instruction. See supra Apple’s Position: Proposed Instruction 2B.
22         Plaintiffs’ competing instruction is improper for two independent reasons. First,
23   Plaintiffs fail to provide the information called for in CACI 4400, leaving their proposed
24   instruction too vague to assist the jury.      For example, Plaintiffs omit the model
25   instruction’s language explaining that they must prove, in the first instance, that their
26   alleged trade secrets are in fact “trade secrets” and instead simply state generically that
27   they must prove their purported secrets are “protectable.” CACI 4400 also provides that
28   the instruction should list the defendants’ denials “of any of the above claims” and
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1    affirmative defenses. However, Plaintiffs’ proposed instruction provides insufficient
2    information about the scope of Apple’s denials, and it fails to list any of Apple’s
3    affirmative defenses in the space provided by the model.
4          Second, Plaintiffs’ use of “acquisition” in the definition of “misappropriation”
5    improperly previews a theory of liability for which there is neither an evidentiary
6    foundation nor a preserved theory of liability. See infra Apple’s Objection to Proposed
7    Instruction No. 25 (misappropriation by acquisition). CACI 4400’s Directions for Use
8    expressly state that the Court should “not select ‘acquiring’ in the second paragraph
9    unless there is evidence that the acquisition resulted in damages, other than damages
10   from related disclosure or use.”
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1                   MASIMO’S PROPOSED INSTRUCTION NO. 16A33
2             Misappropriation of Trade Secrets – Essential Factual Elements
3          Masimo and Cercacor claim that Apple has misappropriated the Asserted Trade
4    Secrets. To succeed on this claim, Masimo and Cercacor must prove all of the following
5    with respect to one or more of the Asserted Trade Secrets:
6             1. Masimo and Cercacor developed or otherwise were in lawful possession
7                 of the Asserted Trade Secret;
8             2. The Asserted Trade Secret was a trade secret at the time of the
9                 misappropriation;
10            3. Apple improperly acquired, used, or disclosed the Asserted Trade Secret.
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26     Authority: Cal. Civ. Code § 3426.1; see also Cal. Civ. Code § 3426.3(b) (“If neither
     damages nor unjust enrichment caused by misappropriation are provable, the court may
27   order payment of a reasonable royalty for no longer than the period of time the use could
28   have been prohibited.”).

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1                    Masimo’s Argument: Proposed Instruction No. 16A
2          Masimo’s proposed instruction deviates from the CACI model instruction
3    because the model instruction is inconsistent with the statute. Masimo’s proposal tracks
4    the statute and reflects the three requirements for establishing trade secret
5    misappropriation liability: possession, protectability, and improper acquisition, use, or
6    disclosure. Cal. Civ. Code. § 3426.1(a), (b), (d).
7          Apple’s proposed instruction (and the CACI instruction) adds two requirements
8    not in the statute—damages and causation. Causation and damages are not required to
9    prove liability for trade secret misappropriation. See Cal. Civ. Code § 3426.1(a), (b),
10   (d). The statute refutes any assertion that proving damages (much less causation) is
11   required to establish liability. CUTSA expressly provides for equitable recovery for
12   misappropriation even where a plaintiff fails to prove it suffered damages and fails to
13   prove the defendant was unjustly enriched:
14         If neither damages nor unjust enrichment caused by misappropriation
15         are provable, the court may order payment of a reasonable royalty for no
16         longer than the period of time the use could have been prohibited.
17   Cal. Civ. Code § 3426.3(b) (emphasis added).         Moreover, the parties’ competing
18   proposed instructions regarding remedies for misappropriation fully address the issues
19   of harm and causation. See CACI No. 4409.
20         The Court should depart from CACI because it is inconsistent with the statute.
21   CACI acknowledges it is “not a primary source of the law” but only a “secondary
22   source.” Guide for Using Judicial Council of California Civil Jury Instructions. The
23   Guide cites the implementing California Rules of Court, which recognize that where, as
24   here, the CACI instructions conflict with the clear language of the statute, the language
25   of the statute controls. The California Rules of Court state:
26         The Judicial Council endorses these instructions for use and makes every
27         effort to ensure that they accurately state existing law. The articulation and
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1          interpretation of California law, however, remains within the purview of
2          the Legislature and the courts of review.
3    Rule 2.1050(b).
4          Another district court in the Ninth Circuit recognized that it is appropriate to
5    “modify the CACI instruction in order to better harmonize the facts in this case to the
6    elements of the claim” particularly where the court’s modification “mirrors the language
7    of the [statute] itself.” Quinn v. Fresno Cnty. Sheriff, No. 1:10-CV-01617 LJO, 2012
8    WL 6561562, at *4 (E.D. Cal. Dec. 14, 2012), on reconsideration, No. 1:10-CV-01617
9    LJO, 2013 WL 898136 (E.D. Cal. Mar. 8, 2013).
10         The CACI instruction impermissibly introduces elements that are not part of
11   proving trade secret misappropriation.        Masimo recognizes that California courts,
12   including this Court in InfoSpan, Inc. v. Emirates NBD Bank PJSC, No. 11-1062, have
13   relied on CACI No. 4401 in reciting five elements for trade secret misappropriation. The
14   parties in those cases may not have disputed using the CACI. Regardless, these cases
15   do not justify departing from the statute.
16         Apple’s proposal repeats subject matter that is fully addressed in other proposed
17   instructions, including regarding the burden of proof and the verdict form. Moreover,
18   Apple’s proposed instruction is one-sided because it uses numerous phrases and terms
19   that favor Apple’s position, rather than neutral or balanced terms. For example, Apple’s
20   proposal includes: “If you determine that Masimo and Cercacor have not proved one or
21   more of the essential elements . . . ,” “If, and only if, you unanimously determine that
22   Masimo and Cercacor have proved all five of the essential elements . . . ,” and “However,
23   if you determine that Masimo and Cercacor have not proved all five elements . . . .”
24         Apple argues that no authority supports instructing the jury “on three of the five
25   elements of CUTSA liability where . . . the reasonable royalty decision will be made . .
26   . by the judge.” First, the statute itself supports instructing the jury that there are only
27   three elements, and Masimo need not prove damages or causation to establish liability.
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1    Moreover, Masimo’s instruction on lost profits (No. 37) instructs the jury on causation
2    and harm. Liability requires proving only the three elements Masimo in this instruction.
3          Indeed, Apple does not dispute that the statute expressly provides for a finding of
4    liability and reasonable royalty damages even where causation and harm are unprovable.
5    Thus, the statute expressly allows for a finding of liability based on the three elements
6    in Masimo’s instruction. Apple’s proposed instruction, along with its cumbersome
7    verdict form, could mislead the jury into denying liability even where Masimo may be
8    entitled to a reasonable royalty.
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1                     APPLE’S PROPOSED INSTRUCTION NO. 16B34
2              Misappropriation of Trade Secrets—Essential Factual Elements
3          Masimo and Cercacor claim that Apple has misappropriated the alleged trade
4    secrets. To succeed on this claim with respect to any particular alleged trade secret,
5    Masimo and Cercacor must prove all the following essential elements:
6              1. That Masimo or Cercacor developed or otherwise were in lawful
7                 possession of the alleged trade secret;
8              2. That the alleged trade secret was a trade secret at the time of the alleged
9                 misappropriation;
10             3. That Apple improperly used or disclosed the alleged trade secret;
11             4. That Apple was unjustly enriched; and
12             5. That Apple’s use or disclosure of the alleged trade secret was a substantial
13                factor in causing Apple to be unjustly enriched.35
14         You must consider each one of the 12 alleged trade secrets individually. If you
15   determine that Masimo and Cercacor have not proved one or more of the essential
16   elements with respect to a particular alleged trade secret, you should indicate as much
17   on the verdict form and move on to the next alleged trade secret. If, and only if, you
18   unanimously determine that Masimo and Cercacor have proved all five of the essential
19   elements and that Apple has not proven any of its defenses with respect to at least one
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21   34
       Authority: CACI 4401 (adapted); Instruction No. 26, Infospan, Inc. v. Emirates NBD
22   Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.); AMN Healthcare,
     Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923, 942 (2018); Order Re Jury
23   Instruction on Damages Based Only On Acquisition, Waymo LLC v. Uber Techs., Inc.,
24   No. C 17-939 (N.D. Cal. Jan. 18, 2018) Dkt. 2495.
25   35
       As detailed in Apple’s March 17, 2023 memorandum, Plaintiffs’ untimely disclosure
26   of their lost profits theory on March 15, 2023 is insufficient to support a request for lost
     on profits. Apple does not believe Plaintiffs have properly disclosed an admissible lost
27   profits theory. To the extent the Court disagrees and Plaintiffs are permitted to seek lost
28   profits damages, reference to Plaintiffs’ lost profits should be added to numbers 4 and 5.

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1    of the alleged trade secrets, then you must find Apple liable on this claim and proceed
2    to consider the amount of damages. However, if you determine that Masimo and
3    Cercacor have not proved all five elements or that Apple has proven at least one of its
4    defenses with respect to any single alleged trade secret, then you must find that Apple is
5    not liable for misappropriation, and you may not include that alleged trade secret in any
6    calculation of damages.
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1                       Apple’s Position: Proposed Instruction No. 16B
2           Apple’s proposed instruction implements CACI 4401 by listing all five required
3    elements to establish liability for misappropriation of trade secrets under CUTSA. The
4    Court previously used a similar instruction including the same five elements to charge a
5    jury on misappropriation of trade secrets. See, e.g., Instruction No. 26, Infospan, Inc. v.
6    Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.),
7    Dkt. 655 at 32. California courts have recited the same five elements for CUTSA
8    liability. See, e.g., AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App.
9    5th 923, 942 (2018).
10          Plaintiffs take the position that this Court should diverge from CACI on this
11   instruction (and any other instruction that happens to be unfavorable to their position)
12   because it purportedly conflicts with the text of the CUTSA. But again, they do not
13   identify any decision from any California federal or state court that has taken this
14   approach—even though the relevant CUTSA language has been in place for decades.
15   While no model instruction constitutes binding law, the California Rules of Court
16   “strongly encourage[]” CACI’s use because they provide “standardized instructions that
17   accurately state the law in a way that is understandable to the average juror.” Cal. R. Ct.
18   2.1050(a), (e). Plaintiffs’ suggestion that a “statewide, broad-based task force consisting
19   of court of appeal justices, trial judges, attorneys, academics, and lay people,” all
20   misread the plain text of the statute is not credible. See Preface, Guide for Using Judicial
21   Council of California Civil Jury Instructions. Plaintiffs’ only citation is to Quinn v.
22   Fresno Cnty. Sheriff, a civil rights case that extensively relies on CACI instructions; the
23   quoted sentence merely notes that “the [c]ourt elected to modify the CACI instruction
24   in order to better harmonize the facts in this case to the elements of the claim.” 2012
25   WL 6561562, at *4 (E.D. Cal. Dec. 14, 2012). Quinn says nothing about disregarding
26   the language of CACI because an instruction purportedly diverges from the language of
27   the statute.
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1          Plaintiffs’ Proposed Instruction No. 15B, on the other hand, diverges from the
2    CACI model by wrongly omitting two of the five essential elements that they must prove
3    to establish liability and to recover damages on their claim for misappropriation of trade
4    secrets. CUTSA provides that a plaintiff may be entitled to a reasonable royalty if the
5    jury determines that a defendant is liable for trade secret misappropriation but that the
6    misappropriation caused no (as relevant here) unjust enrichment. Plaintiffs, however,
7    cite no authority suggesting that the jury should only be instructed on three of the five
8    elements of CUTSA liability where—as here—the reasonable royalty decision will be
9    made (if necessary) by the judge in a separate, post-trial proceeding. As explained
10   further below, Plaintiffs lack any case law to support their position, which contradicts
11   numerous California cases. See infra Apple’s Position: Proposed Instruction No. 33B.
12   Plaintiffs’ position also rests on a misunderstanding about the purpose and availability
13   of reasonable royalties. See id.; see also infra Apple’s Position: Objection to Plaintiffs’
14   Proposed Instruction No. 25. Plaintiffs are also wrong to suggest that the remedies
15   instruction adequately addresses the elements of harm and causation; indeed, CACI
16   provides for a remedies instruction but still requires proof of causation and harm as
17   elements of liability. Compare CACI 4401 with CACI 4409.
18         Notably, Apple’s proposed verdict form asks the jury to make an element-by-
19   element determination on each alleged trade secret, meaning that it will be clear if the
20   jury concludes Plaintiffs have prevailed on elements 1-3 and not 4-5. By contrast,
21   Plaintiffs’ proposed verdict form provides no means of discerning for which (if any)
22   alleged trade secrets the jury awarded damages and which (if any) alleged trade secrets
23   should be submitted to a subsequent reasonable royalties proceeding. See Apple’s
24   Objections to Plaintiffs’ Proposed Verdict Form.
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1                    MASIMO’S PROPOSED INSTRUCTION NO. 17A36
2                                      No Writing Required
3          Masimo and Cercacor must prove that they were in lawful possession of the
4    Asserted Trade Secrets at the time of the alleged misappropriation. However, a trade
5    secret plaintiff does not need to have written down the trade secret for the plaintiff to be
6    in possession of that trade secret.
7          During the litigation, the law requires a trade secret plaintiff to provide the
8    defendant with a written description of the trade secrets being asserted so that the
9    defendant knows what it is accused of misappropriating.
10         The written description of the Asserted Trade Secrets at issue in this case is in
11   your juror notebook.
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24   36
       Authority: Dkt. No. 1283 at 3 (“Apple’s argument that Masimo must possess a single
25   document showing each trade secret has no basis in the case law.”); UniRAM Tech., Inc.
26   v. Taiwan Semiconductor Mfg. Co., 617 F. Supp. 2d 938, 941 (N.D. Cal. 2007) (“a
     unified description [of trade secrets] in a single integrated document ... is unnecessary”);
27   Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1518, 1521 (1997); Cal. Civ. Code
28   § 3426.1(d).

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1                    Masimo’s Argument: Proposed Instruction No. 17A
2          Neither party bases this instruction on a model. But both agree some instruction
3    is required concerning documentation of trade secrets. Masimo’s proposed instruction
4    is based on this Court’s holding that Masimo need not possess a single document
5    showing each trade secret. Dkt. No. 1283 at 4 (citing UniRAM Tech., Inc. v. Taiwan
6    Semiconductor Mfg. Co., 617 F. Supp. 2d 938, 941 (N.D. Cal. 2007) (“a unified
7    description [of trade secrets] in a single integrated document ... is unnecessary”)).
8    Moreover, it is well established that a trade secret need not be in writing. See Morlife,
9    Inc. v. Perry, 56 Cal. App. 4th 1514, 1518, 1521 (1997).
10         Masimo’s proposed instruction also informs the jury that the description of the
11   asserted trade secrets in the juror notebook was a legally required document created for
12   this litigation. This is consistent with the Court’s ruling on Masimo’s motion in limine,
13   which aims to prevent the jury from hearing about attorney involvement in preparing the
14   case. Dkt. 1439 at 8–10.
15         During the meet-and-confer process, Masimo modified its proposed instruction to
16   include the possession requirement and state that the descriptions in Exhibit A to the
17   Pretrial Conference Order were created “during” the litigation.
18         After reciting that Masimo need not have written down the trade secrets, Apple
19   argues that, “[h]owever, in determining whether Masimo and Cercacor possessed the
20   alleged trade secret, you may consider as relevant evidence whether Masimo and
21   Cercacor had any written documentation of the trade secrets.” (Emphasis added.)
22   Apple’s use of “however” and “any” written documentation unfairly suggests that
23   Masimo lacks written documentation and that written documentation must be verbatim
24   of the descriptions in Exhibit A. Moreover, Apple’s instruction implies that the absence
25   of written documentation can be evidence only of lack of possession, as opposed to
26   evidence of reasonable efforts to maintain secrecy—such as by eliminating
27   documentation that could be copied or stolen. This is particularly true because Apple
28   also includes pejorative language regarding whether the “alleged trade secrets were in
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1    fact trade secrets” (emphasis added). Moreover, Apple’s reference to considering
2    documentation in determining possession further suggests that the absence of written
3    documentation could be relevant only to possession, and not to reasonable efforts or
4    other issues. If the Court includes an instruction regarding written documents, Masimo
5    suggests using more even-handed language, such as “you may consider as relevant
6    evidence the presence or absence of written documentation of the trade secret
7    information described in Exhibit A.”
8          None of Apple’s cases supports its proposed instruction. See Jasmine Networks
9    Inc. v. Superior Court, 180 Cal. App. 4th 980, 989 (2009) (rejecting “current ownership”
10   requirement); DTM Research, LLC v. AT&T Corp., 245 F.3d 327, 332 (4th Cir. 2001)
11   (rejecting notion that “fee simple ownership” is an element of a trade secret
12   misappropriation claim). Apple’s instruction implies the jury should find a lack of a
13   single document using the identical words as the Section 2019.210 disclosure is evidence
14   of lack of possession.
15         Apple also again proposes including incomplete instructions that refer to subject
16   matter that is fully addressed in other instructions, such as Masimo’s burden of proving
17   the Asserted Trade Secrets are protectable. Apple’s repetition would be unhelpful and
18   potentially confusing to the jury. As discussed throughout, Apple has also repeatedly
19   inserted duplicative, incomplete, and pejorative language on one issue into jury
20   instructions that address entirely separate issues. The combined effect of Apple’s
21   proposed instructions would significantly bias and prejudice the jury.
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1                     APPLE’S PROPOSED INSTRUCTION NO. 17B37
2                                 First Element—Possession38
3          The first element of Plaintiffs’ misappropriation claim is that Masimo or Cercacor
4    possessed the information described by an alleged trade secret. To prove possession,
5    Masimo and Cercacor must prove either that they developed the alleged trade secret or
6    otherwise were in lawful possession of it at the time of the alleged misappropriation.
7          Masimo and Cercacor do not need to have written down the alleged trade secret
8    before this lawsuit to prove possession of the information described by an alleged trade
9    secret. However, in determining whether Masimo and Cercacor possessed the alleged
10   trade secret, you may consider as relevant evidence whether Masimo and Cercacor had
11   any written documentation of the trade secrets at the time of the alleged
12   misappropriation.
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        Authority: Jasmine Networks, Inc. v. Superior Ct., 180 Cal. App. 4th 980, 997-1000
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     (2009); DTM Rsch., L.L.C. v. AT&T Corp., 245 F.3d 327, 331 (4th Cir. 2001); Dkt. 1439
16   at 10; AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923, 942
     (2018); CytoDyn of New Mexico, Inc. v. Amerimmune Pharms., Inc., 160 Cal. App. 4th
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     288, 297 (2008) (“[A] prima facie claim for misappropriation of trade secrets “requires
18   the plaintiff to demonstrate … [it] owned [the] trade secret.”).
19   38
        Apple’s Position: Apple acknowledges the Court’s prior ruling that Plaintiffs need
20   not prove, in addition to lawful possession, that one specific Plaintiff owned the alleged
     trade secret. See, e.g., Dkt. 1283 at 4. However, Apple hereby reasserts and further
21   preserves for appeal its legal position that Plaintiffs must prove which party owned each
22   alleged trade secret at the time of the alleged misappropriation. See, e.g., Dkt. 1101 at
     17-18. In furtherance of that position, Apple hereby offers the following instruction,
23   adapted from CACI 103 (multiple parties), for the purpose of preservation:
24
           There are two Plaintiffs in this trial, Masimo and Cercacor. You should decide
25         the case of each plaintiff separately, as it were a separate lawsuit. Each plaintiff
26         is entitled to separate consideration of that plaintiff’s own claims, meaning each
           plaintiff must individually prove each essential element to establish liability on a
27         claim. For instance, Plaintiffs must prove whether a particular alleged trade secret
28         was owned by Masimo or by Cercacor (or both).

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1          The law requires a trade secret plaintiff to provide the defendant during the
2    litigation with a written description of the alleged trade secrets being asserted so that the
3    defendant knows what it is accused of misappropriating. Masimo and Cercacor provided
4    such written descriptions of the alleged trade secrets to Apple, and those descriptions
5    appear in Exhibit A to these instructions. As I will instruct you, Masimo and Cercacor
6    must prove that these alleged trade secrets were in fact trade secrets and that they
7    possessed them at the time of the alleged misappropriation.
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 1                      Apple’s Position: Proposed Instruction No. 17B
 2         Apple preserves for appeal the position set forth in the second footnote for Apple’s
 3   Proposed Instruction 17B that Plaintiffs should be required to prove ownership for both
 4   Plaintiffs (rather than that either Plaintiff possessed the alleged trade secrets).
 5         However, acknowledging this Court’s prior rulings rejecting this approach, Apple
 6   requests that the Court instruct the jury on the required proof for the first element of
 7   Plaintiffs’ misappropriation claim, using the rule enunciated in the Court’s order denying
 8   Apple’s motion for summary judgment—i.e., Plaintiffs must prove that they developed
 9   or otherwise lawfully possessed an alleged trade secret at the time of the alleged
10   misappropriation. See Dkt. 1283 at 3-4.
11         While Apple agrees that theoretically a trade secret need not be written down to
12   be protected under CUTSA, Apple respectfully requests the possession instruction make
13   clear that the jury may consider the absence of written documentation of an alleged trade
14   secret as relevant to whether Plaintiffs possessed the trade secret at the time of the
15   alleged misappropriation—particularly here, where Plaintiffs claim each of their
16   purported secrets are worth billions of dollars. This Court apparently has agreed that the
17   lack of evidence on this point is at least relevant, as it has permitted Apple to cross-
18   examine witnesses on this topic. See Dkt. 1439 at 10. Plaintiffs wrongly argue that
19   Apple’s proposed language permitting an inference about possession should be rejected
20   because the jury could infer instead that Plaintiffs declined to record information as a
21   means of protecting it from disclosure. Even if there were an evidentiary foundation for
22   suggesting that alternate inference (and Plaintiffs have not identified one), Plaintiffs
23   provide no authority for the notion that an instruction inviting a permissive inference is
24   improper where another inference may conceivably be drawn.                Apple’s proposed
25   language should be included because it is necessary to balance the proposed instruction
26   and it is rooted in this Court’s ruling on Plaintiffs motion in limine.
27         CACI does not provide a model for a standalone instruction on the possession
28   element, but the parties agree that the Court should deliver one. A detailed instruction
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 1   is particularly appropriate here because Apple disputes that Plaintiffs can satisfy their
 2   burden on this element—making it essential that the jury understands the evidence
 3   required to prove possession.
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 18A39
 2                                  “Trade Secret” Defined
 3
           A “Trade Secret” is information, including a formula, pattern, compilation,
 4
     program, device, method, technique, or process, that:
 5
              1. Derived independent economic value, actual or potential, from not being
 6
                 generally known to the public or to other persons who can obtain
 7
                 economic value from its disclosure or use; and
 8
              2. Is the subject of efforts that are reasonable under the circumstances to
 9
                 maintain its secrecy.
10
           Trade secret information can be technical or non-technical, such as business or
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     marketing strategies.
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           The next two instructions will provide additional information regarding
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     “independent economic value” and “reasonable efforts to maintain secrecy.”
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       Authority: Cal. Civ. Code § 3426.1(d); Whyte v. Schlage Lock Co., 101 Cal. App.
28   4th 1443, 1456 (2002); Duncan v. Stuetzle, 76 F.3d 1480, 1488 n.11 (9th Cir. 1996).

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 1                      Masimo’s Argument: Proposed Instruction No. 18A
 2         Masimo’s proposed instruction tracks the statutory definition of a trade secret
 3   because the CACI model instruction inaccurately imposes requirements not found in the
 4   statute. The statute provides:
 5         “Trade secret” means information, including a formula, pattern,
 6         compilation, program, device, method, technique, or process, that:
 7                (1)     Derives independent economic value, actual or potential, from
 8         not being generally known to the public or to other persons who can obtain
 9         economic value from its disclosure or use; and
10                (2)     Is the subject of efforts that are reasonable under the
11         circumstances to maintain its secrecy.
12   Cal. Civ. Code § 3426.1(d).
13         Masimo’s proposed instruction also includes an uncontroversial statement that
14   reflects the caselaw confirming that trade secrets can be technical or non-technical, and
15   can specifically include business and marketing plans. See Whyte v. Schlage Lock Co.,
16   101 Cal. App. 4th 1443, 1456 (2002) (“Schlage’s marketing strategy and plans
17   (including its five-year strategic plan) constitute trade secrets under California law.”).
18   the Court should instruct the jury on this point because this case involves trade secrets
19   that are technical and non-technical. Otherwise, lay jurors may incorrectly assume that
20   trade secrets must be technical in nature.
21         Apple’s proposed instruction (though consistent with CACI, except for the
22   heading) would require elements that are inconsistent with the statute.
23         First, Apple proposes a freestanding “secrecy” requirement that has no basis in
24   the statute. The statute does not require the information be “secret,” but only that it
25   derive independent economic value “from not being generally known.” See Cal. Civ.
26   Code § 3426.1(d)(1).
27         Second, Apple proposes rewriting the independent economic value prong as if it
28   required having “independent economic value because it was secret.” The statute does
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 1   not require economic value due to “secrecy” but only from “not being generally known.”
 2   See Cal. Civ. Code § 3426.1(d)(1). The “independent economic value” prong says
 3   nothing about the information needing to be “secret.”
 4         Third, Apple drops the “under the circumstances” qualifying language from
 5   statute’s reasonable efforts requirement. A trade secret need only be the “subject of
 6   efforts that are reasonable under the circumstances to maintain its secrecy.” Cal. Civ.
 7   Code § 3426.1(d)(2). Apple’s proposed instruction adds requirements not in the statute
 8   and may confuse the jury regarding requirements addressed in other instructions, e.g.,
 9   Instruction No. 19 regarding the independent economic value requirement.
10         Masimo recognizes that Apple’s proposal is based on a CACI instruction.
11   However, the Court should not follow the CACI instruction on this issue because the
12   CACI recitation of the elements of trade secret misappropriation conflicts with both the
13   statute and the interpreting caselaw.
14         CACI acknowledges it is “not a primary source of the law” but only a “secondary
15   source.” Guide for Using Judicial Council of California Civil Jury Instructions. The
16   Guide cites the implementing California Rules of Court, which recognize that where, as
17   here, the CACI instructions conflict with the clear language of the statute, the language
18   of the statute controls. The California Rules of Court state:
19         The Judicial Council endorses these instructions for use and makes every
20         effort to ensure that they accurately state existing law. The articulation and
21         interpretation of California law, however, remains within the purview of
22         the Legislature and the courts of review.
23   Rule 2.1050(b).
24         Another district court in the Ninth Circuit recognized that it is appropriate to
25   “modify the CACI instruction in order to better harmonize the facts in this case to the
26   elements of the claim” particularly where the court’s modification “mirrors the language
27   of the [statute] itself.” Quinn v. Fresno Cnty. Sheriff, No. 1:10-CV-01617 LJO, 2012
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 1   WL 6561562, at *4 (E.D. Cal. Dec. 14, 2012), on reconsideration, No. 1:10-CV-01617
 2   LJO, 2013 WL 898136 (E.D. Cal. Mar. 8, 2013).
 3         As discussed above, the CACI instruction impermissibly introduces a
 4   freestanding secrecy requirement and introduces the concept of secrecy into the
 5   evaluation of economic value.
 6         Apple complains about the order in which Masimo presents the elements.
 7   Masimo’s proposal presents the elements in the same order as the statute.
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 1                   APPLE’S PROPOSED INSTRUCTION NO. 18B4041
 2                          Second Element—Trade Secret Defined
 3         The second element of the misappropriation claim is that the information
 4   described within an alleged trade secret met the legal definition of a trade secret at the
 5   time of the alleged misappropriation. To prove that an alleged trade secret was a trade
 6   secret, Masimo and Cercacor must prove each of the following:
 7            1. That the alleged trade secret was secret.
 8            2. That the alleged trade secret had actual or potential economic value
 9                because it was secret.
10            3. That Masimo and Cercacor made reasonable efforts to maintain the
11                secrecy of the alleged trade secret.
12         I will now describe each of these requirements in more detail.
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22     Authority: CACI 4402 (adapted); Instruction No. 27, Infospan, Inc. v. Emirates NBD
     Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.).
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       Apple’s Position on Ordering: Apple objects to the order in which Plaintiffs have
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     arranged Proposed Instructions 18-22. Plaintiffs’ proposed ordering departs from the
25   order of the three requirements presented in CACI 4402 and will accordingly confuse
26   the jury. Apple proposes that these instructions be read in the following order: No. 18B
     (Trade Secret Defined), No. 21B (Secrecy Requirement), No. 19B (Independent
27   Economic Value), No 22B (Combination Trade Secret, if included), and No. 20
28   (Reasonable Efforts).

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 1                      Apple’s Position: Proposed Instruction No. 18B
 2          Apple’s proposed instruction is drawn directly from the CACI 4402 model and
 3   comports with this Court’s prior trade secret instructions. See, e.g., Instruction No. 27,
 4   Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10,
 5   2016) (Selna, J.). In contrast, Plaintiffs’ proposed instruction is not based on any model
 6   instruction and fails to provide the jury with any guidance about the basic secrecy
 7   requirement—i.e., that the information not be generally known to the public or other
 8   persons who could obtain value from its use or disclosure—beyond the bare language of
 9   the statute.
10          Plaintiffs once again take the position that this Court should diverge from CACI
11   on this instruction (and any other instruction that happens to be unfavorable to their
12   position) because it purportedly conflicts with the text of the CUTSA. But as discussed
13   above, this is improper. See supra Apple’s Position: Apple’s Proposed Instruction No.
14   16B.
15          As explained in Apple’s position statement on Proposed Instruction No. 21B, the
16   case law uniformly holds that an alleged trade secret must in fact be secret (i.e., not
17   generally known) and that this requirement is distinct from the independent economic
18   value inquiry. See also, e.g., Dkt. 1275 at 7 (this Court concluding that “[t]here is a
19   genuine dispute whether the [alleged trade secret] techniques were generally unknown,
20   and if so, whether they derived value from their secrecy” (emphasis added)). Plaintiffs
21   do not cite any decision from any jurisdiction supporting their contention that requiring
22   proof of secrecy is “inconsistent with the statute.” To the contrary, it is fundamental that
23   “[i]n order to qualify as a trade secret, the information ‘must be secret, and must not be
24   of public knowledge or of a general knowledge in the trade or business.’” DVD Copy
25   Control Assn., Inc. v. Bunner, 116 Cal. App. 4th 241, 251 (2004)
26          Apple objects to Plaintiffs’ proposed instruction, which fails to highlight the
27   secrecy requirement. Plaintiffs’ truncated structure diverges from CACI and blurs two
28   separate elements (i.e., that the underlying information must be secret and that
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 1   independent economic value can be derived from maintaining its secrecy) into one
 2   complicated, multi-factor “independent economic value” test.   See, e.g., Proposed
 3   Instruction 19A.
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 19A42
 2                        “Independent Economic Value” Explained
 3         In determining whether an Asserted Trade Secret had actual or potential
 4   independent economic value from not being generally known to the public or to other
 5   persons who can obtain economic value from its disclosure or use, you may consider the
 6   following:
 7            1. The extent to which Masimo and Cercacor obtained or could obtain
 8                economic value from the Asserted Trade Secret in keeping it not generally
 9                known to the public or to other persons who can obtain economic value
10                from its disclosure or use;
11            2. The extent to which others could obtain economic value from the
12                Asserted Trade Secret if it was generally known to the public or to other
13                persons who can obtain economic value from its disclosure or use;
14            3. The amount of time, money, or labor that Masimo and Cercacor expended
15                in developing the Asserted Trade Secret; and
16            4. The amount of time, money, or labor that was or would be saved by a
17                competitor if they were to use the Asserted Trade Secret.
18         The presence or absence of any one or more of these factors is not necessarily
19   determinative. The standard to show that an Asserted Trade Secret derives independent
20   economic value is not a high standard.
21         Each of the Asserted Trade Secrets must be analyzed as a whole. A trade secret
22   can be protectable even if each individual part or “element” of the trade secret was
23   generally known to the public or to other persons who can obtain economic value from
24   its disclosure or use. The question is whether the trade secret lacks independent
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26     Authority: Cal. Civ. Code § 3426.1(d); Cisco Sys., Inc. v. Chung, 462 F. Supp. 3d
     1024, 1052 (N.D. Cal. 2020); Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1521–22
27   (1997); Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396, at *9, *15 (C.D.
28   Cal. Nov. 7, 2022); Dkt. 1275 at 4; Dkt. 1284 at 6; see also CACI No. 4412.

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 1   economic value because the trade secret as a whole is generally known to the public or
 2   to other persons who can obtain economic value from their disclosure or use.
 3         A publication does not mean that subject matter is generally known.            The
 4   “generally known” inquiry is not whether the alleged trade secret has been publicly
 5   disclosed at all, but whether it has become generally known to the relevant people, i.e.,
 6   potential competitors or other persons to whom the information would have some
 7   economic value.
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 1                     Masimo’s Argument: Proposed Instruction No. 19A
 2         Masimo’s proposed instruction is based on the statute and the current state of the
 3   law because the CACI model instruction imposes requirements not found in the statute.
 4         The statute defines a trade secret, in part, as information that “derives independent
 5   economic value, actual or potential, from not being generally known to the public or to
 6   other persons who can obtain economic value from its disclosure or use.” Cal. Civ. Code
 7   § 3426.1(d)(1).    Masimo proposes language that tracks this connection between
 8   economic value and not being generally known.
 9         Masimo’s proposal quotes this Court’s statement that “the standard to show that
10   trade secrets derive independent economic value ‘is not a high standard.’” Dkt. 1275
11   at 4 (citing Cisco Sys. Inc. v. Chung, 462 F. Supp. 3d 1024, 1052 (N.D. Cal. 2020)).
12   Apple complains about this language, but Masimo copied it from this Court’s prior
13   order. This instruction would be helpful to the jury because Apple is likely to argue a
14   trade secret is generally known if parts of it appear in separate publications.
15         Masimo’s proposed language regarding analysis of trade secrets (beginning at
16   line 21 on the first page) instructs the jury that trade secrets are protectable even if each
17   “element” is individually known, and that trade secrets must be evaluated as a whole.43
18   Masimo’s proposal reflects this Court’s finding that a trade secret defendant can argue
19   a trade secret is generally known based on “an element by element” analysis “only where
20   the aggregate, not the individual components, is generally known.” Dkt. 1284 at 6.
21         Masimo’s proposed language regarding the effect of publications (beginning on
22   line 3 of the second page) tracks this Court’s holding that “techniques described in
23   articles published as conference papers does not render the technique ‘generally known’
24   to individuals who could obtain value from the techniques.” Id. (citing Masimo Corp.
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26      Apple argues that Masimo’s proposed language invokes the purported “combination
     trade secret doctrine.” There is no such thing as a “combination trade secret doctrine.”
27   Apple’s arguments to the contrary lack merit for the reasons described in Masimo’s
28   Arguments regarding Instruction No. 22.

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 1   v. True Wearables Inc., 2021 WL 2548690, at *4 (C.D. Cal. Apr. 28, 2021)). Masimo
 2   also tracks this Court’s holding that “publication does not mean the subject matter is
 3   generally known under CUTSA.” Masimo Corp. v. True Wearables, Inc., 2022 WL
 4   17083396, at *15 (C.D. Cal., Nov. 7, 2022).
 5         Finally, Masimo’s proposal quotes this Court’s explanation in this case that:
 6         The [generally known] inquiry is not whether the alleged trade secret has
 7         been publicly disclosed at all, but whether it has become ‘generally known
 8         to the relevant people, i.e., potential competitors or other persons to whom
 9         the information would have some economic value[.]’
10   Dkt. 1284 at 4 (citing Kittrich Corp. v. Chilewich Sultan, LLC, No. CV 12-10079, 2013
11   WL 12131376, at *4 (C.D. Cal. Feb. 20, 2013)).
12         Apple’s proposal rewrites the statute as if it required having “independent
13   economic value because [the information] was secret.” The independent economic
14   value prong says nothing about the information needing to be “secret.” In rewriting the
15   words of the statute, Apple adds a “secrecy” requirement that is not part of having
16   independent economic value. The statute does not require economic value due to
17   “secrecy” but only from “not being generally known.”               See Cal. Civ. Code
18   § 3426.1(d)(1). The “independent economic value” requirement is inseparable from the
19   trade secret “not being generally known.” See id.
20         The parties have the same dispute regarding the first two factors that the jury may
21   consider in evaluating economic value.        Masimo correctly refers to keeping the
22   information from being generally known, while Apple’s requires keeping it secret. Any
23   instruction that separates “independent economic value” from “not being generally
24   known” is legally incorrect.
25         Apple’s proposal instructs the jury to consider, in determining whether the trade
26   secrets derive independent economic value from not being generally known, whether
27   any of the parties “actually incorporate” the trade secret in any product or process. This
28   new factor, however, suggests to the jury that failure to incorporate a trade secret into a
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 1   commercial product is evidence that the trade secret is not protectable. That is false. A
 2   trade secret need not be incorporated in a product to be protectable. Apple cites no case
 3   that considered this factor in determining independent economic value. Cf. Pharm. Care
 4   Mgt. Ass’n v. Rowe, 307 F. Supp. 2d 164, 178 (D. Me. 2004) (listing factors a court may
 5   examine to determine whether information derives independent economic value).
 6   Indeed, such a factor would run afoul of the low threshold for showing independent
 7   economic value. Dkt. 1275 at 4 (citing Cisco Sys. Inc. v. Chung, 462 F. Supp. 3d 1024,
 8   1052 (N.D. Cal. 2020)).
 9         Apple accuses Masimo of blurring the “distinct requirements” that a trade secret
10   “must be both secret (i.e. not generally known)” and derive independent economic value
11   “from that secrecy.” But the statute does not separate “not being generally known” from
12   “independent economic value”—to the contrary the statute requires a trade secret
13   “derive independent economic value, actual or potential, from not being generally
14   known.” See Cal. Civ. Code § 3426.1(d)(1). Masimo’s instruction adheres to the statute,
15   and instructs the jury to follow the law, rather than Apple’s unsupported dual
16   requirement.
17         Apple argues that “in some instances—for example, when a trade secret has been
18   disclosed in a published patent—publication necessarily vitiates secrecy.”          Apple
19   misstates the law and cites no case that supports this proposition. Apple cites Masimo
20   Corp. v. True Wearables, Inc., 2022 WL 205485 (Fed. Cir. Jan. 24, 2022) as purportedly
21   holding that “information disclosed in a patent is generally known.” But that case does
22   not stand for such a blanket declaration, and publication in a patent—particularly if
23   unauthorized by the trade secret holder—does not necessarily vitiate trade secret
24   protection. The Federal Circuit distinguished a prior case where “relevant public . . .
25   would be likely to know that the alleged trade secret was disclosed in a Japanese patent.”
26   Id. at *3. Indeed, the court distinguished other cases where the trade secret owner
27   authorized the publication of the trade secret or placed it in the public domain. Id. at 4.
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 1         Masimo proposes deviating from the CACI model instruction on this issue
 2   because the model recites elements of trade secret misappropriation that conflict with
 3   the statute and the interpreting caselaw. CACI acknowledges it is “not a primary source
 4   of the law” but only a “secondary source.” Guide for Using Judicial Council of
 5   California Civil Jury Instructions. The Guide cites the implementing California Rules
 6   of Court, which recognize that where, as here, the CACI instructions conflict with the
 7   clear language of the statute, the language of the statute controls. The California Rules
 8   of Court state:
 9         The Judicial Council endorses these instructions for use and makes every
10         effort to ensure that they accurately state existing law. The articulation and
11         interpretation of California law, however, remains within the purview of
12         the Legislature and the courts of review.
13   Rule 2.1050(b).
14         Another district court in the Ninth Circuit recognized that it is appropriate to
15   “modify the CACI instruction in order to better harmonize the facts in this case to the
16   elements of the claim” particularly where the court’s modification “mirrors the language
17   of the [statute] itself.” Quinn v. Fresno Cnty. Sheriff, No. 1:10-CV-01617 LJO, 2012
18   WL 6561562, at *4 (E.D. Cal. Dec. 14, 2012), on reconsideration, No. 1:10-CV-01617
19   LJO, 2013 WL 898136 (E.D. Cal. Mar. 8, 2013).
20         As discussed above, the CACI model instruction incorrectly introduces the
21   concept of secrecy into the evaluation of economic value.
22         Apple’s proposed instruction also begins by adding the words “Second Element”
23   to the title of the instruction without explanation or support.        The CACI model
24   instruction does not include those words in the heading.
25         Apple’s final paragraph of its proposed instruction is confusing and inaccurate.
26   The jury cannot simply disregard the words in the trade secret. If Apple wants to explain
27   to the jury the problem it sees with the words “value” and “importance,” Apple is free
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 1   to do so in closing argument. Apple cites no authority justifying the last paragraph in
 2   its proposed instruction on this issue.
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 19B44
 2                Second Element—Independent Economic Value Requirement
 3           An alleged trade secret has independent economic value if it gives the owner an
 4   actual or potential business advantage over others who do not know it and who could
 5   obtain economic value from its disclosure or use.
 6           In determining whether a particular alleged trade secret had actual or potential
 7   independent economic value because it was secret, you may consider the following:
 8              1. The extent to which Masimo and Cercacor obtained or could obtain
 9                  economic value from the alleged trade secret if it were not secret;
10              2. The extent to which others could obtain economic value from the alleged
11                  trade secret if it were not secret;
12              3. The amount of time, money, or labor that Masimo and Cercacor expended
13                  in developing the alleged trade secret;
14              4. The amount of time, money, or labor that would be saved by a competitor
15                  that used the alleged trade secret;
16              5. Whether Apple, Masimo, or Cercacor actually incorporate the purported
17                  secret in any product or process.
18           The presence or absence of any one or more of these factors is not necessarily
19   determinative.
20           In determining whether Masimo and Cercacor have proven that the alleged trade
21   has independent economic value, the fact that the words “value” or “importance” may
22   appear in the description of the alleged trade secret should make no difference to your
23   analysis. Masimo and Cercacor have the burden of proving that each alleged trade secret
24   has independent economic value regardless of how they named or described their alleged
25   trade secrets.
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28        Authority: CACI 4412 (adapted); Dkt. 1275 at 7.

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 1                      Apple’s Position: Proposed Instruction No. 19B
 2         Apple’s Proposed Instruction No. 19B hews closely to the CACI model for the
 3   independent economic value requirement with two minor adjustments. First, Apple has
 4   accepted the instruction’s invitation to list “[an]other applicable factor,” CACI 4412,
 5   and added a provision that captures a portion of this Court’s reasoning in its ruling
 6   denying Plaintiffs’ motion for summary judgment—i.e., that there was no evidence that
 7   Apple used certain purported trade secrets and very limited evidence that even Plaintiffs
 8   did so. Dkt. 1275 at 7 (considering “evidence that the techniques may not have afforded
 9   Plaintiffs as much of a competitive edge as they contend”).
10         Second, Apple has added two closing sentences to address the potential for juror
11   confusion arising from Plaintiffs’ decision to assert an Alleged Trade Secret that claims
12   “[t]he value, importance, and appropriateness” of certain categories of information.
13   Since the Court will provide the jurors with a list of the Alleged Trade Secrets, there is
14   a risk that jurors may believe that the Court is indicating that the “value, importance and
15   appropriateness” Alleged Trade Secret in fact has “value” (and thus that Plaintiffs need
16   not prove that element). Apple’s proposed language clarifies that this is not so.
17         Plaintiffs accuse Apple of “rewrit[ing] the statute” to (1) add in the phrase
18   “because it was secret” and (2) treat “generally known” and “independent economic
19   value” as separate inquiries, but—as Plaintiffs concede a few paragraphs later—the
20   former is precisely the language used in CACI 4412 and the latter is the approach taken
21   in CACI 4401. As explained in more detail below, this approach is fully consistent with
22   CUTSA and this Court’s past practice in trade secret cases. See infra Apple’s Position:
23   Proposed Instruction No. 21B (collecting cases). see also Dkt. 1275 at 7 (this Court
24   concluding that “[t]here is a genuine dispute whether the [alleged trade secret]
25   techniques were generally unknown and if so, whether they derived value from their
26   secrecy” (emphasis added)). Indeed, Plaintiffs do not identify a single case that has
27   modified the CACI instruction in the way they propose.
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 1         More broadly, Plaintiffs once again take the position that this Court should
 2   diverge from CACI on this instruction (and any other instruction that happens to be
 3   unfavorable to their position) because it purportedly conflicts with the text of the
 4   CUTSA. But as discussed above, this is improper. See supra Apple’s Position: Apple
 5   Proposed Instruction No. 16B.
 6         Apple objects to Plaintiffs’ counter-proposal, which is flawed both because it
 7   varies from the CACI instruction without explanation and for at least four specific
 8   reasons.
 9         First, the second-to-last paragraph of Plaintiffs’ proposed instruction provides an
10   incomplete recitation of the combination trade secrets doctrine. This language should
11   be rejected both because Plaintiffs have not preserved any combination trade secret
12   theory in this case, see infra Apple’s Position: Instruction No. 22B; Dkt. 1225 at 18, and
13   because—as discussed in more detail in Apple’s argument addressing proposed
14   alternative instruction No. 22B—a party asserting a combination trade secret must make
15   certain special showings that Plaintiffs’ proposed instruction neglects to mention. For
16   example, the plaintiff must prove that the combination was both novel and unique and
17   that the alleged combination trade secret’s independent economic value arises from the
18   functional interrelation of the public domain elements. See, e.g., United States v. Nosal,
19   844 F.3d 1024, 1042 (9th Cir. 2016); Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc.,
20   226 Cal. App. 4th 26, 48 (2014); infra Apple’s Position: Instruction No. 22B (collecting
21   case law).
22         Plaintiffs support their position by distorting this Court’s Daubert ruling. This
23   Court rejected Plaintiffs’ argument that—as a general matter—a trade secret “‘should
24   not [be] examine[d]” “‘bit by bit’” because the case Plaintiffs were relying on dealt with
25   the special circumstance of combination trade secrets.          See Dkt. 1284 at 5-6.
26   Specifically, this Court clarified that Plaintiffs’ preferred holistic analysis is “an
27   approach … valid only where the aggregate, not the individual components is generally
28   known”—i.e., where an “implementation” of generally known elements “‘as a
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 1   combination of characteristics and components … separately qualifie[s] for protection
 2   as [a] trade secret[].’” Dkt. 1284 at 6 (quoting Altavion, 226 Cal. App. 4th at 48)
 3   (emphasis added); see also Apple’s Position: Proposed Instruction No. 22B. Since both
 4   the generally known and independent economic value requirements are analyzed
 5   differently when a plaintiff proceeds under the combination trade secrets doctrine, see
 6   infra Apple’s Position: Proposed Instruction No. 22B, Apple objects to introducing any
 7   aspect of that doctrine to this general-purpose instruction.
 8         Second, the final paragraph of Plaintiffs’ proposed instruction blurs the distinct
 9   requirements that a purported trade secret must be both secret (i.e., not generally known)
10   and that the plaintiff must derive actual or independent value from that secrecy. See
11   infra Apple’s Position: Proposed Instruction No. 21B. As written, there is a real danger
12   the jury will be confused as to whether they must make one finding (independent
13   economic value from secrecy) or two (both independent economic value from not being
14   generally known and that the underlying information is in fact not generally known).
15   This Court’s prior analysis makes clear that the latter approach is the right one. Dkt.
16   1275 at 7 (this Court concluding that “[t]here is a genuine dispute whether the [alleged
17   trade secret] techniques were generally unknown and if so, whether they derived value
18   from their secrecy” (emphasis added)).
19         Third, Plaintiffs provide incomplete guidance when they state that “[a] publication
20   does not mean that subject matter is generally known.” In some instances—for example,
21   when a trade secret has been disclosed in a published patent—publication necessarily
22   vitiates secrecy. See, e.g., Masimo Corp. v. True Wearables, Inc., 2022 WL 205485, at
23   *3 (Fed. Cir. Jan. 24, 2022) (“[I]nformation ‘disclosed in a patent’ is ‘generally known
24   to the public’ for purposes of the CUTSA”); accord Cement Mfg. Corp. v. CTS Cement
25   Mfg. Corp., 587 F.3d 1339, 1356 (Fed. Cir. 2009) (“One of the primary purposes of
26   patent systems is to disclose inventions to the public”). Apple’s Proposed Instruction
27   No. 19B provides the proper standard. See Dkt. 1284 at 5-6. Plaintiffs’ reliance on this
28   Court’s preliminary injunction ruling in the True Wearables case is misplaced because
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 1   (as even Plaintiffs’ quotation makes clear), this Court was dealing with the narrow and
 2   different question of whether “techniques described in articles published as conference
 3   papers” were necessarily generally known. Masimo Corp. v. True Wearables Inc., 2021
 4   WL 2548690, at *4 (C.D. Cal. Apr. 28, 2021).
 5         Finally, Plaintiffs’ statement that the independent economic value requirement “is
 6   not a high standard” improperly suggests that their burden to show independent
 7   economic value is different and lower than the normal preponderance standard. While
 8   this statement may be accurate in the context of a summary judgment ruling—where
 9   courts discuss the legal standard rather than the evidentiary standard—it will be highly
10   confusing to the jury.
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 1                     JOINTLY PROPOSED INSTRUCTION NO. 2045
 2              “Reasonable Efforts to Maintain Secrecy” (Disputed Language)
 3           To establish that the [[[ATS]]]]46 are protectable Masimo and Cercacor must
 4   prove that they made reasonable efforts under the circumstances to maintain the secrecy
 5   of the [[[ATS]]].    “Reasonable efforts” are the efforts that would be made by a
 6   reasonable business in the same situation and having the same knowledge and resources
 7   as Masimo and Cercacor, exercising due care to protect important information of the
 8   same kind and value.
 9           In determining whether Masimo and Cercacor made reasonable efforts to
10   maintain secrecy, you should consider all the facts and circumstances. Among the
11   factors you may consider are the following:
12              1. Whether documents or computer files containing the [[[ATS]]]] were
13                 marked with confidentiality warnings;
14              2. Whether Masimo and Cercacor instructed their employees to treat the
15                 [[[ATS]]]] as confidential;
16              3. Whether Masimo and Cercacor restricted access to the [[[ATS]]]] to
17                 persons who had a business reason to know the information;
18              4. Whether Masimo and Cercacor kept the [[[ATS]]]] in a restricted or
19                 secured area;
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          Authority: CACI No. 4404; Cal. Civ. Code § 3426.1(d)
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26     The parties dispute whether the jury instructions should use the phrase “Asserted
     Trade Secrets,” which is preferred by Plaintiffs, or “alleged trade secrets,” which is
27   preferred by Apple. The parties jointly submit this proposed instruction using the
28   symbol [[[ATS]]] as a placeholder for whichever terminology the Court selects.

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 1             5. Whether Masimo and Cercacor required employees or others with access
 2                to the [[[ATS]]]] to sign [[[valid]]]47 confidentiality or nondisclosure
 3                agreements;
 4             6. Whether Masimo and Cercacor took any action to protect the specific
 5                [[[ATS]]]], or whether it relied on general measures taken to protect its
 6                business information or assets;
 7             7. The extent to which any general measures taken by Masimo and Cercacor
 8                would prevent the unauthorized disclosure of the [[[ATS]]]]; or
 9             8. Whether there were other reasonable measures available to Masimo and
10                Cercacor that they did not take.
11         The presence or absence of any one or more of these factors is not necessarily
12   determinative.
13         [[[Apple’s efforts to maintain the secrecy of information it considers confidential
14   are irrelevant to this determination.]]]48
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       The parties dispute whether the jury should consider the validity of the agreement in
22   evaluating the reasonableness of Masimo’s efforts, under the circumstances, to maintain
     secrecy. Masimo’s position is that its employee confidentiality agreements are relevant
23   to Masimo’s efforts to maintain secrecy regardless of validity. Apple’s position is to
24   include “valid,” in anticipation of the Section 16600 issues on which it will seek a legal
     ruling.
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26     The parties dispute whether to include this sentence. Masimo’s position is that Apple
     should not be allowed to use information it withheld in discovery to attack or criticize
27   Masimo’s efforts to maintain secrecy. Apple’s position is that this addition to the CACI
28   model is irrelevant and will confuse the jury.

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 1                     Masimo’s Argument: Proposed Instruction No. 20
 2         The parties would agree to this instruction except for two issues. First, Apple
 3   deviates from CACI by adding the word “valid” in the fifth factor that the jury may
 4   consider in determining whether Masimo took reasonable efforts to maintain secrecy.
 5   Apple has offered no case law supporting this innovation. See CACI No. 4404. And,
 6   as Masimo argued in opposition to Apple’s Motion in Limine No. 4, Masimo’s employee
 7   confidentiality agreements are relevant to Masimo’s efforts to maintain secrecy
 8   regardless of whether the confidentiality provisions are void. Dkt. 1334 at 9-10 (citing
 9   Palantir Techs. Inc. v. Abramowitz, 2022 WL 2952578, at *4-5 (N.D. Cal. July 26, 2022)
10   and Albert S. Smyth Co. v. Motes, 2018 WL 3635024, at *3-4 (D. Md. July 31, 2018)).
11   Thus, whether the relevant provisions are valid is of no consequence to the jury’s
12   analysis of this issue.
13         Second, Masimo proposes informing the jury that Apple’s efforts to maintain
14   secrecy of Apple’s own confidential information is irrelevant to this inquiry. The focus
15   is on the trade secret holder and whether the holder implemented efforts reasonable for
16   them. Moreover, Apple refused to produce information on its own efforts during
17   discovery.    Apple argued “Discovery into how Apple protects its confidential
18   information and trade secrets is thus wholly irrelevant to Plaintiffs’ claims.” Masimo
19   sought Apple’s agreement that Apple would not introduce evidence of Apple’s efforts
20   to maintain secrecy. Apple never responded. Thus, this instruction is appropriate.
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 1                       Apple’s Position: Proposed Instruction No. 20
 2         As Plaintiffs acknowledge, the parties agree on nearly every aspect of this
 3   instruction. The most notable disagreement is that Apple proposes that the Court make
 4   clear that only “valid” confidentiality agreements are relevant to the reasonable efforts
 5   analysis because the only such agreement in this case that Plaintiffs have identified is
 6   invalid under California Business & Professions Code § 16600. See infra Apple's
 7   Position: Proposed Instruction No. 23. Neither of Plaintiffs’ cited cases suggests that a
 8   jury may consider an invalid agreement when assessing reasonable efforts. See Palantir
 9   Techs. v. Abramowitz, 2022 WL 2952578, at *4 (N.D. Cal. July 26, 2022) (discussing
10   an oral confidentiality agreement); Albert S. Smyth Co. v. Motes, 2018 WL 3635024, at
11   *3-4 (D. Md. July 31, 2018)) (discussing policies in an employee handbook).
12         It is unsurprising that Plaintiffs could not find any support for their position. The
13   CUTSA requires the trade secret owner to take “efforts that are reasonable under the
14   circumstances to maintain” the secrecy of their information, see, e.g., Mattel, Inc. v.
15   MGA Ent., Inc., 782 F. Supp. 2d 911, 959 (C.D. Cal. 2011), and it is not reasonable for
16   a trade secret owner to rely on a confidentiality provision that is invalid as a matter of
17   law (and thus useless as an enforcement tool) in order to protect its intellectual property.
18   This is particularly so given that California courts have warned that they will not
19   construe broad restraints on trade narrowly to avoid invalidation under Section 16600.
20   See, e.g., Kolani v. Luska, 64 Cal. App. 4th 402, 406 (1998) (“Employers would have
21   no disincentive to use the broad, illegal clauses if permitted to retreat to a narrow, lawful
22   construction in the event of litigation”); D’Sa v. Playhut, Inc., 85 Cal. App. 4th 927, 935
23   (2000) (“If we were to agree to the construction defendants ask for, we would undermine
24   the protection given to employees in section 16600[.]”)
25         Apple also objects to Plaintiffs’ proposal to deviate from CACI by including an
26   express statement that Apple’s efforts to maintain the secrecy of its confidential
27   information are irrelevant. Plaintiffs do not identify a single case that has taken this
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 1   approach, and Plaintiffs failed to press this question in front of the Special Master or this
 2   Court.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 21A
 2                                (Offered in the Alternative)
 3                         Reasonable Efforts—Nature of Secrecy
 4         Efforts that are reasonable under the circumstances to maintain secrecy does not
 5   require trying to maintain absolute secrecy. Nor does it require that no one else in the
 6   world possesses the information. The focus is on the reasonableness of the efforts to
 7   prevent disseminating the information to those who do not already possess it.
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 1             Masimo’s Objections to Apple’s Proposed Instruction No. 21B
 2         The Court should not provide an instruction on “secrecy” because the statute does
 3   not require “secrecy.” Masimo proposed an instruction on this issue only in case the
 4   Court decides an instruction is necessary.
 5         Apple proposed an instruction that is consistent with CACI, but which is legally
 6   incorrect. There is no “secrecy required to prove that something is a trade secret” (line
 7   3) under CUTSA. The statute mentions “secrecy” only as part of the requirement that a
 8   trade secret “[i]s the subject of efforts that are reasonable under the circumstances to
 9   maintain its secrecy.”     Cal. Civ. Code. § 3426.1(d)(2).        The focus is on the
10   reasonableness of the efforts, not the nature of the secrecy. Any issue regarding the
11   nature of secrecy would be addressed as part of Proposed Instruction No. 20 regarding
12   reasonable efforts.
13         Moreover, Apple’s proposed instruction appears directed to the “independent
14   economic value” prong, which is the subject of Proposed Instruction No. 19. This
15   Court’s prior order, cited by Apple, recognizes that:
16         Under CUTSA, a trade secret is information that: (1) derives independent
17         economic value, actual or potential, from not being generally known to the
18         public or to other persons who can obtain economic value from its
19         disclosure or use; and (2) is the subject of efforts that are reasonable under
20         the circumstances to maintain its secrecy.
21   Dkt. 1284 at 5.
22         Apple’s proposal, and the CACI instruction, are inconsistent with the statute, and
23   not supported by the caselaw. CACI acknowledges it is “not a primary source of the
24   law” but only a “secondary source.” Guide for Using Judicial Council of California
25   Civil Jury Instructions. The Guide cites the implementing California Rules of Court,
26   which recognize that where, as here, the CACI instructions conflict with the clear
27   language of the statute, the language of the statute controls. The California Rules of
28   Court state:
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 1         The Judicial Council endorses these instructions for use and makes every
 2         effort to ensure that they accurately state existing law. The articulation and
 3         interpretation of California law, however, remains within the purview of
 4         the Legislature and the courts of review.
 5   Rule 2.1050(b).
 6         Another district court in the Ninth Circuit recognized that it is appropriate to
 7   “modify the CACI instruction in order to better harmonize the facts in this case to the
 8   elements of the claim” particularly where the court’s modification “mirrors the language
 9   of the [statute] itself.” Quinn v. Fresno Cnty. Sheriff, No. 1:10-CV-01617 LJO, 2012
10   WL 6561562, at *4 (E.D. Cal. Dec. 14, 2012), on reconsideration, No. 1:10-CV-01617
11   LJO, 2013 WL 898136 (E.D. Cal. Mar. 8, 2013).
12         Apple’s proposal is also misleading because it suggests a trade secret is
13   protectable only if employees and third parties are “instructed to keep the information
14   secret” (lines 4–6). While such facts are relevant to showing reasonable efforts to
15   maintain secrecy, both parties agree many other facts could also be relevant. See Jointly
16   Proposed Instruction No. 20. Apple’s proposal also suggests reasonable efforts need to
17   be directed towards particular information (employees instructed to keep “the”
18   information secret) (lines 4-6). But the Court already rejected Apple’s unsupported
19   argument that reasonable efforts cannot be “general” and must be “specific” to each
20   trade secret. Dkt. 1275 at 7-8.
21         Apple also adds instructions not included in the CACI model instruction. For
22   example, Apple’s proposal states: “While the fact that the alleged trade secret has been
23   revealed in some publication somewhere does not necessarily mean that the information
24   is not generally known, you may determine that information is generally known where
25   it appeared in a publication that would generally make people in the relevant industry
26   aware of that information” (lines 13–17). Apple’s lengthy sentence would be confusing
27   for any lay juror. Apple claims that this sentence “paraphrases the Court’s ruling on
28   Plaintiffs’ Daubert motion concerning the generally known opinions of Apple’s
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 1   experts.”   It does not.   In contrast, Masimo’s proposal on “generally known” in
 2   Instruction No. 19A uses the exact words of the Court. Dkt. 1275 at 4.
 3         Moreover, the Federal Circuit affirmed this Court’s holding in True Wearables
 4   that the existence of publications that was “not obscure” does “not mean that the
 5   particular techniques described in them were ‘generally known’ to people who could
 6   obtain economic value from developing noninvasive blood content detectors.” Masimo
 7   Corp. v. True Wearables, Inc., 2022 WL 205485, at *3 (Fed. Cir. Jan. 24, 2022). Apple’s
 8   proposal improperly focuses on whether the publication was known instead of whether
 9   the “particular information” in the publication lacked independent economic value
10   because it was generally known to relevant individuals. See id.
11         Apple’s instruction wrongly claims that “publication of information in a patent or
12   a patent application makes it generally known to the public and so eliminates any trade
13   secrecy.” Apple argues that such a rule is “well settled” in the Ninth and Federal
14   Circuits. But Apple’s cited cases stand for no such rule. In Attia v. Google LLC, 983
15   F.3d 420 (9th Cir. 2020), a case involving DTSA not CUTSA, the owner of the alleged
16   trade secret authorized another party to publish information disclosing the trade secret
17   in a patent application. 983 F.3d at 425. And similarly in Ultimax Cement Mfg. Co.. v.
18   CTS Cement Mfg. Co., 587 F.3d 1339 (Fed. Cir. 2009), the court emphasized that the
19   “relevant public in the cement industry” would be likely to know that the alleged trade
20   secret was disclosed in a Japanese patent. 587 F.3d at 1355–56. Indeed, the Federal
21   Circuit in Masimo Corp. v. True Wearables distinguished Ultimax on that very point.
22   See True Wearables, 2022 WL 205485 at *3. SkinMedica suffers from the same
23   problem. In that case, the court merely observed in dicta that the plaintiff’s trade secret
24   would not be entitled to protection if the trade secret were the same as the plaintiff’s
25   patents-in-suit. SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D.
26   Cal. 2012). No such facts exist here.
27         Apple argues that the purported “secrecy” requirement is a “layman friendly
28   introduction to the concept of whether information is ‘generally known to the public or
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 1   to other persons who can obtain economic value from its disclosure or use.’” Apple’s
 2   argument illustrates precisely why such a simplification is error. Imposing a “secrecy”
 3   requirement when the statute requires independent economic value from not being
 4   generally known risks confusing the jury about the correct standard for protecting trade
 5   secrets.
 6         Should the Court provide an instruction on secrecy, Masimo requests the Court
 7   give it as part of explaining the types of efforts that are reasonable to maintain secrecy,
 8   and use Masimo’s proposed alternative instruction.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 21B49
 2                          Second Element—Secrecy Requirement
 3         The secrecy required to prove that something is a trade secret does not have to be
 4   absolute in the sense that no one else in the world possesses the information. It may be
 5   disclosed to employees involved in Masimo’s or Cercacor’s use of the alleged trade
 6   secret as long as they are instructed to keep the information secret. It may also be
 7   disclosed to nonemployees if they are obligated to keep the information secret.
 8         However, the alleged trade secret must not have been generally known to the
 9   public or to people who could obtain value from knowing it. Under some circumstances,
10   the publication of an alleged trade secret will be clearly sufficient to indicate that the
11   information is generally known. For example, publication of information in a patent or
12   a patent application makes it generally known to the public and so eliminates any trade
13   secrecy.   While the fact that the alleged trade secret has been revealed in some
14   publication somewhere does not necessarily mean that the information is not generally
15   known, and you may determine that information is generally known where it appeared
16   in a publication that would generally make people in the relevant industry aware of that
17   information.
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        Authority: CACI 4403; Dkt. 1284 at 5-6; Instruction No. 29, Infospan, Inc. v.
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     Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.);
23   Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020) (citing Ultimax Cement Mfg.
     Co. v. CTS Cement Mfg. Co., 587 F.3d 1339, 1355-1356 (Fed. Cir. 2009)) (“it appears
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     to us to be well-settled that publication of information in a patent application eliminates
25   any trade secrecy.”); SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D.
26   Cal. 2012) (same); DVD Copy Control Assn., Inc. v. Bunner, 116 Cal. App. 4th 241, 251
     (2004) (“In order to qualify as a trade secret, the information ‘must be secret[.]’”); In re
27   Providian Credit Card Cases, 96 Cal. App. 4th 292, 304 (2002) (same); Masimo Corp.
28   v. True Wearables, Inc., 2022 WL 205485, at *4 (Fed. Cir. Jan. 24, 2022).

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 1                      Apple’s Position: Proposed Instruction No. 21B
 2          Apple’s proposed instruction largely follows the “Directions for Use” for CACI
 3   4403 (“Secrecy Requirement”), which states that courts should “[r]ead this instruction
 4   with CACI No. 4402, “Trade Secret” Defined, to give the jury additional guidance on
 5   the secrecy requirement of element 1 of that instruction.” CACI at 1220. This Court
 6   has issued a similar instruction in prior cases. See, e.g., Instruction No. 29, Infospan,
 7   Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna,
 8   J.).
 9          Specifically, the first paragraph and topic sentence of the second paragraph of
10   Apple’s proposed instruction represent the full and unmodified CACI 4403 instruction.
11   Apple has also added two sentences to assist the jury with determining whether
12   information was generally known. The last sentence, which leaves to the jury the
13   implication of any particular publication, paraphrases the Court’s ruling on Plaintiffs’
14   Daubert motion concerning the “generally known” opinions of Apple’s experts, see Dkt.
15   1284 at 5-6, and the test applied by the Federal Circuit in Masimo Corp. v. True
16   Wearables, Inc., 2022 WL 205485, at *4 (Fed. Cir. Jan. 24, 2022). And the second to
17   last sentence (i.e., that publication in a patent vitiates trade secret protection) is a near-
18   verbatim recitation of the “well settled” rule in the Ninth and Federal Circuits that
19   information published in patents and patent applications is generally known. See Attia
20   v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020) (citing Ultimax Cement Mfg. Co. v.
21   CTS Cement Mfg. Co., 587 F.3d 1339, 1355-1356 (Fed. Cir. 2009)). Indeed, Plaintiffs
22   own authority cited elsewhere in their proposed jury instructions states that if
23   information were published in a patent, “trade secret protection would be extinguished.”
24   SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012).50
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        Plaintiffs complain that Attia interprets the DTSA, but CUTSA’s definition of what is
26   “generally known” is broader than the federal statute. Compare 18 U.S.C. § 1839(3)(B)
27   (information cannot be known by “another person” who can obtain economic value”)
     with Cal. Civ. Code §3426.1(d)(2) (information cannot be known “to the public or to
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 1         Plaintiffs’ objection that the CUTSA does not impose a “secrecy” requirement is
 2   a red herring. CACI uses (and presumably, this Court used) that term to provide a
 3   layman friendly introduction to the concept of whether information is “generally known
 4   to the public or to other persons who can obtain economic value from its disclosure or
 5   use.” California courts have taken the same approach. See DVD Copy Control Assn.,
 6   Inc. v. Bunner, 116 Cal. App. 4th 241, 251 (2004) (“In order to qualify as a trade secret,
 7   the information ‘must be secret[.]’”); see also AMN Healthcare, Inc. v. Aya Healthcare
 8   Servs., Inc., 28 Cal. App. 5th 923, 943 & n.8 (2018) (citing CACI’s description of the
 9   “secrecy” requirement approvingly in describing the elements of trade secret
10   misappropriation). This instruction then provides guidance on the precise metes and
11   bounds of that secrecy, i.e., what it means for information to not be generally known.
12   Notably, Plaintiffs do not identify any authority that has rejected CACI’s (and this
13   Court’s) approach.
14         Apple also objects to Plaintiffs’ incorrect suggestion that the “secrecy”
15   requirement refers only to the reasonable efforts element. The case law explains that the
16   two inquiries are distinct. Under the CUTSA, a plaintiff must prove that there has not
17   been “[p]ublic disclosure, that is the absence of secrecy, [which] is fatal to the existence
18   of a trade secret,” and an “entity claiming a trade secret is also required to make
19   [reasonable efforts].” In re Providian Credit Card Cases, 96 Cal. App. 4th 292, 304
20   (2002) (emphasis added). The key premise of Plaintiffs’ argument—that the “focus is
21   on the reasonableness of the efforts, not the nature of the secrecy,” so the requirement
22   of secrecy can be subsumed in the reasonable efforts requirement—is incompatible with
23   their own position that “reasonable efforts to preserve secrecy need not be successful to
24   support the existence of a trade secret.” Dkt. 1334 at 15; see also Masimo’s Argument:
25   Proposed Instruction No. 24A (same). Since reasonable efforts need not succeed to
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28   other persons who can obtain economic value).

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 1   count, proving that a company took reasonable efforts does not necessarily establish that
 2   an alleged trade secret is in fact not generally known, i.e., secret.
 3          Plaintiffs once again take the position that this Court should diverge from CACI
 4   on this instruction (and any other instruction that happens to be unfavorable to their
 5   position) because it purportedly conflicts with the text of the CUTSA. But as discussed
 6   above, this is improper. See supra Apple’s Position: Apple’s Proposed Instruction No.
 7   16B.
 8          Finally, Plaintiffs are wrong that this Court has treated the “generally known”
 9   requirement as part of the broader “independent economic value” inquiry. While this
10   Court has quoted the statutory language—which includes both the “generally known”
11   and “independent economic value” elements in the same sentence—this Court’s analysis
12   has considered the two elements individually. See, e.g., Dkt. 1275 at 5-7; id. at 7 (noting
13   in ruling on Plaintiffs’ summary judgment motion that “[t]here is a genuine dispute
14   whether the [alleged trade secret] techniques were generally unknown and if so, whether
15   they derived value from their secrecy” (emphasis added)).
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 22A51
 2                                 (Offered in the Alternative)
 3                           Trade Secrets Are Evaluated as a Whole
 4            If some or all of the components of an Asserted Trade Secret were generally
 5   known at the time of the alleged misappropriation, Masimo and Cercacor may still have
 6   a viable claim if they can establish that the Asserted Trade Secret as a whole was entitled
 7   to legal protection.
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28        Authority: Dkt. 1284 at 5-6.

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 1                    Masimo’s Argument: Proposed Instruction No. 22A
 2          Neither party relies on a model instruction. Indeed, both parties argue the Court
 3   should not provide an instruction on the “combination trade secret doctrine,” albeit for
 4   different reasons. The Court should not provide an instruction on this issue because
 5   Apple has not shown that a “combination trade secret doctrine” exists, much less in the
 6   form Apple advocates. And even Apple’s purported “combination trade secret doctrine”
 7   would not apply to the facts of this case. Masimo proposed an instruction on this issue
 8   only in case the Court decides an instruction is necessary.
 9          Apple argues that “Apple objects to the jury being instructed on the combination
10   trade secrets doctrine because [Masimo has] not previously attempted to put on a
11   combination trade secret case.” Masimo is simply putting on a trade secret case. Apple’s
12   proposed instruction creates a non-existent category of trade secrets called “combination
13   trade secrets,” attempts to force a plaintiff into choosing whether it is asserting that or a
14   normal trade secret, and then imposes additional requirements found nowhere in the
15   statute.
16          Masimo recognizes that this Court provided a type of combination trade secret
17   instruction in InfoSpan. However, this Court’s Instruction No. 28 in InfoSpan does not
18   support Apple’s proposed combination trade secret instruction for multiple reasons.
19   First, Apple does not use this Court’s prior instruction. In particular, Apple omits the
20   last sentence of this Court’s instruction, which provided: “It does not matter if a portion
21   of the trade secret is generally known, or even that every individual portion of the trade
22   secret is generally known, as long as the combination of all such information is not
23   generally known.” InfoSpan, No. 11-cv-01062, Dkt. 655 at 34 (C.D. Cal. Aug. 10,
24   2016). That instruction is close to and supports Masimo’s alternative instruction.
25          Second, the defendant in InfoSpan argued for its combination trade secret
26   instruction (which became numbered elements (1)-(3) of the Court’s instruction) based
27   on readily ascertainable arguments that this Court has repudiated. See id., Dkt. 600 at
28   52 (C.D. Cal. July 19, 2016) (citing Silvaco Data Systems v. Intel Corp., 184 Cal. App.
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 1   4th 210, 222 (2010) (for the proposition that “the alleged compilation would not be
 2   evident to a customer”) and Am. Paper & Pkg’ing Prods., Inc. v. Kirgan, 183 Cal. App.
 3   3d 1318, 1326 (1986) (for the proposition that “a compilation that is ‘known or readily
 4   ascertainable to other persons in the [relevant industry]’ is not protectable under the
 5   CUTSA.”)). Because the court found “readily ascertainable” does not apply in this case,
 6   the InfoSpan instruction based on “readily ascertainable” arguments also should not
 7   apply.
 8            Apple’s proposed instruction would impose special requirements on
 9   “combination” trade secrets that are not in the statute and not in any caselaw. Apple
10   does not purport to identify what a “combination trade secret” is, or how it differs from
11   any other kind of trade secret. Apple’s instruction suggests that a “combination trade
12   secret” includes any trade secret where “some … of the components … were generally
13   known at the time of the alleged misappropriation[.]” That is absurd. Consider a trade
14   secret that consists of three unknown components and two components that are generally
15   known. The combination of the five elements would necessarily be unknown. However,
16   under Apple’s sui generis definition, this unknown combination would have to meet
17   heightened requirements merely because “some” of the components are generally
18   known. That is not the law, even under the higher standard required for patentability.
19   See, e.g., In re Wright, 848 F. 2d 1216, 1220 (Fed. Cir. 1988) (quoting H.T. Markey,
20   Why Not the Statute?, 65 J. Pat. Off. Soc’y 331, 333-34 (1983) (“virtually all inventions
21   are ‘combinations’, and ... every invention is formed of ‘old elements’.... Only God
22   works from nothing. Man must work with old elements”).
23            Apple argued the same in opposing Masimo’s Daubert motion. Dkt. 1225 at 10-
24   12. The Court did not adopt Apple’s position and confirmed that any attempt to show a
25   trade secret is “generally known” must be directed towards showing “the aggregate, not
26   the individual components, is generally known.” Dkt. 1284 at 6.
27            Apple’s proposal also contains numerous other incorrect statements of law. For
28   example, Apple proposes that a trade secret must form a “unique and novel unit and that
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 1   are functionally interrelated such that they form a single process or design that should
 2   [sic] properly analyzed as a single trade secret.” Apple similarly proposes the trade
 3   secret must provide Masimo with a “competitive advantage” and a trade secret is “not
 4   novel and unique just because it makes minor or trivial variations on well-known
 5   processes, or if the variations from a generally known combination are only self-
 6   evidence or easily reproducible.” No case law supports Apple’s proposals.
 7         The law does not “require[] that a trade secret be patentably nonobvious or novel.”
 8   Imi-Tech Corp. v. Gagliani, 691 F. Supp. 214, 231 (S.D. Cal. 1986). The California
 9   Court of Appeal has long held that trade secrets can be “clearly anticipated in the prior
10   art” as well as “merely a mechanical improvement on a machine or device.” Sinclair v.
11   Aquarius Elecs., Inc., 42 Cal. App. 3d 216, 222 (1974) (“patentability is not a condition
12   precedent to the classification of a trade secret”); see also BladeRoom Grp. Ltd. V.
13   Facebook, Inc., 2018 WL 514923, at *3-4 (N.D. Cal. Jan. 23, 2018) (“novelty, in the
14   patent law sense, is not required for a trade secret”). This Court has also rejected any
15   argument that a trade secret must be “better” than other methods. Masimo Corp. v. True
16   Wearables Inc., 2021 WL 2548690, at *4 (C.D. Cal. Apr. 28, 2021).
17         Additionally, Apple’s proposal that information must not be “self-evident or
18   easily reproducible” merely repackages the “readily ascertainable” defense that this
19   Court already rejected.     See Dkt. 1284 at 4.       The Court should reject Apple’s
20   unsupported attempt to impose numerous legally erroneous concepts under the guise of
21   a non-existent “combination trade secret doctrine.”
22         Apple cites cases interpreting trade secret acts from states other than California,
23   asserting that such authorities are relevant because CUTSA is derived from the national
24   Uniform Trade Secrets Act. But Apple ignores that, unlike most states and the Federal
25   DTSA, California does not include a “readily ascertainable” requirement. Apple’s cited
26   cases analyzing statutes that include such a requirement are inapposite.
27         Apple asserts that United States v. Nosal, 844 F.3d 1024, 1042 (9th Cir. 2016) and
28   O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 420 F. Supp. 2d 1070, 1089 (N.D.
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 1   Cal. 2006) support the requirement that Masimo must establish “why the particular
 2   combination is a novel and/or ‘unique combination [that] affords a competitive
 3   advantage[.]’” Neither case supports Apple’s statement. To the contrary, Nosal held
 4   that, “[i]t is well recognized that ‘it is the secrecy of the claimed trade secret as a whole
 5   that is determinative’” and “‘[t]he fact that some or all of the components of the trade
 6   secret are well-known does not preclude protection for a secret combination,
 7   compilation, or integration of the individual elements.’” Nosal, 844 F.3d at 1042
 8   (quoting Restatement (Third) of Unfair Competition). O2 Micro held the same. O2
 9   Micro, 420 F. Supp. 2d at 1089-90 (“It does not matter if a portion of the trade secret is
10   generally known, or even that every individual portion of the trade secret is generally
11   known, as long as the combination of all such information is not generally known.”
12   (quoting final jury instructions)). Apple’s other case also reached the same conclusion.
13   See Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal. App. 4th 26, 47 (2014)
14   (“even if some or all of the elements of Altavion's design were in the public domain and
15   thus unprotectable, the combination was a protectable trade secret if it was secret and
16   had independent economic value”).
17         Should the Court provide an instruction concerning trade secrets with multiple
18   components, the Court should adopt Masimo’s proposal because it tracks the Court’s
19   Daubert order and the correct law. See Dkt. 1284 at 6. Masimo’s proposal reflects this
20   Court’s finding that a party can argue a trade secret is generally known based on “an
21   element by element” analysis “only where the aggregate, not the individual components,
22   is generally known.” Dkt. 1284 at 6.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 22B52
 2                                 (Offered in the Alternative)
 3                       Second Element—Combination Trade Secret
 4         If some or all of the components of an alleged trade secret were generally known
 5   at the time of the alleged misappropriation, Masimo and Cercacor may still state a viable
 6   claim if they can establish that the alleged trade secret was entitled to legal protection as
 7   a “combination trade secret.”
 8         In addition to meeting the requirements in Instructions 19 and 20, a combination
 9   trade secret must be composed of elements that operate together to form a unique and
10   novel unit and that are functionally interrelated such that they form a single process or
11   design that should be properly analyzed as a single trade secret. Masimo and Cercacor
12   must have possessed and used the whole alleged combination trade secret as part of their
13   business, meaning that the combination was not created just for this litigation. Finally,
14   the combination must provide Masimo and Cercacor with a competitive advantage. A
15   combination is not novel and unique just because it makes minor or trivial variations on
16   well-known processes, or if the variations from a generally known combination are only
17   self-evident or easily reproducible.
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19      Authority: United States v. Nosal, 844 F.3d 1024, 1042 (9th Cir. 2016); Winston
     Rsch. Corp. v. Minnesota Min. & Mfg. Co., 350 F.2d 134, 143 (9th Cir. 1965); Altavion,
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     Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal. App. 4th 26, 47-49 (2014); O2 Micro
21   Int’l Ltd. v. Monolithic Power Sys., Inc., 420 F. Supp. 2d 1070, 1089-90 (N.D. Cal.
     2006); Rivendell Forest Prod., Ltd. v. Georgia-Pac. Corp., 28 F.3d 1042, 1045-1046
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     (10th Cir. 1994); Integrated Cash Mgmt. Servs., Inc. v. Digital Transactions, Inc., 920
23   F.2d 171, 174 (2d Cir. 1990); Cal. Civ. Code §3426.1(d)(1); Electro-Craft Corp. v.
     Controlled Motion, Inc., 332 N.W.2d 890, 899 (Minn. 1983); Strategic Directions Grp.,
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     Inc. v. Bristol-Myers Squibb Co., 293 F.3d 1062, 1065 (8th Cir. 2002); Instruction No.
25   28, Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10,
26   2016) (Selna, J.); see also Ajaxo, Inc. v. E*Trade Fin. Corp., 48 Cal. App. 5th 129, 160
     n. 9 (2020) (“Because the CUTSA is derived from the national Uniform Trade Secrets
27   Act, California courts consider case law from other jurisdictions applying similar
28   sections of the Uniform Act.”).

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 1            Apple’s Position: Instruction No. 22B (Proposed in the Alternative)
 2         Apple objects to the jury being instructed on the combination trade secrets
 3   doctrine because Plaintiffs have not previously attempted to put on a combination trade
 4   secret case. See Dkt. 1225 at 18. When pressed on this issue during the Daubert stage,
 5   the only place in the record they pointed to where this theory was purportedly disclosed
 6   was one expert’s brief recitation of a portion of the legal standard for analyzing whether
 7   alleged trade secrets are generally known; they did not identify any place where
 8   Plaintiffs have explained why their specific alleged trade secrets satisfy the demanding
 9   requirements of the doctrine. See Dkt. 1208-1 at 19. When Apple’s counsel identified
10   this disclosure issue during oral argument, Plaintiffs had no answer. See Dkt. 1281 at
11   30-34.
12         The Court has already rightly rejected Plaintiffs’ argument that the combination
13   trade secret doctrine is a “non-existent category.” Compare Dkt. 1208-1 at 11-12
14   (“Apple simply imagines a ‘doctrine’ and then invents standards for it.”) with Dkt. 1284
15   at 5-6 (this Court noting that Plaintiffs’ own case law discussed a rule under which “a
16   combination of characteristics and components’” is protectable as a trade secret
17   “regardless of whether particular design concepts separately qualified for protection as
18   trade secrets” (quoting Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal. App.
19   4th 26, 48 (2014)). As this Court pointed out, the language from Altavion “is simply the
20   court’s resuscitation of the Tenth Circuit’s holding in another case.” Dkt. 1284 at 5.
21   The relevant Tenth Circuit decision expressly explains that “[t]he doctrine has been
22   established that a trade secret includes a system where the elements are in the public
23   domain, but there has been accomplished an effective, successful, and valuable
24   integration of the public domain elements and the trade secret gave the claimant a
25   competitive advantage.” Rivendell Forest Prods. v. Georgia-Pacific Corp., 28 F.3d
26   1042, 1046 (10th Cir. 1994) (emphasis added). This doctrine has also been recognized
27   in the leading treatise on trade secrets. See 1 Milgrim on Trade Secrets § 1.08[5] (2023
28   update) (discussing trade secret protections for “new combinations of previously known
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 1   matter (capitalization omitted); see also id. (“Where a combination of known elements
 2   is claimed as a trade secret, the trade secret owner has the burden of establishing that the
 3   specific combination afforded a competitive advantage and thereby satisfies the
 4   independent economic value requirement.”); id. (doctrine provides “the availability of
 5   trade protection for new and valuable combinations of otherwise generally known
 6   principles”).53
 7         To the extent this Court permits Plaintiffs to put on a combination trade secret
 8   case, Apple requests that the Court deliver Apple’s proposed standalone instruction,
 9   which details the requirements to prove a combination trade secret. Apple’s proposed
10   instruction No. 21B is consistent with this Court’s past practice, which has been to
11   separately charge the jury on this issue. See, e.g., Instruction No. 28, Infospan, Inc. v.
12   Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.)
13   (“In addition to the other requirements for a trade secret I just listed, InfoSpan must
14   prove all of the following.”) (“InfoSpan Instruction”).
15         Specifically, Plaintiffs must at least establish (1) why the particular combination
16   is a novel and/or “unique combination [that] affords a competitive advantage,” e.g.,
17   United States v. Nosal, 844 F.3d 1024, 1042 (9th Cir. 2016); O2 Micro Int’l Ltd. v.
18   Monolithic Power Sys., Inc., 420 F. Supp. 2d 1070, 1089 (N.D. Cal. 2006), and (2) that
19   they owned or possessed the entire secret as a combination (as opposed to simply
20   creating it “just for this litigation”), Infospan Instruction; see also Altavion, Inc. v.
21   Konica Minolta Sys. Lab’y, Inc., 226 Cal. App. 4th 26, 48 (2014) (in determining
22   possession, court must consider whether plaintiff possessed trade secret as whole rather
23   than whether it possessed individual components “in isolation”). Plaintiffs’ assertion
24   that “no case law supports” these evidentiary restrictions is wrong. Before the parties
25   exchanged arguments Apple provided Plaintiff with nearly a dozen citations in its
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27   53
       This rebuts Plaintiffs’ reliance on Imi-Tech, Sinclair, and Bladeroom, none of which
28   deal with the special context of combination trade secrets.

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 1   “Authority” footnote for Proposed Instruction No. 22B, many of which Apple also relied
 2   upon in its opposition to Plaintiffs’ Daubert motion, Dkt. 1225. Plaintiffs have made no
 3   attempt to rebut those cases during the parties’ exchanges. They should not be permitted
 4   to do so for the first time in the final version of their arguments, when Apple lacks the
 5   opportunity to respond in writing.
 6         Apple objects to Plaintiffs’ counter-proposal, which repeats the same basic
 7   mistake as the second-to-last paragraph of their Proposed Instruction No. 19A. It
 8   describes the chief benefit of the doctrine (the fact that the plaintiff need not show that
 9   every aspect of the purported secret was not generally known) without identifying any
10   of its limitations. Plaintiffs cite no authority that has taken such an expansive view of
11   the doctrine.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 2354
 2                  Certain Employment Agreement Provisions Are Void
 3         Every contract by which anyone is restrained from engaging in a lawful business
 4   or profession of any kind is, to that extent, void. The Court has determined that the
 5   language of the confidentiality provisions, non-compete provisions, and non-solicitation
 6   provisions contained in the Employee Confidentiality Agreements that Dr. Lamego and
 7   Dr. O’Reilly signed with Masimo and Cercacor is void.
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       Authority: Cal. Bus. & Prof. Code § 16600; Brown v. TGS Mgmt. Co., LLC, 57 Cal.
27   App. 5th 303, 318 (2020); Steinberg Moorad & Dunn Inc. v. Dunn, 136 F. App’x 6, 10
28   (9th Cir. 2005).

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 1                        Apple’s Position: Proposed Instruction No. 23
 2          Apple will seek a ruling from the Court that the confidentiality, non-compete, and
 3   non-solicitation provisions of the employment contracts that Masimo and Cercacor
 4   required Dr. O’Reilly and Dr. Lamego to sign are invalid under California Business &
 5   Professions Code § 16600.
 6          The Ninth Circuit has held that a “court err[s] in failing to instruct the jury that [a
 7   relevant] clause in [an] employment contract was invalid under … Cal. Bus. & Prof.
 8   Code section 16600” where that the invalidity of that clause is material to a party’s
 9   defense. Steinberg Moorad & Dunn Inc. v. Dunn, 136 F. App’x 6, 10 (9th Cir. 2005).
10   The invalidity of these provisions is material to Apple’s defense at least as to Plaintiffs’
11   argument that they took reasonable efforts to maintain the secrecy of the alleged trade
12   secrets, see generally Dkt. 1439 at 7-8 & n.2 (discussing relevance of confidentiality
13   provisions when ruling on Apple’s motion in limine No. 4), and to Apple’s unclean
14   hands defense. Because invalidity is a question of law for the Court, Brown v. TGS
15   Mgmt. Co., LLC, 57 Cal. App. 5th 303, 318 (2020), the only proper way raise validity
16   to the jury is via a targeted instruction.
17          Plaintiffs offer no reasoning or authority to support their various procedural
18   objections to Apple’s proposed instruction. Motions in limine are not mandatory, and
19   there is no provision of the Federal Rules of Civil Procedure or Evidence stating that a
20   party’s legal position at trial is limited by the scope of a motion in limine. Nor is there
21   any procedural rule that would preclude Apple from seeking a legal ruling at trial simply
22   because Apple did not move for summary judgment on that same point. Indeed, the
23   Ninth Circuit’s Steinberg decision resolved a Section 16600 challenge at the jury
24   instruction stage.
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 1              Masimo’s Objections to Apple’s Proposed Instruction No. 23
 2         Apple’s proposed instruction is wholly unsupported. Apple cites no statute, case,
 3   model instruction, or any other authority that supports its proposal. Nor has the court
 4   entered any finding that any provision “is void.” To the contrary, the Court rejected
 5   Apple’s “belated facial attack on the confidentiality provisions” of Masimo’s Employee
 6   Confidentiality Agreements in denying Apple’s motion in limine no. 4. Dkt. 1469 at 6–
 7   7. Apple is not entitled to a pretrial ruling on the validity of Masimo’s contracts.
 8         Moreover, Apple seeks to instruct the jury that the “non-compete provisions” and
 9   “non-solicitation provisions” are also void even though Apple did not raise either
10   provision in its motion in limine. Apple’s motion addressed only the confidentiality
11   provisions of the agreements. Dkt. 1304-2 at 1. Nor did the Court’s order on the motion,
12   or the court’s invitation for Apple to file an offer of proof, address any provisions other
13   than the confidentiality provisions. Dkt. 1469 at 8 n.3.
14         Apple argues that the validity of Masimo’s confidentiality provisions is material
15   to rebut Masimo’s reasonable efforts to maintain secrecy of the trade secrets. This Court
16   found those confidentiality provisions valid in True Wearables. Apple also fails to
17   articulate how the validity of these provisions today would bear on Masimo’s efforts to
18   maintain secrecy of its trade secrets at the time of the misappropriation.
19         Apple’s arguments also lack merit for the reasons recited in Masimo’s
20   forthcoming response to Apple’s offer of proof on unclean hands.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 24A55
 2                      Employer Responsibility for Acts of Employees
 3           An employer is responsible for harm caused by the wrongful conduct of its
 4   employees while acting within the scope of their employment.
 5           Conduct is within the scope of employment if:
 6           a. It is reasonably related to the kinds of tasks that the employee was employed
 7              to performed; or
 8           b. It is reasonably foreseeable in light of the employer’s business or the
 9              employee’s job responsibilities.
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28        Authority: CACI 3700, 3720.

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 1                   Masimo’s Argument: Proposed Instruction No. 24A
 2         Masimo’s proposed instruction regarding employer responsibility for acts of
 3   employes combines the CACI model instructions on (1) vicarious responsibility and
 4   (2) scope of employment. See CACI Nos. 3700 and 3720. These CACI instructions are
 5   appropriate where, as here, a corporate defendant may be responsible for actions of its
 6   employees. Apple does not identify any reason why the Court should not adopt this
 7   instruction, or identify any aspect that is allegedly inaccurate. Indeed, the first part of
 8   Apple’s alternative instruction largely tracks Masimo’s proposal from the model
 9   instructions, including that conduct is within the scope of employment if it is “reasonably
10   related” to or “reasonably foreseeable” from the employee’s actual responsibilities.
11   Apple’s alternative instruction then incorrectly asserts, without support, that Apple can
12   avoid such liability if it tells its employees not to commit torts. That is not the law.
13         The Court should also reject Apple’s proposed instruction titled “Corporations as
14   Parties—Fair Treatment and Knowledge.” There is no reason for such an instruction
15   where all three parties are corporations.       Apple’s proposed instruction begins by
16   borrowing language from Ninth Circuit’s Model Instructions on agency with respect to
17   corporations. See Ninth Circuit Model Instructions §§ 4.1, 4.2. But Apple omits the
18   only sentence from those model instructions that actually addresses vicarious liability:
19   “Therefore, a corporation is responsible for the acts of its employees, agents, directors,
20   and officers performed within the scope of authority.” Id. § 4.2. Instead, Apple provides
21   unhelpful examples of how vicarious liability may apply. Apple’s instruction is likely
22   to mislead the jury into thinking such a showing is required because the other
23   instructions generally recite required, not optional, elements. Apple’s proposal is also
24   incomplete regarding issues that are fully addressed in other instructions on trade secret
25   misappropriation and the purported “secrecy requirement” for trade secret protection,
26   e.g. Instruction Nos. 18, 19. Apple’s proposed instruction could only confuse the jury.
27         Apple’s proposal asserts that Masimo must prove Apple “knew or had reason to
28   know that it had improperly acquired the information described by the alleged trade
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 1   secret through an employee who violated a duty of confidentiality to Masimo or
 2   Cercacor.” But that is similar to the standard for showing direct liability. Apple thus
 3   seeks to eliminate Masimo’s theory of vicarious liability by defining vicarious liability
 4   as requiring the same proof as direct liability.
 5         Apple argues that “the appropriate imputation question is when knowledge can be
 6   imputed to the company, not when liability can be imputed.” Apple asserts, without
 7   support, that “indirect misappropriation” under Cal. Civ. Code § 3426.1(b)(2)(B)(iii) is
 8   the only claim Masimo has preserved. That is false. As discussed, Masimo alleged
 9   direct liability for misappropriation through acquisition, use, and disclosure. See, e.g.,
10   Dkt. 296-1 ¶¶ 228-232 (acquisition), 229-257 (use and disclosure). Masimo has also
11   alleged indirect liability through respondeat superior. Id. ¶¶ 258-261.
12         Apple cites two cases to support its suggestion that the only valid theory of
13   indirect misappropriation is set forth in Cal. Civ. Code §3426.1(b)(2)(B)(iii). Both cases
14   referred to the statute in referencing “indirect” misappropriation, but neither held that is
15   the only type of indirect misappropriation or that respondeat superior does not apply to
16   misappropriation. See Steinberg Moorad & Dunn, Inc. v. Dunn, 2002 WL 31968234, at
17   *23 (C.D. Cal. Dec. 26, 2002), rev’d in part on other grounds, 136 Fed. App’x 6, 9 (9th
18   Cir. 2005); CleanFish, LLC v. Sims, 2020 WL 1274991, at *10 (N.D. Cal. Mar. 17,
19   2020).
20         Apple asserts, without explanation, that Masimo’s proposed instruction somehow
21   conflicts with the inevitable disclosure doctrine. Apple’s argument makes no sense.
22   Inevitable disclosure bars a plaintiff from filing suit based on asserting that working in
23   the field will inevitably lead to trade secret misappropriation. Respondeat superior
24   allocates liability for acts of misappropriation. There is no conflict between the two.
25         Apple argues Masimo did not preserve a theory of liability based on respondeat
26   superior. Apple is wrong. Masimo’s complaint specifically alleges that Apple is “liable
27   for its employees’ use and disclosure of Plaintiffs’ Confidential Information under the
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 1   doctrine of respondeat superior ….” Dkt. 296-1 ¶ 260. Masimo then included extensive
 2   factual allegations explaining its respondeat superior allegations. Id. ¶¶ 258-261
 3            Apple claims the Court has “not directly ruled on Plaintiffs’ respondeat superior
 4   theory…” Not so. Apple moved to dismiss those allegations. Both parties agreed
 5   respondeat superior is a valid legal theory for trade secrets and both parties agreed that
 6   Brain Injury Ass’n of Cal. v. Yari, 2020 WL 3643482, at *6 (C.D. Cal. Apr. 30, 2020)
 7   set forth the correct legal standard. See Dkt. 309-1 at 16; Dkt. 323 at 19. The Court held
 8   “Plaintiffs have stated a theory of misappropriation based on respondeat superior as to
 9   all relevant trade secrets.” Dkt. 350 at 9. The Court found Masimo failed to plead
10   sufficient facts to establish respondeat superior for only the “business-, marketing-, and
11   hospital-related trade secrets ….” Id. at 10. Thus, there should be no dispute that
12   Masimo presented a sufficient theory at least for the technical trade secrets. For the
13   business and marketing trade secrets, discovery revealed such facts and Masimo intends
14   to establish those facts at trial. See Fed. R. Civ. P. 15(b)(2). Apple also seeks to
15   differentiate between Apple employees that are former Masimo employees and
16   “different” employees that are not former Masimo employees. As support, Apple cites
17   only Herman and a general treatise on agency. Neither addresses respondeat superior
18   liability for trade secret misappropriation. Moreover, Apple’s own cited authority states
19   that “[k]nowledge acquired by an agent is imputed to the principal even when the
20   knowledge is not actually communicated to the principal.” 2B Cal. Jur. 3d Agency
21   § 177.
22            Finally, Apple seeks to include an instruction that the decision of a Masimo or
23   Cercacor employee to “disclose[] elements” of trade secrets can be “imputed to Masimo
24   or Cercacor.” Apple cites no authority for such an instruction, which is inconsistent with
25   the law that Masimo need only take “reasonable” efforts to protect its trade secrets. Such
26   efforts need not be perfect or prevent all potential acts of misappropriation.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 24B56
 2               Corporations as Parties—Fair Treatment and Knowledge57
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 4      Authority: Manual of Model Civil Jury Instructions for the District Courts of the
     Ninth Circuit §§ 4.1, 4.2; Dkt. 1275 at 10-11 (holding that the relevant factual inquiry
 5   as to “whether Apple knew or should have known that Lamego breached []his duty” is
 6   whether “Apple had reason to believe that Lamego breached his duty by supplying
     information to it shortly after being hired”); 3 Witkin, Summary 11th Agency § 165
 7   (2022) (“[W]here actual knowledge in the subjective sense is required, imputed
 8   knowledge will not suffice.”); 2B Cal. Jur. 3d Agency § 177 (Where “the situation
     specially requires that the principal have actual knowledge, the constructive knowledge
 9   with which the principal is charged by reason of the knowledge of the agent” does not
10   suffice.); Herman v. Los Angeles Cnty. Metro. Transportation Auth., 71 Cal. App. 4th
     819, 828 n.7 (1999) (holding that uncommunicated knowledge of an agent is not imputed
11   to the principle “where the principal must have actual knowledge” under the applicable
12   standard for liability); CleanFish, LLC v. Sims, 2020 WL 1274991, at *10 (N.D. Cal.
     Mar. 17, 2020) (holding that indirect misappropriation requires the defendant had actual
13   knowledge or had reason to have actual knowledge that information was acquired by
14   improper means).
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15      Apple’s Position: Should the Court disagree that Apple’s preferred instruction is
     appropriate, Apple offers in the alternative the following instruction on the imputation
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     of knowledge in the case of an employee’s unauthorized act:
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                 Usually, a corporation is charged with the knowledge that its employees
18         obtained within the scope of their employment. Conduct is within the scope of
19         employment if:
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              1. It is reasonably related to the kinds of tasks that the employee was
21               employed to perform; or
22            2. It is reasonably foreseeable in light of the employer’s business or the
                 employee’s job responsibilities.
23               However, if you find that Dr. Lamego or Dr. O’Reilly violated a duty of
           confidentiality to Masimo or Cercacor, and that such a confidentiality violation
24
           was prohibited by Apple, then Apple can only be deemed to have known or that
25         it should have known about the confidentiality violation if another Apple
26         employee knew or should have known about the authorized action.

27   See 2B Cal. Jur. 3d Agency § 105 (“[W]here knowledge of an agent’s unauthorized act
     is acquired by another agent while acting within the scope of his or her authority for the
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 1         The Plaintiffs and Defendant in this case are corporations. A corporation is
 2   entitled to the same fair and conscientious consideration by you as any party.
 3         Under the law, a corporation is considered to be a person. It can only act through
 4   its employees, agents, directors, or officers.
 5         For Masimo and Cercacor to prove that Apple misappropriated an alleged trade
 6   secret by use or by disclosure, they must prove that Apple knew or had reason to know
 7   that it had improperly acquired the information described by the alleged trade secret
 8   through an employee of Apple who violated a duty of confidentiality to Masimo or
 9   Cercacor. Masimo and Cercacor can prove this if they prove that a different employee
10   of Apple learned facts within the scope of his or her job such that he or she knew or had
11   reason to know that Masimo and Cercacor’s former employee had breached his duty of
12   confidentiality.
13         Likewise, to the extent that an employee of Masimo or Cercacor, while acting
14   within the scope of his or her job, disclosed to the public elements of the information
15   that are now alleged to be trade secrets, those actions can be imputed to Masimo or
16   Cercacor.
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25   same principal, that knowledge will be imputed to the principal to satisfy the requirement
26   that the principal, to be bound by a ratification, must have full knowledge of the
     circumstances surrounding the unauthorized transaction. However, the knowledge of
27   the agent who performed the unauthorized act ordinarily is not sufficient for this
28   purpose.”).

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 1                      Apple’s Position: Proposed Instruction No. 24B
 2         Apple objects to Plaintiffs’ proposal to instruct the jury on respondeat superior,
 3   as allowing Plaintiffs to satisfy their burden to establish misappropriation based on
 4   vicarious liability undermines CUTSA’s plain text.58 In a case where a defendant
 5   corporation allegedly obtained a trade secret through an employee, the appropriate
 6   imputation question is when knowledge can be imputed to the company, not when
 7   liability can be imputed. Specifically, where a defendant allegedly obtained a trade
 8   secret through a third-party conduit, such as a plaintiff’s former employee, CUTSA
 9   requires proof that the defendant “knew or had reason to know that [its] knowledge of
10   the trade secret” was “[d]erived from or through a person who owed a duty to the
11   [plaintiff] to maintain its secrecy.” Cal. Civ. Code §3426.1(b)(2)(B)(iii). This is a so-
12   called “indirect misappropriation” claim, and it is the only one Plaintiffs have preserved.
13   See Steinberg Moorad & Dunn, Inc. v. Dunn, 2002 WL 31968234, at *23 (C.D. Cal.
14   Dec. 26, 2002), rev’d in part on other grounds, 136 Fed. App’x 6, 9 (9th Cir. 2005);
15   CleanFish, LLC v. Sims, 2020 WL 1274991, at *10 (N.D. Cal. Mar. 17, 2020); infra
16   Apple’s Argument in support of Proposed Instruction No. 26B.
17         Allowing a verdict to rest on imputation of the alleged conduit employee’s
18   liability would render the Legislature’s “knew or had reason to know” requirement a
19   nullity. Under Plaintiffs’ Proposed Instruction No. 24A, there would never be a need to
20   show that a defendant employer “knew or had reason to know” about an employee’s
21   wrongful acquisition of a trade secret, because the non-party employee’s knowing use
22   would suffice for the employer’s liability. Plaintiffs’ approach would also clash with
23   California’s longstanding rejection of the inevitable disclosure doctrine—i.e., the notion
24   that a plaintiff can prove a misappropriation claim simply by establishing that the
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26   58
       Plaintiffs’ assertion that “Apple has not provided any reason why the Court should not
27   adopt [their proposed] instruction or identify any aspect as allegedly inaccurate” is
28   highly misleading, as it was written before Apple served Plaintiffs with its arguments.

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 1   defendant employed its former employee in a position that would “inevitably lead him
 2   to rely on the plaintiff’s trade secrets.” See U.S. Legal Support, Inc. v. Hofioni, 2013
 3   WL 6844756, at *11 n.8 (E.D. Cal. Dec. 20, 2013) (citing Whyte v. Schlage Lock Co.,
 4   101 Cal. App. 4th 1443, 1458 (2002)).
 5         Tellingly, Plaintiffs do not identify any Ninth Circuit case law that applies the
 6   respondeat superior doctrine to a CUTSA claim—indeed, they do not cite any case law
 7   at all. Although this Court has not directly ruled on Plaintiffs’ respondeat superior
 8   theory, it implicitly rejected that theory at the summary judgment stage where the Court
 9   explained that the relevant test is whether “Apple had reason to believe Lamego
10   breached his duty by supplying information to it.” Dkt. 1275 at 11; see also Dkt. 1085-
11   1 at 27 n.4 (Plaintiffs’ motion for partial summary judgment, arguing for respondeat
12   superior liability). In other words, the Court’s ruling indicated that the question for trial
13   is whether Apple knew or had reason to believe Lamego and/or O’Reilly breached their
14   duties to Plaintiffs, not whether Lamego and/or O’Reilly themselves knew or had reason
15   to know they breached their obligations. See also Cisco Systems, Inc. v. Chung, 2023
16   WL 2622155, at *12 (N.D. Cal. Mar. 22, 2023) (“[E]ven if” there were “a triable issue
17   as to” the company’s vicarious “disclosure or use, [the plaintiff] must also show that any
18   such disclosure/use was made when [the employer] knew or had reason to know that the
19   information was either (1) obtained by improper means, (2) subject to a duty to maintain
20   its secrecy or limit its use.” Id. (emphases added)).
21         Apple’s proposed instruction, on the other hand, complies with the agency law
22   principle that “where the principal must have actual knowledge” under the applicable
23   standard of liability, the uncommunicated knowledge of an agent is not imputed to the
24   principal. See Herman v. Los Angeles Cnty. Metro. Transportation Auth., 71 Cal. App.
25   4th 819, 828 n.7 (1999); see also 2B Cal. Jur. 3d Agency § 177 (Where “the situation
26   specially requires that the principal have actual knowledge, the constructive knowledge
27   with which the principal is charged by reason of the knowledge of the agent” does not
28   suffice.). To be liable, Apple must have actual knowledge of, for example, Lamego’s
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 1   alleged use of Plaintiffs’ alleged trade secret information. But Plaintiffs could not
 2   establish Apple’s actual knowledge by imputing Lamego’s awareness of his own alleged
 3   unauthorized action. To establish that Apple actually knew, Plaintiffs must instead
 4   prove that another Apple employee actually knew the required information, and that
 5   second employee’s knowledge can be imputed to company under the standard rule. See
 6   2B Cal. Jur. 3d Agency § 104 (“[W]here knowledge of an agent’s unauthorized act is
 7   acquired by another agent while acting within the scope of his or her authority for the
 8   same principal, that knowledge will be imputed to the principal” but “the knowledge of
 9   the agent who performed the unauthorized act ordinarily is not sufficient for this
10   purpose.”).
11         The last paragraph of Plaintiffs’ argument demonstrates why their proposed
12   instruction is flawed. Plaintiffs object to one sentence of Apple’s proposed instruction
13   (which provides that a decision of one of Plaintiffs’ employees to disclose the purported
14   trade secrets can be imputed to Plaintiffs) because such an approach is inconsistent with
15   CUTSA’s requirement that employers need only take reasonable efforts to maintain
16   secrecy. If that were so, then this Court need not deliver that sentence, but by the same
17   token, Plaintiffs’ entire proposed instruction—which is fundamentally inconsistent with
18   CUTSA’s knowledge requirement—cannot stand.
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 2559
 2                       Trade Secret Misappropriation by Acquisition
 3           Apple misappropriated Asserted Trade Secret by acquisition if Apple acquired the
 4   Asserted Trade Secret and knew or had reason to know that Apple used improper means
 5   to acquire it.
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28        Authority: CACI No. 4405.

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 1                    Masimo’s Argument: Proposed Instruction No. 25
 2         Masimo’s proposed instruction tracks exactly the language of CACI No. 4405.
 3   There is no dispute that Masimo accuses Apple of misappropriation by acquisition.
 4   Masimo alleged that Apple misappropriated Masimo trade secrets by acquisition.
 5   Dkt. 296-1 (Fourth Amended Complaint) ¶¶ 224, 228, 232. Masimo’s expert, Dr. Vijay
 6   Madisetti, opined that Apple acquired each of Masimo’s asserted trade secrets.
 7         Apple argues that the jury should not be instructed on this theory because Masimo
 8   purportedly did not disclose a damages theory that is based solely on Apple’s
 9   misappropriation by acquisition. The Court should reject Apple’s argument for three
10   reasons.
11         First, the statute refutes Apple’s assertion (and the Directions for Use in CACI)
12   that proving damages is required to establish liability for trade secret misappropriation.
13   CUTSA expressly provides for equitable recovery for misappropriation even where a
14   plaintiff fails to prove it suffered damages and fails to prove the defendant was unjustly
15   enriched:
16         If neither damages nor unjust enrichment caused by misappropriation
17         are provable, the court may order payment of a reasonable royalty for no
18         longer than the period of time the use could have been prohibited.
19   Cal. Civ. Code § 3426.3(b) (emphasis added). Moreover, in True Wearables, this Court
20   has also found liability and granted an injunction even though it did not award any
21   monetary relief. Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396, at *36
22   (C.D. Cal. Nov. 7, 2022). Thus, Apple’s argument—that an alleged failure to disclose
23   a theory of damages could prevent Masimo from seeking a jury verdict on liability for
24   trade secret misappropriation via acquisition—is wrong as a matter of law.
25         Second, Apple’s argument is an untimely request for summary judgment. Apple
26   is free to argue to the jury that Masimo failed to present evidence of damages due to
27   misappropriation by acquisition. But Apple cannot eliminate Masimo’s claim for
28   misappropriation via acquisition before the trial begins.
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 1         Third, Masimo disclosed damages theories that are not limited to any particular
 2   form of misappropriation, and included misappropriation by acquisition, use, or
 3   disclosure.   For example, Masimo disclosed that Apple’s misappropriation by
 4   acquisition harmed Masimo and unjustly enriched Apple, potentially even before Apple
 5   used or disclosed the trade secrets. Masimo disclosed that, “[b]y misappropriating
 6   Masimo’s trade secrets, Apple concluded it could avoid engaging with Masimo and
 7   Cercacor on terms for a business relationship and deprived Masimo and Cercacor of the
 8   benefit of that business relationship.” See Masimo’s April 15, 2022, Supplemental
 9   Response to Apple’s Interrogatory No. 17 at 11, 16. Masimo further explained that
10   “Apple unjustly benefited from the saved cost of development and a head start period,
11   which may have been indefinitely long.” Id. at 24-25.
12         Indeed, before the Court ruled on Apple’s Daubert motion, Apple moved to
13   exclude Masimo’s damages expert because his opinion was based on Apple’s
14   acquisition, disclosure, or use. See e.g., Dkt. 1116-1 at 19-20 (Apple argued “according
15   to Kinrich ‘if the jury finds that Apple misappropriated one secret that it never used’ his
16   calculations remain the same.’”); Dkt. 1198-1 (“Plaintiffs concede that ‘Kinrich’s
17   calculations do not depend on the specifics of how Apple misappropriated Masimo’s
18   trade secrets.’”) Thus, Apple’s prior briefing reveals that even Apple understood
19   Masimo’s damages theory included misappropriation by acquisition.
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 1         Apple’s Position: Objection to Plaintiffs’ Proposed Instruction No. 25
 2         The Directions for Use throughout CACI’s Trade Secrets chapter are clear and
 3   consistent: A “misappropriation by acquisition” “instruction should not be given unless
 4   there is evidence that the acquisition resulted in damages, other than damages from
 5   related disclosure or use.” Directions for Use, CACI 4405; accord Directions for Use,
 6   CACI 4400 (Misappropriation of Trade Secrets—Introduction); Directions for Use,
 7   CACI 4401 (Misappropriation of Trade Secrets—Essential Factual Elements). Plaintiffs
 8   have not preserved any argument for how mere acquisition (as opposed to use or
 9   disclosure) could have caused harm or unjust enrichment. Nor is there any evidentiary
10   basis in the record from which a reasonable juror could find that mere acquisition
11   (without use or disclosure) “caused” “actual loss” or “unjust enrichment.” Cal. Civ.
12   Code § 3426.3 (a). Plaintiffs cite no case and provide no explanation for why this Court
13   should simply disregard CACI’s Directions for Use.
14         Apple has repeatedly raised this preservation issue in filings and other
15   communications related to both the Joint Pre-Trial Order and these jury instructions.
16   See, e.g., Dkt. 1411 at 7 n.5 (“Apple objects to Plaintiffs seeking damages based on
17   acquisition only; Apple contends no such damages theory has ever been disclosed.”).
18   Despite Apple’s repeated requests, Plaintiffs did not address the question until March 9,
19   2023. Even then, their response lacked pin cites or any specific explanation of how the
20   interrogatory response disclosed an acquisition theory of damages. (Plaintiffs also
21   quoted Apple’s briefing regarding Plaintiffs’ expert damages report, but the cited
22   passage specifically asserted that Mr. Kinrich had “assessed damages on a per use
23   basis.” Dkt. 1116-1 at 20 (emphasis added).)
24         On March 23, 2023, Plaintiffs finally provided the supposed basis for their
25   damages claim, but the materials they point to are insufficient. For example, they rely
26   on allegations in the operative complaint, but such unsupported assertions cannot lay the
27   requisite evidentiary foundation for a jury instruction. Plaintiffs also reference Dr.
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 1   Madisetti’s expert report, but Madisetti addressed only whether Apple acquired the
 2   purported secrets—he was not asked to provide a damages theory.
 3         Finally, Plaintiffs point to two passages of an interrogatory response, but neither
 4   supports a theory that Plaintiffs suffered harm from acquisition alone. For instance,
 5   Plaintiffs assert that Apple allegedly avoided entering a “business relationship” with
 6   Plaintiffs, “depriv[ing] Masimo and Cercacor of the benefit of that business
 7   relationship.” Response to Interrogatory No. 17 at 11. But Apple’s mere acquisition of
 8   the information would not permit Apple to “avoid engaging” with Plaintiffs; for this
 9   theory to work, Apple would have had to make use of the information in some way. For
10   similar reasons, Plaintiffs’ allegation that “Apple unjustly benefited from the saved cost
11   of development and a head start period,” id. at 16, does not identify a theory of
12   acquisition damages. Apple would not have benefited unless it used the alleged trade
13   secret information. In short, both of “[t]hese theories reference acquisition only insofar
14   as it forms a logical prerequisite to use or disclosure.” Order Re Jury Instruction on
15   Damages Based Only On Acquisition, Waymo LLC v. Uber Techs., Inc., No. C 17-939
16   (N.D. Cal. Jan. 18, 2018), Dkt. 2495 at 5.
17         Because Plaintiffs lack any evidentiary foundation to argue that they are entitled
18   to damages for misappropriation by acquisition, Apple objects to their request for an
19   instruction on that front, and it should be rejected. A party is only “entitled to an
20   instruction about his or her theory of the case if it is supported by law and has foundation
21   in the evidence.” Clem v. Lomeli, 566 F.3d 1177, 1181 (9th Cir. 2009) (emphasis added).
22   Because Plaintiffs have not disclosed or preserved any argument that mere acquisition
23   caused either harm or unjust enrichment, they cannot now “fairly raise” the theory that
24   would require the Court to deliver “such an instruction.” United States v. Begay, 33
25   F.4th 1081, 1088 (9th Cir. 2022).
26         Plaintiffs’ legal arguments are unavailing. They contend that even if Apple’s
27   alleged acquisition caused no harm or unjust enrichment, the jury should be charged on
28   misappropriation by acquisition because Plaintiffs could supposedly obtain reasonable
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 1   royalties merely for proving Apple’s harmless acquisition. As an initial matter “[u]nder
 2   California trade secret law, [Plaintiffs] must show ‘use,’ neither ‘acquisition’ nor
 3   ‘disclosure’ are sufficient for reasonable royalty damages.” Cisco Sys., Inc. v. Chung,
 4   2023 WL 2622155, at *7 (N.D. Cal. Mar. 22, 2023). But even if acquisition alone could
 5   support a reasonable royalties award, Plaintiffs’ argument misunderstands the purpose
 6   of the reasonable royalty remedy. CUTSA provides for a reasonable royalty only where
 7   the court determines there was injury or “unjust enrichment” caused by proven
 8   misappropriation but it is “unprovable.” Cacique, Inc. v. Robert Reiser & Co., 169 F.3d
 9   619, 623 (9th Cir. 1999); Cal. Civ. Code § 6426.3(b). The Ninth Circuit has recognized
10   that “[c]ases finding unjust enrichment unprovable under § 3426.3 have involved
11   unusual circumstances,” such as an “infringing product never brought to market, just
12   used internally,” or “infringing technology [that] was only a tiny part of value of
13   complex software.” Id. (citing Unilogic v. Burroughs, 10 Cal.App.4th 612, 626-630
14   (1992) and Vermont Microsystems v. Autodesk, 138 F.3d 449 (2d Cir.1998)). Plaintiffs
15   identify no case granting a reasonable royalty where, as here, there is no theory of how
16   misappropriation by acquisition standing alone caused harm or unjust enrichment.
17         Second, Plaintiffs argue that Apple is procedurally barred from objecting to
18   charging the jury on misappropriation by acquisition because Apple did not move for
19   summary judgment on this issue. Plaintiffs cite no authority for this proposition and for
20   good reason—it is Plaintiffs that must establish the legal and factual bases for their
21   proposed instructions. See Clem, 566 F.3d at 1181. Plaintiffs are also wrong to describe
22   objecting to a proposed jury instruction as trying to “eliminate … [a] claim … before
23   the trial has begun,” since these arguments will likely not be resolved until the charge
24   conference.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 26A60
 2                           Trade Secret Misappropriation by Use
 3           Apple misappropriated a Masimo and Cercacor trade secret by use if Apple:
 4              1. Used it without Masimo and Cercacor’s consent; and
 5              2. Did any of the following:
 6                 a. Acquired knowledge of the Asserted Trade Secrets by improper means;
 7                    or
 8                 b. At the time of use, knew or had reason to know that Apple’s knowledge
 9                    of the trade secret was acquired under circumstances giving rise to a
10                    duty to maintain its secrecy or limit its use; or
11                 c. At the time of use, knew or had reason to know that Apple’s knowledge
12                    of the trade secret was derived from or through a person who owed a
13                    duty to Masimo or Cercacor to maintain its secrecy or limit its use.
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28        Authority: CACI No. 4407; Cal. Civ. Code § 3426.1(b)

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 1                       Masimo’s Argument: Proposed Instruction No. 26A
 2         Masimo’s proposed instruction is based on the language of the statute and the
 3   model instruction regarding misappropriation by use. See Cal. Civ. Code § 3426.1(b);
 4   CACI No. 4407.
 5         The Court should reject Apple’s proposed instruction for multiple reasons.
 6         First, Apple falsely suggests that “use” requires that Apple have incorporated the
 7   trade secret “into its own manufacturing technique or product.” Those are examples of
 8   use, but Apple’s proposed instruction would mislead the jury into thinking those are the
 9   only ways to misappropriate a trade secret through use. Apple provides no support for
10   limiting the jury to finding misappropriation based only on such acts.              Apple’s
11   instruction ignores the myriad other ways the jury could find Apple misappropriated
12   Masimo’s trade secrets, including by using Masimo’s trade secrets to develop Apple
13   products and test procedures, or by using Masimo’s trade secrets to avoid spending time
14   and effort pursuing dead ends.           Indeed, Apple’s proposed restrictive language is
15   inconsistent with Apple’s acknowledgement later in the same instruction that
16   misappropriation can include using “information in connection with manufacturing,
17   producing, researching and developing, or marketing” Apple’s products.
18         Second, Apple ignores the structure and language of the statute. As discussed
19   above with regard to Proposed Instruction No. 15A, the statute provides that
20   misappropriation by use can occur if a person:
21         (A)       Used improper means to acquire knowledge of the trade secret; or
22         (B)       At the time of … use, knew or had reason to know that his or her
23                   knowledge of the trade secret was: …
24               (ii)    Acquired under circumstances giving rise to a duty to maintain its
25                       secrecy or limit its use; or
26               (iii)   Derived from or through a person who owed a duty to the person
27                       seeking relief to maintain its secrecy or limit its use. … .”
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 1   Cal Civ. Code § 3426.1(b)(2). Masimo will present evidence in support of all of the
 2   foregoing categories of misappropriation at trial. Not only does Apple propose an
 3   instruction that rewrites the statutory elements, but it also ignores misappropriation by
 4   use under (A) and (B)(iii) above. Thus, Apple’s proposed instruction omits statutory
 5   provisions applicable to this case.
 6         Third, the errors in Apple’s proposed instructions are confirmed by Apple’s
 7   Proposed Instruction No. 28B regarding misappropriation by disclosure. The statute
 8   addresses misappropriation by disclosure and use together.          See Cal. Civ. Code
 9   § 3426.1(b) (“At the time of disclosure or use, … .”). The statute identifies the same
10   elements as applying to both categories. Id. Yet Apple inexplicably proposes far more
11   restrictive language for misappropriation by use. Apple’s internal inconsistencies
12   confirm that Apple is imposing non-existent requirements.
13         Fourth, Apple’s proposed instruction is improperly limited to O’Reilly and
14   Lamego. Masimo will prove that Apple initially acquired trade secrets via O’Reilly and
15   Lamego. But Apple seeks to limit the jury to finding knowledge that O’Reilly and
16   Lamego had the required knowledge or duty. The jury may find that others at Apple
17   had knowledge that the trade secret was acquired under a duty or derived from someone
18   owing a duty without knowing specifically who that person was.
19         Fifth, Apple’s proposed instruction rewrites the statute and confusingly
20   incorporates instructions regarding misappropriation through derivation into the
21   instruction regarding misappropriation through use. The Court should instruct the jury
22   regarding derivation as part of the separate Proposed Instruction No. 27.
23         Apple’s proposed instruction is also biased and unbalanced. This is evident from
24   the last three paragraphs of Apple’s proposal, which do not appear in the CACI model
25   instruction. Apple’s instruction describes what is “not sufficient” to show Apple had
26   access to the trade secrets or to speculate about inevitable use but does not describe what
27   is sufficient for such a showing.
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 1         The second to last paragraph of Apple’s proposal risks biasing the jury against
 2   Masimo by suggesting a heightened burden before the jury could find for Masimo (e.g.,
 3   “provided that the information Apple actually used was substantially derived from the
 4   alleged trade secret”). The last paragraph inaccurately asserts that Masimo must show
 5   that “another person at Apple knew or had reason to know that Apple had improperly
 6   obtained an alleged trade secret from Masimo or Cercacor through either Dr. Lamego or
 7   Dr. O’Reilly.” Apple provides no support for such an instruction. As discussed above
 8   in the context of Proposed Instruction No. 24A, Apple seeks to instruct the jury
 9   incorrectly on ways that Apple could avoid liability for misappropriation by its
10   employees.
11         Apple argues that Masimo has disclosed only a theory that Apple obtained
12   Masimo’s trade secrets from Lamego and O’Reilly after Apple hired them. As explained
13   in Proposed Instruction No. 24A, Masimo disclosed a theory of respondeat superior that
14   would hold Apple liable for the acts of its employees. Thus, the other statutory acts of
15   improper use and disclosure are applicable and have been disclosed in this case.
16         Apple argues that its proposal distinguishes between “mere access to a trade
17   secret, which is not actionable, and misappropriation by use.” Apple also argues that it
18   properly included an instruction on the inevitable disclosure doctrine. But Masimo
19   never argued that “mere access to a trade secret” was sufficient to show
20   misappropriation. Nor has Masimo ever relied on inevitable disclosure. Indeed, this
21   Court distinguished Apple’s cited authority (Hooked) because Masimo is not relying on
22   the inevitable disclosure doctrine. See Masimo Corp. v. Apple Inc., 2021 WL 925885,
23   at *8 (C.D. Cal. Jan. 6, 2021). Allowing Apple to present these instructions to the jury
24   would be confusing because it addresses arguments not at issue.
25         Apple’s proposal also combines separate concepts into a single sentence (access
26   to trade secrets and influencing designs by non-trade secret information).         Taken
27   together, Apple’s instruction could cause the jury to believe that accessing Masimo’s
28   trade secrets to influence Apple’s designs is not actionable. The opposite is true. See
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 1   PMC, Inc. v. Kadisha, 78 Cal. App. 4th 1368, 1383 (2000) (improper “use” of a trade
 2   secret includes “[e]mploying the confidential information” in almost any way, including
 3   in “research or development”); see also O2 Micro Int’l Ltd. V. Monolithic Power sys.,
 4   Inc., 399 F. Supp. 2d 1064, 1072 (N.D. Cal. 2005) (“internal experimentation with trade
 5   secret information not resulting in a market product can constitute use”), amended on
 6   other grounds by 420 F. Supp. 2d 1070.
 7         Apple cites Hooked Media Grp., Inc. v. Apple Inc., 55 Cal. App. 5th 323, 332,
 8   (2020), but that case addressed the inevitable disclosure doctrine. It held “evidence that
 9   Apple hired engineers with knowledge of Hooked’s trade secrets and that the engineers
10   inevitably would have relied on that knowledge in their work for Apple does not support
11   a claim for improper acquisition of a trade secret.” Id. As discussed above, the Court
12   previously distinguished Hooked because Masimo is not relying on the inevitable
13   disclosure doctrine. See Masimo Corp. v. Apple Inc., 2021 WL 925885, at *8 (C.D. Cal.
14   Jan. 6, 2021).
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 26B61
 2                        Third Element—Misappropriation by Use
 3         The third element of Masimo and Cercacor’s claim with respect to an alleged trade
 4   secret is that Apple misappropriated through improper use or disclosure. I will now
 5   explain what these terms mean.
 6         Masimo and Cercacor can prove that Apple misappropriated by use a particular
 7   alleged trade secret if they prove that Apple both:
 8            1. Used the alleged trade secret without Masimo or Cercacor’s consent; and
 9            2. At the time of its use, knew or had reason to know that (i) Apple’s
10                knowledge of the alleged trade secret came from or through Marcelo
11                Lamego or Michael O’Reilly, and (ii) Dr. Lamego and Dr. O’Reilly had a
12                duty to Masimo and Cercacor to limit use of the alleged trade secret.
13         To prove “use,” it is not sufficient to show either that Apple had access to the
14   alleged trade secret while developing its own products or that Apple’s product design or
15   practices were influenced by non-trade secret information obtained from a former
16   employee of Masimo or Cercacor. Nor is it enough to speculate that a former employee
17   of Masimo or Cercacor would inevitably have used the alleged trade secret in his or her
18   work at Apple.
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21   61
       Authority: CACI 4407 (adapted); Instruction No. 34, Infospan, Inc. v. Emirates NBD
     Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.); PMC, Inc. v.
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     Kadisha, 78 Cal. App. 4th 1368, 1383 (2000); Silvaco Data Sys. v. Intel Corp., 184
23   Cal.App.4th 210, 224 (2010), disapproved on other grounds Kwikset Corp. v. Superior
     Court, 51 Cal. 4th 310, 337 (2011) (One “engages in the ‘use’ of a secret, in the ordinary
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     sense, when one directly exploits it for his own advantage, e.g., by incorporating it into
25   his own manufacturing technique or product.”); Hooked Media Grp., Inc. v. Apple Inc.,
26   55 Cal. App. 5th 323, 332 (2020); Court’s Penultimate Jury Instruction on Trade Secret
     Misappropriation No. XV, Waymo LLC v. Uber Techs., Inc., No. C 17-939 (N.D. Cal.
27   Jan. 3, 2018) Dkt. 2449 at 7-8; SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176,
28   1997 (S.D. Cal. 2012) (describing derivative use).

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 1         Masimo and Cercacor may still prove that Apple disclosed or used the alleged
 2   trade secret if Apple knew it had acquired the alleged trade secret through improper
 3   means and then Apple built upon or modified the alleged trade secret before disclosing
 4   or actually using the resulting information in connection with manufacturing, producing,
 5   researching and developing, or marketing Apple Watch, provided that the information
 6   Apple actually used was substantially derived from the alleged trade secret.
 7         To prove that Apple had the required state of mind, Masimo and Cercacor must
 8   prove that before the alleged use, another person at Apple knew or had reason to know
 9   that Apple had improperly obtained an alleged trade secret from Masimo or Cercacor
10   through either Dr. Lamego or Dr. O’Reilly.
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 1                       Apple’s Position: Proposed Instruction No. 26B
 2           The parties agree that CACI 4407 should serve as the basic model for this
 3   instruction. Only Apple’s proposal, however, accurately reflects the record in this case,
 4   as Plaintiffs’ counter-proposal includes two theories of misappropriation that Plaintiffs
 5   have not preserved (i.e., (2)(a) and (2)(b)).
 6           Specifically, the Directions for Use accompanying CACI 4407 state that “[i]n
 7   element 2, select the applicable statutory act(s) alleged to constitute misappropriation by
 8   use,” and the only theory Plaintiffs have disclosed is “indirect misappropriation,” i.e.,
 9   that Apple obtained their alleged trade secrets through Plaintiffs’ former employees,
10   Marcelo Lamego and Dr. Michael O’Reilly, after Apple hired them. See CleanFish,
11   LLC v. Sims, 2020 WL 1274991, at *10 (N.D. Cal. Mar. 17, 2020) (describing
12   requirements for indirect misappropriation); see also supra Apple’s Position: Proposed
13   Instruction No. 24B. Plaintiffs have failed to identify an evidentiary basis for presenting
14   the alternate theories of improper use listed in their proposed instruction to the jury.
15   Plaintiffs’ assertion that they “will present evidence in support of all of the foregoing
16   categories of misappropriation at trial” is wholly inadequate. If there is no evidentiary
17   basis in the discovery record, then Plaintiffs’ proposed instruction should be rejected.
18   And if Plaintiffs have specific evidence in mind and are intentionally sandbagging
19   Apple’s ability to propose a responsive instruction and respond to Plaintiffs’ proposed
20   instruction in writing, their conduct is improper. Apple would be severely prejudiced if
21   Plaintiffs subsequently identify specific evidence, because Apple would be denied an
22   opportunity to respond in writing. Apple raised all these points in an email to Plaintiffs’
23   counsel on March 24, 2023, but Plaintiffs refused to identify the factual underpinnings
24   of their alternative liability theories—they should not be permitted to do so at a later
25   date.
26           Plaintiffs mislead when they fault Apple’s proposed instruction for “limit[ing] the
27   jury to finding that O’Reilly and Lamego had the required knowledge or duty.”
28   Although Plaintiffs assert that “[t]he jury may properly find that others at Apple had the
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 1   required knowledge or duty,” they have identified no purported evidentiary basis for this
 2   claim, and none is apparent in the discovery record. Indeed, this Court recently
 3   confirmed that “Plaintiffs have not alleged that employees other than Drs. O’Reilly and
 4   Lamego misappropriated trade secrets.” Dkt. 1439 at 3.
 5         The remainder of Apple’s proposed instruction lays out the metes and bounds of
 6   Plaintiffs’ theory of indirect misappropriation.      For example, the second-to-last
 7   paragraph of Apple’s proposed instruction describes the related rule of derivative use,
 8   i.e., the various ways in which information could be incorporated into a manufacturing
 9   process or product.    Apple’s proposed language—that Plaintiffs must that Apple
10   “unlawfully acquired and then built upon or modified” the alleged trade secret—follows
11   the test articulated in SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197
12   (S.D. Cal. 2012), a case Plaintiffs themselves rely upon.
13         The paragraph beginning at line 13 addresses the evidence required to distinguish
14   between a party’s mere access to a trade secret (which is not actionable) and
15   misappropriation by use. See Hooked Media Grp., Inc. v. Apple Inc., 55 Cal. App. 5th
16   323, 333 (2020). Apple’s proposed language in this paragraph adapts language from
17   this Court’s instructions in Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-
18   1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.). It also notes California’s rejection of the
19   “inevitable disclosure doctrine.” See supra Apple’s Position: Proposed Instruction No.
20   24B (discussing inevitable disclosure). While Plaintiffs complain that enunciating these
21   legal rules make the “proposed instruction … biased,” Plaintiffs do not assert that
22   Apple’s language misstates the law, and they cite no authority suggesting that different
23   standards apply.
24         The last sentence of the instruction recites the proper standard for imputed
25   knowledge in this context. See supra Apple’s Position: Proposed Instruction No. 24B.
26         Finally, the Court should reject Plaintiffs’ remaining objection—i.e., that Apple’s
27   proposed misappropriation-by-disclosure instruction is simpler. This merely reflects
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 1   that determining whether information was “used” is more complicated than determining
 2   whether it was disclosed. Apple’s proposed instructions reflect these relative challenges.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 2762
 2                       Trade Secret Misappropriation—Derivation
 3         Apple misappropriated an Asserted Trade Secret if Apple unlawfully acquired it
 4   and then built upon or modified it before using, disclosing, or deriving a benefit from it,
 5   including by:
 6         1.     Using, disclosing, or deriving a benefit from a technique or information
 7                derived from the Asserted Trade Secret;
 8         2.     Using, disclosing, or deriving a benefit from a technique or information
 9                closely resembling the Asserted Trade Secret;
10         3.     Adding independent improvements or modifications, so long as the
11                product or process is substantially derived from the Asserted Trade
12                Secret; or
13         4.     Using, disclosing, or deriving a benefit from the Asserted Trade Secret
14                without using all of the elements.
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       Authority: SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal.
25   2012); BladeRoom Grp. Ltd. v. Facebook, Inc., 2018 WL 514923, at *9 (N.D. Cal. Jan.
26   23, 2018); Speed Tech. Assocs. v. Adaptive Commc’n Sys., 1994 WL 449032, at *10
     (N.D. Cal. Aug. 16, 1994); American Can Co. v. Mansukhani, 742 F.2d 314, 328-29 (7th
27   Cir. 1984) (“If the law were not flexible enough to reach such modifications, trade secret
28   protection would be quite hollow.”).

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 1                    Masimo’s Argument: Proposed Instruction No. 27
 2         Neither party relies on a model instruction. Masimo’s proposed instruction, while
 3   not based on a model instruction, is based on caselaw. Apple does not dispute the Court
 4   should instruct the jury with regard to some aspects of misappropriation through
 5   derivation in the context of Apple’s Proposed Instruction No. 26B regarding
 6   misappropriation through use.
 7         The Court should address misappropriation through derivation in a separate
 8   instruction for two reasons. First, a separate instruction will reduce jury confusion by
 9   limiting the number of concepts addressed in each instruction. Second, misappropriation
10   through derivation applies to all of Masimo’s misappropriation theories.
11         Apple criticizes Masimo’s proposal as supposedly expanding misappropriation
12   “beyond that recognized by California law” and imposing liability if Apple “derived any
13   benefit whatsoever” from a “single, undisputedly generally known element” of a trade
14   secret. That is false. Masimo’s proposal requires that Apple unlawfully acquire the
15   trade secret, then “build upon or modif[y] it” before deriving a benefit from it. Thus, in
16   Apple’s example, if the jury found that Apple learned about and decided to implement
17                                                                                   based on
18   technology such as AM radio, the jury would not find Apple misappropriated D3.
19   However, if the jury found that Apple improperly acquired D3 from Lamego, built upon
20   or modified D3 before using it, and derived a benefit from doing so, the jury could
21   properly find that Apple misappropriated D3.
22         Apple concedes, as it must, that misappropriation may occur even if Apple’s
23   product or process is not identical to Masimo’s description of the trade secret. “If the
24   law were not flexible enough to reach such modifications, trade secret protection would
25   be quite hollow.” American Can Co. v. Mansukhani, 742 F.2d 314, 328-29 (7th Cir.
26   1984) Masimo’s instruction helps elucidate this to the jury.
27         Apple also does not dispute the accuracy of point (3) of Masimo’s instruction.
28   However, Apple accuses Masimo of creating points (1), (2), and (4) in Masimo’s
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 1   instruction by cherry-picking quotes from the caselaw. Apple is wrong, and Masimo’s
 2   cases support Masimo’s proposed instruction.
 3         For example, SkinMedica held: “In the context of trade secret misappropriation,
 4   information may be improperly ‘used’ in that it is unlawfully acquired and then built
 5   upon or modified before being disclosed or benefit derived.” SkinMedica, 869 F. Supp.
 6   2d 1176, 1198 (S.D. Cal. 2012).
 7         BladeRoom rejected a defendant’s arguments “that its design did not incorporate
 8   the ‘limitations’ or ‘elements’” of the trade secrets. BladeRoom Group Ltd. v. Facebook,
 9   Inc., 2018 WL 514923, at *9 (N.D. Cal. Jan. 23, 2018). The court further held that such
10   arguments do not exclude the possibility that a reasonable jury could find the defendant’s
11   product or process was “substantially derived” from the trade secrets. Id.
12         Speech Tech. similarly found that “incidental differences” between the trade
13   secret and the “redesigned” defendant product “do not absolve defendants from liability
14   for misappropriation of trade secrets.” Speech Tech. Associates v. Adaptive Commc’n
15   Sys., Inc., 1994 WL 449032, at *10 (N.D. Cal. Aug. 16, 1994)
16         Finally, American Can held that “a party may not use another’s trade secret, even
17   with independent improvements or modifications, so long as the product or process is
18   substantially derived from the trade secret.” American Can, 742 F.2d at 328–29. Each
19   of Masimo’s points (1), (2), and (4) are supported by these cases.
20         Apple argues that derivative use requires that the accused aspect of the
21   defendant’s product or process is “attributed principally” to the trade secret as opposed
22   to information acquired through proper means. This is nothing more than reiterating
23   that the information must have been acquired by improper means and is entirely
24   consistent with Masimo’s proposed instruction, which requires unlawfully acquiring the
25   trade secret, and allows for building upon or modifying the trade secret, before using,
26   disclosing, or deriving a benefit from the trade secret.
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 1         Masimo objects to Apple refusing to propose an instruction on this issue and
 2   trying to reserve the right to do so later. Apple should propose alternative instructions
 3   as Masimo has done.
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 1         Apple’s Position: Objections to Plaintiffs’ Proposed Instruction No. 27
 2         Apple respectfully requests that the Court use Apple’s simpler and more accurate
 3   construction of the derivative use test as set forth in Apple’s proposed Instruction 26B.
 4   Apple objects to Plaintiffs’ counter-proposal, which unjustifiably expands “use” beyond
 5   that recognized by California law, and would permit the jury to impose liability if Apple
 6   derived any benefit whatsoever from a single, undisputedly generally known element of
 7   Plaintiffs’ asserted trade secrets.
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 9   Plaintiffs’ proposed instruction could permit finding misappropriation by use based
10   solely on “deriving a benefit from” this element, which Plaintiffs did not invent and that
11   has been used in technologies like AM radio for many decades.
12         Plaintiffs identify no authority that supports such a broad approach. Rather, their
13   cases boil down to the legal test that appears in Apple’s proposed instruction: A plaintiff
14   may prove a claim for misappropriation by use where the defendant’s product or process
15   was—even if not identical to the purported trade secret—at least “substantially derived
16   from” it. SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal.
17   2012); Bladeroom Grp. Ltd. v. Facebook, Inc., 2018 WL 514923, at *8-9 (N.D. Cal. Jan.
18   23, 2018); American Can Co. v. Mansukhani, 742 F.2d 314, 328-329 (7th Cir. 1984);
19   Speech Tech. Assocs. v. Adaptive Commc’n Sys., Inc., 1994 WL 449032, at *10 (N.D.
20   Cal. Aug. 16, 1994). Moreover, Plaintiffs’ own case law establishes that “functional or
21   practical similarity” does not establish derivative use; the defendant’s product or process
22   must be “attributed principally” to the use of the alleged trade secrets and “not from
23   public information and … general skill, experience and knowledge.” American Can,
24   742 F.2d at 331.
25         Points (1)-(2) and (4) of Plaintiffs’ proposed instruction all seem to be drawn from
26   cherry-picked quotes from the cited cases, none of which purports to establish the
27   necessary standard for derivative use. For example, Plaintiffs’ Point 2 seems to be taken
28   from Bladeroom’s descriptive observation that the defendant’s “implemented data
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 1   design” had shift to “a model closely resembling Bladeroom’s modular technology after
 2   [the defendant] acquired Bladeroom’s trade secrets.” 2018 WL 514923, at *10. Nothing
 3   in the decision indicates that Court intended to diverge from the “substantially derived”
 4   standard.
 5         Finally, Plaintiffs also cite no authority for their assertion that “misappropriation
 6   through derivation applies to all of Masimo’s misappropriation theories.” It is unclear
 7   how a plaintiff could state a viable misappropriation claim for the disclosure or
 8   acquisition of information derived from an alleged trade secret. The “derivation”
 9   doctrine is therefore best addressed in the misappropriation-by-use instruction.
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 1                 MASIMO’S PROPOSED INSTRUCTION NO. 28A63
 2                       Trade Secret Misappropriation by Disclosure
 3         Apple misappropriated an Asserted Trade Secret by disclosure if Apple:
 4            1. Disclosed it without Masimo or Cercacor’s consent; and
 5            2. Did any of the following:
 6               a. Acquired knowledge of the Asserted Trade Secrets by improper means;
 7                  or
 8               b. At the time of disclosure, knew or had reason to know that Apple’s
 9                  knowledge of the trade secret was acquired under circumstances giving
10                  rise to a duty to maintain its secrecy or limit its use; or
11               c. At the time of disclosure, knew or had reason to know that Apple’s
12                  knowledge of the trade secret was derived from or through a person who
13                  owed a duty to Masimo or Cercacor to maintain its secrecy or limit its
14                  use.
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        Authority: Cal. Civ. Code § 3426.1(b); CACI 4406; SkinMedica, Inc. v. Histogen
25   Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012); BladeRoom Grp. Ltd. v. Facebook,
26   Inc., 2018 WL 514923, at *9 (N.D. Cal. Jan. 23, 2018); Speed Tech. Assocs. v. Adaptive
     Commc’n Sys., 1994 WL 449032, at *10 (N.D. Cal. Aug. 16, 1994); American Can Co.
27   v. Mansukhani, 742 F.2d 314, 328-29 (7th Cir. 1984) (“If the law were not flexible
28   enough to reach such modifications, trade secret protection would be quite hollow.”).

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 1                       Masimo’s Argument: Proposed Instruction No. 28A
 2         Masimo’s proposed instruction tracks the language of the statute and the model
 3   instruction regarding misappropriation by disclosure. See Cal. Civ. Code § 3426.1(b);
 4   CACI No. 4406.
 5         The Court should reject Apple’s proposed instruction for multiple reasons, which
 6   are similar to the issues with Apple’s Proposed Instruction No. 26B regarding
 7   misappropriation by use.
 8         First, Apple ignores the structure and language of the statute. As discussed above
 9   with regard to Proposed Instruction No. 15A, the statute provides that misappropriation
10   by disclosure can occur if a person:
11         (A)       Used improper means to acquire knowledge of the trade secret; or
12         (B)       At the time of disclosure…, knew or had reason to know that his or her
13                   knowledge of the trade secret was: …
14               (ii)    Acquired under circumstances giving rise to a duty to maintain its
15                       secrecy or limit its use; or
16               (iii)   Derived from or through a person who owed a duty to the person
17                       seeking relief to maintain its secrecy or limit its use. … .”
18   Cal Civ. Code § 3426.1(b)(2). Masimo will present evidence in support of all of the
19   foregoing categories of misappropriation at trial. Not only does Apple propose an
20   instruction that rewrites the statutory elements, but it also ignores misappropriation by
21   use under (A) and (B)(iii) above. Apple argues that Apple’s proposed instruction “lists
22   only the method of misappropriation for which Plaintiffs can lay evidentiary
23   foundation.” Apple is incorrect and Masimo can and will present evidence on all of the
24   statutory methods of misappropriation. See Proposed Instruction No. 24A. Thus,
25   Apple’s proposed instruction omits statutory provisions applicable to this case.
26         Second, Apple’s proposed instruction is improperly limited to O’Reilly and
27   Lamego. Masimo will prove that Apple initially acquired trade secrets via O’Reilly and
28   Lamego. But Apple seeks to limit the jury to finding that O’Reilly and Lamego had the
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 1   required knowledge or duty. The jury may find that others at Apple had knowledge that
 2   the trade secret was acquired under a duty or derived from someone owing a duty without
 3   knowing specifically who that person was.
 4         Third, Apple’s proposed instruction asserts that Masimo must show that “another
 5   person at Apple knew or had reason to know that Apple had improperly obtained an
 6   alleged trade secret from Masimo or Cercacor through either Dr. Lamego or
 7   Dr. O’Reilly.” Apple provides no support for such an instruction. As discussed above
 8   in the context of Proposed Instruction No. 24A, Apple seeks to instruct the jury
 9   incorrectly on ways that Apple could avoid liability for misappropriation by its
10   employees.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 28B64
 2                     Third Element—Misappropriation by Disclosure
 3           Masimo and Cercacor can prove that Apple misappropriated a particular alleged
 4   trade secret by disclosure if they prove that Apple both:
 5              1. Disclosed the alleged trade secret without Masimo’s or Cercacor’s
 6                 consent; and
 7              2. At the time of its disclosure, knew or had reason to know (i) that Apple’s
 8                 knowledge of the alleged trade secret came from or through Marcelo
 9                 Lamego or Michael O’Reilly, and (ii) that Dr. Lamego and Dr. O’Reilly
10                 had a duty to Masimo and Cercacor to keep the information secret.
11           To prove that Apple had the required state of mind, Masimo and Cercacor must
12   prove that before the alleged disclosure, another person at Apple knew or had reason to
13   know that Apple had improperly obtained an alleged trade secret from Masimo or
14   Cercacor through either Dr. Lamego or Dr. O’Reilly.
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28        Authority: CACI 4406 (adapted).

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 1                      Apple’s Position: Proposed Instruction No. 28B
 2          Apple’s proposed instruction adheres to CACI 4406’s Directions of Use, which
 3   states that a court should “select the applicable statutory act(s) alleged to constitute
 4   misappropriation by disclosure.” It lists the only method of misappropriation for which
 5   Plaintiffs can lay an evidentiary foundation—i.e., indirect misappropriation. See supra
 6   Apple’s Position: Proposed Instruction Nos. 24B, 26B.
 7          Just as with the disputed misappropriation-by-use instruction above, Apple
 8   objects to points (2)(a) and (2)(b) in Plaintiffs’ proposed instruction because Plaintiffs
 9   have failed to identify an evidentiary basis for presenting these alternate theories of
10   improper acquisition to the jury. See Apple’s Position: Proposed Instruction Nos. 26B.
11   Apple objected to Plaintiffs’ lack of evidentiary basis in an email to Plaintiffs’ counsel
12   on March 24, 2023, but Plaintiffs refused to identify the factual underpinnings of their
13   alternative liability theories—they should not be permitted to do so at a later date.
14          Plaintiffs mislead in their second objection, where they fault Apple’s proposed
15   instruction for “limit[ing] the jury to finding that O’Reilly and Lamego had the required
16   knowledge or duty” for the same reasons discussed above: they never identify who else
17   could have had such a duty or how it could have arisen. See supra Apple’s Position:
18   Proposed Instruction No. 26B.
19          The last sentence of the instruction recites the proper standard for imputed
20   knowledge in this context. See supra Apple’s Position: Proposed Instruction Nos. 24B,
21   26B.    Plaintiffs’ objection merely rehashes their objections to Apple’s Proposed
22   Instruction No. 24B.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 29A65
 2                        Improper Means of Acquiring Trade Secret
 3           Improper means of acquiring a trade secret or knowledge of a trade secret include
 4   theft, bribery, misrepresentation, or breach or inducement of a breach of a duty to
 5   maintain secrecy. Independent derivation alone is not considered improper means.
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28        Authority: CACI 4408; Cal. Civ. Code § 3426.1

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 1                   Masimo’s Argument: Proposed Instruction No. 29A
 2          Masimo’s proposal follows the CACI model instruction and omits optional
 3   language that is not supported by the potential evidence in this case. See CACI
 4   No. 4408. Masimo’s proposal also quotes the easily understandable statutory definition
 5   of “improper means.” Masimo’s proposal omits any references to reverse engineering
 6   because Apple does not assert it obtained the asserted trade secrets via reverse
 7   engineering. The statute states:
 8          “Improper means” includes theft, bribery, misrepresentation, breach or
 9          inducement of a breach of a duty to maintain secrecy, or espionage through
10          electronic or other means. Reverse engineering or independent derivation
11          alone shall not be considered improper means.
12   Cal. Civ. Code § 3426.1(a).
13          Apple’s proposal omits improper means of acquisition that may apply in this case:
14   “theft, bribery, misrepresentation,” or “breach of a duty to maintain secrecy.” Masimo
15   alleges that Apple engaged in               to steal Masimo’s trade secrets by hiring
16   O’Reilly and Lamego. Apple engaged in bribery because
17                                                                                       Apple
18   also
19                                                      . Likewise, Apple is responsible for
20   its employee’s breach of their contractual and fiduciary duties to maintain secrecy if
21   Masimo can establish liability under respondeat superior (addressed below). Masimo
22   long alleged such theories. See, e.g., Dkt. 296-1 ¶¶ 259-60 (alleging Lamego and
23   O’Reilly’s actions “constituted a breach” of their obligations and Apple was responsible
24   under respondeat superior).
25          Apple’s proposal also provides a list of activities that may not be “improper
26   means,” but which are unnecessary and could be confusing in this case because they
27   have no potential basis in evidence. Indeed, Apple conceded that it is not arguing them.
28   Apple has never alleged that it
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 3              See Apple’s Response to Masimo Interrogatory No. 13. Indeed, none of
 4   Apple’s experts opined that Apple acquired the trade secrets through any of these means.
 5         Apple’s proposal incorrectly instructs the jury that Masimo bears the burden of
 6   proving Apple did not independently develop the Asserted Trade Secrets. Apple’s cited
 7   case refutes the assertion that Masimo bears any affirmative burden of disproving
 8   “independent development” beyond or separate from establishing “improper means.”
 9         During its case-in-chief, a plaintiff is not required to prove improper use
10         by presenting evidence specifically refuting reverse engineering or
11         independent derivation, but it may choose to do so since use and nonuse
12         are opposite sides of the same coin. Once credible evidence is presented
13         to establish improper use by the defendant, the burden of producing
14         evidence shifts to the defendant.
15   Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1673 (2003). Apple’s case
16   recognizes that Masimo bears no burden to disprove independent development because
17   “improper means” and “independent development” are simply two alternative findings.
18   Id. Apple bears the burden of establishing its traverse to evidence of improper use. Id.
19         The Court should reject Apple’s proposal to further instruct the jury that
20   “recruiting or hiring employees from another company, including from a competitor,
21   does not on its own constitute improper means” without balancing that sentence with an
22   instruction for Masimo’s position. Should the Court adopt this part of Apple’s proposal,
23   the Court should include a balancing instruction, such as: “However, hiring employees
24   from another company to extract confidential information may constitute improper
25   means.”
26         Apple argues its proposal is justified because Masimo supposedly “signaled” that
27   it will argue “Apple’s hiring of Dr. Lamego and Dr. O’Reilly was inherently
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 1   wrongful….” Masimo never “signaled” such a thing and Apple cites no evidence to
 2   support its assertion. Thus, there is no reason for Apple’s proposal.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 29B66
 2              Third Element—Improper Means of Acquiring Trade Secret
 3         Improper means of acquiring a trade secret or knowledge of a trade secret include
 4   inducing a breach of a duty to maintain secrecy.
 5         However, it is not improper to acquire a trade secret or knowledge of a trade secret
 6   by any of the following:
 7             1. Independent efforts to invent or discover the information;
 8             2. Reverse engineering; that is, examining or testing a product to determine
 9                how it works, by a person who has the right to possess the product;
10             3. Observing the information in public use or on public display;
11             4. Obtaining the information from published literature, such as trade
12                journals, reference books, the Internet, or other publicly available sources.
13         If Apple independently developed the information that Masimo and Cercacor
14   claim is covered by an alleged trade secret, then Apple did not employ improper means
15   to acquire that information. Masimo and Cercacor accordingly bear the burden to prove
16   that Apple did not independently develop the alleged trade secret.
17         Additionally, recruiting or hiring employees from another company, including
18   from a competitor, does not on its own constitute improper means.
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       Authority: CACI 4408; Cal. Civ. § 3426.1(a) (“Reverse engineering or independent
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     derivation alone shall not be considered improper means” of acquiring a trade secret);
21   Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1670 (2003) (“Evidence
     of independent derivation or reverse engineering directly refutes the element of use
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     through improper means.”); BladeRoom Grp. Ltd. v. Emerson Elec. Co., 2018 WL
23   1794500, at *2 (N.D. Cal. Apr. 16, 2018) (“The burden of proof (which is synonymous
     with the burden of persuasion) on the elements of trade secret misappropriation does not
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     shift during trial; it remains with Plaintiffs at all times.”) (citing Sargent Fletcher, 110
25   Cal. App. 4th at 1667); Rita Med. Sys., Inc. v. Resect Med., Inc., 2007 WL 161049, at
26   *8 (N.D. Cal. Jan. 17, 2007) (“Plaintiff has the burden of establishing that defendants
     did not independently derive trade-secret information.”) (citing Sargent Fletcher, 110
27   Cal. App. 4th at 1669)); Whyte v. Schlage Lock Co., 101 Cal. App. 4th 1443, 1462
28   (2002); Dkt. 1439 at 3.

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 1                      Apple’s Position: Proposed Instruction No. 29B
 2         Apple’s proposed instruction on improper means tracks the language of CACI
 3   4408, which Plaintiffs also employ. Apple proposed to limit the list of means that are
 4   not improper to independent derivation if Plaintiffs would agree to limit the list of
 5   improper means to the only theory disclosed for which Plaintiffs could lay an evidentiary
 6   foundation (i.e., breach or inducing a breach of a duty to maintain secrecy). Plaintiffs
 7   refused this compromise.
 8         Apple objects to instructing the jury that “theft, bribery, [and] misrepresentation”
 9   are improper means because there is no foundation in the record to charge the jury on
10   those theories. The Court should disregard Plaintiffs’ vague, unsupported assertion that
11   these “improper means of acquisition … may apply in this case.” (Emphasis added.)
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           First, Apple objects because Plaintiffs’ proposal is procedurally improper.
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     Plaintiffs have never before suggested in any filing that this case involves criminal
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     conduct, nor is it appropriate for them to bring such inflammatory, wholly unsupported
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     theories. Plaintiffs refused to disclose any legal or factual theory that could provide a
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     foundation for charging the jury on these theories of improper means during the meet
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     and confer process or even after Apple specifically requested such information via email
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     within approximately 24 hours of learning Plaintiffs’ position this case “may” involve
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     bribery, theft, and misrepresentation. Plaintiffs did not disclose their reasoning until
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     noon on the day these instructions were due to be filed with this Court (and two hours
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     after the parties’ agreed upon deadline to exchange final instructions/arguments) and
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     still fail to cite to any specific place in the record where they have preserved such a
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     theory.
24         Second, Apple objects because Plaintiffs’ proposal has no basis in the record.
25   Plaintiffs’ justification for injecting something like “bribery” into this case is frivolous,
26   and is calculated to elicit an improper emotional reaction from the jury. To establish
27   bribery, Plaintiffs must show that Apple paid one of Plaintiffs’ current employees to act
28   in a manner that hurts Plaintiffs’ interests, as well as establish a number of other
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 1   elements. See, e.g., People v. Riley, 240 Cal. App. 4th 1152, 1160 (2015) (reversing
 2   bribery conviction because defendant was not an employee of the wronged party at the
 3   time of the payment); see also Cal. Penal Code § 641.3 (commercial bribery offense).
 4   So too with “theft” and “misrepresentation,” which both require a showing of fraudulent
 5   intent (among many other things). See, e.g., People v. Miller, 81 Cal. App. 4th1427,
 6   1440-1441 (2000) (theft); Manderville v. PCG&S Grp., Inc., 146 Cal. App. 4th1486,
 7   1498 (2007) (misrepresentation). Indeed, it is black letter law in California that a failed
 8   business negotiation does not amount to misrepresentation. See Tenzer v. Superscope,
 9   39 Cal. 3d 18, 30 (1985) (even “proof of nonperformance on an oral promise” is
10   insufficient to establish misrepresentation). Plaintiffs’ one-sentence summaries of what
11   they “allege[]” do not remotely provide an evidentiary basis for these accusations, much
12   less identify specific admissible evidence that support them.
13         Third, Apple objects because Plaintiffs have failed to provide adequate detail in
14   their instruction. Even if Plaintiffs had any basis in the record to show that the elements
15   for theft, bribery, and misrepresentation are met (and they do not), their barebones
16   instruction entirely fails to provide the jury with any of that information, thus raising the
17   concern that the jury will reach a decision based on its assumptions about what the law
18   requires rather than the law itself. This alone justifies rejecting their proposal.
19         Apple’s proposed instruction also clarifies for the jury that because “the burden
20   of proof to demonstrate use of a trade secret through improper means remain[s] with
21   [Plaintiffs],” Plaintiffs must persuade the jury that Apple did not obtain the alleged trade
22   secret information through proper means, including through independent development.
23   Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1668 (2003). Plaintiffs’
24   misleadingly quote a portion of Sargent Fletcher that refers to “the burden of producing
25   evidence.” Sargent Fletcher is crystal clear, however, that (1) the “burden of proof and
26   the burden of producing evidence” are two different concepts and (2) “[a]s a matter of
27   law, the burden of proof to demonstrate independent derivation … d[oes] not lie with”
28   the defendant. Id. at 1666-1667, 1675. This is because “[i]t is the plaintiff’s burden to
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 1   show improper use as part of its prima facie case” and “[p]roof that defendant’s use
 2   resulted from independent derivation or reverse engineering is evidence that there was
 3   no improper use on its part”—“[t]he defendant does not have a ‘burden of proof to make
 4   that showing.” Id. at 1669.
 5         Finally, because Plaintiffs have signaled that they will suggest that Apple’s hiring
 6   of Dr. Lamego and Dr. O’Reilly was inherently wrongful, Apple respectfully requests
 7   an instruction reflecting that under California law, “employees are not only permitted
 8   but encouraged to move freely from one company to another.” Dkt. 1439 at 3 (granting
 9   Apple’s motion in limine No. 2 and excluding evidence and argument about Apple’s
10   alleged recruitment of Plaintiffs’ former employees not alleged to have provided Apple
11   with any trade secret information). While Plaintiffs object to this language, they provide
12   no explanation for why that is so, beyond the bald fact that this accurate statement of
13   law is unhelpful to their position. And while Plaintiffs ask this Court to provide a
14   “balancing instruction” about how hiring employees could constitute improper means in
15   some circumstances, they do not identify any decision that has adopted such a view.
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 1                     MASIMO’S PROPOSED INSTRUCTION NO. 3067
 2            Duty to Maintain Secrecy, or Limit Use, of Trade Secret Information
 3            A duty to maintain secrecy, or limit use, of trade secret information may arise
 4   from a contract or by law. One example from contract would be a contract prohibiting
 5   use of confidential information. One example from law is that an employee owes a duty
 6   of loyalty to an employer, which includes a duty to protect confidential information from
 7   use outside of the employment.
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          Authority: Cal. Lab. Code § 2863; Waymo LLC v. Uber Techs., Inc., 252 F. Supp. 3d
28        934, 938 (N.D. Cal. 2017)

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 1                    Masimo’s Argument: Proposed Instruction No. 30
 2         Masimo’s proposed instruction is not based on a model instruction. Masimo’s
 3   proposed instruction would benefit the jury by explaining the “duty” to maintain secrecy
 4   that is referenced in various provisions of CUTSA. For example, the statute defines
 5   “improper means” as including “breach of a duty to maintain secrecy.” Cal. Civ. Code
 6   § 3426.1(a). The statute defines misappropriation via disclosure or use as including
 7   where knowledge of the trade secret was “derived from or through a person who owed
 8   a duty to the person seeking relief to maintain its secrecy or limit its use.” Id.
 9   § 3426.1(b)(2)(B)(iii).
10         Masimo’s proposed instruction explains that such a duty may arise from a
11   contract, or by law. For example, Waymo LLC v. Uber Techs., Inc., 252 F. Supp. 3d
12   934, 938 (N.D. Cal. 2017), confirms that improper means include, but “are not limited
13   to the violation of contractual obligations” and may include claims based on duty of
14   loyalty under California law. California also recognized a statutory duty of loyalty to
15   an employer. See Cal. Lab. Code § 2863 (“An employee who has any business to
16   transact on his own account, similar to that intrusted to him by his employer, shall always
17   give the preference to the business of the employer.”).
18         Apple argues that Masimo’s proposed instruction “improperly suggests to the jury
19   that they could infer duties of confidentiality that are not specified by the Court’s
20   instructions.” But neither the statute nor Apple’s proposed instruction limits the bases
21   for the “duty . . . to maintain [] secrecy or limit [] use” of the trade secret. Cal. Civ.
22   Code § 3426.1(b)(2)(B)(iii). If anything, Masimo’s proposal provides more clarity.
23         Contrary to Apple’s argument, Masimo’s explanation of “duty” does not “insert
24   a host of new theories of liability.” Masimo asserted that Lamego and O’Reilly owed a
25   duty of confidentiality arising from their positions as officers of the corporation and by
26   virtue of their employer-employee relationships since the Complaint. Dkt. 296-1 ¶¶ 228,
27   229, 257, 259; Masimo’s May 15, 2020 Response to Apple Interrogatory Nos. 11 and
28   12; JTX-1719 (Lamego acknowledging his “fiduciary responsibilities” to Cercacor); see
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 1   also Masimo Corp. v. True Wearables, 2022 WL 17083396, *5 (C.D. Cal. Nov. 7, 2022)
 2   (“Lamego owed Cercacor a fiduciary duty of undivided loyalty”).
 3         Apple complains that Masimo’s instruction does not explain how a duty may arise
 4   by law. An example of the duty of loyalty mentioned in Masimo’s proposal is based on
 5   California Labor Code § 2863. Apple further argues that a duty of confidentiality cannot
 6   arise from a contract “because the only relevant contractual provisions . . . are void under
 7   Section 16600.”     This Court found those confidentiality provisions valid in True
 8   Wearables and Masimo will address Apple’s contract validity argument in Masimo’s
 9   forthcoming response to Apple’s offer of proof on unclean hands.
10         Moreover, Masimo never disclaimed that O’Reilly and Lamego owed Masimo a
11   duty under the confidentiality provisions. During the hearing on Apple’s motion in
12   limine regarding Masimo’s employment contracts, Masimo intended to argue that the
13   confidentiality provisions are at least relevant to Masimo’s efforts to maintain secrecy,
14   and the relevance of the contracts to that issue alone was sufficient to defeat Apple’s
15   motion to exclude the contracts in their entirety. See March 13, 2023, Hrg. Tr. at 24.
16   Masimo did not intend to assert the agreements were irrelevant to any other issue. To
17   the extent the transcript suggests Masimo asserts the confidentiality provisions are not
18   relevant to any other purposes, that was inadvertent.
19         Nor did Masimo interpret the Court’s order on Apple’s motion in limine as
20   precluding use of the agreements for any purpose other than establishing Masimo’s
21   reasonable efforts to maintain secrecy. Masimo understood footnote 2 in the Court’s
22   order As declining to rule on the relevance of the agreements for other purposes and
23   reserving such issues for another day. See Dkt. 1469 at 7 n.2. Masimo’s interpretation
24   is consistent with the Court requesting further briefing on the validity of the
25   confidentiality provisions.
26         Finally, Apple cannot dispute that the duty to maintain confidentiality under
27   CUTSA may be based on obligations not arising under contract. Indeed, Apple’s own
28   proposed instructions on Corporations as Parties (Proposed Instruction No. 24B)
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 1   references “an employee of Apple who violated a duty of confidentiality to Masimo or
 2   Cercacor.” Apple’s Proposed Instruction No. 26B similarly references a “duty to
 3   Masimo and Cercacor to limit use of the alleged trade secret.”
 4         Apple also objects to Masimo’s proposal as a standalone instruction. Should the
 5   Court find that a combined instruction is helpful to the jury, Masimo does not object to
 6   combining its Proposed Instruction Nos. 30 and 31.
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 1             Apple’s Position: Objection to Plaintiffs’ Proposed Instruction No. 30
 2         Apple objects to Plaintiffs’ instruction because it improperly attempts to insert a
 3   host of new theories of liability into the jury instructions, in particular that Dr. Lamego
 4   and/or Dr. O’Reilly breached a duty of loyalty. Plaintiffs waived this theory by failing
 5   to raise it in the operative complaint or as an issue for trial in either the joint pre-trial
 6   order, Dkt. 1413-1, or in their memorandum of contentions of facts and law, Dkt. 1388-
 7   1. Indeed, Plaintiffs did not raise this common-law based “duty” theory in any draft of
 8   their proposed jury instructions until after this Court ordered Apple to provide an offer
 9   of proof on Apple’s argument that the Agreement Plaintiffs have relied on for their
10   contractual-based-duty theory is invalid.
11         But even had Plaintiffs not waived the chance to present a duty of loyalty theory,
12   Apple further objects because their proposed instruction does not adequately present the
13   theory. Whether a duty existed and was breached are questions of fact for the jury. See,
14   e.g., Risto v. Screen Actors Guild-Am. Fed'n of Television & Radio Artists, 2021 WL
15   2416485, at *8 (C.D. Cal. June 14, 2021); Glenwood Sys., LLC v. Thirugnanam, 2012
16   WL 12913792, at *11 (C.D. Cal. May 15, 2012). Plaintiffs’ single, passing reference to
17   the duty of loyalty provides no basis for the jury to make those findings. Including such
18   ambiguous language only invites the jury to diverge from the proper legal standard, since
19   no such standard was defined. See, e.g., People v. Gardner, 37 Cal. App. 4th 473, 481
20   (1995) (“urg[ing] the revision of [a pattern criminal instruction] to eliminate [an]
21   ambiguous word,” which as “a legal term of art … could only serve … to confuse a lay
22   jury”).
23         Apple further objects to the open-ended nature of Plaintiffs’ Proposed Instruction
24   No. 30 because it improperly suggests to the jury that they could infer duties of
25   confidentiality that are not specified by the Court’s instructions. For example, the jury
26   should not be instructed that a duty can generally arise “by law” when the only specific
27   common law duties Plaintiffs have identified (both in this instruction and in Proposed
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 1   Instruction No. 31A) is a corporate officer’s fiduciary duty to the corporation and an
 2   employees’ duty of loyalty.
 3          Finally, Apple objects to instructing that a duty can arise from a contract, because
 4   the only relevant contractual provisions—from Plaintiffs’ Employee Confidentiality
 5   Agreement—are void under Section 16600. See Apple’s Position, Proposed Instruction
 6   No. 23. Moreover, Plaintiffs’ lead trial counsel recently disclaimed that Plaintiffs will
 7   rely on a breach of that Agreement to establish improper means in an unequivocal
 8   representation to the Court, stating the Agreement’s confidentiality provisions are:
 9         [P]art of Masimo’s attempts to implement reasonable precautions to protect the
10         confidential information, and they are of course relevant for that purpose and
11         that purpose alone, which is why they will be offered.
12   Mar. 13, 2023 Tr. 24 (emphasis added); see also Dkt. 1439 at 7 n.2 (Court’s ruling on
13   parties’ motions in limine noting that ruling “does not extend to, e.g., allowing the
14   confidentiality provisions to be used to prove acquisition by improper means by O’Reilly
15   or Lamego” (emphasis added)).
16         Notably, Plaintiffs added the phrase “One example from contract is a contract
17   prohibiting use of confidential information” to their proposed instruction roughly twelve
18   hours before the parties agreed to exchange the file-ready version of these instructions.
19   Although Apple immediately demanded an explanation for how this breach of contract
20   theory could be reconciled with this Court’s ruling—or their counsel’s representation
21   quoted above—regarding the Agreement, Plaintiffs refused to provide one until noon on
22   the day these instructions were due to be filed with this Court (and two hours after the
23   parties’ agreed upon deadline to exchange final instructions/arguments). Even then, they
24   claim only that their counsel’s unambiguous statement was a supposed “inadvertent”
25   concession. This is simply not credible, given that he was responding to Apple’s
26   counsel’s argument that Plaintiffs would try to rely on the invalid provisions of the
27   Agreement to show improper means. See March 13, 2023 Tr. 21 (Apple’s counsel
28   noting concern that “Plaintiffs may suggest that … breach [of the Agreement] constitutes
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 1   an acquisition of the trade secrets by improper means”). Plaintiffs do not get to withdraw
 2   their statement two weeks after the pretrial conference. Indeed, even if Plaintiffs’ overly
 3   narrow reading of this Court’s ruling were correct (and it is not), they prevailed in
 4   opposing Apple’s motion in limine No. 4 only because they convinced this Court that it
 5   need not resolve the “improper means” issue because it was not at issue in this case.
 6   Since Plaintiffs prevailed on motion in limine No. 4 at least in part based on this
 7   representation, judicial estoppel bars them from now disavowing it. See New Hampshire
 8   v. Maine, 532 U.S. 742, 749 (2001).
 9         Finally, Apple objects to Plaintiffs’ proposal to deliver this open-ended
10   proposition as a standalone instruction. The risk of Plaintiffs’ proposed language
11   inviting error is heightened because placing it in an instruction of its own—rather than
12   combining it with Plaintiffs’ Proposed Instruction No. 31A—wrongly suggests that it
13   provides a separate route to liability.
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 1                     MASIMO’S PROPOSED INSTRUCTION NO. 31A68
 2                               Corporate Officer Fiduciary Duty
 3            Another type of duty is what is known as a fiduciary duty. A corporate officer
 4   owes a fiduciary duty to the corporation. A fiduciary duty imposes on a corporate officer
 5   a duty to act with the utmost good faith in the best interests of the corporation. A
 6   corporate officer’s fiduciary duty to protect confidential information continues even
 7   after leaving the corporation.
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          Authority: CACI 4100; Sonoma Pharms., Inc. v. Collidion Inc., 2018 WL 3398940,
27        at *7 (N.D. Cal. June 1, 2018); Language Line Servs., Inc. v. Language Servs. Assocs.,
28        LLC, 2011 WL 13153247, at * 8 (N.D. Cal. Mar. 17, 2011).

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 1                    Masimo’s Argument: Proposed Instruction No. 31
 2         Masimo relies on CACI No. 4100. The first sentence of Masimo’s proposal
 3   provides a transition from the previous instruction. The second two sentences track the
 4   language of CACI No. 4100. The final sentence comes from the caselaw that the
 5   fiduciary duty to protect confidential information continues after a corporate officer
 6   leaves the corporation. See Sonoma Pharms., Inc. v. Collidion Inc., 2018 WL 3398940,
 7   at *7 (N.D. Cal. June 1, 2018); Language Line Servs., Inc. v. Language Servs. Assocs.,
 8   LLC, 2011 WL 13153247, at * 8 (N.D. Cal. Mar. 17, 2011).
 9         Masimo’s proposed instruction explaining a corporate officer’s fiduciary duty to
10   the corporation will help the jury understand the significance of evidence in this case
11   That Dr. O’Reilly and Dr. Lamego were corporate officers for Masimo Corp. and
12   Cercacor, respectively.
13         Apple objects to Masimo’s proposed instruction as a “new theory of
14   misappropriation.” The theory is not new. As far back as the complaint, and later in
15   discovery responses, Masimo asserted that Lamego and O’Reilly owed a duty of
16   confidentiality arising from their positions as corporate officers. Dkt. 296-1 ¶¶ 228, 229,
17   257, 259; Masimo’s May 15, 2020 Response to Apple Interrogatory Nos. 11 and 12;
18   Masimo’s January 5, 2022 Response to Interrogatory No. 30; JTX-1719 (Lamego
19   acknowledging his “fiduciary responsibilities” to Cercacor); see also Masimo Corp. v.
20   True Wearables, 2022 WL 17083396, *5 (C.D. Cal. Nov. 7, 2022) (“Lamego owed
21   Cercacor a fiduciary duty of undivided loyalty”). Apple never disputed that Lamego
22   and O’Reilly were corporate officers who owed a fiduciary duty. Masimo proposed an
23   instruction that explains to the jury the meaning of fiduciary duty as it applies in the
24   context of trade secret misappropriation and the facts of this case.
25         Apple argues that Masimo waived “the issue” by purportedly “failing to raise it”
26   in the joint pre-trial order. Both parties provided a high-level overview of their claims
27   and defenses in the pre-trial order (and Apple provided far less information than
28   Masimo). Nonetheless, the parties identified as an issue for trial, “[w]hether Apple
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 1   improperly acquired, used, or disclosed the Asserted Trade Secrets.”. Dkt. 1413-1 at 4–
 2   5, 15; Dkt. 1388-1 at 4 (same).
 3         Apple argues that Masimo’s proposed instruction does not provide necessary
 4   context. Specifically, Apple demands that the instruction “must include guidance as to
 5   Apple’s knowledge of breach of the duty.” The appropriate context is provided in other
 6   instructions.    For example, Instruction No. 26 describes the elements of
 7   misappropriation by use including that, at the time of use, Apple “knew or had reason to
 8   know that Apple’s knowledge of the trade secret was acquired under circumstances
 9   giving rise to a duty to maintain its secrecy or limit its use.” Instruction No. 28 provides
10   a similar instruction for misappropriation by disclosure. Apple’s cited case, California
11   Police Activities League v. California Police Youth Charities, Inc., merely collects
12   similar elements.
13         Apple argues that Masimo’s instruction risks confusion as to whether Masimo can
14   seek damages for Apple’s use of confidential information without establishing the
15   elements of trade secret misappropriation. Not so. Instruction Nos. 26 and 28 provide
16   the elements for misappropriation by use and disclosure, and Instruction No. 16 provides
17   the element for trade secret misappropriation generally.         This instruction merely
18   provides one basis for the “circumstances giving rise to a duty to maintain [] secrecy or
19   limit [] use” or a duty to Masimo or Cercacor “to maintain [] secrecy or limit [] use”
20   under CUTSA.
21         Apple argues that Masimo’s proposed instruction fails to require the jury to make
22   factual findings necessary to establish the existence of a corporate officer’s fiduciary
23   duty. But O’Reilly and Lamego were undisputedly officers of Masimo and Cercacor,
24   respectively, as reflected in their job titles. Indeed, this Court already found that Lamego
25   had fiduciary duty as an officer of Cercacor. See Masimo Corp. v. True Wearables, 2022
26   WL 17083396, *5 (C.D. Cal. Nov. 7, 2022). Thus, the jury need not be instructed on
27   how to determine whether they were corporate officers.
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 1           Apple’s cited cases are consistent with Masimo’s proposed instruction. GAB Bus.
 2   Servs., Inc. v. Lindsey & Newsom Claim Servs., Inc., 83 Cal. App. 4th 409, 421 (2000)
 3   recognized that a corporate officer owes a fiduciary duty to the corporation by virtue of
 4   his or her position. Whereas WeRide Corp. v. Kun Huang, 379 F. Supp. 3d 834, 852
 5   (N.D. Cal. 2019), did not involve an officer of the corporation, so the court examined
 6   the employee’s participation in managing the corporation before finding a fiduciary
 7   duty.
 8           Apple’s proposed instruction based on CACI No. 4103 might be applicable to a
 9   claim for a breach of fiduciary duty, but Masimo makes no such claim. Apple’s
10   proposed language would confuse the jury into thinking that a corporate officer does not
11   owe a fiduciary duty unless Masimo proves the elements of a separate cause of action.
12   Apple’s proposal introduces extraneous elements that are unnecessary for the jury to
13   find that Lamego and O’Reilly owed a fiduciary duty based on their positions as officers.
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 31B69
 2                                 (Offered in the Alternative)
 3                                 Duties of a Corporate Officer
 4            A corporate officer owes what is known as a fiduciary duty to his or her
 5   corporation. A fiduciary duty imposes on the corporate officer a duty to act with the
 6   utmost good faith in the best interests of his or her corporation. A fiduciary duty includes
 7   the obligation to maintain the secrecy of alleged trade secret information provided to the
 8   corporate officer by the corporation in the course of his or her employment.
 9            Masimo and Cercacor can establish that an employee had a fiduciary duty to
10   maintain alleged trade secret information in confidence and breached that duty if they
11   prove:
12              1. That the employee was Masimo or Cercacor’s corporate officer;
13              2. That the employee obtained the alleged trade secret in his or her capacity
14                 as a corporate officer of Masimo or Cercacor;
15              3. That he or she knew or should have known that this information was a
16                 trade secret;
17              4. That the employee communicated Masimo or Cercacor’s alleged trade
18                 secret to Apple; and
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        Authority: CACI 4100; CACI 4103 (adapted); GAB Bus. Servs., Inc. v. Lindsey &
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     Newsom Claim Servs., Inc., 83 Cal. App. 4th 409, 420-421 (2000), disapproved of on
21   other grounds by Reeves v. Hanlon, 33 Cal. 4th 1140 (2004) (“[A]n officer who
     participates in management of the corporation, exercising some discretionary authority,
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     is a fiduciary of the corporation.”); 3 Witkin, Summary 11th Agency § 109 (2022);
23   S.E.C. v. Talbot, 530 F.3d 1085, 1095 (9th Cir. 2008) (“Unless otherwise agreed, an
     agent is subject to a duty to the principal not to use or to communicate information
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     confidentially given him by the principal or acquired by him during the course of or on
25   account of his agency.”); Restatement (Third) Of Agency § 8.05 cmt. C (2006)
26   (discussing duty of confidence extending to information to which an agent was “given
     access by the principal … that the principal would not wish to be revealed or used” and
27   “confidential information about a principal or otherwise [acquired] in the course of an
28   agency relationship”).

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 1             5. That Masimo or Cercacor did not give informed consent to the
 2                employee’s conduct.
 3         Masimo and Cercacor can establish that an employee was a corporate officer if
 4   they prove that he or she participated in management of the corporation, exercising
 5   discretionary authority on behalf of the corporation. This determination depends on the
 6   substance of the employee’s management authority at the relevant time, if any, not on
 7   the employee’s title or the scope of his or her prior authority.
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 1         Apple’s Position: Objection to Plaintiffs’ Proposed Instruction No. 31A
 2          Apparently recognizing that their Agreement contains invalid provisions,
 3   Plaintiffs introduced Instructions 30 and 31A shortly before the parties were due to
 4   exchange arguments regarding the proposed instructions and only after this Court
 5   ordered Apple to submit an offer of proof on why a different “duty” theory raised by
 6   Plaintiffs was invalid. Apple objects to Plaintiffs inserting a new theory of liability into
 7   the jury instructions (i.e., breach of a fiduciary duty), on the grounds that Plaintiffs
 8   waived the issue at least by failing to raise it as an issue for trial under the joint pre-trial
 9   order, Dkt. 1413-1, or their memorandum of contentions of fact and law, Dkt. 1388-1.
10   Apple reserves the right to amend its counter-instruction and supplement this objection.
11          To the extent that the Court permits the jury to be charged on this new theory of
12   misappropriation, Apple objects to Plaintiffs’ Proposed Instruction No. 31A, which
13   improperly frames the relevant jury question and invites error by failing to adequately
14   define its terms. If the Court permits the jury to be charged on this new theory of
15   misappropriation, Apple requests that the Court deliver Instruction 31B, which Apple
16   has proposed in the alternative.
17          As a threshold matter, Apple objects to Plaintiffs’ proposed instruction because it
18   merely informs the jury of a purported duty without providing the necessary context. As
19   Apple has explained, the elements of a CUTSA claim for indirect trade secret
20   misappropriation are: “(1) the plaintiff is the owner of a valid trade secret; (2) the
21   defendant acquired the trade secret from someone other than the plaintiff and … knew
22   or had reason to know before the use or disclosure that the information was a trade secret
23   and knew or had reason to know that the disclosing party had acquired it through
24   improper means or was breaching a duty of confidentiality by disclosing it…; (3) the
25   defendant used or disclosed the trade secret without Plaintiff’s authorization; and (4) the
26   plaintiff suffered harm as a direct and proximate result of the defendant’s use or
27   disclosure of the trade secret, or the defendant benefitted from such use or disclosure.”
28   California Police Activities League v. California Police Youth Charities, Inc., 2009 WL
                                                  -195-
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 1   537091, at *3 (N.D. Cal. Mar. 3, 2009) (emphasis added). Therefore, any instruction as
 2   to Apple’s knowledge of a duty must include guidance as to Apple’s knowledge of
 3   breach of the duty. See Dkt. 1275 at 9-10 (denying Plaintiffs’ motion for partial
 4   summary judgment because “whether Apple knew or should have known that Lamego
 5   breached [a] duty is in material dispute”).
 6         Apple also objects to Plaintiffs’ proposed instruction insofar as it will sew
 7   confusion as to whether Plaintiffs can seek damages for Apple’s use or disclosure of any
 8   purportedly confidential information (as opposed to information that constitutes a trade
 9   secret under CUTSA). The operative complaint alleges only that O’Reilly and Lamego
10   breached a duty by communicating Plaintiffs’ purported trade secrets to Apple; it does
11   not reference any other kind of information. See Dkt. 296-1 at ¶ 46 (complaint uses
12   “Confidential Information” as shorthand to refer to Plaintiffs’ purported trade secrets);
13   see also id. ¶¶ 228, 229, 257, 259 (alleging O’Reilly and Lamego breached their
14   fiduciary duties by communicating “Confidential Information” to Apple). Instructing
15   the jury on a common law duty as to “confidential information”—a term that has not
16   been litigated and that even Plaintiffs have defined narrowly—is improper and will lead
17   to juror confusion, particularly when the only other reference to “confidential
18   information” in the record comes from the invalid provisions of Plaintiffs’ Employment
19   Confidentiality Agreement. See supra Apple’s Proposed Instruction No. 23; Apple’s
20   Position: Objection to Plaintiffs’ Proposed Instruction No. 30.
21         Apple also objects to Plaintiffs’ proposed instruction because it fails to require the
22   jury to make the factual findings necessary to establish the existence of a corporate
23   officer’s fiduciary duty, as CACI 4103 and California case law require. See, e.g., GAB
24   Bus. Servs., Inc. v. Lindsey & Newsom Claim Servs., Inc., 83 Cal. App. 4th 409, 421
25   (2000) and disapproved of on other grounds by Reeves v. Hanlon, 33 Cal. 4th 1140, 95
26   P.3d 513 (2004); WeRide Corp. v. Kun Huang, 379 F. Supp. 3d 834, 852 (N.D. Cal.
27   2019). Apple’s proposed instruction correctly sets forth the definition of a corporate
28   officer in this context.
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 1         Apple relatedly objects to Plaintiffs’ proposed instruction because it does not
 2   specify the other findings the jury must make to determine that an employee had a duty
 3   to maintain specific information in confidence or that the employee breached that duty.
 4   By contrast, Apple’s proposed instruction explains these requirements, using CACI
 5   4103 as a model.
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 32A
 2                                  (Offered in the Alternative)
 3                           Professional Skills, Talents, or Abilities
 4         As I have told you, a “trade secret” concerns information that meets the
 5   requirements I mentioned earlier, in contrast to professional skills, talents, or abilities
 6   that are unrelated to trade secrets.
 7         Engineers and other employees cannot use or disclose to others engineering
 8   solutions or information developed by their prior employers where such solutions or
 9   information qualify as a trade secret, even those developed or discovered by the
10   engineers or other employees themselves. Nor may they memorize or photocopy or
11   download information to take their prior employer’s trade secrets with them.
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 1             Masimo’s Objections to Apple’s Proposed Instruction No. 32B
 2         The Court should not provide an instruction on professional skills, talents, or
 3   abilities because such an instruction would be inconsistent with the facts and evidence
 4   in the case. Masimo proposed an instruction on this issue only in case the Court decides
 5   an instruction is necessary.
 6         Apple’s proposed instruction would only confuse the jury because Apple does not
 7   assert the former Masimo employees developed the trade secrets at Apple based on
 8   “professional skills, talents, or abilities.” Nor has Apple asserted that O’Reilly and
 9   Lamego used “on-the-job practical lessons” to develop the trade secrets at Apple.
10         Indeed, Apple asserts in its response to interrogatories that the former Masimo
11   employees did not develop the asserted trade secrets while at Apple, and Apple never
12   possessed the asserted trade secrets at all. Apple’s Response to Interrogatory No. 13.
13   Thus, Apple’s citation to other cases, which may have involved such disputes, does not
14   support providing this instruction. See, e.g., Waymo LLC v. Uber Techs., Inc., No. C
15   17-939 (N.D. Cal. Jan. 3, 2018); id., Dkt. 2449 at 4.
16         Apple’s instruction is also inappropriate because it suggests that “skills, talents,
17   or abilities” can never be a trade secret (e.g., lines 13-14, “Those lessons must be deemed
18   to become part of their professional skills, talents, and abilities”). The statute contains
19   no such limitation. Instead, it broadly defines a trade secret as “information, including
20   a formula, pattern, compilation, program, device, method, technique, or process” that
21   meets the statutory definition of a trade secret. Cal. Civ. Code § 3426.1(d). Nothing
22   supports Apple’s assertion that “skills, talents, or abilities” that meet the statutory
23   definition of a trade secret are somehow not subject to protection.
24         Apple’s argues “know-how” is not protectable. But courts have rejected that
25   argument. See, e.g., BladeRoom Grp. Ltd. V. Facebook, Inc., 2018 WL 514923, at *5
26   (N.D. Cal. Jan. 23, 2018) (holding “know-how” can be a trade secret and explaining
27   “know-how” is “the informational and experiential expertise related to practical
28   application of specifics, such as patented or unpatented inventions, formulas or
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 1   processes”); Genentech, Inc. v. JHL Biotech, Inc., 2019 WL 1045911, at *19 (N.D. Cal.
 2   2019) (recognizing viability of “negative know-how” trade secret because it confers “the
 3   benefit of steering clear of fruitless development pathways, thereby saving precious time
 4   and resources”). As the California Court of Appeal recognized long ago, “the character
 5   of the secrets, if peculiar and important to the business, is not material.” By-Buk Co. v.
 6   Printed Cellophane Tape Co., 163 Cal. App. 2d 157, 164, 329 P.2d 147, 151 (1958).
 7         The Court should not instruct the jury to try to determine irrelevant questions,
 8   such as whether information is a “skill” (which Apple says is not protectable”) or a
 9   “technique” (which the statute identifies specifically can be a trade secret). Rather, the
10   Court should instruct the jury to focus on the statutory definition of a trade secret. Any
11   “information” that meets that requirement is protectable—regardless of whether it is
12   characterized as a “skill” or “technique.” Cal. Civ. Code § 3426.1(d).
13         Apple cites Hooked Media Grp., Inc. v. Apple Inc., 55 Cal. App. 5th 323, 332,
14   (2020), but that case addressed the inevitable disclosure doctrine. It held “evidence that
15   Apple hired engineers with knowledge of Hooked’s trade secrets and that the engineers
16   inevitably would have relied on that knowledge in their work for Apple does not support
17   a claim for improper acquisition of a trade secret.” Id. Earlier in this case, the Court
18   distinguished Hooked because Masimo is not relying on the inevitable disclosure
19   doctrine. See Masimo Corp. v. Apple Inc., 2021 WL 925885, at *8 (C.D. Cal. Jan. 6,
20   2021).
21         Apple’s proposal is also one-sided. Apple explains in detail what trade secrets do
22   not cover, and that employees “cannot be expected to erase” information from memory
23   (lines 3–14). Apple then purports to explain what employees cannot do with the
24   information using burdensome language that suggests to the jury this is an unlikely
25   scenario. For example, Apple explains that the employees may not use “information
26   developed by their prior employers where such specific solutions or information qualify
27   as a trade secrets” (starting on line 15 of the first page).
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 1         Should the Court provide an instruction regarding what former employees can and
 2   cannot do, Masimo requests the Court use Masimo’s proposed balanced alternative
 3   version which is consistent with the case law cited by Apple and would be far easier for
 4   the jury to understand.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 32B70
 2                           Professional Skills, Talents, or Abilities
 3          As I have told you, a “trade secret” concerns information. By contrast, trade
 4   secrets do not cover professional skills, talents, or abilities. Trade secrets, therefore, do
 5   not cover skills, talents, or abilities developed by employees in their employment even
 6   though they may be developed at the expense of the employer. Engineers or other
 7   employees will, for example, through trial and error and application of their professional
 8   skills on the job, naturally sharpen their skills and accumulate practical lessons that
 9   supplement their skills, talents, and abilities.
10          When they move to new jobs with new employers, they cannot be expected to
11   erase such natural on-the-job practical lessons from memory and will remain free under
12   the law to use them, even though learned while on the payroll of the prior employer.
13   Those lessons must be deemed to become part of their professional skills, talents, and
14   abilities.
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16   70
        Authority: Court’s Penultimate Jury Instruction on Trade Secret Misappropriation
17   No. VII, Waymo LLC v. Uber Techs., Inc., No. C 17-939 (N.D. Cal. Jan. 3, 2018) Dkt.
     2449 at 4; Hooked Media Grp., Inc. v. Apple Inc., 55 Cal. App. 5th 323, 332, (2020)
18
     (“[E]ngineers drew on knowledge and skills they gained from Hooked to develop a
19   product for their new employer––but California's policy favoring free mobility for
     employees specifically allows that.”); Electro-Craft Corp. v. Controlled Motion, Inc.,
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     332 N.W.2d 890, 900 (Minn. 1983) (“The law of trade secrets will not protect talent or
21   expertise, only secret information.”); Strategic Directions Grp., Inc. v. Bristol-Myers
     Squibb Co., 293 F.3d 1062, 1065 (8th Cir. 2002) (same); Dynamics Rsch. Corp. v.
22
     Analytic Scis. Corp., 9 Mass. App. Ct. 254, 275 (1980) (“[T]here [i]s no trade secret in
23   the coordinated approach of skilled engineers and scientists to a particular problem,
     and.… [The former employees] contributed to [plaintiff’s] success and also benefited
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     from their experiences with it. When they resigned, they could not reasonably be
25   expected to blot out what they had learnt during their period of employment.”); see also
26   Ajaxo, Inc. v. E*Trade Fin. Corp., 48 Cal. App. 5th 129, 160 n. 9 (2020) (“Because the
     CUTSA is derived from the national Uniform Trade Secrets Act, California courts
27   consider case law from other jurisdictions applying similar sections of the Uniform
28   Act.”).

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 1          Engineers and other employees cannot, however, go further in new jobs with new
 2   employers to use or disclose to others specific engineering solutions or information
 3   developed by their prior employers where such specific solutions or information qualify
 4   as a trade secret, even those developed or discovered by the engineers or other
 5   employees themselves. Nor may they memorize or photocopy or download information
 6   to take their prior employer’s trade secrets with them.
 7          It is for the jury to decide in each case whether the employees have used or
 8   disclosed a former employer’s trade secret information at their new jobs versus having
 9   utilized their professional skills, talents, or abilities.
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 1                      Apple’s Position: Proposed Instruction No. 32B
 2         Apple’s proposed instruction is drawn from an instruction set forth in the district
 3   court’s planned instructions of law in Waymo LLC v. Uber Technologies, Inc., No. C 17-
 4   939 (N.D. Cal. Jan. 3, 2018), Dkt. 2449 at 4, a case that also concerned allegations of
 5   indirect misappropriation of technical trade secrets via the plaintiff’s former employee.
 6         Here, Apple’s defense rests in part on the argument that two of its employees
 7   brought with them to a new job only accumulated experience, professional know-how,
 8   and talents honed through practice.           When Plaintiffs suggest otherwise, they
 9   misunderstand Apple’s position. For example, Apple is not arguing that the alleged
10   trade secrets are simply “professional skills, talents, or abilities” Dr. Lamego learned
11   from his work for Plaintiffs, but rather that he developed his “professional skills, talents,
12   or abilities” over decades of education and work, and that this professional background
13   supports his testimony that he developed the alleged secrets while at Apple. Indeed, Dr.
14   Lamego had broad technical expertise even before he joined Masimo. See, e.g., Dkt.
15   1098-4, Ex. 17 at 15:23-16:14, 18:3-5 (education); id. at 16:15-20; 17:1-4, 17:16-21
16   (teaching experience); id. at 23:8-15 (knowledge about pulse oximetry prior to working
17   for Masimo); id. at 21:15-22:5 (general pulse oximetry knowledge shared with Masimo).
18   It is therefore appropriate for the Court to instruct the jury how the background principles
19   of California employment law interact with trade secret protections.
20         Apple objects to Plaintiffs’ counter-proposal, which notably cites no authority and
21   confusingly suggests to the jury that California law protects the use of only those skills,
22   talents, and abilities that are “unrelated” to trade secrets. The proper formulation appears
23   in Apple’s proposed instruction—an employee’s skills, talents, and abilities cannot be
24   trade secrets, even if they involve information or subject matter that is similar to a party’s
25   purported trade secrets. See, e.g., Hooked Media Grp., Inc. v. Apple Inc., 55 Cal. App.
26   5th 323, 332, (2020) (“[E]ngineers drew on knowledge and skills they gained from
27   Hooked to develop a product for their new employer––but California's policy favoring
28   free mobility for employees specifically allows that.”).
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 33A
 2                                (Offered in the Alternative)
 3                                    Causation and Harm
 4         Masimo and Cercacor are entitled to recover damages for harm caused by Apple’s
 5   misappropriation if Masimo and Cercacor prove that Apple’s misappropriation was the
 6   cause of some harm. Specifically, to recover damages Masimo and Cercacor must prove
 7   that Apple’s misappropriation was a substantial factor in causing them harm.
 8         A “substantial factor” in causing harm is a factor that a reasonable person would
 9   consider to have contributed to the harm. It must be more than a remote or trivial factor.
10   It does not have to be the only cause of the harm. Conduct is not a substantial factor in
11   causing harm if the same harm would have occurred without that conduct.
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 1             Masimo’s Objections to Apple’s Proposed Instruction No. 33B
 2         The Court should not provide an instruction on this issue. Masimo proposed an
 3   instruction on this issue only in case the Court decides an instruction is necessary.
 4         Apple’s proposed instruction purports to require that Masimo must prove
 5   damages and causation to establish liability for trade secret misappropriation. The
 6   statute refutes Apple’s assertion that proving harm (much less causation) is required to
 7   establish liability.    CUTSA expressly provides for equitable recovery for
 8   misappropriation even where a plaintiff fails to prove it suffered damages and fails to
 9   prove the defendant was unjustly enriched:
10         If neither damages nor unjust enrichment caused by misappropriation
11         are provable, the court may order payment of a reasonable royalty for no
12         longer than the period of time the use could have been prohibited.
13   Cal. Civ. Code § 3426.3(b) (emphasis added). This Court’s use of a similar instruction
14   in another case does not make Apple’s proposed instruction any less inconsistent with
15   the statute. Apple’s citation to AMN Healthcare is circular because that case is also
16   inconsistent with the statute and relies on CACI instructions that are inconsistent with
17   the statute. AMN Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923,
18   942 (2018)
19         Moreover, the parties’ competing proposed instructions (No. 37) regarding
20   remedies for misappropriation fully address the issues of harm and causation. See CACI
21   No. 4409. Apple also repeats subject matter that is fully addressed in other proposed
22   instructions, such as Masimo’s possession of the trade secrets and Apple’s
23   misappropriation (Nos. 16 and 17). As such, there is no basis for providing Apple’s
24   proposed instruction.
25         Should the Court provide an instruction on causation and harm, Masimo requests
26   the Court give it as part of, and after, the instruction regarding remedies, and use
27   Masimo’s proposed alternative instruction so as to avoid inconsistency with the statute.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 33B71
 2                    Fourth and Fifth Elements—Causation and Harm
 3         If Masimo and Cercacor prove that they possessed an alleged trade secret and that
 4   Apple misappropriated it by use or disclosure, then Masimo and Cercacor must prove
 5   that Apple’s misappropriation was the cause of some provable harm. Specifically,
 6   Masimo and Cercacor must prove that Apple’s use or disclosure of a specific alleged
 7   trade secret was a substantial factor in causing them harm.
 8         A “substantial factor” in causing harm is a factor that a reasonable person would
 9   consider to have contributed to the harm. It must be more than a remote or trivial factor.
10   It does not have to be the only cause of the harm. Conduct is not a substantial factor in
11   causing harm if the same harm would have occurred without that conduct.
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       Authority: CACI 430 (adapted); Instruction No. 35, Infospan, Inc. v. Emirates NBD
28   Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10, 2016) (Selna, J.).

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                         Apple’s Position: Proposed Instruction No. 33B
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           Apple’s proposed instruction is a near-verbatim adaptation of a corresponding
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     instruction that this Court delivered in another trade secrets case. See Instruction No.
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     35, Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10,
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     2016) (Selna, J.). That instruction’s definition of “substantial factor” is drawn from
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     CACI’s general damages instructions. See CACI 430. CACI’s inclusion of harm and
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     causation as elements of CUTSA liability comports with California cases that enumerate
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     the elements of a trade secret misappropriation claim. See, e.g., AMN Healthcare, Inc.
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     v. Aya Healthcare Servs., Inc., 28 Cal. App. 5th 923, 942 (2018) (“A cause of action for
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     misappropriation of trade secrets requires a plaintiff to show,” inter alia, “the plaintiff
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     was harmed; and the defendant’s acquisition, use, or disclosure of the trade secret was a
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     substantial factor in causing the plaintiff harm”); supra Apple’s Position: Proposed
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     Instruction No. 16B.
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           Plaintiffs contend that they need not prove the harm and causation elements
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     because the alternate remedy of a reasonable royalty “may” be available where “neither
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     damages nor unjust enrichment caused by misappropriation are provable.” Cal. Civ.
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     Code § 3426.3(b). But neither Plaintiffs’ instruction nor their argument cites even one
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     case supporting that reading of CUTSA. To the contrary, the California Court of
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     Appeals has affirmed a trial court’s grant of non-suit (i.e., JMOL) on CUTSA liability
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     where the plaintiff “did not present evidence of damages specific to the dispute at hand
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     and relevant to the measures of damages.” Unilogic, Inc. v. Burroughs Corp., 10 Cal.
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     App. 4th 612, 627 (1992). In so doing, the Court of Appeal rejected the defendant’s
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     argument that “the [trial] court erred because … even if there was insufficient evidence
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     of unjust enrichment, the trial court should have allowed the jury to determine liability
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     for trade [secret] misappropriation as a precursor to the court’s determination of a
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     reasonable royalty under [§ 3426.3(b).]” Id. Unilogic therefore squarely forecloses
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     Plaintiffs’ position.
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 1         As discussed above, Plaintiffs also misunderstand the purpose and availability of
 2   a reasonable royalty under CUTSA.        See supra Apple’s Objection To Plaintiffs’
 3   Proposed Instruction No. 25. CUTSA provides for a reasonable royalty as an alternate
 4   remedy where the plaintiff has proven that misappropriation caused some amount of
 5   injury or “unjust enrichment” but the measure of that harm or benefit is “unprovable.”
 6   Cacique, Inc. v. Robert Reiser & Co., 169 F.3d 619, 623 (9th Cir. 1999); Cal. Civ. Code
 7   § 6426.3(b). The Ninth Circuit recognized in Cacique that “[c]ases finding unjust
 8   enrichment unprovable under § 3426.3 have involved unusual circumstances,” that
 9   made it impossible to obtain the evidence necessary to prove the measure of harm or
10   unjust enrichment. Id. (describing Unilogic v. Burroughs, 10 Cal. App. 4th 612, 626-
11   630 (1992) as involving an “infringing product never brought to market, just used
12   internally” and Vermont Microsystems, Inc. v. Autodesk, Inc., 138 F.3d 449 (2d Cir.
13   1998) as involving “infringing technology [that] was only a tiny part of value of complex
14   software”).
15         Ultimately, Plaintiffs identify no case in which a reasonable royalty was granted
16   where the measure of harm or unjust enrichment was “eminently provable,” but the
17   plaintiff failed to prove that misappropriation had caused any harm whatsoever.
18   However, this is exactly what Plaintiffs assert is possible by proposing to omit the
19   causation and harm elements from the requirements for CUTSA liability.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 34A72
 2                               Defense—Statute of Limitations
 3          Apple claims that Masimo and Cercacor’s lawsuit was not filed within the time
 4   set by law.     To succeed on this defense, Apple must prove that the claimed
 5   misappropriation of a trade secret occurred before January 9, 2017.
 6          If Apple succeeds on that portion of the defense, Masimo and Cercacor must prove
 7   that they did not know or have reason to know of the misappropriation of trade secrets
 8   before January 9, 2017.
 9          Masimo and Cercacor had reason to know of the misappropriation of trade secrets
10   if they:
11          (a)    Had reason to suspect that Apple had already misappropriated the alleged
12          trade secrets; and
13          (b)    A reasonable investigation would produce facts sufficient to confirm that
14          suspicion and justify bringing a lawsuit.
15          A mere suspicion that trade secrets could have been misappropriated does not
16   show Masimo and Cercacor knew or had reason to know of the misappropriation of trade
17   secrets.
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        Authority: CACI 4421 (adapted); Dkt. 606 at 3 (quoting Hays v. VDE
28   Futureceuticals, Inc., 2016 WL 5660395, at *3 (D. Haw. Sept. 28, 2016)); id. at 7.

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 1                   Masimo’s Argument: Proposed Instruction No. 34A
 2         The parties agree on the first paragraph of this proposed instruction, which tracks
 3   the language of CACI No. 4421. The second paragraph of Masimo’s proposal departs
 4   from CACI but tracks the correct law and this Court’s prior order regarding Apple’s
 5   motion for partial summary judgment. The Court explained that, “when there is reason
 6   to suspect that a trade secret has been misappropriated, and a reasonable investigation
 7   would produce facts sufficient to confirm this suspicion (and justify bringing suit), the
 8   limitations period begins, even though the plaintiff has not conducted such an
 9   investigation.” Dkt. 606 at 3 (quoting Hays v. VDF Futureceuticals, Inc., 2016 WL
10   5660395, at *3 (D. Haw. Sept. 28, 2016)). Masimo’s third paragraph tracks this Court’s
11   further explanation that “a suspicion that [trade secrets] theoretically could be shared
12   provides an insufficient basis for filing a trade secret misappropriation claim.” Id. at 7
13   (citing Cypress Semiconductor Corp.v. Superior Ct., 163 Cal. App. 4th 575, 587, (2008)).
14         Masimo’s second and third paragraphs are particularly important in this case.
15   Apple will argue Masimo’s claims are untimely if Masimo suspected some wrongdoing
16   in the abstract. Apple will argue that this defense applies even if Masimo did not suspect
17   misappropriation had occurred and even if Masimo could not have confirmed the
18   misappropriation through further investigation. Such arguments are directly contrary to
19   the caselaw Masimo cited above and would invite legal error. Masimo’s proposal is
20   more accurate and would be more helpful to the jury than Apple’s in explaining the legal
21   framework for applying the statute of limitations.
22         Apple argues that Masimo’s proposal is inconsistent with the Court’s ruling when
23   the proposal recites that the statute of limitations does not apply if Masimo “did not
24   know or have reason to know of the misappropriation.” Apple claims the Court
25   explained the “proper inquiry is different” because it referred to when the “the
26   misappropriation is discovered or by reasonable diligence should have been discovered.”
27   Dkt. 606 at 5. That language is similar to Masimo’s proposal and Masimo would have
28   no objection to using that language. But Apple ignores the real distinction in the parties’
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 1   proposals: how to satisfy that standard. Masimo’s proposal tracks the Court’s order
 2   (Dkt. 606 at 5) by reciting that the standard is satisfied if Masimo:
 3         (a)    Had reason to suspect that Apple had already misappropriated the alleged
 4         trade secrets; and
 5         (b)    A reasonable investigation would produce facts sufficient to confirm that
 6         suspicion and justify bringing a lawsuit.
 7   Apple’s arguments it exchanged with Masimo do not dispute this is the correct standard.
 8         Apple argues that, once the statute of limitations begins to run for one trade secret,
 9   it begins to run for all trade secrets. That argument is incorrect for several reasons.
10         First, Apple relies on MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095,
11   1110 (N.D. Cal. 2012), but Apple omits that even MedioStream held that the statute of
12   limitations begins to run as to other trade secrets only if “they are related.” Id.
13   MedioStream also cites cases that reached the same conclusion. See Forcier v. Microsoft
14   Corp., 123 F. Supp. 2d 520, 526 (N. D. Cal. 2000) (“alleged trade secrets at issue all are
15   related”); HiRel Connectors, Inc. v. U.S., 465 F. Supp. 2d 984, 988 (C.D. Cal. 2005)
16   (addressing “separate misappropriations of related trade secrets”); see also Intermedics,
17   822 F. Supp. at 654 (statute began to run “at least for all related matters”).
18         Here, at least the Business Strategies trade secrets are not related to any of the
19   technical trade secrets (and vice versa), the                           trade secrets are not
20   related to the                trade secrets (and vice versa), and L1 is not related to L2
21   (or vice versa).
22         Second, Apple ignores that awareness of one former employee’s misappropriation
23   does not place a company on notice of misappropriation by other former employees.
24   Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 1003 (C.D. Cal. 2011) (“‘continuing
25   misappropriation’ refers to multiple acts by one individual and not, as here, many other
26   employees”). Thus, the jury could at least find that trade secrets misappropriated by or
27   via O’Reilly did not put Masimo on notice that trade secrets may have been
28   misappropriated by or via Lamego (and vice versa).
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 1         Third, Apple ignores that this Court addressed the legal standards for triggering
 2   the statute of limitations when Apple filed its first motion for partial summary judgment
 3   in 2021. This Court explained that, “when there is reason to suspect that a trade secret
 4   has been misappropriated, and a reasonable investigation would produce facts
 5   sufficient to confirm this suspicion (and justify bringing suit), the limitations period
 6   begins, even though the plaintiff has not conducted such an investigation.” Dkt. 606 at 3
 7   (emphasis added) (quoting Hays v. VDF Futureceuticals, Inc., 2016 WL 5660395, at *3
 8   (D. Haw. Sept. 28, 2016)). This Court further explained that “a suspicion that [trade
 9   secrets] theoretically could be shared provides an insufficient basis for filing a trade
10   secret misappropriation claim.” Id. at 7 (citing Cypress Semiconductor Corp.v. Superior
11   Ct., 163 Cal. App. 4th 575, 587, (2008)).
12         Even if Masimo had a reason to suspect misappropriation of one trade secret, if a
13   reasonable investigation would not have produced facts sufficient to justify bringing suit
14   on other trade secrets, then the statute should not begin running as to those other trade
15   secrets. The jury should evaluate Apple’s statute of limitations defense independently
16   for each trade secret.
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 1                   APPLE’S PROPOSED INSTRUCTION NO. 34B73
 2                             Defense—Statute of Limitations
 3         Apple claims that Masimo and Cercacor’s lawsuit was not filed within the time
 4   set by law.    To succeed on this defense, Apple must prove that the claimed
 5   misappropriation of a trade secret occurred before January 9, 2017.
 6         However, the lawsuit was still filed on time if Masimo and Cercacor prove that
 7   before January 9, 2017, they did not discover, nor with reasonable diligence should they
 8   have discovered, facts that would have caused a reasonable person to suspect that Apple
 9   had misappropriated at least one of Masimo and Cercacor’s alleged trade secrets.
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       Authority: CACI 4421 (adapted); Dkt. 606 at 3; MedioStream, Inc. v. Microsoft
28   Corp., 869 F. Supp. 2d 1095, 1110 (N.D. Cal. 2012).

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 1                      Apple’s Position: Proposed Instruction No. 34B
 2         Apple’s proposed instruction is nearly identical to CACI 4421, departing only to
 3   add a clarification that appears in this Court’s prior summary judgment ruling—i.e., that
 4   the statute of limitation begins to run as soon as “Plaintiffs discovered or had reason to
 5   discover that a trade secret” (as opposed to every claimed trade secret) “had been
 6   misappropriated.” Dkt. 606 at 5 (emphasis added). Other courts that have addressed the
 7   issue have reached the same conclusion, holding that in the context of a misappropriation
 8   single claim against a single defendant, the limitations period begins to run at the time
 9   the plaintiff knew or should have discovered the first instance of misappropriation.
10   MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095, 1110 (N.D. Cal. 2012)
11   (collecting cases); see also, e.g., Intermedics, Inc. v. Ventritex, Inc., 822 F. Supp. 634,
12   654 (N.D. Cal. 1993) (“[O]nce a plaintiff knows or should know that a particular
13   defendant cannot be trusted with one secret, it is unreasonable for that plaintiff simply
14   to assume that that defendant can be trusted to protect other secrets.”).
15         Plaintiffs’ counter-proposal rightly does not dispute this basic principle. But it
16   improperly diverges from the statute, CACI 4421, and this Court’s prior ruling when it
17   states that the defense does not apply if Plaintiffs can show they “did not know or have
18   reason to know of the misappropriation.” As this Court has explained, the proper inquiry
19   is different—the statute of limitations runs when “‘the misappropriation is discovered or
20   by reasonable diligence should have been discovered.’” Dkt. 606 at 3 (quoting Cal. Civ.
21   Code § 3426.6); accord CACI 4421.
22         If this Court decides to give Plaintiffs’ instruction, Apple preserves for appeal its
23   position that the statute of limitations is triggered whenever Plaintiffs first suspected
24   misappropriation of one of the purported trade secrets at issue in this litigation. See Dkt.
25   587 at 1, 3-6; Dkt 595 at 2-3. In short, “once the plaintiff has a suspicion of wrongdoing,
26   and therefore an incentive to sue, she must decide whether to file suit or sit on her rights.”
27   See, e.g., Gabriel Techs. Corp. v. Qualcomm, Inc., 857 F. Supp. 2d 997, 1003 (S.D. Cal.
28   2012). Plaintiffs’ proposed instruction wrongly relies on the test for constructive notice
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 1   under federal law, which is different (and more generous to a slow-moving plaintiff)
 2   than the test for constructive notice under state law. See City of Los Angeles v. San
 3   Pedro Boat Works, 2008 WL 11334051, at *7-8 (C.D. Cal. Apr. 28, 2008).
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 35A74
 2                                 (Offered in the Alternative)
 3                                  Defense—Unclean Hands
 4         Apple has raised as an affirmative defense the allegation that Masimo has come
 5   into court with unclean hands.
 6         A person who has committed an intentional dishonest act in connection with that
 7   person’s relationship to another is barred by the doctrine of unclean hands from
 8   recovering damages from the other person.
 9         The only conduct on which you may make a finding of unclean hands is that
10   conduct directly related to the subject matter or relationship at issue in this litigation.
11   Unclean hands does not mean that someone is a bad person in general or in some other
12   respect; you may find unclean hands only if you find a direct connection between the
13   alleged unclean hands conduct and the facts of this case.
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          Masimo’s Position: The Court should not provide an instruction on unclean
26   hands because Apple’s theory is not a defense to a claim for trade secret
     misappropriation and unclean hands is typically an equitable issue for the Court.
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28         Authority: 2 Cal. Affirmative Def. § 45:18 (2d ed.)

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 1              Masimo’s Objections to Apple’s Proposed Instruction No. 35B
 2         Unclean hands is an equitable issue, typically for the court to decide. See Nat.-
 3   Immunogenics Corp. v. Newport Trial Grp., No. SACV 15-2034-JVS-JCGx, 2019 WL
 4   3099725, at *6 (C.D. Cal. Apr. 15, 2019) (“unclean hands is an equitable defense tried
 5   to the Court, and a litigant is not entitled to have a jury resolve a disputed affirmative
 6   defense if the defense is equitable in nature.”) (cleaned up); JIPC Mgmt., Inc. v.
 7   Incredible Pizza Co., No. CV 08-04310 MMM PLAx, 2009 WL 8591607, at *19 (C.D.
 8   Cal. July 14, 2009) (“Defendants’ unclean hands defense is equitable, however, and
 9   committed to the discretion of the court; there is no right to jury trial on this defense.”);
10   Starz Ent., LLC v. Buena Vista Television, Inc., No. CV 07-1895-VBF(PJWX), 2008
11   WL 11336466, at *2 (C.D. Cal. Oct. 20, 2008) (“unclean hands and equitable estoppel
12   are issues for resolution by the Court and not the jury.”); see also Safety Dynamics, Inc.
13   v. Gen. Star Indem. Co., No. CV-09-00695-TUC-CKJ, 2013 WL 11299210, at *3 (D.
14   Ariz. July 26, 2013) (denying request for jury trial on unclean hands).
15         The parties agree that there is no right to trial by jury on this defense. Apple
16   argues that the Court should discretionarily allow the jury to resolve Apple’s unclean
17   hands defense because the facts underlying the defense are intertwined with factual
18   issues already before the jury. Masimo will address this issue in its forthcoming
19   response to Apple’s offer of proof on unclean hands.
20         Among other issues, Masimo’s forthcoming response will explain that Apple’s
21   theory of unclean hands is not a defense to a claim for trade secret misappropriation.
22   See Brown v. TGS Mgmt. Co., 57 Cal. App. 5th 303, 317 (2020) (even a facially invalid
23   confidentiality provision does not limit the ability to “prevent former employees from
24   disclosing trade secrets and other confidential information by pursuing injunctive relief
25   and tort remedies under the Uniform Trade Secrets Act and the unfair competition law”).
26         Apple’s proposed instruction is also improper because it would expand Apple’s
27   allegations of unclean hands beyond the validity and enforceability of the noncompete
28   and nonsolicitation provisions that Apple disclosed during discovery. Apple now claims
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 1   that Masimo has unclean hands because it required employees to sign employment
 2   agreements that include confidentiality provisions. Apple cannot expand the scope of
 3   its defense via a jury instruction. Masimo will also address this issue in its forthcoming
 4   response.
 5         Should the Court send unclean hands to the jury, and provide an instruction on
 6   unclean hands, Masimo requests the Court use Masimo’s proposed alternative
 7   instruction. Masimo’s instruction is a more concise version of the model instruction on
 8   which Apple relies. See 2 Cal. Affirmative Def. § 45:18 (2d ed.).
 9         Masimo’s forthcoming response will also address how Apple will open the door
10   on certain in limine rulings if the Court allows Apple to argue unclean hands to the jury
11   based on the validity of Masimo’s employment contracts.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 35B75
 2                                  Defense—Unclean Hands
 3         Apple has raised as a defense that Masimo and Cercacor come into court with
 4   unclean hands and so should be barred from recovering damages on their claims. The
 5   doctrine of unclean hands is invoked when a litigant seeking damages has violated a
 6   duty of good faith or has acted unconscionably in connection with the same subject
 7   matter or relationship out of which the litigant claims a right to damages. If you find
 8   such a violation of good faith or conscience, then you should find that the plaintiff or
 9   plaintiffs that are guilty of unclean hands are not entitled to recover damages in this
10   action.
11         A person who has committed an intentional, dishonest act in connection with that
12   person’s relationship to another is barred by the doctrine of unclean hands from
13   recovering damages from the other person.
14         The only conduct on which you may make a finding of unclean hands is that
15   conduct directly related to the subject matter or relationship at issue in this litigation.
16   Unclean hands does not mean that someone is a bad person in general or in some other
17   respect; you may find unclean hands only if you find a direct connection between the
18   alleged unclean hands conduct and the facts of this case.
19         In this case, Apple alleges that Masimo and Cercacor have unclean hands because
20   they required certain employees, including Dr. O’Reilly and Dr. Lamego, to sign
21   employment agreements that include confidentiality, noncompete, and nonsolicitation
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       Authority: 2 Cal. Affirmative Def. § 45:18 (2d ed.); Cal. Bus. & Prof. Code § 16600;
24
     Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 945-946 (2008); Brown v. TGS Mgmt
25   Co., 57 Cal. App. 5th 303, 316-317 (2020); AMN Healthcare, Inc. v. Aya Healthcare
26   Servs., Inc., 28 Cal. App. 5th 923, 939-940 (2018); Ret. Grp. v. Galante, 176 Cal. App.
     4th 1226, 1238 (2009); Fladboe v. American Isuzu Motors Inc., 150 Cal. App. 4th 42,
27   56 (2007) (“The doctrine of unclean hands requires unconscionable, bad faith, or
28   inequitable conduct by the plaintiff in connection with the matter in controversy.”).

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 1   provisions. I have determined that these provisions were void and unenforceable under
 2   California law from their inception.
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 1                      Apple’s Position: Proposed Instruction No. 35B
 2         Both California and Ninth Circuit law provide that the Court has discretion to
 3   present an unclean hands defense to the jury. See, e.g., Unilogic, Inc. v. Burroughs
 4   Corp., 10 Cal. App. 4th 612, 619-622 (1992) (holding that unclean hands defense is
 5   available in a trade secret misappropriation suit for damages and that it may be submitted
 6   to jury at court’s discretion); National Life Ins. Co. v. Saks, 630 F. App’x 703, 704 (9th
 7   Cir. 2015) (“The district court did not err in instructing the jury on unclean hands.”).
 8   This rule makes good sense because in general, “the application of the doctrine of
 9   unclean hands is primarily a question of fact, Ins. Co. of N. Am. v. Liberty Mut. Ins. Co.,
10   128 Cal. App. 3d 297, 306 (1982)—i.e., a question the jury is well-suited to answer.
11   Submission of unclean hands to the jury is particularly appropriate where, as here, the
12   “theories in support of the unclean hands defense [a]re intertwined with [Plaintiffs’]
13   legal causes of action and raise[] questions of fact and credibility properly submitted to
14   a jury.” Unilogic, 10 Cal. App. 4th at 623. The first three paragraphs of the proposed
15   instruction implement the model unclean hands instruction drawn from a treatise on
16   affirmative defenses in California law. See 2 Cal. Affirmative Def. § 45:18 (2d ed.).
17   These paragraphs properly state the law of unclean hands; indeed, Plaintiffs’ counter-
18   proposal adopts the same substantive standard for establishing an unclean hands defense.
19         The fourth paragraph of Apple’s Proposed Instruction No. 35B instructs the jury
20   on Apple’s specific theory of unclean hands: that Plaintiffs required their employees,
21   including Marcelo Lamego and Dr. Michael O’Reilly, to sign an Employee
22   Confidentiality Agreement containing non-disclosure and non-compete provisions that
23   are void and unenforceable in California because they contravene Cal. Bus. & Prof. Code
24   § 16600.
25         Apple recognizes that the Court’s ruling on Apple’s motion in limine No. 4
26   directed the parties “not [to] ask the jury to resolve the legal question” of whether the
27   Agreement is void under section 16600. Dkt. 1439 at 7. Apple has accordingly drafted
28   its proposed instruction on the assumption that Apple will successfully move for JMOL
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 1   at the appropriate time on the issue of the confidentiality and non-compete provisions’
 2   validity under section 16600.
 3         Plaintiffs’ opposition to this instruction rests on the fact that unclean hands is an
 4   equitable doctrine, but that argument carries little force in this particular case since the
 5   jury will already be resolving another traditionally equitable claim—inventorship of a
 6   number of patents. See Shum v. Intel Corp., 499 F.3d 1272, 1277 (Fed. Cir. 2007)
 7   (holding that Seventh Amendment required equitable inventorship claim to be tried
 8   alongside state law claim raising common factual issues). Indeed, Plaintiffs’ own case
 9   law recognizes that bifurcation of legal and equitable claims may be inappropriate when
10   there are common underlying factual issues. See Danjaq LLC v. Sony Corp., 263 F.3d
11   942, 962 (9th Cir. 2001) (“Where equitable and legal claims are joined in the same
12   action, there is a right to jury trial on the legal claims which must not be infringed … by
13   a court trial of a common issue existing between the claims.’”); Granite State Ins. Co. v.
14   Smart Modular Techs., 76 F.3d 1023, 1026 (9th Cir. 1996) (affirmative defense of laches
15   may be tried to jury if “any common issues … exist between [plaintiff’s] legal claims
16   for breach of contract and negligence and [defendant’s] equitable defense”). And while
17   Plaintiffs assert that the validity of Plaintiffs’ Agreement does not “relate to any other
18   issue in the case,” Plaintiffs have previously represented to this Court that they intend to
19   rely on the Agreement to establish that they took reasonable efforts to preserve the
20   confidentiality of their alleged trade secrets. Plaintiffs have not identified any case law
21   holding that an invalid Agreement establishes reasonable efforts, nor is Apple aware of
22   any such precedent. See supra Apple’s Position: Proposed Instruction No. 20.
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 3676
 2            Defense—Information Was Readily Ascertainable by Proper Means
 3           Apple did not misappropriate an alleged trade secret if Apple proves that the
 4   alleged trade secret was readily ascertainable by proper means at the time of the alleged
 5   acquisition, use, or disclosure.
 6           There is no fixed standard for determining what is “readily ascertainable by proper
 7   means.” In general, information is readily ascertainable if it can be obtained, discovered,
 8   developed, or compiled without significant difficulty, effort, or expense. For example,
 9   information is readily ascertainable if it is available in trade journals, reference books,
10   or published materials. On the other hand, the more difficult information is to obtain,
11   and the more time and resources that must be expended in gathering it, the less likely it
12   is that the information is readily ascertainable by proper means.
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28        Authority: CACI 4420 (adapted).

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 1                      Apple’s Position: Proposed Instruction No. 36
 2         Apple acknowledges the Court’s ruling on Plaintiffs’ Daubert motion, construing
 3   the scope of the readily ascertainable defense more narrowly than CACI 4420. See Dkt.
 4   1284. However, Apple offers this instruction to preserve its position for appeal. Apple
 5   further incorporates by reference the arguments made in opposition to Plaintiffs’
 6   Daubert motion, regarding the scope of the readily ascertainable defense. See Dkt. 1225
 7   at 10-16.
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 1              Masimo’s Objections to Apple’s Proposed Instruction No. 36
 2         Masimo objects to this instruction because the parties agree there is no basis for
 3   providing it in light of the Court’s Daubert ruling that rejected Apple’s “readily
 4   ascertainable” defense. See Dkt. 1284 at 4. Apple admits that it offers this instruction
 5   only to preserve its position for appeal.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 37A77
 2                      Remedies For Misappropriation of Trade Secret
 3           If Masimo and Cercacor prove that Apple misappropriated one or more of the
 4   Asserted Trade Secrets, and prove that the misappropriation caused Masimo or Cercacor
 5   to suffer an actual loss or Apple to be unjustly enriched, then Masimo and Cercacor are
 6   entitled to recover monetary compensation.
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28        Authority: CACI 4409 (adapted).

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 1                   Masimo’s Argument: Proposed Instruction No. 37A
 2         Masimo’s proposed instruction is based on CACI No. 4409 and succinctly
 3   informs the jury of the monetary recovery Masimo seeks. Masimo seeks to recover for
 4   Masimo’s losses and Apple’s unjust enrichment due to Apple’s misappropriation.
 5   Masimo omitted the second paragraph in the CACI model instruction because Masimo
 6   is not presenting a reasonable royalty case to the jury.
 7         Apple’s proposal is unnecessarily long and risks confusing the jury by referring
 8   to issues that are not before the jury, introducing limitations that are inconsistent with
 9   the facts of the case, and adding language not supported by the caselaw.
10         Apple’s proposal instructs the jury on reasonable royalty, even though the jury
11   will not address that issue. Apple then asserts that the award of damages “must be
12   limited solely to the time that the relevant alleged trade secrets would have remained
13   unavailable to Apple in the absence of misappropriation.” Apple’s cases on this point
14   are inapposite. Lamb-Weston did not decide the duration of the damages period, but
15   instead the duration of an injunction. Lamb-Weston, Inc. v. McCain Foods, Ltd., 941
16   F.2d 970, 974 (9th Cir. 1991). Moreover, the head start period applied because the trade
17   secret became public with the publication of the plaintiff’s patent, and the plaintiff
18   presented evidence of its development time. Id. at 975. Apple’s reliance on Tex.
19   Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc., 895 F.3d 1304, 1317–
20   18 (Fed. Cir. 2018) is also misplaced. In that case, plaintiff’s own product made the
21   alleged trade secrets available to the defendant by proper means, and the defendant
22   successfully reverse-engineered plaintiff’s product before damages would have started.
23   Id. Apple does not allege Masimo made its trade secrets available by proper means to
24   Apple. Apple also does not allege any actual reverse engineering.
25         Other courts considering more analogous facts have declined to limit damages by
26   a head start period. See Johns Manville Corp. v. Knauf Insulation, LLC, No. 15-CV-
27   00531-RBJ-KLM, 2017 WL 4222621, at *9 (D. Colo. Sept. 22, 2017) (under Colorado
28   law, plaintiff is “entitled to damages from any period during which the trade secrets
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 1   afforded [defendant] a competitive advantage and for any profits [defendant] derived
 2   from its use of [plaintiff’s] trade secrets, rather than just those benefits that accrued
 3   during a hypothetical ‘head start’ period.”); RRK Holding Co. v. Sears, Roebuck & Co.,
 4   563 F. Supp. 2d 832, 836 (N.D. Ill. 2008) (jury instructions were consistent with Illinois
 5   law and UTSA that head start period does not limit monetary damages, including actual
 6   loss).
 7            Apple’s language is based on a portion of the model instruction that applies only
 8   to a reasonable royalty. Moreover, the Court will separately instruct the jury on the law
 9   of lost profits and unjust enrichment in the next two instructions. Addressing these
10   issues as part of an introductory instruction is unnecessary and potentially confusing.
11            Apple’s proposed instruction, as with many of Apple’s proposals, confusingly
12   refers in summary fashion to subject matter that is fully addressed in other proposed
13   instructions, including regarding Masimo’s obligation to establish liability, Apple’s
14   defenses, and the burden of proof. Apple’s incomplete repetition would be unhelpful
15   and confusing to the jury. Apple also repeats its false assertion that liability for trade
16   secret misappropriation requires establishing five elements.        As discussed above,
17   establishing liability does not require proof of damages or causation. See Cal. Civ. Code.
18   § 3426.3(b).
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 37B78
 2                     Remedies for Misappropriation of Trade Secrets
 3         If Masimo and Cercacor prove all five essential elements of their misappropriation
 4   claim with respect to one or more alleged trade secrets and Apple does not prove any of
 5   its defenses, then Masimo and Cercacor are entitled to recover damages if the
 6   misappropriation caused Masimo and Cercacor to suffer an actual loss of profits79 and/or
 7   if the misappropriation caused Apple to be unjustly enriched. However, in determining
 8   damages, you may only consider those alleged trade secrets where you have
 9   unanimously found Apple liable, i.e., where you have decided that Masimo and Cercacor
10   proved all essential elements and Apple did not prove any of its defenses.
11         It is the duty of the Court to instruct you about the measure of damages. By
12   instructing you on damages, the Court does not mean to suggest for which party your
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14   78
        Authority: CACI 4409 (adapted); Manual of Model Civil Jury Instructions for the
15   District Courts of the Ninth Circuit § 5.1 (adapted); Lamb-Weston, Inc. v. McCain
16   Foods, Ltd., 941 F.2d 970 (9th Cir. 1991) (holding that “[t]he appropriate duration for
     the [relief for trade secret misappropriation] should be the period of time it would have
17   taken the defendant, either by reverse engineering or by independent development, to
18   develop the product legitimately without use of plaintiff’s trade secrets.”); Tex.
     Advanced Optoelectronic Sols., Inc. v. Renesas Elecs. Am., Inc., 895 F.3d 1304, 1317–
19   18 (Fed. Cir. 2018) (vacating jury’s monetary award for misappropriation of trade
20   secrets because “evidence supporting [the] claim to monetary relief for trade secret
     misappropriation did not limit the covered sales to a head-start period, and that omission
21   [could not] be deemed harmless”); see also Ajaxo, Inc. v. E*Trade Fin. Corp., 48 Cal.
22   App. 5th 129, 160 n. 9 (2020) (“Because the CUTSA is derived from the national
     Uniform Trade Secrets Act, California courts consider case law from other jurisdictions
23   applying similar sections of the Uniform Act.”).
24   79
       As detailed in Apple’s March 17, 2023 motion, Plaintiffs’ untimely disclosure of their
25   new lost profits theory on March 15, 2023 is improper. Dkt. 1443. Based on this new
26   information, Apple does not believe that Plaintiffs have preserved any lost profits
     argument. To the extent the Court agrees, Apple submits that the phrase “if the
27   misappropriation caused Masimo and Cercacor to suffer an actual loss of profits and/or”
28   should be removed from this instruction.

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 1   verdict should be rendered. Masimo and Cercacor have the burden of proving the
 2   measure of damages by a preponderance of the evidence. It is for you to determine what
 3   damages, if any, have been proved. Your award must be based upon evidence and not
 4   upon speculation, guesswork, or conjecture.
 5            Your award of damages, whether measured by the loss of profits80 to Masimo and
 6   Cercacor or the unjust enrichment of Apple, must be limited solely to the time that the
 7   relevant alleged trade secrets would have remained unavailable to Apple in the absence
 8   of misappropriation. Damages therefore cannot be awarded in connection with losses
 9   to Masimo and Cercacor or unjust enrichment of Apple that occurred after Apple could
10   have discovered or obtained the relevant information by proper means.
11            If Apple’s misappropriation did not cause Masimo and Cercacor to suffer an
12   actual loss of profits81 or Apple to be unjustly enriched, then Masimo and Cercacor may
13   still be entitled to a reasonable royalty for no longer than the period of time the use could
14   have been prohibited. However, I will calculate the amount of any royalty after you
15   deliver your verdict.
16            In deciding the amount of Masimo and Cercacor’s lost profits82 or Apple’s unjust
17   enrichment, if any, you may not consider the outcomes of Plaintiffs’ remaining claims
18   for correction of inventorship and declaration of ownership of certain disputed Apple
19   patents. The issues of lost profits83 and unjust enrichment are only relevant to Masimo
20   and Cercacor’s claim for misappropriation of trade secrets. The inventorship and
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22   80
       As detailed in Apple’s March 17, 2023 motion, Plaintiffs’ untimely disclosure of its
23   new lost profits theory on March 15, 2023 was improper. Based on this new information,
     Apple does not believe that Plaintiffs have preserved any lost profits argument. To the
24   extent the Court agrees, the phrase “lost profits’ should be removed from this instruction.
25   81
          See supra n. 80.
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          See supra n. 80.
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28        See supra n. 80.

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 1   ownership claims are legally distinct, and it is the Court’s duty to determine the
 2   appropriate remedy in connection with the inventorship and ownership claims, based on
 3   the facts you determine through your deliberations.
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 1                      Apple’s Position: Proposed Instruction No. 37B
 2         Apple’s Proposed Instruction No. 37B is based on a combination of the standard
 3   CACI and Ninth Circuit model instructions for the jury’s consideration of compensatory
 4   damages in a trade secret misappropriation case, adapted for this situation where
 5   Plaintiffs have brought a single claim concerning multiple alleged trade secrets.
 6   Specifically, the first and fourth paragraphs of Apple’s Proposed Instruction No. 37B
 7   are adaptations of CACI 4409, which introduces the three forms of damages potentially
 8   available on Plaintiffs’ trade secrets misappropriation claim:          lost profits, unjust
 9   enrichment, and reasonable royalties.
10         Apple has made two modifications to tailor the model instruction to the facts of
11   this case. First, Apple specified in line 6 that the “actual loss” Plaintiffs are entitled to
12   seek is “actual loss of profits,” since that is the only theory of harm Plaintiffs have even
13   suggested they are pursuing. As noted in Apple’s Objection to Proposed Instruction No.
14   38, however, Apple does not believe Plaintiffs have preserved a lost profits theory at this
15   point in the case. If this Court agrees and grants Apple’s March 17, 2023 motion, this
16   reference and all other references to lost profits should be removed.
17         Second, Apple modified the first sentence and added the last sentence of the first
18   paragraph to clarify for the jury that it is only to consider for damages those alleged trade
19   secrets for which it has unanimously determined that Plaintiffs carried their burden and
20   proved all five essential elements, and for which Apple has failed to prove any of its
21   defenses. Apple believes that it is critical to be clear on this point given the number and
22   complexity of the alleged trade secrets at issue in this single misappropriation claim.
23         The second paragraph of Apple’s Proposed Instruction No. 37B presents the
24   unmodified Ninth Circuit model instruction explaining how damages must be proved.
25   Apple omitted one sentence that would have been repetitive of information in CACI
26   4409 (i.e., “If you find for the plaintiff, you must determine the plaintiff’s damages.”).
27   Apple objects to Plaintiffs’ Proposed Final Jury Instruction No. 37A because it fails to
28   instruct the jury as to the burden or standard of proof required to award damages.
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 1         The third paragraph of Apple’s Proposed Instruction No. 37B directs the jury to
 2   follow the head-start rule—i.e., that “[t]he appropriate duration for the [relief for trade
 3   secret misappropriation] should be the period of time it would have taken the defendant,
 4   either by reverse engineering or by independent development, to develop the product
 5   legitimately without use of plaintiff’s trade secrets.” Lamb-Weston, Inc. v. McCain
 6   Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991). The official comment to section 3 of the
 7   Uniform Trade Secrets Act, upon which Cal. Civ. Code §3426.3 is based, states that “a
 8   monetary recovery for trade secret misappropriation is appropriate only for the period in
 9   which information is entitled to protection as a trade secret, plus the additional period,
10   if any, in which a misappropriator retains an advantage over good faith competitors
11   because of misappropriation.” Apple therefore objects to Plaintiffs’ omission of an
12   instruction that would limit damages to a “head start” period, since failure to limit
13   damages constitutes reversible error. See Tex. Advanced Optoelectronic Sols., Inc. v.
14   Renesas Elecs. Am., Inc., 895 F.3d 1304, 1317-1318 (Fed. Cir. 2018) (vacating jury’s
15   monetary award for misappropriation of trade secrets because “evidence supporting
16   [the] claim to monetary relief for trade secret misappropriation did not limit the covered
17   sales to a head-start period, and that omission [could not] be deemed harmless”); see
18   also Ajaxo, Inc. v. E*Trade Fin. Corp., 48 Cal. App. 5th 129, 160 n.9 (2020) (“Because
19   the CUTSA is derived from the national Uniform Trade Secrets Act, California courts
20   consider case law from other jurisdictions applying similar sections of the Uniform
21   Act.”).
22         Finally, the last paragraph of Apple’s Proposed Instruction No. 37B explains to
23   the jury that they should not consider Plaintiffs’ inventorship and ownership claims in
24   calculating the amount of any damages award.
25         Apple objects to Plaintiffs’ bare-bones counter-proposal because it omits most of
26   the important principles mentioned above—i.e., that the jury (1) can only award
27   damages on alleged trade secrets where it finds Plaintiffs have made all the required
28   showings and Apple’s affirmative defenses are unpersuasive, (2) cannot award damages
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 1   on the inventorship/ownership claims, and (3) should limit its damages to Apple’s head
 2   start period. The last omission is particularly egregious because, as noted above, failure
 3   to limit damages constitutes reversible error. While Plaintiffs appear to contend that the
 4   “head start period” rule is limited to reasonable royalty awards, they cite nothing for
 5   their position and have no answer to the contrary authorities Apple cites above.
 6         Plaintiffs’ assertion that it is “improper[]” to instruct the jury that this Court may
 7   later award a reasonable royalty conflicts with CACI 4409’s Directions for Use. The
 8   Directions note that the reasonable royalty language can be used “if the court wants to
 9   advise the jury that even if it finds that the plaintiff suffered no actual loss and that the
10   defendant was not unjustly enriched, the plaintiff may still be entitled to some recovery.”
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 388485
 2                                          Lost Profits
 3           Masimo contends that Apple’s misappropriation caused it to suffer actual harm in
 4   the form of lost profits. Masimo contends that, but for Apple’s misappropriation, Apple
 5   would have purchased sensor modules from Masimo to be used in Apple Watches
 6   Series 4 and higher. Masimo seeks to recover the profits it would have made by selling
 7   those sensor modules to Apple.
 8           To recover damages for lost profits, Masimo and Cercacor must prove it is
 9   reasonably certain they would have earned profits but for Apple’s trade secret
10   misappropriation.
11           To decide the amount of damages for lost profits, you must determine the gross
12   amount Masimo and Cercacor would have received but for Apple’s misappropriation.
13   You may calculate this amount by multiplying Masimo’s gross profit per sensor module
14   and the number of sensor modules Masimo would have sold absent Apple’s
15   misappropriation.
16           The amount of the lost profits need not be calculated with mathematical precision,
17   but there must be a reasonable basis for computing the loss.
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          Masimo’s Authority: CACI 3903N.
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       Apple’s Position: As detailed in Apple’s March 17, 2023 motion, Plaintiffs’ untimely
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     disclosure of its new lost profits theory on March 15, 2023 was improper. Based on this
25   new information, Apple does not believe that Plaintiffs have preserved any lost profits
26   argument. To the extent the Court agrees, the phrase “lost profits’ should be removed
     from this instruction. To the extent this Court agrees, Apple submits that this instruction
27   should not be given. To the extent this Court disagrees, Apple reserves the right to
28   present a lost profits instruction promptly after this Court issues its ruling.

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 1                    Masimo’s Argument: Proposed Instruction No. 38
 2         Masimo’s proposed instruction is consistent with the CACI model instruction and
 3   the supporting caselaw.
 4         Masimo objects to Apple refusing to propose an instruction on this issue and
 5   trying to reserve the right to do so later. Masimo proposed numerous alternative
 6   instructions regarding issues on which Masimo asserts the Court should not offer any
 7   instruction.
 8         Apple concealing the alternative instruction it may offer is particularly
 9   problematic because Apple initially proposed an instruction on lost profits. Indeed,
10   Apple was the first party to assert that the Court should offer an instruction specific to
11   lost profits. Apple previously asserted the Court should provide such an instruction
12   because lost profits was the only harm for which Masimo sought damages. It was only
13   after Masimo pointed out that Apple’s proposed instruction was inconsistent with
14   Apple’s claim that Masimo had not sufficiently disclosed its lost profits theory that
15   Apple withdrew its proposal so that Masimo could not respond in the ordinary course.
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 1                      Apple’s Position: Proposed Instruction No. 38B
 2         As detailed in Apple’s March 17, 2023 memorandum, Plaintiffs’ untimely
 3   disclosure of their new lost profits theory on March 15, 2023 is improper. See Dkt.
 4   1442-1. Based on this new information, Apple does not believe that Plaintiffs have
 5   preserved any admissible lost profits argument. To the extent the Court agrees, Apple
 6   submits that this instruction should not be given. To the extent this Court disagrees,
 7   Apple reserves the right to present a lost profits instruction and raise targeted objections
 8   to Plaintiffs’ Proposed Instruction No. 38 promptly after the Court issues its ruling (for
 9   example, the fact that the instruction improperly suggests that this Court has approved
10   Plaintiffs’ specific (and flawed) theory for calculating lost profits).
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 39A86
 2                                      Unjust Enrichment
 3         Apple was unjustly enriched if its misappropriation of one or more Masimo and
 4   Cercacor trade secrets caused Apple to receive a benefit that Apple otherwise would not
 5   have achieved.
 6         In order to prove the amount by which Apple was unjustly enriched, Masimo and
 7   Cercacor have the burden to prove the amount of revenue Apple received from selling
 8   products that benefitted from Apple’s misappropriation. Once Masimo and Cercacor
 9   satisfy that burden, Apple then has the burden of establishing any portion of its revenue
10   not attributable to its misappropriation.
11         When you determine Apple’s unjust enrichment, you must consider any lost
12   profits award to Masimo. If you awarded Masimo profits for a sensor module that
13   Masimo would have sold to be used in a particular Apple Watch, you should not include
14   that watch when calculating Apple’s unjust enrichment.
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       Masimo’s Authority: CACI No. 4410; Restatement (Third) of Unfair Competition
28   § 45 cmt. f (1995).

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 1                     Masimo’s Argument: Proposed Instruction No. 39A
 2            Both parties propose modified versions of CACI No. 4410.
 3            Masimo’s proposed instruction instructs the jury regarding the well-recognized
 4   burden-shifting framework that applies in trade secret cases involving unjust
 5   enrichment. Masimo, as the plaintiff, has the burden to establish the revenue Apple
 6   received from selling products that benefitted from misappropriation. Apple, as the
 7   defendant, has the burden to establishing any portion of its revenue not attributable to
 8   its misappropriation. See Restatement (Third) of Unfair Competition § 45 cmt. f (1995).
 9            The burden-shifting framework discussed in the Restatement applies in
10   determining unjust enrichment in trade secret cases. BladeRoom Grp. Ltd. V. Emerson
11   Elec. Co., 331 F. Supp. 3d 977, 990 (N.D. Cal. 2018) (applying Restatement (Third) of
12   Unfair Competition § 45 cmt. f (1995), holding defendant “is in the better position to
13   show any portion of the sale not attributable to the trade secret, which observation
14   conforms to the purpose of the burden shifting occurring when unjust enrichment
15   damages are at issue”), vacated and remanded on other grounds, 11 F.4th 1010
16   (9th Cir.2021), and vacated and remanded on other grounds, 20 F.4th 1231
17   (9th Cir. 2021); Nutritional Biomimetics, LLC v. Empirical Labs Inc., 2018 WL
18   6818748, at *4 (D. Colo. Dec. 28, 2018); (applying Restatement’s burden shifting
19   framework for unjust enrichment); Iconics, Inc. v. Massaro, 266 F. Supp. 3d 461, 467–
20   68 (D. Mass. 2017) (same); Stenograph L.L.C. v. Bossard Assocs., Inc., 144 F.3d 96,
21   103 (D.C. Cir. 1998) (trade secret unjust enrichment “determined through a burden-
22   shifting process largely identical to the one it had set forth for the copyright infringement
23   claim”).
24            Apple’s proposed instruction fails to address the parties’ respective burdens of
25   proof.
26            Apple’s proposal is also misleading because it gives limited examples of unjust
27   enrichment that are theoretically possible, but which Masimo is not asserting in this case.
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 1   The Court should not give the jury examples of unjust enrichment that are not consistent
 2   with Masimo’s theory of the case.
 3         Apple does not support its proposal to tell the jury that “[u]njust enrichment does
 4   not occur, however, where the benefit would have been realized anyway.”                 That
 5   statement is not in CACI No. 4410 or any cited case. It is irrelevant whether it may have
 6   been an appropriate instruction in Waymo, where the plaintiff proceeded on a theory of
 7   misappropriation based only on disclosure and the court instructed that “[a]cquisition
 8   alone will not be enough to recover damages.” This case is not so limited.
 9         Apple’s proposed third paragraph is confusing and could cause the jury to double
10   count Apple’s costs. Apple proposes that the Court instruct the jury to determine the
11   value of Apple’s misappropriation and then subtract from that amount Apple’s
12   reasonable expenses. Although Masimo does not dispute that the jury can deduct
13   Apple’s reasonable expenses, the jury may have already done so to determine the value
14   of Apple’s misappropriation. Moreover, Masimo’s proposal allows for provable costs
15   to be deducted when it instructs the jury that Apple then has the burden to establish any
16   portion of its revenue not attributable to its misappropriation.
17         The final paragraph of Apple’s proposed instruction is further misleading because
18   it incorrectly asserts there are “five essential elements” for trade secret misappropriation.
19   The elements of trade secret misappropriation are fully addressed in other instructions
20   and, as discussed above, Masimo need not establish harm or causation to establish
21   liability. See Cal. Civ. Code. § 3426.3(b). Apple also improperly references its
22   defenses, which are addressed in other instructions.
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 39B87
 2                                     Unjust Enrichment
 3         Masimo and Cercacor can prove that Apple was unjustly enriched if they prove
 4   that Apple is liable for misappropriation of an alleged trade secret and that the
 5   misappropriation caused Apple to receive a benefit that it otherwise would not have
 6   achieved.
 7         Unjust enrichment occurs when a defendant reaps an undeserved benefit such as
 8   accelerating its own development timeline and/or saving on development costs by taking
 9   improper advantage of someone else’s trade secrets. Unjust enrichment does not occur,
10   however, where the benefit would have been realized anyway.
11         I will now instruct you on how to decide the amount of any unjust enrichment you
12   find. By giving you this instruction, I am not suggesting you should find one way or the
13   other regarding whether Masimo and Cercacor has proven any unjust enrichment. To
14   decide the amount of any unjust enrichment, you should first determine the value of
15   Apple’s benefit that would not have been achieved except for its alleged
16   misappropriation, and then subtract from that amount Apple’s reasonable expenses,
17   including the value of labor, materials, and interest on invested capital.
18         In calculating the amount of any unjust enrichment, do not take into account any
19   amount that you included in determining any amount of damages for Masimo and
20   Cercacor’s lost profits.88
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       Authority: CACI 4410 (adapted); Court’s Penultimate Jury Instruction on Trade
23   Secret Misappropriation No. XVII, Waymo LLC v. Uber Techs., Inc., No. C 17-939
24   (N.D. Cal. Jan. 3, 2018) Dkt. 2449 at 8.
25   88
       Apple’s Position: As detailed in Apple’s March 17, 2023 motion, Plaintiffs’ untimely
26   disclosure of their new lost profits theory on March 15, 2023 is improper. Based on this
     new information, Apple does not believe that Plaintiffs have preserved any lost profits
27   argument. To the extent the Court agrees, the phrase “lost profits’ should be removed
28   from this instruction.

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 1         In calculating any unjust enrichment, you may only consider those alleged trade
 2   secrets for which Masimo and Cercacor proved all five essential elements and for which
 3   Apple did not prove any of its defenses.
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 1                       Apple’s Position: Proposed Instruction No. 39B
 2         The first, third, and fourth paragraphs of Apple’s proposed instruction directly
 3   implement CACI 4410’s model. While Plaintiffs’ counter-proposal also relies on CACI
 4   4410, Apple objects to Plaintiffs’ omission of the list of reasonable expenses that CACI
 5   4410 directs should be subtracted from any benefit the jury determines was unjustly
 6   received. This omission of a portion of the CACI model would have the effect of
 7   wrongly inflating any award for unjust enrichment. By contrast, the list of reasonable
 8   expenses set forth in Apple’s proposed instruction is a subset of those expense types
 9   listed in CACI 4410 and is supported by the evidentiary record.
10         Apple’s proposed instruction follows CACI 4410 by not including the burden-
11   shifting language that appears in Plaintiffs’ proposed instruction. The parties’ respective
12   burdens are implicit and unnecessary to mention because only Apple is likely to present
13   evidence on offsetting expenses, since Plaintiffs have no incentive to do so. Introducing
14   burden-shifting language would needlessly complicate the instruction and likely confuse
15   the jury. Plaintiffs provide only one (out-of-circuit) example where a court included
16   burden shifting language in an unjust enrichment charge, but they fail to mention that
17   the D.C. Circuit took no position on the instruction (because it was not challenged on
18   appeal) and in fact found the jury’s damages verdict “perplex[ing].” Stenograph L.L.C.
19   v. Bossard Assocs., Inc., 144 F.3d 96, 103 (D.C. Cir. 1998). Plaintiffs also cite language
20   from BladeRoom Group Ltd. v. Emerson Electric Co. that appeared in Judge Davila’s
21   “Order re: Reasoning for Final Jury Instructions and Verdict Form,” but the actual jury
22   instructions in that case did not employ any burden-shifting language, so that citation
23   actually undermines their request. Case No. 5:15-cv-1370 (N.D. Cal. May 9, 2018),
24   Dkt. Nos. 850, 849. Plaintiffs’ other cases concerned evidentiary motions, so they say
25   nothing about how to instruct a jury. See also, e.g., Nutritional Biomimetics, LLC v.
26   Empirical Labs Inc., 2018 WL 6818748, at *4-5 (D. Colo. Dec. 28, 2018) (Rule 37(c)
27   motion); Iconics, Inc. v. Massaro, 266 F. Supp. 3d 461, 467-468 (D. Mass. 2017)
28   (Daubert motion).
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 1         The second paragraph in Apple’s proposed instruction is drawn from Judge
 2   Alsup’s planned unjust enrichment instruction in Waymo LLC v. Uber Technologies,
 3   Inc., No. 3:17-cv-00939-WHA (N.D. Cal. Jan. 3, 2018), Dkt. 2449 at 8. It provides a
 4   correct and neutral explanation of “unjust enrichment,” legal jargon that should be
 5   defined for the jury so that it can fairly calculate any necessary award. While Plaintiffs
 6   attempt to distinguish Waymo because it involved only a disclosure theory of
 7   misappropriation, they provide no explanation for why that should matter. Moreover,
 8   Apple intends to rely on a head start argument to limit Plaintiffs’ damages claim, and
 9   this disputed language from Waymo explains how to apply the head start principle to an
10   unjust enrichment calculation.
11         The fifth paragraph clarifies for the jury that it is only to consider for damages
12   those alleged trade secrets for which it has unanimously determined that Plaintiffs
13   carried their burden and proved all five essential elements, and for which Apple has
14   failed to prove any of its defenses. Apple believes it is critical to be clear on this point
15   given the number and complexity of the trade secrets at issue in this single
16   misappropriation claim. Plaintiffs’ objection to this paragraph is illogical even granting
17   arguendo its inaccurate premise that CUTSA liability requires only three elements; even
18   Plaintiffs admit that proof of harm and causation is required to render an unjust
19   enrichment award.
20         Apple objects to Plaintiffs’ counter-proposal because, while it also relies on CACI
21   4410, it fails to define “unjust enrichment” and omits a key passage that directs the jury
22   to subtract reasonable expenses from any benefit the jury determines was unjustly
23   received. And, as discussed above, it improperly references burden-shifting. These
24   omissions from—and addition to—the model CACI instruction would have the effect of
25   confusing the jury and wrongly inflating any award for unjust enrichment.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 40A89
 2               Punitive Damages for Willful and Malicious Misappropriation
 3           If you decide that Apple’s misappropriation caused Masimo and Cercacor harm
 4   you must decide whether Apple’s conduct justifies an award of punitive damages. The
 5   purposes of punitive damages are to punish a wrongdoer for the harmful conduct, and to
 6   discourage similar conduct in the future.
 7           To recover punitive damages, Masimo and Cercacor must prove that Apple acted
 8   willfully and maliciously. You must determine whether Apple acted willfully and
 9   maliciously, but you will not be asked to determine the amount of any punitive damages.
10   I will calculate the amount later.
11           “Willfully” means that Apple acted with a purpose or willingness to commit the
12   act or engage in the conduct in question, and the conduct was not reasonable under the
13   circumstances at the time and was not undertaken in good faith.
14           “Maliciously” means that Apple acted with an intent to cause injury, or that
15   Apple’s conduct was despicable and was done with a willful and knowing disregard for
16   the rights of others.
17           “Despicable conduct” is conduct so vile, base, or wretched that it would be looked
18   down on and despised by ordinary decent people.
19           Apple acted with knowing disregard if it was aware of the probable consequences
20   of its conduct and deliberately failed to avoid those consequences.
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28        Authority: CACI No. 4411

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 1                   Masimo’s Argument: Proposed Instruction No. 40A
 2         The primary difference in parties’ proposed instructions is the burden of proof for
 3   willful and malicious misappropriation. Masimo’s proposed instruction explains that
 4   the burden of proof is by a preponderance of the evidence. Apple’s argument for a
 5   heightened standard fails to acknowledge an intervening change in the law.
 6         The default burden of proof is preponderance of the evidence. See Cal. Evid.
 7   Code § 115 (“Except as otherwise provided by law, the burden of proof requires proof
 8   by a preponderance of the evidence.”). CUTSA does not adopt a heightened burden of
 9   proof for willful and malicious conduct. See Cal. Civ. Code § 3426.3©; see also K.C.
10   Multimedia, Inc. v. Bank of Am. Tech. & Ops., Inc., 171 Cal. App. 4th 939, 954 (2009).
11   Thus, there is no basis for suggesting that CUTSA somehow adopted a higher standard
12   of proof for willful and malicious misappropriation.
13         Apple relies on cases that adopted a heightened burden of proof for willful and
14   malicious trade secret misappropriation without supporting authority or, at best, by
15   analogy to the burden of proving enhanced damages for willful patent infringement.
16   See, e.g., Ice Corp. v. Hamilton Sundstrand Corp., 615 F. Supp. 2d 1266, 1269 (D. Kan.
17   2009) (noting that UTSA was modeled on federal patent law).
18         This Court previously cited Mattel v. MGA, 801 F. Supp. 2d 950, 952-53 (C.D.
19   Cal. 2011) when it declined to award exemplary damages in Masimo v. True Wearables.
20   See 2022 WL 17083396, at *19 (C.D. Cal. Nov. 7, 2022). However, neither party in
21   True Wearables addressed the appropriate burden of proof. With the benefit of briefing,
22   the Court likely would not have relied on the “clear and convincing evidence” language
23   in Mattel. Mattel summarily adopted a heightened burden for willful and malicious trade
24   secret misappropriation based on two inapplicable cases. Mattel cited 02 Micro Intern.
25   Ltd. v. Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064 (N.D. Cal. 2005), which says
26   nothing about the burden of proof for finding willful misappropriation of trade secrets.
27   Id. at 1078. Indeed, 02 Micro acknowledges that the UTSA Commissioners’ Comments
28   “do not state that patent decisions and standards apply to exemplary damages under the
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 1   UTSA; nor do the comments support following the patent law when there are California
 2   cases on point.” Id. at 1079. Mattel also cited Ice Corp., which did not discuss the
 3   burden of proof. 615 F. Supp. 2d at 1269. Ice Corp. affirmed an award of punitive
 4   damages where the jury found by clear and convincing evidence that misappropriation
 5   was willful and malicious. Id. at 1275. That rendered the standard of proof irrelevant.
 6         Apple fails to acknowledge that the Supreme Court eviscerated the basis for
 7   applying a heightened burden in trade secret cases when it rejected a heightened burden
 8   for willful patent infringement. Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 107
 9   (2016) (“‘[P]atent-infringement litigation has always been governed by a preponderance
10   of the evidence standard.’ Enhanced damages are no exception.” (citations omitted)).
11   Thus, cases that relied on patent law to apply a heightened burden of proof no longer
12   apply. Since 2016, courts can no longer rely on pre-Halo analysis or patent law to justify
13   a heightened burden of proof for willful and malicious trade secret misappropriation.
14   Apple cites no case since Halo that addressed the change in patent law and still applied
15   a heightened burden of proof in a trade secret case.
16         Mattel acknowledged the Ninth Circuit decision in Yeti by Molly, Ltd. v. Deckers
17   Outdoor Corp., 259 F.3d 1101 (9th Cir. 2011), which expressly declined to incorporate
18   the “clear and convincing” standard into Montana’s punitive damages provision for trade
19   secret misappropriation.90 Yeti, 259 F.3d at 1111–12. Indeed, Yeti found “legal error”
20   in importing the “heightened quantum of proof” for punitive damages. Id. at 1111.
21   Mattel did not attempt to distinguish Yeti or address its reasoning. See Advanced Fluid
22   Sys., Inc. v. Huber, 295 F. Supp. 3d 467, 493 n.9 (M.D. Penn. 2018) (criticizing Mattel
23   for being inconsistent with Yeti).
24         CACI provides no support for adopting a heightened standard. CACI included
25   “by clear and convincing evidence” in brackets as optional language. It acknowledges
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      Montana’s exemplary damages provision is identical in relevant parts to California’s.
28   Compare Mont. Code 30-14-404(2) with Cal. Civ. Code 3426.3(c).

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 1   that “no reported California state court case has addressed whether the jury or the court
 2   should decide whether any misappropriation was ‘willful and malicious,’ and if so,
 3   whether the finding must be made by clear and convincing evidence rather than a
 4   preponderance of the evidence.” CACI No. 4411 Directions for Use. CACI cites Ajaxo
 5   Inc. v. E*Trade Group Inc., 135 Cal. App. 4th 21 (2005) as affirming a jury’s finding of
 6   willful misappropriation.     However, Ajaxo did not incorporate the “clear and
 7   convincing” standard for willful trade secret misappropriation under CUTSA, nor was
 8   that question before the court. Moreover, Ajaxo was more than ten years before Halo.
 9         In addition to advocating for the wrong burden of proof, Apple unnecessarily and
10   without justification departs from the CACI model instruction by removing the phrase
11   “Apple’s misappropriation caused Masimo and Cercacor harm” and replacing it with
12   “Masimo and Cercacor proved all five essential elements of their misappropriation claim
13   with respect to an alleged trade secret.” Apple’s language is incorrect because it asserts
14   there are five elements (see Masimo’s argument regarding Proposed Instruction No. 16,
15   above) and confusingly repeats subject matter addressed in other instructions. It also
16   continues Apple’s approach of importing requirements from one issue into jury
17   instructions that address entirely separate issues. Apple apparently hopes to bias the jury
18   (consciously or unconsciously) by asking the Court to repeat—as many times as
19   possible—that Masimo bears the burden on multiple issues. The combined effect of
20   adopting Apple’s proposals risks significantly biasing and prejudicing the jury.
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 40B91
 2                 Punitive Damages for Willful and Malicious Misappropriation
 3         If you decide that Masimo and Cercacor proved all five essential elements of their
 4   misappropriation claim with respect to an alleged trade secret, you must decide whether
 5   that conduct justifies an award of punitive damages. The purposes of punitive damages
 6   are to punish a wrongdoer for the harmful conduct and to discourage similar conduct in
 7   the future.
 8         In order to recover punitive damages, Masimo and Cercacor must prove by clear
 9   and convincing evidence that Apple acted willfully and maliciously.           You must
10   determine whether Apple acted willfully and maliciously, but you will not be asked to
11   determine the amount of any punitive damages. I will calculate the amount later.
12         “Willfully” means that Apple acted with a purpose or willingness to commit the
13   act or engage in the conduct in question, and the conduct was not reasonable under the
14   circumstances at the time and was not undertaken in good faith.
15         “Maliciously” means that Apple acted with an intent to cause injury, or that
16   Apple’s conduct was despicable and was done with a willful and knowing disregard for
17   the rights of others. “Despicable conduct” is conduct so vile, base, or wretched that it
18   would be looked down on and despised by ordinary decent people. You would have to
19   find that Apple acted with knowing disregard if it was aware of the probable
20   consequences of its conduct and deliberately failed to avoid those consequences.
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        Authority: CACI 4411; Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396,
     at *35 (C.D. Cal. Nov. 7, 2022) (“Plaintiffs have not carried their burden to demonstrate
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     by clear and convincing evidence that … misappropriation was willful and malicious.”);
25   Citcon USA, LLC v. RiverPay, Inc., 2020 WL 5365980 (N.D. Cal. Sept. 8, 2020), aff'd,
26   2022 WL 287563 (9th Cir. Jan. 31, 2022) (holding that clear and convincing evidence
     is required); Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App. 4th 21, 66 (2005) (noting
27   that clear and convincing evidence was required to establish entitlement to punitive
28   damages).

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 1                     Apple’s Position: Proposed Instruction No. 40B
 2         The chief substantive difference between the parties’ proposed punitive damages
 3   instructions is that Apple’s proposed instruction correctly reflects that Plaintiffs must
 4   prove the factual predicate to punitive damages by clear and convincing evidence. See,
 5   e.g., Masimo Corp. v. True Wearables, Inc., No. 8:18-CV-02001-JVS-JDE, 2022 WL
 6   17083396, at *35 (C.D. Cal. Nov. 7, 2022) (“Plaintiffs have not carried their burden to
 7   demonstrate by clear and convincing evidence that … misappropriation was willful and
 8   malicious.”); Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App. 4th 21, 66 (2005) (affirming
 9   jury’s verdict that “Ajaxo proved by clear and convincing evidence that Everypath acted
10   willfully and maliciously in misappropriating Ajaxo’s trade secret.”); Instruction No.
11   49, Infospan, Inc. v. Emirates NBD Bank PJSC, No. SACV 11-1062 (C.D. Cal. Aug. 10,
12   2016) (Selna, J.), Dkt. 665 at 59 (“InfoSpan must prove by clear and convincing
13   evidence that Emirates Bank acted willfully and maliciously.”). Apple objects to
14   Plaintiffs’ counter-proposal insofar as it fails to require clear and convincing evidence
15   of willful and malicious conduct as a predicate for punitive damages.
16         Not one of Plaintiffs’ cited authorities holds either that it is error to require clear
17   and convincing evidence of willful or malicious misappropriation to obtain exemplary
18   damages under CUTSA or that the preponderance standard should apply. Plaintiffs rely
19   primarily on Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101 (9th Cir.
20   2001), but that case was interpreting Montana law. By contrast, “California courts have
21   incorporated the ‘clear and convincing’ standard to punitive damages for trade secret
22   misappropriation as set forth in the CUTSA.” CitCon USA, LLC v. RiverPay, Inc., No.
23   18-cv-2585-NC, 2020 WL 5365980, at *4 (N.D. Cal. Sept. 8, 2020) (distinguishing Yeti
24   on this basis); see also Mattel, Inc. v. MGA Ent., Inc., 801 F. Supp. 2d 950, 953 (C.D.
25   Cal. 2011) (declining to follow Yeti and holding that clear and convincing standard
26   applies); O2Micro Int’l Ltd. V. Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064, 1079
27   (N.D. Cal. 2005) (declining to follow Yeti when interpreting the scope of CUTSA’s
28   punitive damages provision because Yeti “involved the Montana UTSA”).
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 1         Plaintiffs’ remaining authorities fare no better. For instance, Plaintiffs extensively
 2   discuss Halo Electronics, Inc. v. Pulse Electronics, Inc., 579 U.S. 93, 107 (2016), a case
 3   about punitive damages under the patent law, and suggest that pre-2016 cases analyzing
 4   patent law cannot be considered here. But the only on-point California case that either
 5   party has identified construes CUTSA without relying on a patent-law analogy, Ajaxo,
 6   135 Cal. App. 4th at 66. Plaintiffs also cite K.C. Multimedia, Inc. v. Bank of America
 7   Technology & Operations, Inc., 171 Cal. App. 4th 939, 954 (2009) without explanation;
 8   that case does not address any relevant issue, and Plaintiffs’ argument provides no
 9   indication of what language in the case is relevant to this dispute.
10         Finally, Plaintiffs’ argument that it would “bias the jury” for “the Court to
11   repeat … that [Plaintiffs] bear[] the burden” on the elements of their claims should be
12   rejected. But in a complicated case with affirmative defenses and burden-shifting
13   frameworks at play, reminding the jury which side bears the burden on particular issues
14   is prudent and helpful.
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 41A92
 2                                   Overview of Patent Law
 3         At the beginning of the trial, I gave you some general information about patents.
 4   As a reminder, a patent gives the patent holder the right, for a certain period of time, to
 5   prevent others from making, using, offering to sell, selling, or importing the patented
 6   invention, without the patent holder’s permission. In return for these exclusive rights,
 7   the patent law imposes upon the inventor a requirement of disclosure, including a full
 8   and clear description of the invention and of the manner and process of making and using
 9   it.
10         A patent includes a “specification,” which contains a written description of the
11   invention, how it works, how to make it, and how to use it. The specification concludes
12   with one or more numbered sentences. These are the patent “claims.” Claims are usually
13   divided into “limitations.” For example, a claim that covers a table might recite a
14   tabletop, four legs, and the glue that secures the legs to the tabletop. The tabletop, legs,
15   and glue would be separate limitations of the claim.
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       Authority: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § A.1 (2020); Jury
     Instruction No. 12, Broadcom Corp. v. Emulex Corp., No. SACV 09-1058 (JVS) (C.D.
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     Cal. Oct. 6, 2011); Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 480-481 (1974);
25   Jury Instruction, United States v. Roberts, No. 3:08-cr-175 (E.D. Tenn., Dec. 8, 2010)
26   Dkt. Nos. 147 at 111:13-15; Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020)
     (quoting Ultimax Cement Mfg. Co. v. CTS Cement Mfg. Co., 587 F.3d 1339, 1355-1356
27   (Fed. Cir. 2009)); SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D.
28   Cal. 2012).

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 1                   Masimo’s Argument: Proposed Instruction No. 41A
 2         Neither party’s proposed instruction closely follows any model instruction.
 3   Masimo’s proposed instruction provides more than enough information to understand
 4   the patent-related issues in this case—inventorship and ownership.
 5         Apple’s proposal contains incorrect statements of law and unnecessary
 6   information that could only confuse the jury. For example, Apple’s proposal states that
 7   “information disclosed in a patent is no longer entitled to trade secret protection, because
 8   such information is in the public domain.” This is not an accurate statement of the law
 9   and would contradict this Court’s holding that “publication does not mean the subject
10   matter is generally known under CUTSA.” Masimo Corp. v. True Wearables, Inc., 2022
11   WL 17083396, at *15 (C.D. Cal., Nov. 7, 2022).
12         Apple’s instruction also includes unnecessary detail that could only confuse the
13   jury, such as the Patent Office examination procedures. Although Apple asserts that its
14   proposed instruction is “largely” a shortened version of the Federal Circuit Bar
15   Association’s model patent overview instruction, combined with instructions this Court
16   has given, those instructions are more appropriate in patent infringement cases and
17   provide a level of background that is not necessary here. There is no reason to burden
18   the jury with extraneous information beyond what they need to evaluate the claims and
19   defenses at issue.
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 41B93
 2                                       Overview of Patent Law
 3          At the beginning of the trial, I gave you a brief overview of the patent law relevant
 4   to this case. I will now give you more detailed instructions about the patent law that
 5   specifically relate to this case.
 6          Patents are granted by the United States Patent and Trademark Office (sometimes
 7   called “the PTO”). A valid United States patent gives the patent holder the right for a
 8   certain period of time to prevent others from making, using, offering to sell, or selling
 9   the patented invention within the United States, or from importing it into the United
10   States, without the patent holder’s permission. In return for these exclusive rights, the
11   patent law imposes upon the inventor a requirement of disclosure, so the PTO publishes
12   patents, including a full and clear description of the invention and of the manner and
13   process of making and using it. Therefore, information disclosed in a patent is no longer
14   entitled to trade secret protection, because such information is in the public domain.
15          To obtain a patent, one must first file an application with the PTO. The PTO is
16   an agency of the federal government and employs trained Examiners who review
17   applications for patents. The application includes what is called a “specification,” which
18   contains a written description of the claimed invention telling what the invention is, how
19   it works, how to make it, and how to use it. The specification concludes with one or
20   more numbered sentences. These are the patent “claims.” If a patent is eventually
21   granted by the PTO, the claims define the boundaries of its protection and give notice to
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23   93
       Authority: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § A.1 (2020); Jury
     Instruction No. 12, Broadcom Corp. v. Emulex Corp., No. SACV 09-1058 (C.D. Cal.
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     Oct. 6, 2011) (Selna, J.); Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 480-481
25   (1974); Jury Instruction, United States v. Roberts, No. 3:08-cr-175 (E.D. Tenn., Dec. 8,
26   2010) Dkt. Nos. 147 at 111:13-15; Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir.
     2020) (quoting Ultimax Cement Mfg. Co. v. CTS Cement Mfg. Co., 587 F.3d 1339, 1355-
27   1356 (Fed. Cir. 2009)); SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197
28   (S.D. Cal. 2012).

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 1   the public of those boundaries. Claims are usually divided into components or steps,
 2   called “limitations.”
 3         For example, a claim that covers the invention of a table may recite the tabletop,
 4   four legs, and the glue that secures the legs to the tabletop. The tabletop, legs, and glue
 5   are each a separate limitation of the claim.
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 1                      Apple’s Position: Proposed Instruction No. 41B
 2         In order to equip the jury to decide Plaintiffs’ inventorship and ownership claims,
 3   Apple believes that it is important to describe (1) the process that leads to issuance of a
 4   patent and (2) the basic structure of a patent. Apple’s proposed instruction is largely a
 5   shortened version of the Federal Circuit Bar Association’s model patent overview
 6   instruction. Apple’s proposal also draws on a patent law overview instruction that this
 7   Court has previously delivered. See Jury Instruction No. 12, Broadcom Corp. v. Emulex
 8   Corp., No. SACV 8:09-cv-01058 (C.D. Cal. Oct. 12, 2011), Dkt. 888 at 16 (Selna, J.).
 9   Apple objects to Plaintiffs’ counter-proposal because it is too cursory and strips away
10   important context necessary for the jury to understand Plaintiffs’ patent-related claims.
11         While Plaintiffs claim that Apple’s proposed instruction contains “incorrect
12   statements” of law, their only specific legal objection is to the statement that
13   “information disclosed in a patent is no longer entitled to trade secret protection, because
14   such information is in the public domain.” It is the “well settled” rule in the Ninth and
15   Federal Circuits that information published in patents and patent applications is
16   generally known. See Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020) (citing
17   Ultimax Cement Mfg. Co. v. CTS Cement Mfg. Co., 587 F.3d 1339, 1355-1356 (Fed. Cir.
18   2009)). Indeed, an authority Plaintiffs cite in their own Proposed Instruction No. 41A
19   states that if information were published in a patent, “trade secret protection would be
20   extinguished.” SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal.
21   2012). And although Plaintiffs rely on this Court’s decision in True Wearables, the
22   Federal Circuit expressly confirmed on appeal that “information ‘disclosed in a patent’
23   is ‘generally known to the public’ for purposes of the CUTSA.” Masimo Corp. v. True
24   Wearables, Inc., No. 8:18-CV-02001-JVS-JDE, 2022 WL 205485, at *3 (Fed. Cir. Jan.
25   24, 2022).
26         Plaintiffs also suggest that it is unnecessary to describe the role of the Patent and
27   Trademark Office. But Plaintiffs have previously relied on Apple’s statements to the
28   PTO in support of their “generally known” arguments, see Dkt. 1098 at 14-15 and have
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 1   thus directly put the PTO at issue. In any event, because Plaintiffs’ inventorship claims
 2   ask the jury to correct statements in patents issued by the PTO, providing a basic
 3   overview of the patent issuance process and the PTO’s role in it will give the jury
 4   necessary context and will prevent juror confusion.
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 42A94
 2                                Correction of Inventorship
 3         Masimo and Cercacor contend that one or more of their employees should be
 4   named as inventors on the Disputed Patents. To prove that one of their employees should
 5   be added as an inventor to any of the Disputed Patents, Masimo and Cercacor must
 6   prove, by clear and convincing evidence, that the person sought to be added:
 7            1. Contributed to the conception of at least one limitation in at least one
 8               claim of one or more Disputed Patent; and
 9            2. The contribution was not insignificant in quality when measured against
10               the dimension of the full invention.
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26     Authority: Fina Oil & Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997);
     Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290,
27   1297 (Fed. Cir. 2009); Meng v. Chu, 643 F. App’x 990, 994 (Fed. Cir. 2016) (citing
28   Acromed Corp. v. Sofamor Danek Grp., 253 F.3d 1371, 1379 (Fed. Cir. 2001)).

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 1                   Masimo’s Argument: Proposed Instruction No. 42A
 2          Neither party closely follows the Federal Circuit Bar Association’s inventorship
 3   model instruction. Masimo’s proposed instruction recites the two elements of a claim
 4   for correction of inventorship directly from Federal Circuit caselaw. First, Masimo’s
 5   proposal recites that a person can be an inventor if he or she contributed to the conception
 6   of at least one limitation in at least one claim of the patent. Masimo recognizes that the
 7   Federal Circuit Bar Association’s model instruction refers to a contribution to the
 8   conception of at least one claim, but the Federal Circuit caselaw holds that a contribution
 9   to a limitation is a contribution to a claim. See The Federal Circuit has held that, “the
10   law of inventorship does not hinge co-inventor status on whether a person contributed
11   to the conception of all the limitations in any one claim of the patent.” Eli Lilly & Co.
12   v. Aradigm Corp., 376 F.3d 1352, 1361–62 (Fed. Cir. 2004) (“the law of inventorship
13   does not hinge co-inventor status on whether a person contributed to the conception of
14   all the limitations in any one claim of the patent.”). “Rather, the law requires only that
15   a co-inventor make a contribution to the conception of the subject matter of a claim.”
16   Id.; Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1462 (Fed. Cir. 1998) (if an
17   omitted inventor conceived of one part of one limitation of a long claim then “he
18   contributed to the subject matter of” the claim and he was properly added as an inventor
19   because the claim “includes the elements that [he] contributed to the invention according
20   to the district court’s findings.”); In re VerHoef, 888 F.3d 1362, 1366 (Fed. Cir. 2018),
21   as amended (May 7, 2018) (contribution of one limitation in a two-limitation claim
22   sufficient).
23          Second, Masimo’s proposal correctly recites that the contribution must be “not
24   insignificant in quality when measured against the dimension of the full invention.” That
25   requirement is taken directly from decades of Federal Circuit case law. “The case law
26   thus indicates that to be a joint inventor, an individual must make a contribution to the
27   conception of the claimed invention that is not insignificant in quality, when that
28   contribution is measured against the dimension of the full invention.” Fina Oil & Chem.
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 1   Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997) (emphasis added). The Federal
 2   Circuit Bar Association model instruction provides no basis for changing the
 3   requirement from “not insignificant” to “significant.”
 4         Apple also proposes including various statements regarding the nature of
 5   corroboration that are not part of the Federal Circuit Bar Association model instruction.
 6   The Federal Circuit Bar Association does not include model language for evaluating
 7   corroboration. Including instructions regarding corroboration as part of the instruction
 8   regarding inventorship would make the instruction too long and confusing for the jury.
 9         If the Court is inclined to include instructions regarding corroboration, the Court
10   should do so in a separate instruction, that explains the broad rule of reason, and includes
11   the following statements:
12                “Under the ‘rule of reason’ standard for corroborating evidence, [you] must
13         consider corroborating evidence in context, make necessary credibility
14         determinations, and assign appropriate probative weight to the evidence to
15         determine whether clear and convincing evidence supports a claim of co-
16         inventorship.”
17                “Corroborating evidence may take many forms. … Circumstantial evidence
18         about the inventive process may also corroborate. … Additionally, oral testimony
19         of someone other than the alleged inventor may corroborate.
20   Ethicon, 135 F.3d at 1464 & 1461 (internal citations omitted).
21                “Such corroborating evidence is taken as a whole; conception of an entire
22         invention need not be reflected in a single source.”
23                “Evidence need not always expressly show possession of the invention to
24         corroborate conception, and a court may properly weigh evidence that a claimed
25         attribute is merely an obvious property of a greater discovery at issue.”
26   Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290,
27   1298, 1299 (Fed. Cir. 2009).
28         The Court should also instruct the jury that:
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 1                  “The inventors need not work physically together or contemporaneously to
 2         be joint inventors; nor must each inventor contribute equally or to each claim of
 3         the patent.”
 4   Id. at 1297.
 5                  “Rather, each needs to perform only a part of the task which produces the
 6         invention.”
 7   Ethicon, 135 F.3d at 1460.
 8         The Court should further instruct the jury that someone can be a co-inventor even
 9   if he “placed his contribution in the prior art more than one year before” making his
10   contribution. Pannu v. Iolab Corp., 155 F.3d 1344, 1351 (Fed. Cir. 1998) (contrary
11   argument “is mistaken”); see also Dana-Farber Cancer Inst., Inc. v. Ono Pharm. Co.,
12   964 F.3d 1365, 1372–73 (Fed. Cir. 2020) (“Inventorship of a complex invention may
13   depend on partial contributions to conception over time, and there is no principled reason
14   to discount genuine contributions made by collaborators because portions of that work
15   were published prior to conception for the benefit of the public.”).
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 1                   APPLE’S PROPOSED INSTRUCTION NO. 42B95
 2                                 Correction of Inventorship
 3         In this case, Masimo and Cercacor contend that certain of their employees should
 4   be listed as joint inventors on five of Apple’s patents. The verdict form specifies for
 5   each claim the employees and patents associated with each of Plaintiffs’ five claims for
 6   correction of inventorship.
 7         To succeed on a correction of inventorship claim, Masimo and Cercacor bear the
 8   burden of proving both of the following:
 9            1. the listed employee of Masimo and/or Cercacor contributed to the
10                conception of at least one of the claims of the patent; and
11            2. the contribution was significant in quality as measured against the scope
12                of the full invention.
13         Masimo and Cercacor must prove these elements by clear and convincing
14   evidence. An alleged co-inventor’s testimony regarding the facts surrounding his or her
15   alleged contribution cannot, standing alone, rise to the level of clear and convincing
16   proof. Additional evidence to corroborate that testimony is required, though that
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19      Authority: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § 4.3d (2020);
     Symantec Corp. v. Computer Assocs. Int’l, Inc., 522 F.3d 1279 (Fed. Cir. 2008); Eli Lilly
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     v. Aradigm Corp., 376 F.3d 1352, 1359 (Fed. Cir. 2004); Board of Educ. ex rel. Bd. of
21   Trustees of Fla. State Univ. v. Am. Bioscience, Inc., 333 F.3d 1330, 1337 (Fed. Cir.
     2003) (“Because the issuance of a patent creates a presumption that the named inventors
22
     are the true and only inventors, the burden of showing misjoinder or nonjoinder of
23   inventors is a heavy one and must be proved by clear and convincing evidence.”);
     Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1461 (Fed. Cir. 1998); Fina Oil &
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     Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997) (“[T]o be a joint inventor, an
25   individual must make a contribution to the conception of the claimed invention that is
26   not insignificant in quality, when that contribution is measured against the dimension of
     the full invention.”); see also Manual of Model Civil Jury Instructions for the District
27   Courts of the Ninth Circuit § 16 (referencing Federal Circuit Bar Association model
28   instructions for patent-related claims).

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 1   evidence may take many forms, including contemporaneous documents, testimony from
 2   another witness, or circumstantial evidence about the inventive process.
 3         Persons may be inventors even if they do not make the same type or amount of
 4   contribution, and even if they do not contribute to the subject matter of each claim of the
 5   patent. Persons may be joint or co-inventors even though they do not physically work
 6   together, but they must have some open line of communication during or approximately
 7   at the time of their inventive effort. Therefore, if Apple independently developed the
 8   inventions and technologies disclosed and claimed by a patent without any
 9   communication with or contribution from the Masimo and/or Cercacor employees
10   alleged to be joint inventors, then Plaintiffs’ employees were not joint inventors.
11         In deciding whether an alleged co-inventor’s contribution was significant in
12   quality, you must measure that contribution against the dimension of the full invention.
13   For instance, if someone only explains to the actual inventors well-known concepts or
14   the current state of the art, then he or she is not a joint inventor. Similarly, if someone’s
15   contribution is too far removed from the real-world realization of the invention, such as
16   by merely suggesting an idea of a result to be accomplished by the invention, then he or
17   she is not an inventor. Nor is someone an inventor if he or she focused solely on real-
18   world realization of the invention, such as if the assistance was provided after the claim
19   invention was conceived. Merely helping with experimentation, by carrying out the
20   inventor’s instructions, also does not make someone an inventor. What is required is
21   some significant contribution to the idea claimed.
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 1                      Apple’s Position: Proposed Instruction No. 42B
 2         Apple’s proposed instruction for Plaintiffs’ inventorship claims is drawn from a
 3   Federal Circuit Bar Association model instruction incorporated by the Ninth Circuit’s
 4   model jury instructions. See Manual of Model Civil Jury Instructions for the District
 5   Courts of the Ninth Circuit § 16 (referencing Federal Circuit Bar Association model
 6   instructions for patent-related claims).
 7         Specifically, Apple’s formulation of the two elements of an inventorship claim is
 8   derived from the Federal Circuit Bar Association’s inventorship model instruction,
 9   Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § 4.3d (2020), and it correctly
10   states the requirement that an alleged inventor must make a significant contribution to
11   at least one of the disputed patent’s claims. Plaintiffs’ suggestion that Apple has
12   provided “no basis” for using the phrase “significant contribution” rather than “not
13   insignificant” is unfounded—Apple’s proposed language comes directly from the model
14   instruction, which in turn relies on Federal Circuit precedent. Even the lone case that
15   Plaintiffs rely on for the “not insignificant” language uses Apple’s phrasing elsewhere
16   in the opinion. See Fina Oil & Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997)
17   (“[A] joint inventor must contribute in some significant manner to the conception of the
18   invention.”); id. at 1474 (joint inventor must “at least contribute in some significant way
19   to the ultimate conception”).
20         Apple objects to Plaintiffs’ proposed inventorship instruction because it suggests
21   that a contribution to only one limitation in a claim is necessarily sufficient to constitute
22   a significant contribution. None of Plaintiffs’ cited authorities create such a bright-line
23   rule. Rather, in each case, the Federal Circuit concluded that—based on the specific
24   facts presented—the putative co-inventor had made a sufficient contribution (e.g.,
25   because the limitation invented was a key part of the overall claim). See, e.g., Eli Lilly
26   & Co v. Aradigm Corp., 376 F.3d 1352, 1361-1362 (Fed. Cir. 2004) (“If Dr. DiMarchi
27   had in fact conceived of the double-bioavaiability limitation on the method of inhaling
28   lispro,” he would be a co-inventor because “the invention … is nothing more than using
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 1   lispro in the aerosolizing/inhaling method of claim 5 in a manner that meets the double-
 2   bioavailability limitation”). Plaintiffs’ suggestion that Apple’s language implies that
 3   inventorship “requires contribution to conception of an entire claim” is unfounded;
 4   Apple’s proposal merely states that there must have been a contribution to a claim.
 5         The remaining portions of Apple’s instructions state important limitations that the
 6   Federal Circuit has established for the inventorship doctrine, including that a plaintiff
 7   must provide evidence to corroborate a purported co-inventors’ oral testimony, that a
 8   purported co-inventor must have been in communication with the listed inventors around
 9   the time of the invention, and considerations that must be used in determining whether
10   a particular purported co-inventors’ contribution was “significant.” Plaintiffs’ bare-
11   bones instruction should be rejected because it does not provide these key details—even
12   though most of Apple’s proposed language springs directly from Federal Circuit Bar
13   Association’s model instruction and/or appears in Plaintiffs’ own cited authority. See,
14   e.g., Ruling Meng v. Ching-Wu Paul Chu, 643 F. App’x 990, 994 (Fed. Cir. 2016) (“[a]n
15   alleged co-inventor’s testimony regarding his contribution must be corroborated”);
16   Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290,
17   1297 (Fed. Cir. 2009) (requiring open line of communication between listed inventor
18   and purported co-inventor). Plaintiffs’ own authorities also confirm that “the invention
19   [must have been] conceived” while the alleged co-inventor and the named inventor
20   “were engaged in a collaborative enterprise.” Pannu v. Iolab Corp., 155 F.3d 1344,
21   1351 & n.2 (Fed. Cir. 1998) (noting that “the conception [of the invention] necessarily
22   occurred” when the named inventor met with the putative joint-inventor); Dana-Farber
23   Cancer Inst., Inc. v. Ono Pharm. Co., 964 F.3d 1365, 1372-1373 (Fed. Cir. 2020)
24   (discussing requirements of a “collaborative enterprise”).
25         Plaintiffs now try to sneak in an additional instruction on the corroboration issue
26   through their argument section, urging the Court to incorporate block quotes from
27   various Federal Circuit decision without actually providing a counter-instruction. This
28   is improper.   If Plaintiffs wanted this Court to provide a separate instruction on
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 1   corroboration, they were required to propose a cohesive instruction that Apple could
 2   assess and, if necessary, object to—not simply refer the Court to a handful of cases that
 3   might be relevant. In any event, none of Plaintiffs’ quotations about the corroboration
 4   requirement contradicts or supplements Apple’s proposed paragraph about what
 5   constitutes clear and convincing evidence of inventorship, so the cited cases do not
 6   require the Court to change or supplement Apple’s proposed instruction.
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 1                    JOINTLY PROPOSED INSTRUCTION NO. 4396
 2                                      Patent Ownership
 3         Masimo and Cercacor also seek a declaration of patent ownership in connection
 4   with each of the five Disputed Patents.
 5         The inventor or inventors of a patent are typically the initial owners of that patent.
 6   Inventors are permitted to transfer their ownership rights to another person or entity,
 7   such as an employer.
 8         To prove that Masimo or Cercacor has an ownership interest in a patent requires
 9   proof, by a preponderance of the evidence, that at least one inventor—Marcelo Lamego
10   or someone you have decided by clear and convincing evidence should be added as an
11   inventor—did one or both of the following:
12            1. Assigned to Masimo or Cercacor his or her interest in the patent; or
13            2. Made his or her inventive contribution to the patent at a time and under
14               conditions that created an obligation to assign to Masimo or Cercacor his
15               or her rights in such inventions.
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        Authority: 13B Fed. Proc. Forms § 52:407.50; 2 CHISUM, supra note 72, at
27   § 2.04[7][c][ii][A]; Beech Aircraft Corp. v. EDO Corp., 990 F.2d 1237, 1248-1249 (Fed.
28   Cir. 1993).

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 1                     JOINTLY PROPOSED INSTRUCTION NO. 4497
 2                                      Duty to Deliberate
 3         Before you begin your deliberations, elect one member of the jury as your
 4   presiding juror. The presiding juror will preside over the deliberations and serve as the
 5   spokesperson for the jury in court.
 6         You shall diligently strive to reach agreement with all of the other jurors if you
 7   can do so. Your verdict must be unanimous.
 8         Each of you must decide the case for yourself, but you should do so only after you
 9   have considered all of the evidence, discussed it fully with the other jurors, and listened
10   to their views.
11         It is important that you attempt to reach a unanimous verdict but, of course, only
12   if each of you can do so after having made your own conscientious decision. Do not be
13   unwilling to change your opinion if the discussion persuades you that you should. But
14   do not come to a decision simply because other jurors think it is right or change an honest
15   belief about the weight and effect of the evidence simply to reach a verdict.
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27   97
       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 3.1.

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 1                    JOINTLY PROPOSED INSTRUCTION NO. 4598
 2                   Consideration of the Evidence—Conduct of the Jury
 3         Because you must base your verdict only on the evidence received in the case and
 4   on these instructions, I remind you that you must not be exposed to any other information
 5   about the case or to the issues it involves during the course of your deliberations. Except
 6   for discussing the case with your fellow jurors during your deliberations:
 7
 8         Do not communicate with anyone in any way and do not let anyone else
 9         communicate with you in any way about the merits of the case or anything to do
10         with it. This includes discussing the case in person, in writing, by phone, tablet,
11         computer, or any other means, via email, via text messaging, or any internet chat
12         room, blog, website or application, including but not limited to Facebook,
13         YouTube, Twitter, Instagram, LinkedIn, Snapchat, TikTok, or any other forms of
14         social media. This applies to communicating with your family members, your
15         employer, the media or press, and the people involved in the trial. If you are asked
16         or approached in any way about your jury service or anything about this case, you
17         must respond that you have been ordered not to discuss the matter and to report
18         the contact to the court.
19
20         Do not read, watch, or listen to any news or media accounts or commentary about
21         the case or anything to do with it; do not do any research, such as consulting
22         dictionaries, searching the Internet, or using other reference materials; and do not
23         make any investigation or in any other way try to learn about the case on your
24         own. Do not visit or view any place discussed in this case, and do not use Internet
25         programs or other devices to search for or view any place discussed during the
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27   98
       Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 3.2.

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 1         trial. Also, do not do any research about this case, the law, or the people
 2         involved—including the parties, the witnesses, or the lawyers—until you have
 3         been excused as jurors. If you happen to read or hear anything touching on this
 4         case in the media, turn away and report it to me as soon as possible.
 5
 6         These rules protect each party’s right to have this case decided only on evidence
 7   that has been presented here in court. Witnesses here in court take an oath to tell the
 8   truth, and the accuracy of their testimony is tested through the trial process. If you do
 9   any research or investigation outside the courtroom, or gain any information through
10   improper communications, then your verdict may be influenced by inaccurate,
11   incomplete, or misleading information that has not been tested by the trial process. Each
12   of the parties is entitled to a fair trial by an impartial jury, and if you decide the case
13   based on information not presented in court, you will have denied the parties a fair trial.
14   Remember, you have taken an oath to follow the rules, and it is very important that you
15   follow these rules.
16         A juror who violates these restrictions jeopardizes the fairness of these
17   proceedings [[[and a mistrial could result that would require the entire trial process to
18   start over]]]99. If any juror is exposed to any outside information, please notify the court
19   immediately.
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       The parties dispute whether to include the bracketed text. Apple’s position is that this
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     phrase from the model instruction is a useful reminder for the jury of the importance of
25   following the rules. (Apple also objects to Plaintiffs’ argument because Plaintiffs failed
26   to provide an explanation for their position prior to the parties’ final exchange.)
     Masimo’s position is that this instruction contains sufficient admonitions that would
27   ensure the jury complies with the rules. The additional instruction could negatively
28   influence certain jurors.

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 1                   JOINTLY PROPOSED INSTRUCTION NO. 46100
 2                               Communication With Court
 3         If it becomes necessary during your deliberations to communicate with me, you
 4   may send a note through the clerk, signed by any one or more of you. No member of
 5   the jury should ever attempt to communicate with me except by a signed writing. I will
 6   not communicate with any member of the jury on anything concerning the case except
 7   in writing or here in open court. If you send out a question, I will consult with the
 8   lawyers before answering it, which may take some time. You may continue your
 9   deliberations while waiting for the answer to any question. Remember that you are not
10   to tell anyone—including the court—how the jury stands, whether in terms of vote count
11   or otherwise, until after you have reached a unanimous verdict or have been discharged.
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27   100
        Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 3.3.

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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 47A101
 2                                      Return of Verdict
 3         A verdict form has been prepared for you. [Explain final verdict form as needed.]
 4   You should follow the instructions in the verdict form as you move through your
 5   deliberations.    After you have reached unanimous agreement on a verdict, your
 6   foreperson should complete the verdict form according to your deliberations, sign and
 7   date it, and advise the clerk that you are ready to return to the courtroom.
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27   101
        Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 3.5.

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 1                   Masimo’s Argument: Proposed Instruction No. 47A
 2         Both parties proposed instructions based on the Ninth Circuit model. See Ninth
 3   Circuit Model Instructions § 3.5. The model instruction includes an option to “[e]xplain
 4   the verdict form as needed.” See id. Masimo’s proposal more closely reflects the model
 5   language and does not presume how the Court will resolve any disputes regarding the
 6   verdict form. Masimo’s proposal will be appropriate if the Court adopt a verdict form
 7   that is simple and self-explanatory, such as the one Masimo proposed. Masimo’s
 8   proposal would also be appropriate if the Court adopts the long and more complex
 9   verdict form that Apple proposed. Masimo’s proposal expressly provides that the Court,
10   in consultation with the parties, will provide any additional explanation necessary to
11   understand the verdict form.
12         Apple’s proposal provides unnecessary information and presumes that the Court
13   will adopt Apple’s verdict form that needlessly sets forth the elements of each claim and
14   some—but not all—of the jury instructions. The jury should apply the law as the Court
15   instructs in the jury instructions, not based on the shortened and incomplete statements
16   in Apple’s proposed verdict form.
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 1                   APPLE’S PROPOSED INSTRUCTION NO. 47B102
 2                                       Return of Verdict
 3         A verdict form has been prepared for you. The verdict form sets forth the elements
 4   of each claim and is designed to assist you in your deliberations. You should follow the
 5   instructions in the verdict form as you move through your deliberations. After you have
 6   reached unanimous agreement on a verdict, your foreperson should complete the verdict
 7   form according to your deliberations, sign and date it, and advise the clerk that you are
 8   ready to return to the courtroom.
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27   102
        Authority: Manual of Model Civil Jury Instructions for the District Courts of the
28   Ninth Circuit § 3.5.

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 1                      Apple’s Position: Proposed Instruction No. 47B
 2         Apple believes it is important for the verdict form to require the jury to consider
 3   all essential elements of Plaintiffs’ claims, as in Apple’s proposed verdict form. It is
 4   appropriate to instruct the jury to use the verdict form as an aid for structuring its
 5   deliberations in this complicated case. Apple objects to Plaintiffs’ instruction insofar as
 6   it implies that an element-by-element special verdict form is unnecessary.
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 1
 2
 3                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
 4   Dated: March 28, 2023                    By: /s/ Daniel P. Hughes
 5                                                 Daniel P. Hughes
 6                                                   Attorneys for Plaintiffs
                                                     MASIMO CORPORATION and
 7                                                   CERCACOR LABORATORIES, INC.
 8
                                              WILMER CUTLER PICKERING HALE AND DORR,
 9                                            LLP
10   Dated: March 28, 2023                    By: /s/ Mark D. Selwyn
11                                                 Mark D. Selwyn

12                                                   Attorneys for Defendant
                                                     APPLE INC.
13
14
                                FILER’S ATTESTATION
15
           Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
16
     concurrence in the filing of this document has been obtained from all signatories above.
17
18   Dated: March 28, 2023              By: /s/ Daniel P. Hughes
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                                  APPENDIX A
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 7              Masimo’s Redlines to Model Instructions
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 1               MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 2A
 2          To help you follow the evidence, I will give you a brief summary of the positions
 3   of the parties:
 4          This case involves plaintiff Kelly Buffington’s claims against defendants, Nestle
 5   USA, Inc. and Gerber Products Company.The Plaintiffs in this case are Masimo
 6   Corporation and Cercacor Laboratories, Inc. The Defendant is Apple Inc. Masimo and
 7   Cercacor assert claims for trade secret misappropriation, correction of inventorship on
 8   patents, and ownership of patents.
 9          Kelly Buffington alleges claims for sex/pregnancy discrimination, disability
10   discrimination, discrimination by association based on her daughter’s disability, failure
11   to prevent discrimination, retaliation, CFRA interference, and wrongful termination in
12   violation of public policy against both Nestle USA, Inc. and Gerber Products Company.
13   Plaintiff alleges that she was employed by both Nestle USA, Inc. and Gerber Products
14   Company. Plaintiff alleges that she has suffered nonmonetary damages.Masimo and
15   Cercacor assert that Apple hired former Masimo and Cercacor employees and
16   improperly obtained Masimo and Cercacor’s Asserted Trade Secrets from them.
17   Specifically, Masimo and Cercacor assert that Apple misappropriated the Asserted
18   Trade Secrets through two former employees that Apple recruited, Marcelo Lamego and
19   Michael O’Reilly. Masimo and Cercacor assert that Apple used the Asserted Trade
20   Secrets to develop products, market products, and obtain patents.
21          The Asserted Trade Secrets and patents relate generally to
22
23
24                     The Asserted Trade Secrets also relate to business and marketing
25   strategies for
26
27          Masimo and Cercacor assert that Apple filed patent applications on subject matter
28   that Marcelo Lamego obtained from Masimo and Cercacor employees during his
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 1   employment at those companies. Masimo and Cercacor assert that their employees who
 2   disclosed this subject matter to Lamego should be added as named inventors to the patent
 3   applications that Apple filed.
 4         Masimo and Cercacor assert that their employees who disclosed the patented
 5   subject matter to Marcelo Lamego, and Marcelo Lamego himself, contributed to the
 6   claimed inventions while under an obligation to assign patent rights to Masimo and/or
 7   Cercacor.
 8         Masimo and Cercacor have the burden of proof on these claims.
 9         Defendants deny all of plaintiff’s allegations. Defendant Nestle USA, Inc. denies
10   that it ever employed Plaintiff. Both Defendants deny that they engaged in any
11   discrimination or any other unlawful act and deny plaintiff’s allegations that her
12   employment was improperly terminated. Defendants also deny that either one caused
13   plaintiff damages, and contest the amount of damages plaintiff is claiming.Apple denies
14   all of Plaintiffs’ claims. Apple contends the alleged trade secrets are not trade secrets
15   under California law. Apple contends it did not misappropriate any of this information,
16   and instead independently discovered the information. Apple also disputes Masimo and
17   Cercacor’s theories of harm, lost profits, and unjust enrichment.
18         Apple also asserts a defense to the claim for misappropriation of trade secrets.
19   Apple contends that Masimo and Cercacor waited too long to file this lawsuit. Apple
20   has the burden of proof on this defense.
21         Apple contends that no Masimo or Cercacor employees are inventors of the
22   disputed patents, and that neither Masimo nor Cercacor is a joint owner of those patents,
23   because Apple employees invented the subject matter claimed in the disputed patents.
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26   Model: Judge Selna’s Exemplar Initial Jury Instructions No. 2
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 1                MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 3A
 2         This action involves allegations that certain materials are subject to protection as
 3   trade secrets. To protect this information from public disclosure, the court has [describe
 4   protections]taken certain precautions to prevent public access to the information, for
 5   example by removing members of the public from the courtroom and sealing the
 6   courtroom.      The jury isYou are reminded that [the party asserting the trade
 7   secret]Masimo and Cercacor bears the burden of proving all elements of its their claim
 8   for misappropriation of trade secrets, as explained in instruction number [insert]. When
 9   evaluating whether [the party asserting the trade secret] Masimo and Cercacor has have
10   satisfied this their burden, the jury isyou are not permitted to take into account, or
11   consider in any way, the fact that the court Court took such precautions[describe
12   protections].
13
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15   Model: Guideline No. 8, The Sedona Conference Commentary on Protecting Trade
16   Secrets in Litigation About Them at 20 (Mar. 2022), https://tinyurl.com/mvx8m4kn
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 1              MASIMO’S PROPOSED INITIAL INSTRUCTION NO. 4A
 2         If you wish, you may take notes to help you remember the evidence. If you do
 3   take notes, please keep them to yourself until you and your fellow jurors go to the jury
 4   room to decide the case. Do not let note-taking distract you. When you leave, your
 5   notes should be left in the courtroom. No one will read your notes. They will be
 6   destroyed at the conclusion of the case.
 7         Whether or not you take notes, you should rely on your own memory of the
 8   evidence. Notes are only to assist your memory. You should not be overly influenced
 9   by your notes or those of your fellow jurors.
10         You will each be provided with a juror notebook for your individual use. The
11   notebook includes descriptions of the Asserted Trade Secrets that Masimo and Cercacor
12   claim Apple misappropriated. The law requires a trade secret plaintiff to provide a
13   written description of the trade secrets being asserted during the litigation so that the
14   defendant knows what it is accused of misappropriating. Those descriptions appear in
15   your juror notebook.
16         The juror notebook will also include a list of the patents at issue.
17         Over the course of the trial, the parties will provide for you pictures of the
18   witnesses before they testify whether live or by video. You may place these pictures in
19   your juror notebook.
20         You may take notes in this book as well. When you leave, your notebook should
21   be left in the courtroom. No one will read your notebook. You will be required to return
22   the notebook at the end of the case. It will be destroyed at the conclusion of the case.
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25   Model: Judge Selna’s Exemplar Initial Jury Instructions No. 12
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 1A
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             Members of the Jury: Nowjury, now that you have heard all of the evidence
 3
     [and the arguments of the attorneys],, it is my duty to instruct you on the law that
 4
     applies to this case.
 5
 6           [Each of you has received a copy of these instructions that you may take with
 7   you to the jury room to consult during your deliberations.]
 8
 9                                               or
10
                     [ A copy of these instructions will be sent to the jury room for you to
11
     consult during your deliberations.].
12
                   It is your duty to find the facts fromweigh and to evaluate all the evidence
13
     received in the case. To those facts you will and, in that process, to decide the facts. It
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     is also your duty to apply the law as I give it to you. You must follow to the lawfacts as
15
     I give it to you find them, whether you agree with itthe law or not. And you must not be
16
     influenced by any personal likes or dislikes, opinions, prejudices, or sympathy. That
17
     means that you must You must decide the case solely on the evidence before you.and
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     the law. Do not allow personal likes or dislikes, sympathy, prejudice, fear, or public
19
     opinion to influence you. You will recall that you took an oath promising to do so at the
20
     beginning of the case.
21
                   You must follow all these instructions and not single out some and ignore
22
     others; they are all important.
23
           Please do not read into these instructions, or into anything that I may say or do or
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     have said or done that I have an opinion regarding the evidence or, any suggestion as to
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     what your verdict you should be. return – that is a matter entirely up to you.
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 1   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 2   Circuit § 1.4
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 1                         JOINTLY PROPOSED INSTRUCTION NO. 3
 2         When a party has the burden of proving any claim [or affirmative defense] by a
 3   preponderance of the evidence, it means you must be persuaded by the evidence that
 4   the claim [or affirmative defense] is more probably true than not true.
 5                   You should base your decision on all A party’s burden of proof is by a
 6   preponderance of the evidence, regardless of which party presented it.    unless I instruct
 7   you otherwise.
 8         When a party has the burden of proving any claim or defense by clear and
 9   convincing evidence, it means that the party must present evidence that leaves you with
10   a firm belief or conviction that it is highly probable that the factual contentions of the
11   claim or defense are true.     This is a higher standard of proof than proof by a
12   preponderance of the evidence, but it does not require proof beyond a reasonable doubt.
13         You should base your decision on all the evidence, regardless of which party
14   presented it.
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17   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
18   Circuit §§ 1.6, 1.7
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 1                      JOINTLY PROPOSED INSTRUCTION NO. 4
 2         The evidence you are to consider in deciding what the facts are consists of:
 3             1. the sworn testimony of any witness;
 4             2. the exhibits that are admitted into evidence;
 5             3. any facts to which the lawyers have agreed; , which were read to you
 6                and placed into evidence; and
 7             4. any facts that I [may instruct] [have instructed] you to accept as proved.
 8         Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 9   such as testimony by a witness about what that witness personally saw or heard or did.
10   Circumstantial evidence is proof of one or more facts from which you could find another
11   fact. You should consider both kinds of evidence. The law makes no distinction
12   between the weight to be given to either direct or circumstantial evidence. It is for you
13   to decide how much weight to give to any evidence.
14         By way of example, if you wake up in the morning and see that the sidewalk is
15   wet, you may find from that fact that it rained during the night. However, other evidence,
16   such as a turned-on garden hose, may provide a different explanation for the presence of
17   water on the sidewalk. Therefore, before you decide that a fact has been proved by
18   circumstantial evidence, you must consider all the evidence in the light of reason,
19   experience, and common sense.
20         Some evidence may behave been admitted only for a limited purpose.
21         When I instructinstructed you that an item of evidence has beenwas admitted only
22   for a limited purpose, you mustmay consider it only for that limited purpose and not for
23   any other purpose.
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25
26   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
27   Circuit §§ 1.9, 1.11, 1.12.
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                                                -8-
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 1         [The testimony [you are about to hear] [you have just heard] may be considered
 2   only for the limited purpose of [describe purpose] and not for any other purpose.]
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 1                      JOINTLY PROPOSED INSTRUCTION NO. 5
 2         In reaching your verdict, you may consider only the testimony and exhibits
 3   received into evidence. Certain things are not evidence, and you may not consider them
 4   in deciding what the facts are.   I will list them for you:
 5            1. (1)    Arguments and statements by lawyers are not evidence. The
 6               lawyers are not witnesses. What they [may say] [have said] in their
                 opening statements, closing arguments and at other times is intended to
 7               help you interpret the evidence, but it is not evidence. If the facts as you
 8               remember them differ from the way the lawyers have stated them, your
                 memory of themthe evidence controls.
 9
              2. (2)    Questions and objections by lawyers are not evidence. Attorneys
10
                 have a duty to their clients to object when they believe a question is
11               improper under the rules of evidence. You should not be influenced by
12               the objection or by the court’s ruling on it.
13            3. (3)    Testimony that ishas been excluded or stricken, or that you [are]
                 [have been] instructed to disregard, is not evidence and must not be
14
                 considered. In addition, some evidence [may be] [was]have been
15               received only for a limited purpose; when I [instruct] [have instructed]
16               you to consider certain evidence only for a limited purpose, you must do
                 so, and you may not consider that evidence for any other purpose.
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              4. (4)    Anything you may [see or hear] [have seen or heard] when the
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                 court was not in session is not evidence. You are to decide the case solely
19               on the evidence received at the trial.
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22   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
23   Circuit § 1.10
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 6A
 2         This action involves allegations that certain materials are information is
 3   subject to protection as trade secrets. To protect this information from public
 4   disclosure, the courtCourt has [describe protections]. The jury is taken certain
 5   precautions to prevent public access to the information, for example by removing
 6   members of the public from the courtroom and sealing the courtroom. You are
 7   reminded that [the party asserting the trade secret] bearsMasimo and Cercacor
 8   bear the burden of proving all elements of itstheir claim for misappropriation of
 9   trade secrets, as explained in instruction number [insert]. When evaluating
10   whether [the party asserting the trade secret] hasMasimo and Cercacor have
11   satisfied this burden, the jury isyou are not permitted to take into account, or
12   consider in any way, the fact that the court [describe protections].
13         Court took such precautions.
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16   Model: Guideline No. 8, The Sedona Conference Commentary on Protecting Trade
17   Secrets in Litigation About Them at 20 (Mar. 2022), https://tinyurl.com/mvx8m4kn
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 1                        JOINTLY PROPOSED INSTRUCTION NO. 7
 2         If you wish, you You may takehave taken notes during the trial to help you
 3   remember the evidence. If you do take notes, please keep them to yourself until you go
 4   to the jury room to decide the case. Do not let notetaking distract you. When you leave,
 5   your notes should be left in the [courtroom] [jury room] [envelope in the jury room]. No
 6   one will read your notes.
 7                    Whether or not you taketook notes, you should rely on your own memory
 8   of the evidence. Notes are only to assist your memory. You should not be overly
 9   influenced by your notes or those of other jurors.
10         When you leave, your notes should be left in the jury room. No one will read
11   your notes.
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14   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
15   Circuit § 1.18
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 1                      JOINTLY PROPOSED INSTRUCTION NO. 8
 2         There are rules of evidence that control what can be received into evidence. When
 3   a lawyer asks a question or offers an exhibit into evidence and a lawyer on the other side
 4   thinks that it is not permitted by the rules of evidence, that lawyer may object. WhenIf
 5   I overruled the objection, the question may have been answered, or the exhibit received.
 6   If When I sustained the objection, the question was cannot be answered, and the exhibit
 7   was cannot be received. Whenever I sustained an objection to a question, you must
 8   ignore the question and must not guess what the answer might have been.
 9         Sometimes I may have ordered that some evidence be stricken from the record
10   and that you disregard or ignore that evidence. That means when you are deciding the
11   case, you must not consider the stricken evidence for any purpose.
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13   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
14   Circuit § 1.13
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 1                      JOINTLY PROPOSED INSTRUCTION NO. 9
 2          A deposition is the sworn testimony of a witness taken before trial. The witness
 3   is placed under oath to tell the truth and the lawyers for each party may ask questions.
 4   The questions and answers are recorded. [When You should not speculate about the
 5   reason why a person is unavailable to testify at trial, theparticular witness testified by
 6   deposition of that person may be used at the trial.]
 7                   The deposition of [name of witness] was taken on [date].rather than in
 8   court. Insofar as possible, you should consider deposition testimony, presented to you
 9   in court in lieu of live testimony, in the same way as if the witness had been present to
10   testify.
11   [Do not place any significance on the behavior or tone of voice of any person reading
12   the questions or answers.]
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15   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
16   Circuit § 2.4
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 1                     MASIMO’S PROPOSED INSTRUCTION NO. 10A
 2           Certain charts and, summaries not admitted into evidence [may be] [, and other
 3   demonstratives have been] shown to you in order to help explain the contents of books,
 4   records, documents, or other evidence in the case. Charts Some charts and summaries
 5   have been admitted into evidence.          Others have been shown to you only as
 6   demonstratives.
 7           Whether admitted as evidence, or used to illustrate information brought out in the
 8   trial, charts and summaries are only as good as the underlying evidence that supports
 9   them.
10           You should, therefore, give them only such weight as you think the underlying
11   evidence deserves. If they do not correctly reflect the facts or figures shown by the
12   evidence in the case, you should disregard these charts and summaries and determine
13   the facts from the underlying evidence.
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16   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
17   Circuit §§ 2.14, 2.15
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 1                       JOINTLY PROPOSED INSTRUCTION NO. 12
 2          In deciding the facts in this case, you may have to decide which testimony to
 3   believe and which testimony not to believe. You may believe everything a witness says,
 4   or part of it, or none of it.
 5          In considering the testimony of any witness, you may take into account:
 6             1. (1)     the opportunity and ability of the witness to see or hear or know
 7                the things testified to;

 8             2. (2)      the witness’s memory;

 9             3. (3)      the witness’s manner while testifying;
10             4. (4)      the witness’s interest in the outcome of the case, if any;
11             5. (5)      the witness’s bias or prejudice, if any;
12             6. (6)      whether other evidence contradicted the witness’s testimony;
13             7. (7)    the reasonableness of the witness’s testimony in light of all the
14                evidence; and

15             8. (8)      any other factors that bear on believability.
16          You must avoid bias, conscious or unconscious, based on a witness’s race, color,
17   ethnicity, religious beliefs, national ancestry, sexual orientation, gender identity, gender,
18   or economic circumstances in your determination of credibility.
19          Sometimes a witness may say something that is not consistent with something
20   else he or she said. Sometimes different witnesses will give different versions of what
21   happened. People often forget things or make mistakes in what they remember. Also,
22   two people may see the same event but remember it differently.           You may consider
23   these differences, but do not decide that testimony is untrue just because it differs from
24   other testimony.
25           However, if you decide that a witness has deliberately testified untruthfully about
26   something important, you may choose not to believe anything that witness said.           On
27   the other hand, if you think the witness testified untruthfully about some things but told
28   the truth about others, you may accept the part you think is true and ignore the rest.

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 1         The weight of the evidence as to a fact does not necessarily depend on the
 2   number of witnesses who testify. What is important is how believable the witnesses
 3   were, and how much weight you think their testimony deserves.
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 6   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 7   Circuit § 1.14

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 1                     JOINTLY PROPOSED INSTRUCTION NO. 13
 2         You [have heard] [are about to hear] testimony from [name]list of experts who
 3   [testified] [will testify]who testified to opinions and the reasons for [his] [her]those
 4   opinions. This opinion testimony is allowed, because of the education or experience of
 5   this witness.these witnesses.
 6          Such opinion testimony should be judged just like any other testimony. You
 7   may accept it or reject it, and you should give it as much weight as you think it
 8   deserves, considering the witness’s education and experience, the reasons given for the
 9   opinion, and all the other evidence in the case.
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12   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
13   Circuit § 2.13
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 14A
 2                               (Offered in the Alternative)
 3         You may consider the ability of each party to provide evidence. If a party
 4   provided weaker evidence when it actually possessed and could have provided stronger
 5   evidence, you may distrust the weaker evidence.
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 8   Model: CACI No. 203.
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 15A
 2   [Name of plaintiff] claims that [he/she/nonbinary pronoun/it] [is/was] the
 3   [owner/licensee] of [insert general description of alleged trade secret[s]].
 4         [Name of plaintiff] claimsMasimo and Cercacor claim that they possessed the
 5   Asserted Trade Secrets listed in your Juror Notebooks.
 6         Masimo and Cercacor claim that [this/these] [select short term to describe,
 7         e.g., information] [is/ Asserted Trade Secrets are] [a] trade secret[s] protectable
 8   and that [name of defendant]
 9         Apple misappropriated [it/them].. “Misappropriation” means the improper
10         [ acquisition/, use/ [, or] disclosure] of the trade secret[s].secrets.
11   [Name of plaintiff]Masimo and Cercacor also claimsclaim that [name of
12   defendant]’sApple’s misappropriation
13   caused [[him/her/nonbinary pronoun/it]them harm/ [or] [name of defendant] to
14          and caused Apple to be unjustly enriched]..
15   [Name of defendant] denies [insert denial of any of the above claims].
16   [[Name of defendant] also claims [insert affırmative defenses].]
17         Apple denies the trade secret misappropriation claims. Apple contends that the
18   information is not protectable as trade secrets and that Apple did not misappropriate this
19   information. Apple further contends that Masimo and Cercacor were not harmed and
20   that Apple was not unjustly enriched.
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23   Model: CACI No. 4400
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 1                     JOINTLY PROPOSED INSTRUCTION NO. 20
 2         To establish that the [select short term to describe, e.g., information]
 3   [is/[[[ATS]]]] 1 are] [a] trade secret[s], [name of plaintiff] protectable Masimo and
 4   Cercacor must prove that [he/she/nonbinary pronoun/it]they made reasonable efforts
 5   under the circumstances to keep it secret.maintain the secrecy of the [[[ATS]]].
 6   “Reasonable efforts” are the efforts that would be made by a reasonable
 7   [person/business] in the same situation and having the same knowledge and resources
 8   as [name of plaintiff],Masimo and Cercacor, exercising due care to protect important
 9   information of the same kind. [This requirement applies separately to each item that
10   [name of plaintiff] claims to be a trade secret.] and value.
11         In determining whether or not [name of plaintiff]Masimo and Cercacor made
12   reasonable efforts to keep the [e.g., information] secretmaintain secrecy, you should
13   consider all of the facts and circumstances. Among the factors you may consider are the
14   following:
15             1. [a. Whether documents or computer files containing the [e.g.,
16                information][[[ATS]]]] were marked with confidentiality warnings;];

17             2. [b. Whether [name of plaintiff]Masimo and Cercacor instructed
                  [his/her/nonbinary pronoun/its]their employees to treat the [e.g.,
18                information][[[ATS]]]] as confidential;];
19             3. [c. Whether [name of plaintiff]Masimo and Cercacor restricted access to
20                the [e.g., information][[[ATS]]]] to persons who had a business reason to
21                know the information;];

22             4. [d. Whether [name of plaintiff]Masimo and Cercacor kept the [e.g.,
                  information][[[ATS]]]] in a restricted or secured area;];
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       The parties dispute whether the jury instructions should use the phrase “Asserted Trade
     Secrets,” which is preferred by Plaintiffs, or “alleged trade secrets,” which is preferred
27   by Apple. The parties jointly submit this proposed instruction using the symbol
28   [[[ATS]]] as a placeholder for whichever terminology the Court selects.

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 1             5. [e. Whether [name of plaintiff]Masimo and Cercacor required employees
 2                or others with access to the [e.g., information][[[ATS]]]] to sign
                  confidentiality or nondisclosure agreements;];
 3
               6. [f. Whether [name of plaintiff]Masimo and Cercacor took any action to
 4                protect the specific [e.g., information],[[[ATS]]]], or whether it relied on
 5                general measures taken to protect its business information or assets;];
 6             7. [g. The extent to which any general measures taken by [name of
 7                plaintiff]Masimo and Cercacor would prevent the unauthorized disclosure
                  of the [e.g., information];][[[ATS]]]]; or
 8
               8. [h. Whether there were other reasonable measures available to [name of
 9                plaintiff] that [he/she/nonbinary pronoun/it]Masimo and Cercacor that
10                they did not take;].
11   [i. Specify other factor(s).]
12         The presence or absence of any one or more of these factors is not necessarily
13   determinative.
14         [[[Apple’s efforts to maintain the secrecy of information it considers confidential
15   are irrelevant to this determination.]]]
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18   Model: CACI No. 4404.
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 1                  MASIMO’S PROPOSED INSTRUCTION NO. 24A
 2         An employer/A principal] is responsible for harm caused by the wrongful conduct
 3   of [his/her/nonbinary pronoun/its] [ employees/agents] while acting within the scope of
 4   their [employment/authority]..
 5         [Name of plaintiff] must prove that [name of agent] was acting within the
 6   scope of [his/her/nonbinary pronoun] [employment/authorization] when [name of
 7   plaintiff] was harmed.
 8         Conduct is within the scope of [employment/authorization] if:
 9         (a) . It is reasonably related to the kinds of tasks that the [employee/agent] was
10            employed to performperformed; or
11         (b) . It is reasonably foreseeable in light of the employer’s business or the
12            [agent’s/employee’s job] responsibilities.
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15   Model: CACI Nos. 3700, 3720
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 25
 2         [Name of defendant]Apple misappropriated [name of plaintiff]’s trade
 3   secret[s]Asserted Trade Secret by acquisition if [name of defendant]Apple acquired the
 4   trade secret[s]Asserted Trade Secret and knew or had reason to know that
 5   [he/she/nonbinary pronoun/it/[name of third party]]Apple used improper means to
 6   acquire [it/them].
 7         .
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10   Model: CACI No. 4405
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 26A
 2         [Name of defendant]Apple misappropriated [name of plaintiff]’sa Masimo and
 3   Cercacor trade secret[s] by use if [name of defendant]Apple:
 4            1. 1. used [Used it/them] without [name of plaintiff]’sMasimo and
 5               Cercacor’s consent; and

 6            2. 2. [didDid any of the following:]:

 7   2. [insert one or more of the following:]
 8                2. [acquireda.      Acquired knowledge of the trade secret[s]Asserted
 9                   Trade Secrets by improper means][./;; or]
10                2. [atb.     At the time of use, knew or had reason to know that
11                   [his/her/nonbinary pronoun/its] knowledge of [name of plaintiff]’s trade
12                   secret[s] came from or through [name of third party], and that [name of
13                   third party] had previously acquired the trade secret[s] by improper
14                   means][./; or]Apple’s knowledge of the trade secret was acquired under
15                   circumstances giving rise to a duty to maintain its secrecy or limit its
16                   use; or
17                2. [atc.     At the time of use, knew or had reason to know that
18                   [his/her/nonbinary pronoun/its]Apple’s knowledge of [name of
19                   plaintiff]’s the trade secret[s] was acquired under circumstances creating
20                   a legal obligation to limit use of the [select short term to describe, e.g.,
21                   information]][./; or]
22                2. [at the time of use, knew or had reason to know that [his/her/nonbinary
23                   pronoun/its] knowledge of [name of plaintiff]’s trade secret[s]
24                   camederived from or through [name of third party], and that [name of
25                   third party] hada person who owed a duty to [name of plaintiff] to
26                   Masimo or Cercacor to maintain its secrecy or limit use of the [e.g.,
27                   information]][./; or]
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 1              2. [before a material change of [his/her/nonbinary pronoun/its] position,
 2                 knew or had reason to know that [it was/they were] [a] trade secret[s]
 3                 and that knowledge of [it/them] had been acquired by accident or
 4                 mistake.] use.
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 7   Model: CACI No. 4407
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 28A
 2   [Name of defendant]Apple misappropriated [name of plaintiff]’s trade secret[s]
 3         an Asserted Trade Secret by disclosure if [name of defendant]Apple:
 4             1. 1. disclosed [Disclosed it/them] without [name of plaintiff]’sMasimo or
 5                Cercacor’s consent; and

 6             2. 2. [didDid any of the following:]:

 7   2. [insert one or more of the following:]
 8                2. [acquireda.       Acquired knowledge of the trade secret[s]Asserted
 9                    Trade Secrets by improper means][./;; or]
10                2. [atb.      At the time of disclosure, knew or had reason to know that
11                    [his/her/nonbinary pronoun/its]Apple’s knowledge of [name of
12                    plaintiff]’s trade secret[s] came from or through [name of third party],
13                    and that [name of third party] had previously acquired the trade secret[s]
14                    by improper means][./; or]the trade secret was acquired under
15                    circumstances giving rise to a duty to maintain its secrecy or limit its
16                    use; or
17   2. [atc. At the time of disclosure, knew or had reason to know that [his/her/nonbinary
18   pronoun/its]Apple’s knowledge of [name of plaintiff]’sthe trade secret[s] was acquired
19   [insert circumstances giving rise to duty to maintain secrecy], which createdderived
20   from or through a person who owed a duty to keep the [select short termMasimo or
21   Cercacor to describe, e.g., information] secret][./; or]
22   2. [at the time of disclosure, knew or had reason to know that [his/her/nonbinary
23   pronoun/maintain its] knowledge of [name of plaintiff]’s trade secret[s] came from
24   secrecy or through [name of third party], and that [name of third party] had a duty to
25   [name of plaintiff] to keep the [e.g., information] secret][./; or]
26   2. [before a material change of [his/her/nonbinary pronoun/limit its] position, knew or
27   had reason to know that [it was/they were] [a] trade secret[s] and that knowledge of
28   [it/them] had been acquired by accident or mistake.]

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 1               use.
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 4   Model: CACI No. 4406
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 29A
 2          Improper means of acquiring a trade secret or knowledge of a trade secret include,
 3   but are not limited to, [ theft/, bribery/, misrepresentation/, or breach or
 4   inducinginducement of a breach of a duty to maintain secrecy/ [or] wiretapping,
 5   electronic eavesdropping, [or] [insert other means of espionage]].
 6          [However, it. Independent derivation alone is not considered improper to acquire
 7   a trade secret or knowledge of the trade secret by [any of the following]:means.
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10   [1. Independent efforts to invent or discover the information;]
11   [2. Reverse engineering; that is, examining or testing a product to determine how it
12   works, by a person who has a right to possess the product;]
13   [3. Obtaining the information as a result of a license agreement with the owner of the
14   information;]
15   [4. Observing the information in public use or on public display;]
16   [or]
17   [5. Obtaining the information from published literature, such as trade journals,
18   reference books, the Internet, or other publicly available sources.]]
19   Model: CACI No. 4408
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 31
 2   [A/An] [agent/stockbroker/real estate agent/real estate broker/corporate
 3   officer/partner/[insert other fiduciary relationship]] owes Another type of duty is what
 4   is known as a fiduciary duty. A corporate officer owes a fiduciary duty to
 5   [his/her/nonbinary pronoun/its] [principal/client/the corporation/partner/[insert other
 6   fiduciary relationship]].. A fiduciary duty imposes on [a/an] [agent/stockbroker/real
 7   estate agent/real estate broker/corporate officer/partner/[insert other fiduciary
 8   relationship]] a duty to act with the utmost good faith in the best interests of
 9   [his/her/nonbinary pronoun/its] [principal/client/the corporation/ partner/[insert other
10   fiduciary relationship]].
11         .   A corporate officer’s fiduciary duty to protect confidential information
12   continues even after leaving the corporation.
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16   Model: CACI No. 4100
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 34A
 2          [Name of defendant]Apple claims that [name of plaintiff]’sMasimo and
 3   Cercacor’s lawsuit was not filed within the time set by law. To succeed on this defense,
 4   [name of defendant]Apple must prove that the claimed misappropriation of [name of
 5   plaintiff]’sa trade secretssecret occurred before [insert date three years before date of
 6   filing].January 9, 2017.
 7   However, the lawsuit was still filed on time if [name of plaintiff] proves that before
 8   [insert date three years before date of filing], [he/she/nonbinary pronoun/it] did not
 9   discover, nor with reasonable diligence should have discovered, facts that would have
10   caused a reasonable person to suspect that [name of defendant] had misappropriated
11   [name of plaintiff]’s [select short term to describe, e.g., information].
12          If Apple succeeds on that portion of the defense, Masimo and Cercacor must prove
13   that they did not know or have reason to know of the misappropriation of trade secrets
14   before January 9, 2017.
15          Masimo and Cercacor had reason to know of the misappropriation of trade secrets
16   if they:
17          (a)   Had reason to suspect that Apple had already misappropriated the alleged
18          trade secrets; and
19          (b)   A reasonable investigation would produce facts sufficient to confirm that
20          suspicion and justify bringing a lawsuit.
21          A mere suspicion that trade secrets could have been misappropriated does not
22   show Masimo and Cercacor knew or had reason to know of the misappropriation of trade
23   secrets.
24
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26   Model: CACI No. 4421
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 37A
 2         If [name of plaintiff] provesMasimo and Cercacor prove that [name of
 3   defendant]Apple misappropriated [his/her/nonbinary pronoun/its] trade secret[s], then
 4   [name of plaintiff] is entitled to recover damages ifone or more of the Asserted Trade
 5   Secrets, and prove that the misappropriation caused [[name of plaintiff]Masimo or
 6   Cercacor to suffer an actual loss / [or] [name of defendant] Apple to be unjustly
 7   enriched].
 8   [If [name of defendant]’s misappropriation did not cause [[name of plaintiff] to suffer
 9   an actual loss/ [or] [name of defendant] to be unjustly enriched], [name of plaintiff]
10   may still be entitled to a reasonable royalty for no longer than the period of time the
11   use could have been prohibited. However, I will calculate the amount of any royalty.]
12         , then Masimo and Cercacor are entitled to recover monetary compensation.
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15   Model: CACI No. 4409
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 38
 2         Masimo contends that Apple’s misappropriation caused it to suffer actual harm in
 3   the form of lost profits. Masimo contends that, but for Apple’s misappropriation, Apple
 4   would have purchased sensor modules from Masimo to be used in Apple Watches
 5   Series 4 and higher. Masimo seeks to recover the profits it would have made by selling
 6   those sensor modules to Apple.
 7         To recover damages for lost profits, [name of plaintiff]Masimo and Cercacor must
 8   prove it is reasonably certain [he/she/nonbinary pronoun/it]they would have earned
 9   profits but for [name of defendant]’s conductApple’s trade secret misappropriation.
10         To decide the amount of damages for lost profits, you must determine the gross
11   amount [name of plaintiff]Masimo and Cercacor would have received but for [name of
12   defendant]’s conduct and then subtract from that Apple’s misappropriation. You may
13   calculate this amount the expenses [including the value ofby multiplying Masimo’s
14   gross profit per sensor module and the [specify categories of evidence, such as
15   labor/materials/rents/all expenses/interest of the capital employed]] [name of plaintiff]
16   would have had if [name of defendant]’s conduct had not occurrednumber of sensor
17   modules Masimo would have sold absent Apple’s misappropriation.
18         The amount of the lost profits need not be calculated with mathematical precision,
19   but there must be a reasonable basis for computing the loss.
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22   Model: CACI No. 3903N
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 39A
 2         [Name of defendant]Apple was unjustly enriched if [his/her/nonbinary
 3   pronoun/its] misappropriation of [name of plaintiff]’sone or more Masimo and Cercacor
 4   trade secret[s]secrets caused [name of defendant]Apple to receive a benefit that
 5   [he/she/nonbinary pronoun/it]Apple otherwise would not have achieved.
 6   To decide the amount of any unjust enrichment, first determine the value of [name of
 7   defendant]’s benefit that would not have been achieved except for [his/her/nonbinary
 8   pronoun/its] misappropriation. Then subtract from that amount [name of defendant]’s
 9   reasonable expenses[, including the value of the [specify categories of expenses in
10   evidence, such as labor, materials, rents, interest on invested capital]]. [In calculating
11   the amount of any unjust enrichment, do not take into account any amount that you
12   included in determining any amount of damages for [name of plaintiff]’s actual loss.]
13         In order to prove the amount by which Apple was unjustly enriched, Masimo and
14   Cercacor have the burden to prove the amount of revenue Apple received from selling
15   products that benefitted from Apple’s misappropriation. Once Masimo and Cercacor
16   satisfy that burden, Apple then has the burden of establishing any portion of its revenue
17   not attributable to its misappropriation.
18         When you determine Apple’s unjust enrichment, you must consider any lost
19   profits award to Masimo. If you awarded Masimo profits for a sensor module that
20   Masimo would have sold to be used in a particular Apple Watch, you should not include
21   that watch when calculating Apple’s unjust enrichment.
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24   Model: CACI No. 4410
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 1                   MASIMO’S PROPOSED INSTRUCTION NO. 40A
 2         If you decide that [name of defendant]’sApple’s misappropriation caused [name
 3   of plaintiff] Masimo and Cercacor harm, you must decide whether thatApple’s conduct
 4   justifies an award of punitive damages. The purposes of punitive damages are to punish
 5   a wrongdoer for the harmful conduct that harmed [name of plaintiff], and to discourage
 6   similar conduct in the future.
 7         In order toTo recover punitive damages, [name of plaintiff]Masimo and Cercacor
 8   must prove [by clear and convincing evidence] that [name of defendant]that Apple acted
 9   willfully and maliciously. You must determine whether [name of defendant]Apple acted
10   willfully and maliciously, but you will not be asked to determine the amount of any
11   punitive damages. I will calculate the amount later.
12         “Willfully” means that [name of defendant]Apple acted with a purpose or
13   willingness to commit the act or engage in the conduct in question, and the conduct was
14   not reasonable under the circumstances at the time and was not undertaken in good faith.
15         “Maliciously” means that [name of defendant]Apple acted with an intent to cause
16   injury, or that [name of defendant]’sApple’s conduct was despicable and was done with
17   a willful and knowing disregard for the rights of others.
18         “Despicable conduct” is conduct so vile, base, or wretched that it would be looked
19   down on and despised by ordinary decent people.
20         [Name of defendant]Apple acted with knowing disregard if [he/she/nonbinary
21   pronoun/it] was aware of the probable consequences of [his/her/nonbinary pronoun/ its]
22   conduct and deliberately failed to avoid those consequences.
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25   Model: CACI No. 4411
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 1                     JOINTLY PROPOSED INSTRUCTION NO. 44
 2         Before you begin your deliberations, elect one member of the jury as your
 3   presiding juror. The presiding juror will preside over the deliberations and serve as the
 4   spokesperson for the jury in court.
 5         You shall diligently strive to reach agreement with all of the other jurors if you
 6   can do so. Your verdict must be unanimous.
 7         Each of you must decide the case for yourself, but you should do so only after you
 8   have considered all of the evidence, discussed it fully with the other jurors, and listened
 9   to their views.
10         It is important that you attempt to reach a unanimous verdict but, of course, only
11   if each of you can do so after having made your own conscientious decision. Do not be
12   unwilling to change your opinion if the discussion persuades you that you should. But
13   do not come to a decision simply because other jurors think it is right or change an honest
14   belief about the weight and effect of the evidence simply to reach a verdict.
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17   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
18   Circuit § 3.1
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 1                     JOINTLY PROPOSED INSTRUCTION NO. 45
 2         Because you must base your verdict only on the evidence received in the case and
 3   on these instructions, I remind you that you must not be exposed to any other information
 4   about the case or to the issues it involves. during the course of your deliberations. Except
 5   for discussing the case with your fellow jurors during your deliberations.:
 6
 7         Do not communicate with anyone in any way and do not let anyone else
 8         communicate with you in any way about the merits of the case or anything to do
 9         with it. This includes discussing the case in person, in writing, by phone, tablet,
10         computer, or any other means, via email, via text messaging, or any internet chat
11         room, blog, website or application, including but not limited to Facebook,
12         YouTube, Twitter, Instagram, LinkedIn, Snapchat, TikTok, or any other forms of
13         social media. This applies to communicating with your family members, your
14         employer, the media or press, and the people involved in the trial. If you are asked
15         or approached in any way about your jury service or anything about this case, you
16         must respond that you have been ordered not to discuss the matter and to report
17         the contact to the court.
18
19         Do not read, watch, or listen to any news or media accounts or commentary about
20         the case or anything to do with it[, although I have no information that there will
21         be news reports about this case];; do not do any research, such as consulting
22         dictionaries, searching the Internet, or using other reference materials; and do not
23         make any investigation or in any other way try to learn about the case on your
24         own. Do not visit or view any place discussed in this case, and do not use Internet
25         programs or other devices to search for or view any place discussed during the
26         trial. Also, do not do any research about this case, the law, or the people
27         involved—including the parties, the witnesses, or the lawyers—until you have
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 1         been excused as jurors. If you happen to read or hear anything touching on this
 2         case in the media, turn away and report it to me as soon as possible.
 3
 4         These rules protect each party’s right to have this case decided only on evidence
 5   that has been presented here in court. Witnesses here in court take an oath to tell the
 6   truth, and the accuracy of their testimony is tested through the trial process. If you do
 7   any research or investigation outside the courtroom, or gain any information through
 8   improper communications, then your verdict may be influenced by inaccurate,
 9   incomplete, or misleading information that has not been tested by the trial process. Each
10   of the parties is entitled to a fair trial by an impartial jury, and if you decide the case
11   based on information not presented in court, you will have denied the parties a fair trial.
12   Remember, you have taken an oath to follow the rules, and it is very important that you
13   follow these rules.
14         A juror who violates these restrictions jeopardizes the fairness of these
15   proceedings[,, and a mistrial could result that would require the entire trial process to
16   start over].. If any juror is exposed to any outside information, please notify the court
17   immediately.
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20   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
21   Circuit § 3.2
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 1                     JOINTLY PROPOSED INSTRUCTION NO. 46
 2         If it becomes necessary during your deliberations to communicate with me, you
 3   may send a note through the [bailiff],[clerk] , signed by any one or more of you. No
 4   member of the jury should ever attempt to communicate with me except by a signed
 5   writing. I will not communicate with any member of the jury on anything concerning
 6   the case except in writing or here in open court. If you send out a question, I will
 7   consult with the lawyers before answering it, which may take some time. You may
 8   continue your deliberations while waiting for the answer to any question. Remember
 9   that you are not to tell anyone—including the court—how the jury stands, whether in
10   terms of vote count or otherwise, until after you have reached a unanimous verdict or
11   have been discharged.
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14   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
15   Circuit § 3.3
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 1                    MASIMO’S PROPOSED INSTRUCTION NO. 47A
 2         A verdict form has been prepared for you. [Explain final verdict form as needed.]
 3   You should follow the instructions in the verdict form as you move through your
 4   deliberations.   After you have reached unanimous agreement on a verdict, your
 5   [presiding juror] [foreperson] should complete the verdict form according to your
 6   deliberations, sign and date it, and advise the [clerk] [bailiff] that you are ready to return
 7   to the courtroom.
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10   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
11   Circuit § 3.5
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 7               Apple’s Redlines to Model Instructions
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 1                 APPLE’S PROPOSED INITIAL INSTRUCTION NO. 1
 2          Members of the jury: You are now the jury in this case. It is my duty to instruct
 3   you on the law.
 4          These instructions are preliminary instructions to help you understand the
 5   principles that apply to civil trials and to help you understand the evidence as you listen
 6   to it. At the end of the trial, I will give you a final set of instructions. It is the final set
 7   of instructions that will govern your deliberations.
 8          It is your duty to find the facts from all the evidence in the case. To those facts
 9   you will apply the law as I give it to you. You must follow the law as I give it to you
10   whether you agree with itthe law or not. And you must not be influenced by any personal
11   likes or dislikes, opinions, prejudices, or sympathy. In reaching a verdict,Nor may you
12   may not consider the overall wealth or povertysize of any party. The parties’ wealth or
13   poverty, because that is not relevant to any of the issues that you must decide. That
14   means that you must decide the case solely on the evidence before you. You will recall
15   that you took an oath to do so.
16          Please do not read into these instructions, or anything I may say or do, that I have
17   an opinion regarding the evidence or what your verdict should be.
18
19   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
20   Circuit § 1.3; Judge Selna’s Exemplar Initial Jury Instructions No. 1; CACI 117.
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 1                APPLE’S PROPOSED INITIAL INSTRUCTION NO. 2B
 2          To help you follow the evidence, I will give you a brief summary of the positions
 3   of the parties:
 4          The Plaintiffs in this case are Masimo Corporation and Cercacor Laboratories,
 5   Inc. The Defendant is Apple Inc.
 6          Masimo and Cercacor assertallege that Apple improperly obtained their trade
 7   secret information through hiring two of their former employees (Marcelo Lamego and
 8   Michael O’Reilly), that Apple disclosed certain alleged secrets in patents, and that used
 9   other alleged secrets.
10          Masimo and Cercacor also assert that Apple filed patents that claim inventions to
11   which Masimo and Cercacor employees contributed, and those employees should be
12   added as named inventors. Masimo and Cercacor allege they should be part owners of
13   those patents.
14          Masimo and Cercacor seek monetary damages for Apple’s alleged trade secret
15   misappropriation. Masimo and Cercacor allege they should be part owners of those
16   patents.
17          Masimo and Cercacor seek monetary damages for Apple’s alleged trade secret
18   misappropriation. Masimo and Cercacor have the burden of proving theseproof on all
19   of their claims.
20          Apple denies thoseall of Plaintiffs’ claims and also contends that. Apple contends
21   that the alleged trade secrets do not meet the definition of trade secrets under California
22   law, including because the information was generally known to the public and industry
23   participants. Apple contends that it did not misappropriate Plaintiffs’ alleged trade
24   secrets, including because Apple independently developed the information that Plaintiffs
25   allege Apple misappropriated. Apple further disputes that the alleged misappropriation
26   was a substantial cause of any unjust enrichment to Apple.
27          Apple has also asserted a number of defenses to the claim for misappropriation of
28   trade secrets. Apple contends that Masimo and Cercacor did not file this lawsuit within
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 1   the time permitted by law, that they are not entitled to obtain relief because they have
 2   unclean hands, and that the information alleged to be trade secrets was readily
 3   ascertainable by proper means. Apple has the burden of proof on these defenses.
 4         Apple also contends that Plaintiffs’ employees should not be added as co-
 5   inventors to the disputed patents and that neither Masimo nor Cercacor is a joint owner
 6   of those patents.
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 8   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 9   Circuit § 1.5.
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 1                APPLE’S PROPOSED INITIAL INSTRUCTION NO. 3B
 2         This action involves allegations that certain materials areinformation is subject to
 3   protection as trade secrets. To protect this information from public disclosure, the court
 4   will while the issue of whether this information is actually subject to protection as trade
 5   secrets is being decided by you, the Court will times seal the courtroom and limit the
 6   ability for the attorneys and witnesses to say certain details in front of the public. You
 7   also may see documents that include confidentiality stamps at the bottom of the page
 8   that the attorneys to this case have added.
 9         You should make no inference from these measures that any information actually
10   qualifies as a trade secret as Plaintiffs contend. Nor should you make any inference from
11   my sealing the courtroom or permitting any other measures that the Court has any
12   opinion on whether any information actually qualifies as a trade secret.             These
13   precautions are standard practice in a case such as this and are taken in order to preserve
14   the possibility that the information qualifies as a trade secret, which will be for you to
15   decide.
16         The jury is reminded that As I will instruct you at the end of the trial, Masimo and
17   Cercacor bear the burden of proving all elements of itstheir claim for misappropriation
18   of trade secrets, as explained in instruction number []including that the alleged trade
19   secrets were in fact trade secrets. When evaluating whether Masimo and Cercacor have
20   satisfied this burden, the jury isyou are not permitted to take into account, or consider in
21   any way, the fact that the Court may occasionally seal the courtroom from the public or
22   take other precautions to prevent public access to certain information. That is, whether
23   the courtroom is sealed has no relevance to whether the evidence provided during sealing
24   is a trade secret, or not. And while the attorneys to this case have added confidentiality
25   stamps to the bottom of certain documents, you should make no inference from that
26   stamp that any information in the document is actually confidential.
27   Model: The Sedona Conference, Commentary on Protecting Trade Secrets in Litigation
28   About Them, 23 Sedona Conf. J. 741, 788-789 (2022).
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 1                APPLE’S PROPOSED INITIAL INSTRUCTION NO. 4B
 2         If you wish, you may take notes to help you remember the evidence. If you do
 3   take notes, please keep them to yourself until you and your fellow jurors go to the jury
 4   room to decide the case. Do not let note-taking distract you. When you leave, your
 5   notes should be left in the courtroom. No one will read your notes. They will be
 6   destroyed at the conclusion of the case.
 7         Whether or not you take notes, you should rely on your own memory of the
 8   evidence. Notes are only to assist your memory. You should not be overly influenced
 9   by your notes or those of your fellow jurors.
10         You will each be provided with a juror notebook for your individual use.
11         The notebook contains four tabs.
12         Behind the first tab is lined paper for you to take any notes you wish. If you need
13   more paper for notes, please let [name] know and more will be provided.
14         Behind the second tab the notebook includes the alleged trade secrets that Masimo
15   and Cercacor claim Apple misappropriated. The law requires a trade secret plaintiff to
16   provide the defendant during the litigation with a written description of the alleged trade
17   secrets being asserted so that the defendant knows what it is accused of
18   misappropriating. Masimo and Cercacor produced written descriptions of the alleged
19   trade secrets to Apple, and those are the descriptions that appear in your juror notebook
20   behind the second tab.
21         Behind the third tab are copies of the patents that are the subject of Plaintiffs’
22   claims regarding inventorship and ownership.
23         Behind the fourth tab is a flow chart that illustrates the decisions you will have to
24   make during your deliberations at the end of the case.
25         Lastly, there is a fifth tab. Over the course of the trial, the parties will provide for
26   you pictures of the witnesses before they testify whether live or by video. You may put
27   the witness pictures behind the fourth tab. You may take notes anywhere you want in
28   this notebook as well. When you leave, your notebook should be left in the courtroom.
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 1   No one will read your notebook. You will be required to return the notebook at the end
 2   of the case. It will be destroyed at the conclusion of the case.
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 4   Model: Judge Selna’s Exemplar Initial Jury Instructions No. 12.
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 1                APPLE’S PROPOSED INITIAL INSTRUCTION NO. 5B
 2         This case involves a dispute relating to a United States patent. Before
 3   summarizing the positions of the parties and the issues involved in the dispute, let me
 4   take a moment to explain what a patent is and how one is obtained.
 5         In this case, you will be hearing about different types of intellectual property
 6   rights. To help you understand the evidence as it is presented, I will now give you a
 7   brief overview of patent and trade secret law and explain a few ways in which they differ.
 8         Patents are granted by the United States Patent and Trademark Office (sometimes
 9   called “the PTO”). To obtain a patent, one must first file an application with the PTO.
10   The PTO is an agency of the federal government and employs trained Examiners who
11   review applications for patents. Among other things, the Examiner reviews certain
12   information about the state of the technology at the time the application was filed to
13   determine whether the invention is truly an advance over the state of the art at the time.
14   A valid United States patent gives the patent holder the right [for up to 20 years from
15   the date the patent application was filed] [for 17 years from the date the patent issued]a
16   certain period of time to prevent others from making, using, offering to sell, or selling
17   the patented invention within the United States, or from importing it into the United
18   States, without the patent holder’s permission. A violation of the patent holder’s rights
19   is called infringement. The patent holder may try to enforce a patent against persons
20   believed to be infringers by a lawsuit filed in federal court. In return for these exclusive
21   rights, the patent law imposes upon the inventor a requirement of public disclosure, so
22   the PTO publishes patents, including a full and clear description of the invention and of
23   the manner and process of making and using it. Once published, the information in a
24   patent cannot be a trade secret—because public information is not secret.
25         Unlike patents, which are public, trade secrets are—as their name suggests—
26   secret. Thus, in contrast to patents, trade secret law provides businesses with a different
27   form of protection for certain secret information. A trade secret is information—such
28   as a formula, pattern, compilation, program, device, method, technique, or process—that
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 1   a company keeps confidential to maintain an advantage over competitors. While a trade
 2   secret need not be a new invention as is required to receive a patent, a trade secret must
 3   derive independent economic value from being maintained as a secret, that is from not
 4   being generally known by others who can obtain economic value from its disclosure or
 5   use. As I mentioned earlier, information disclosed in a patent is no longer entitled to
 6   trade secret protection, because such information is in the public domain. Unlike with a
 7   patent, a business does not need to register or publish a trade secret with the government;
 8   instead, the business must use reasonable efforts to maintain the secrecy of the business
 9   information it seeks to protect as a trade secret. And whereas patent law provides a
10   patent holder with the exclusive right to make or sell a patented technology—even if a
11   competitor has independently developed the same technology—trade secret law only
12   prohibits competitors from misappropriating a company’s trade secrets by acquiring
13   them through improper means, such as through theft or by breaking a nondisclosure
14   agreement.
15         The process of obtaining a patent is called patent prosecution. To obtain a
16   patent, one must first file an application with the PTO. The PTO is an agency of the
17   Federal Government and employs trained Examiners who review applications for
18   patents. The application includes what is called a “specification,” which contains a
19   written description of the claimed invention telling what the invention is, how it works,
20   how to make it, and how to use it. The specification concludes with one or more
21   numbered sentences. These are the patent “claims.” If a patent is eventually granted by
22   the PTO, the claims define the boundaries of its protection and give notice to the
23   public of those boundaries.
24         After the applicant files the application, an Examiner reviews the application to
25   determine whether or not the claims are patentable (appropriate for patent protection)
26   and whether or not the specification adequately describes the invention claimed. In
27   examining a patent application, the Examiner reviews certain information about the
28   state of the technology at the time the application was filed. The PTO searches for and
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 1   reviews information that is publicly available or that is submitted by the applicant.
 2   This information is called “prior art.” The Examiner reviews this prior art to determine
 3   whether or not the invention is truly an advance over the state of the art at the time.
 4   Prior art is defined by law, and I will give you, at a later time during these instructions,
 5   specific instructions as to what constitutes prior art. However, in general, prior art
 6   includes information that demonstrates the state of technology that existed before the
 7   claimed invention was made or before the application was filed. A patent lists the prior
 8   art that the Examiner considered; this list is called the “cited references.”
 9         After the prior art search and examination of the application, the Examiner
10   informs the applicant in writing of what the Examiner has found and whether the
11   Examiner considers any claim to be patentable and, thus, would be “allowed.” This
12   writing from the Examiner is called an “Office Action.” If the Examiner rejects the
13   claims, the applicant has an opportunity to respond to the Examiner to try to persuade
14   the Examiner to allow the claims, and to change the claims or to submit new claims.
15   This process may go back and forth for some time until the Examiner is satisfied that
16   the application meets the requirements for a patent and the application issues as a
17   patent, or that the application should be rejected and no patent should issue.
18   Sometimes, patents 3 are issued after appeals within the PTO or to a court. The papers
19   generated during these communications between the Examiner and the applicant are
20   called the “prosecution history.”
21         The fact that the PTO grants a patent does not necessarily mean that any
22   invention claimed in the patent, in fact, deserves the protection of a patent. For
23   example, the PTO may not have had available to it all other prior art that will be
24   presented to you. In addition, there is the possibility that mistakes were made or that
25   information was overlooked. Examiners have a lot of work to do and no process is
26   perfect. Also, unlike a court proceeding, patent prosecution takes place without input
27   from those who are later alleged to infringe the patent. A person accused of
28   infringement has the right to argue here in federal court that a claimed invention in the
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 1   patent is invalid because it does not meet the requirements for a patent. It is your job to
 2   consider the evidence presented by the parties and determine independently whether or
 3   not [alleged infringer] has proven that the patent is invalid.
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 5   Model: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § A.1 (2020).
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 1B
 2          Members of the Jury: Nowjury, now that you have heard all of the evidence and
 3   the arguments of the attorneys, it is my duty to instruct you on the law that applies to
 4   this case.
 5           A copy of these instructions will be sent to the jury room for you to consult
 6   during your deliberations.
 7          It is your duty to find the facts fromweigh and to evaluate all the evidence received
 8   in the case. To those facts you will and, in that process, to decide the facts. It is also
 9   your duty to apply the law as I give it to you. You must follow to the lawfacts as I give
10   it to you find them, whether you agree with itthe law or not. And youYou must not be
11   influenced by any decide the case solely on the evidence and the law. Do not allow
12   personal likes or dislikes, opinions, prejudices, or sympathy. In reaching a verdict, you
13   may notsympathy, prejudice, fear, or public opinion to influence you. Nor may you
14   consider the overall wealth or povertysize of any party. The parties’ wealth or poverty,
15   since that is not relevant to any of the issues that you must decide. That means that you
16   must decide the case solely on the evidence before you. You will recall that you took
17   an oath promising to do so at the beginning of the case.
18          You must follow all these instructions and not single out some and ignore others;
19   they are all important.
20          Please do not read into these instructions, or into anything that I may say or do or
21   have said or done that I have an opinion regarding the evidence or what your, any
22   suggestion as to what verdict you should bereturn – that is a matter entirely up to you.
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24   Models: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
     Circuit § 1.4; CACI 117
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 2B
 2         As I did at the start of the case, I will first give you a summary of each side’s
 3   contentions in this case. I will then provide you with detailed instructions on what each
 4   side must prove to win on each of its contentions.
 5         The Plaintiffs in this case are Masimo Corporation and Cercacor Laboratories,
 6   Inc. The Defendant is Apple Inc.
 7         To help you follow the evidence, I will give you a brief summary of the
 8   positions of the parties:
 9         The Plaintiffs asserts that Masimo and Cercacor allege that Apple improperly
10   obtained their trade secret information through hiring two of their former employees
11   (Marcelo Lamego and Michael O’Reilly), that Apple disclosed certain alleged secrets in
12   patents, and that Apple used other alleged secrets.
13         Masimo and Cercacor also assert that Apple filed patents that claim inventions to
14   which Masimo and Cercacor employees contributed, and those employees should be
15   added as named inventors. Masimo and Cercacor allege they should be part owners of
16   those patents.
17         Masimo and Cercacor seek monetary damages for Apple’s alleged trade secret
18   misappropriation. The plaintiffs Masimo and Cercacor have the burden of proving
19   theseproof on all of their claims.
20         Apple denies thoseall of Plaintiffs’ claims and also. Apple contends that the
21   alleged trade secrets do not meet the definition of trade secrets under California law,
22   including because they do not have independent economic value and claim ideas that are
23   generally known. Apple contends that it did not misappropriate Plaintiffs’ alleged trade
24   secrets, including because Apple independently developed the information that Plaintiffs
25   allege Apple misappropriated. Apple further disputes that the alleged misappropriation
26   was a substantial cause of any unjust enrichment to Apple.
27         Apple has also asserted a number of defenses to the claim for misappropriation of
28   trade secrets. Apple contends that Masimo and Cercacor did not file this lawsuit within
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 1   the time permitted by law, that they are not entitled to obtain relief because they have
 2   unclean hands, and that the information alleged to be trade secrets was readily
 3   ascertainable by proper means. Apple has the burden of proof on these defenses.
 4         Apple also contends that Plaintiffs’ employees should not be added as co-
 5   inventors to the disputed patents and that neither Masimo nor Cercacor is a joint owner
 6   of those patents.
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 8   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 9   Circuit § 1.5
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 6B
 2         This action involves allegations that certain materials areinformation is subject to
 3   protection as trade secrets. To protect this information from public disclosure, the court
 4   while the issue of whether this information is actually subject to protection as trade
 5   secrets is being decided by you, the Court has at times, for example, sealed the courtroom
 6   and limited the ability for the attorneys and witnesses to say certain details in front of
 7   the public. You also may have seen documents that include confidentiality stamps at
 8   the bottom of the page that the attorneys to this case have added.
 9         You should make no inference from these measures that any information actually
10   qualifies as a trade secret as Plaintiffs contend. Nor should you make any inference from
11   my sealing the courtroom or permitting any other measures that the Court has any
12   opinion on whether any information actually qualifies as a trade secret.            These
13   precautions are standard practice in a case such as this and are taken in order to preserve
14   the possibility that the information qualifies as a trade secret, which will be for you to
15   decide.
16         The jury is reminded thatAs I will instruct you, Masimo and Cercacor bear the
17   burden of proving all elements of itstheir claim for misappropriation of trade secrets, as
18   explained in instruction number [] including that the alleged trade secrets were in fact
19   trade secrets. When evaluating whether Masimo and Cercacor have satisfied this
20   burden, the jury isyou are not permitted to take into account, or consider in any way, the
21   fact that the Court occasionally sealed the courtroom from the public or took other
22   precautions to prevent public access to certain information. While the attorneys to this
23   case have added confidentiality stamps to the bottom of certain documents, you should
24   make no inference from that stamp that any information in the document is actually
25   confidential.
26
27   Model: The Sedona Conference, Commentary on Protecting Trade Secrets in Litigation
28   About Them, 23 Sedona Conf. J. 741, 788-789 (2022)
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 10B
 2         Certain charts and, summaries, and other demonstratives not admitted into
 3   evidence have been shown to you in order to help explain the contents of books, records,
 4   documents, or other evidence in the case.          Charts and, summaries, and other
 5   demonstratives are only as good as the underlying evidence that supports them. They
 6   are not themselves evidence or proof of any facts. You should, therefore, give them only
 7   such weight as you think the underlying evidence deserves. If they do not correctly
 8   reflect the facts or figures shown by the evidence in the case, you should disregard these
 9   charts and summaries and determine the facts from the underlying evidence.
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11   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
12   Circuit §§ 2.14
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 11
 2         Certain charts and, summaries, and other demonstratives not admitted into
 3   evidence have been shown to you in order to help explain the contents of books, records,
 4   documents, or other evidence in the case.          Charts and, summaries, and other
 5   demonstratives are only as good as the underlying evidence that supports them. They
 6   are not themselves evidence or proof of any facts. You should, therefore, give them only
 7   such weight as you think the underlying evidence deserves. If they do not correctly
 8   reflect the facts or figures shown by the evidence in the case, you should disregard these
 9   charts and summaries and determine the facts from the underlying evidence.
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11   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
12   Circuit §§ 2.14
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 14B
 2         You may consider the ability of each party to provide evidence. If a party
 3   provided weaker evidence when it could have provided stronger evidence, you may
 4   distrust the weaker evidence.
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 6   Model: CACI 203
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 15B
 2         Masimo and Cercacor claim that they owned the 12 alleged trade secrets listed on
 3   Exhibit A and in your juror notebooks. Masimo and Cercacor claim that the alleged
 4   trade secret is a trade secretinformation described in Exhibit A meets the legal definition
 5   of trade secrets, and that Apple misappropriated them.
 6         “Misappropriation” means the improper use or disclosure of thea trade secrets
 7   knowing or with reason to know that it was improperly acquired.
 8         Masimo and Cercacor also claim that Apple’s alleged misappropriation caused
 9   them harm or Apple to be unjustly enriched.
10         Apple denies that any of the alleged trade secrets were protectable trade secrets
11   because they were generally known to people in the industry, denies that it
12   misappropriated any of them rather than independently developed them, and denies that
13   any alleged misappropriation caused any unjust enrichment.
14         Apple also claims that the alleged trade secrets were readily ascertainable through
15   proper means, that Masimo and Cercacor waited too long after the alleged
16   misappropriation to file this suit, and that Masimo and Cercacor are not entitled to obtain
17   relief against Apple because they have “unclean hands.”
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19   Model: CACI 4400
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 16B
 2
           Masimo and Cercacor claim that Apple has misappropriated athe alleged trade
 3
     secrets. To succeed on this claim with respect to any particular alleged trade secret,
 4
     Masimo and Cercacor must prove all of the following essential elements:
 5
              1.         That Masimo or Cercacor owned developed or otherwise were in
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                   lawful possession of the alleged trade secret;
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              2.         That thisthe alleged trade secret was a trade secret at the time of the
 8
                   alleged misappropriation;
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              3.         That Apple improperly used or disclosed the alleged trade secret;
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              4.         That Apple was unjustly enriched; and
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              5.         That Apple’s use or disclosure of the alleged trade secret was a
12
                   substantial factor in causing Apple to be unjustly enriched.
13
           You must consider each one of the 12 alleged trade secrets individually. If you
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     determine that Masimo and Cercacor have not proved one or more of the essential
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     elements with respect to a particular alleged trade secret, you should indicate as much
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     on the verdict form and move on to the next alleged trade secret. If, and only if, you
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     unanimously determine that Masimo and Cercacor have proved all five of the essential
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     elements and that Apple has not proven any of its defenses with respect to at least one
19
     of the alleged trade secrets, then you must find Apple liable on this claim and proceed
20
     to consider the amount of damages. However, if you determine that Masimo and
21
     Cercacor have not proved all five elements or that Apple has proven at least one of its
22
     defenses with respect to any single alleged trade secret, then you must find that Apple is
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     not liable for misappropriation, and you may not include that alleged trade secret in any
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     calculation of damages.
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26   Model: CACI 4401
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 18B
 2         The second element of the misappropriation claim is that the information
 3   described within an alleged trade secret met the legal definition of a trade secret at the
 4   time of the alleged misappropriation. To prove that an alleged trade secret was a trade
 5   secret, Masimo and Cercacor must prove each all of the following:
 6            1.         That the alleged trade secret was secret;.
 7            2.         That the alleged trade secret had actual or potential independent
 8                 economic value because it was secret; and.
 9            3.         That Masimo and Cercacor made reasonable efforts to
10                 keepmaintain the secrecy of the alleged trade secret secret.
11         I will now describe each of these requirements in more detail.
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13   Model: CACI 4402
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 19B
 2         An alleged trade secret has independent economic value if it gives the owner an
 3   actual or potential business advantage over others who do not know the [it] and who
 4   could obtain economic value from its disclosure or use.
 5         In determining whether ana particular alleged trade secret had actual or potential
 6   independent economic value because it was secret, you may consider the following:
 7             1. The extent to which Masimo and Cercacor obtained or could obtain
 8                economic value from the alleged trade secret in keepingif it were not
 9                secret;
10             2. The extent to which others could obtain economic value from the alleged
11                trade secret if it were not secret;
12             3. The amount of time, money, or labor that Masimo and Cercacor expended
13                in developing the alleged trade secret;
14             4. The amount of time, money, or labor that would be saved by a competitor
15                whothat used the alleged trade secret;
16             5. Whether Apple, Masimo, or Cercacor actually incorporate the purported
17                secret in any product or process.
18         The presence or absence of any one or more of these factors is not necessarily
19   determinative.
20         In determining whether Masimo and Cercacor have proven that the alleged trade
21   has independent economic value, the fact that the words “value” or “importance” may
22   appear in the description of the alleged trade secret should make no difference to your
23   analysis. Masimo and Cercacor have the burden of proving that each alleged trade secret
24   has independent economic value regardless of how they named or described their alleged
25   trade secrets.
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27         Model: CACI 4412
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 21B
 2         The secrecy required to prove that something is a trade secret does not have to be
 3   absolute in the sense that no one else in the world possesses the information. It may be
 4   disclosed to employees involved in Masimo’s or Cercacor’s use of the alleged trade
 5   secret as long as they are instructed to keep the information secret. It may also be
 6   disclosed to nonemployees if they are obligated to keep the information secret.
 7         However, the alleged trade secret it must not have been generally known to the
 8   public or to people who could obtain value from knowing it. Under some circumstances,
 9   the publication of an alleged trade secret will be clearly sufficient to indicate that the
10   information is generally known. For example, publication of information in a patent or
11   a patent application makes it generally known to the public and so eliminates any trade
12   secrecy.   While the fact that the alleged trade secret has been revealed in some
13   publication somewhere does not necessarily mean that the information is not generally
14   known, and you may determine that information is generally known where it appeared
15   in a publication that would generally make people in the relevant industry aware of that
16   information.
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18   Model: CACI 4403
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 24B
 2         All parties are equal before the law and a The Plaintiffs and Defendant in this
 3   case are corporations. A corporation is entitled to the same fair and conscientious
 4   consideration by you as any party.
 5         Under the law, a corporation is considered to be a person. It can only act through
 6   its employees, agents, directors, or officers. Therefore, a corporation is responsible for
 7   the acts of its employees, agents, directors, and officers performed within the scope of
 8   authority.
 9         For Masimo and Cercacor to prove that Apple misappropriated an alleged trade
10   secret by use or by disclosure, they must prove that Apple knew or had reason to know
11   that it had improperly acquired the information described by the alleged trade secret
12   through an employee of Apple who violated a duty of confidentiality to Masimo or
13   Cercacor. Masimo and Cercacor can prove this if they prove that a different employee
14   of Apple learned facts within the scope of his or her job such that he or she knew or had
15   reason to know that Masimo and Cercacor’s former employee had breached his duty of
16   confidentiality.
17         Likewise, to the extent that an employee of Masimo or Cercacor, while acting
18   within the scope of his or her job, disclosed to the public elements of the information
19   that are now alleged to be trade secrets, those actions can be imputed to Masimo or
20   Cercacor.
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22   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
23   Circuit §§ 4.1, 4.2
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 26B
 2         The third element of Masimo and Cercacor’s claim with respect to an alleged trade
 3   secret is that Apple misappropriated through improper use or disclosure. I will now
 4   explain what these terms mean.
 5         Masimo and Cercacor can prove that Apple misappropriated Masimo and
 6   Cercacor’sby use a particular alleged trade secret by use ifif they prove that Apple both:
 7            1. used itUsed the alleged trade secret without Masimo or Cercacor’s
 8                consent; and
 9            2. At the time of its use, knew or had reason to know that (i) Apple’s
10                knowledge of the alleged trade secret came from or through Marcelo
11                Lamego or Michael O’Reilly, and that(ii) Dr. Lamego and Dr. O’Reilly
12                had a duty to Masimo and Cercacor to limit use of the alleged trade secret.
13         To prove “use,” it is not sufficient to show either that Apple had access to the
14   alleged trade secret while developing its own products or that Apple’s product design or
15   practices were influenced by non-trade secret information obtained from a former
16   employee of Masimo or Cercacor. Nor is it enough to speculate that a former employee
17   of Masimo or Cercacor would inevitably have used the alleged trade secret in his or her
18   work at Apple.
19         Masimo and Cercacor may still prove that Apple disclosed or used the alleged
20   trade secret if Apple knew it had acquired the alleged trade secret through improper
21   means and then Apple built upon or modified the alleged trade secret before disclosing
22   or actually using the resulting information in connection with manufacturing, producing,
23   researching and developing, or marketing Apple Watch, provided that the information
24   Apple actually used was substantially derived from the alleged trade secret.
25         To prove that Apple had the required state of mind, Masimo and Cercacor must
26   prove that before the alleged use, another person at Apple knew or had reason to know
27   that Apple had improperly obtained an alleged trade secret from Masimo or Cercacor
28   through either Dr. Lamego or Dr. O’Reilly.
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 2   Model: CACI 4407
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 28B
 2         Masimo and Cercacor can prove that Apple misappropriated Masimo and
 3   Cercacor’sa particular alleged trade secret by disclosure if they prove that Apple both:
 4            1. Disclosed the alleged trade secret without Masimo’s or Cercacor’s
 5                consent; and
 6            2. At the time of its disclosure, knew or had reason to know (i) that Apple’s
 7                knowledge of the alleged trade secret came from or through Marcelo
 8                Lamego or Michael O’Reilly, and (ii) that Dr. Lamego and Dr. O’Reilly
 9                had a duty to Masimo and Cercacor to keep the information secret.
10         To prove that Apple had the required state of mind, Masimo and Cercacor must
11   prove that before the alleged disclosure, another person at Apple knew or had reason to
12   know that Apple had improperly obtained an alleged trade secret from Masimo or
13   Cercacor through either Dr. Lamego or Dr. O’Reilly.
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15   Model: CACI 4406
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 29B
 2         Improper means of acquiring a trade secret or knowledge of a trade secret include,
 3   but are not limited to, breach or inducing a breach of a duty to maintain secrecy.
 4         However, it is not improper to acquire a trade secret or knowledge of thea trade
 5   secret by any of the following:
 6            1. Independent efforts to invent or discover the information;
 7            2. Reverse engineering; that is, examining or testing a product to determine
 8                how it works, by a person who has athe right to possess the product;
 9            3. Observing the information in public use or on public display;
10            4. Obtaining the information from published literature, such as trade
11                journals, reference books, the Internet, or other publicly available sources.
12         If Apple independently developed the information that Masimo and Cercacor
13   claim is covered by an alleged trade secret, then Apple did not employ improper means
14   to acquire that information. Masimo and Cercacor accordingly bear the burden to prove
15   that Apple did not independently develop the alleged trade secret.
16         Additionally, recruiting or hiring employees from another company, including
17   from a competitor, does not on its own constitute improper means.
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19   Model: CACI 4408
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 31B
 2                                 (Offered in the Alternative)
 3         A corporate officer owes what is known as a fiduciary duty to his or her
 4   corporation. A fiduciary duty imposes on athe corporate officer a duty to act with the
 5   utmost good faith in the best interests of his or her corporation. A fiduciary duty includes
 6   the obligation to maintain the secrecy of alleged trade secret information provided to the
 7   corporate officer by the corporation in the course of his or her employment.
 8         Masimo and Cercacor claims that it was harmed by Apple’s breach of the
 9   ﬁduciary duty of conﬁdentiality. To establish this claim, Masimo and Cercacor must
10   prove all of the following:can establish that an employee had a fiduciary duty to maintain
11   alleged trade secret information in confidence and breached that duty if they prove:
12         1.     That the employee was Masimo or Cercacor’s corporate officer;
13         2.     That the employee obtained the alleged trade secret in his or her capacity
14                as a corporate officer of Masimo or Cercacor;
15         32.    That the employee had information relating to Masimo and Cercacor that
16                he or she knew or should have known was conﬁdentialthat this information
17                was a trade secret;
18         43.    That the employee communicated Masimo or Cercacor’s alleged trade
19                secret to Apple conﬁdential information to third parties; and
20         54.    That Masimo or Cercacor did not give informed consent to the employee’s
21                conduct;.
22         5. That the conﬁdential information was not a matter of general knowledge;
23         6. That Masimo and Cercacor were harmed; and
24         7. That the employee’s conduct was a substantial factor in causing Masimo and
25                Cercacor’s harm.
26         Masimo and Cercacor can establish that an employee was a corporate officer if
27   they prove that he or she participated in management of the corporation, exercising
28   discretionary authority on behalf of the corporation. This determination depends on the
                                                -28-
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 1   substance of the employee’s management authority at the relevant time, if any, not on
 2   the employee’s title or the scope of his or her prior authority.
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 4   Models: CACI 4100; CACI 4103
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 33B
 2         If Masimo and Cercacor prove that they possessed an alleged trade secret and that
 3   Apple misappropriated it by use or disclosure, then Masimo and Cercacor must prove
 4   that Apple’s misappropriation was the cause of some provable harm. Specifically,
 5   Masimo and Cercacor must prove that Apple’s use or disclosure of a specific alleged
 6   trade secret was a substantial factor in causing them harm.
 7         A “substantial factor” in causing harm is a factor that a reasonable person would
 8   consider to have contributed to the harm. It must be more than a remote or trivial factor.
 9   It does not have to be the only cause of the harm.
10         Conduct is not a substantial factor in causing harm if the same harm would have
11   occurred without that conduct.
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13   Model: CACI 430
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 1
                       APPLE’S PROPOSED INSTRUCTION NO. 34B
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             Apple claims that Masimo and Cercacor’s lawsuit was not filed within the time
 3
     set by law.     To succeed on this defense, Apple must prove that the claimed
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     misappropriation of Masimo and Cercacor’sa trade secrets occurred before January 9,
 5
     2017.
 6
             However, the lawsuit was still filed on time if Masimo and Cercacor prove that
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     before January 9, 2017, they did not discover, nor with reasonable diligence should they
 8
     have discovered, facts that would have caused a reasonable person to suspect that Apple
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     had misappropriated at least one of Masimo and Cercacor’s alleged trade secrets.
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     Model: CACI 4421
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 35B
 2         Apple has raised as an affirmativea defense the allegation that Masimo and
 3   Cercacor has come into court with unclean hands and so should be barred from
 4   recovering damages on their claims. The doctrine of unclean hands is invoked when a
 5   litigant seeking damages has violated a duty of good faith or has acted unconscionably
 6   in connection with the same subject matter or relationship out of which the litigant
 7   claims a right to damages. If you find such a violation of good faith or conscience, then
 8   you should find that the plaintiff or plaintiffs whothat are guilty of unclean hands are not
 9   entitled to recover damages in this action.
10         Conduct that defrauds and conduct that demonstrates an intent to defraud even if
11   the intent could not be accomplished are sufficient to bar a litigant from recovering
12   damages from the person defrauded or intended to be defrauded. A person who has
13   committed an intentional, dishonest act in connection with that person’s relationship to
14   another is barred by the doctrine of unclean hands from recovering damages from the
15   other person.
16         The only conduct on which you may make a finding of unclean hands is that
17   conduct directly related to the subject matter or relationship at issue in this litigation.
18   Unclean hands does not mean that someone is a bad person in general or in some other
19   respect; you may find unclean hands only if you find a direct connection between the
20   alleged unclean hands conduct and the facts of this case.
21         In this case, Apple alleges that Masimo and Cercacor have unclean hands because
22   they required certain employees, including Dr. O’Reilly and Dr. Lamego, to sign
23   employment agreements that include confidentiality, noncompete, and nonsolicitation
24   provisions. I have determined that these provisions were void and unenforceable under
25   California law from their inception.
26   Model: 2 Cal. Affirmative Def. § 45:18 (2d ed.)
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 36
 2         Apple did not misappropriate Masimo and Cercacor’san alleged trade secret if
 3   Apple proves that the alleged trade secret was readily ascertainable by proper means at
 4   the time of the alleged acquisition, use, or disclosure.
 5         There is no fixed standard for determining what is “readily ascertainable by proper
 6   means.” In general, information is readily ascertainable if it can be obtained, discovered,
 7   developed, or compiled without significant difficulty, effort, or expense. For example,
 8   information is readily ascertainable if it is available in trade journals, reference books,
 9   or published materials. On the other hand, the more difficult information is to obtain,
10   and the more time and resources that must be expended in gathering it, the less likely it
11   is that the information is readily ascertainable by proper means.
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13   Model: CACI 4420
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 37B
 2         If Masimo and Cercacor prove that Apple misappropriated theirall five essential
 3   elements of their misappropriation claim with respect to one or more alleged trade
 4   secrets and Apple does not prove any of its defenses, then Masimo and Cercacor are
 5   entitled to recover damages if the misappropriation caused Masimo and Cercacor to
 6   suffer an actual loss of profits and/or if the misappropriation caused Apple to be unjustly
 7   enriched. However, in determining damages, you may only consider those alleged trade
 8   secrets where you have unanimously found Apple liable, i.e., where you have decided
 9   that Masimo and Cercacor proved all essential elements and Apple did not prove any of
10   its defenses.
11         It is the duty of the Court to instruct you about the measure of damages. By
12   instructing you on damages, the Court does not mean to suggest for which party your
13   verdict should be rendered. If you find for Masimo and Cercacor you must determine
14   the plaintiffs’ damages. Masimo and Cercacor have the burden of proving the measure
15   of damages by a preponderance of the evidence. Damages means the amount of money
16   that will reasonably and fairly compensate the plaintiff for any injury you find was
17   caused by the defendant. You should consider the following: []It is for you to determine
18   what damages, if any, have been proved. Your award must be based upon evidence and
19   not upon speculation, guesswork, or conjecture.
20         Your award of damages, whether measured by the loss of profits to Masimo and
21   Cercacor or the unjust enrichment of Apple, must be limited solely to the time that the
22   relevant alleged trade secrets would have remained unavailable to Apple in the absence
23   of misappropriation. Damages therefore cannot be awarded in connection with losses
24   to Masimo and Cercacor or unjust enrichment of Apple that occurred after Apple could
25   have discovered or obtained the relevant information by proper means.
26         If Apple’s misappropriation did not cause Masimo and Cercacor to suffer an
27   actual loss of profits or Apple to be unjustly enriched, then Masimo and Cercacor may
28   still be entitled to a reasonable royalty for no longer than the period of time the use could
                                                 -34-
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 1   have been prohibited. However, I will calculate the amount of any royalty after you
 2   deliver your verdict.
 3         In deciding the amount of Masimo and Cercacor’s lost profits or Apple’s unjust
 4   enrichment, if any, you may not consider the outcomes of Plaintiffs’ remaining claims
 5   for correction of inventorship and declaration of ownership of certain disputed Apple
 6   patents. The issues of lost profits and unjust enrichment are only relevant to Masimo
 7   and Cercacor’s claim for misappropriation of trade secrets. The inventorship and
 8   ownership claims are legally distinct, and it is the Court’s duty to determine the
 9   appropriate remedy in connection with the inventorship and ownership claims, based on
10   the facts you determine through your deliberations.
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     Models: CACI 4409; Manual of Model Civil Jury Instructions for the District Courts
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     of the Ninth Circuit § 5.1
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 39B
 2         Masimo and Cercacor can prove that Apple was unjustly enriched if itsthey prove
 3   that Apple is liable for misappropriation of Masimo and Cercacor’san alleged trade
 4   secret and that the misappropriation caused Apple to receive a benefit that it otherwise
 5   would not have achieved.
 6         Unjust enrichment occurs when a defendant reaps an undeserved benefit such as
 7   accelerating its own development timeline and/or saving on development costs by taking
 8   improper advantage of someone else’s trade secrets. Unjust enrichment does not occur,
 9   however, where the benefit would have been realized anyway.
10         I will now instruct you on how to decide the amount of any unjust enrichment you
11   find. By giving you this instruction, I am not suggesting you should find one way or the
12   other regarding whether Masimo and Cercacor has proven any unjust enrichment. To
13   decide the amount of any unjust enrichment, you should first determine the value of
14   Apple’s benefit that would not have been achieved except for its alleged
15   misappropriation. Then, and then subtract from that amount Apple’s reasonable
16   expenses, including the value of the labor, materials, and interest on invested capital.
17         In calculating the amount of any unjust enrichment, do not take into account any
18   amount that you included in determining any amount of damages for Masimo and
19   Cercacor’s actual losslost profits.
20         In calculating any unjust enrichment, you may only consider those alleged trade
21   secrets for which Masimo and Cercacor proved all five essential elements and for which
22   Apple did not prove any of its defenses.
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24   Model: CACI 4410
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 40B
 2          If you decide that Apple’s misappropriation caused Masimo and Cercacor
 3   harmproved all five essential elements of their misappropriation claim with respect to
 4   an alleged trade secret, you must decide whether that conduct justifies an award of
 5   punitive damages. The purposes of punitive damages are to punish a wrongdoer for the
 6   harmful conduct that harmed Masimo and Cercacor and to discourage similar conduct
 7   in the future.
 8          In order to recover punitive damages, Masimo and Cercacor must prove by clear
 9   and convincing evidence that Apple acted willfully and maliciously.          You must
10   determine whether Apple acted willfully and maliciously, but you will not be asked to
11   determine the amount of any punitive damages. I will calculate the amount later.
12          “Willfully” means that Apple acted with a purpose or willingness to commit the
13   act or engage in the conduct in question, and the conduct was not reasonable under the
14   circumstances at the time and was not undertaken in good faith.
15          “Maliciously” means that Apple acted with an intent to cause injury, or that
16   Apple’s conduct was despicable and was done with a willful and knowing disregard for
17   the rights of others. “Despicable conduct” is conduct so vile, base, or wretched that it
18   would be looked down on and despised by ordinary decent people. You would have to
19   find that Apple acted with knowing disregard if it was aware of the probable
20   consequences of its conduct and deliberately failed to avoid those consequences.
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22   Model: CACI 4411
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 1                      APPLE’S PROPOSED INSTRUCTION NO. 41B
 2          This case involves a dispute relating to a United States patent. Before
 3   summarizing the positions of the parties and the issues involved in the dispute, let me
 4   take a moment to explain what a patent is and how one is obtained.
 5          At the beginning of the trial, I gave you a brief overview of the patent law relevant
 6   to this case. I will now give you more detailed instructions about the patent law that
 7   specifically relate to this case.
 8          Patents are granted by the United States Patent and Trademark Office (sometimes
 9   called “the PTO”). A valid United States patent gives the patent holder the right [for up
10   to 20 years from the date the patent application was filed] [for 17 years from the date the
11   patent issued]a certain period of time to prevent others from making, using, offering to
12   sell, or selling the patented invention within the United States, or from importing it into
13   the United States, without the patent holder’s permission. A violation of the patent
14   holder’s rights is called infringement. The patent holder may try to enforce a patent
15   against persons believed to be infringers by a lawsuit filed in federal court. In return for
16   these exclusive rights, the patent law imposes upon the inventor a requirement of
17   disclosure, so the PTO publishes patents, including a full and clear description of the
18   invention and of the manner and process of making and using it. Therefore, information
19   disclosed in a patent is no longer entitled to trade secret protection, because such
20   information is in the public domain.
21          The process of obtaining a patent is called patent prosecution. To obtain a patent,
22   one must first file an application with the PTO. The PTO is an agency of the federal
23   government and employs trained Examiners who review applications for patents. The
24   application includes what is called a “specification,” which contains a written
25   description of the claimed invention telling what the invention is, how it works, how to
26   make it, and how to use it. The specification concludes with one or more numbered
27   sentences. These are the patent “claims.” If a patent is eventually granted by the PTO,
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 1   the claims define the boundaries of its protection and give notice to the public of those
 2   boundaries. Claims are usually divided into components or steps, called “limitations.”
 3         After the applicant files the application, an Examiner reviews the application to
 4   determine whether or not the claims are patentable (appropriate for patent protection)
 5   and whether or not the specification adequately describes the invention claimed. In
 6   examining a patent application, the Examiner reviews certain information about the
 7   state of the technology at the time the application was filed. The PTO searches for and
 8   reviews information that is publicly available or that is submitted by the applicant.
 9   This information is called “prior art.” The Examiner reviews this prior art to determine
10   whether or not the invention is truly an advance over the state of the art at the time.
11   Prior art is defined by law, and I will give you, at a later time during these instructions,
12   specific instructions as to what constitutes prior art. However, in general, prior art
13   includes information that demonstrates the state of technology that existed before the
14   claimed invention was made or before the application was filed. A patent lists the prior
15   art that the Examiner considered; this list is called the “cited references.”
16         After the prior art search and examination of the application, the Examiner
17   informs the applicant in writing of what the Examiner has found and whether the
18   Examiner considers any claim to be patentable and, thus, would be “allowed.” This
19   writing from the Examiner is called an “Office Action.” If the Examiner rejects the
20   claims, the applicant has an opportunity to respond to the Examiner to try to persuade
21   the Examiner to allow the claims, and to change the claims or to submit new claims.
22   This process may go back and forth for some time until the Examiner is satisfied that
23   the application meets the requirements for a patent and the application issues as a
24   patent, or that the application should be rejected and no patent should issue.
25   Sometimes, patents 3 are issued after appeals within the PTO or to a court. The papers
26   generated during these communications between the Examiner and the applicant are
27   called the “prosecution history.”
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 1         The fact that the PTO grants a patent does not necessarily mean that any
 2   invention claimed in the patent, in fact, deserves the protection of a patent. For
 3   example, the PTO may not have had available to it all other prior art that will be
 4   presented to you. In addition, there is the possibility that mistakes were made or that
 5   information was overlooked. Examiners have a lot of work to do and no process is
 6   perfect. Also, unlike a court proceeding, patent prosecution takes place without input
 7   from those who are later alleged to infringe the patent. A person accused of
 8   infringement has the right to argue here in federal court that a claimed invention in the
 9   patent is invalid because it does not meet the requirements for a patent. It is your job to
10   consider the evidence presented by the parties and determine independently whether or
11   not [alleged infringer] has proven that the patent is invalid.
12         For example, a claim that covers the invention of a table may recite the tabletop,
13   four legs, and the glue that secures the legs to the tabletop. The tabletop, legs, and glue
14   are each a separate limitation of the claim.
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16   Model: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § A.1 (2020)
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 1                     APPLE’S PROPOSED INSTRUCTION NO. 42B
 2         In this case, Masimo and Cercacor contends that the patent is invalid because of
 3   improper inventorship. A patent is invalid if it fails to meet the requirement that all of
 4   the actual inventors, and only the actual inventors, be named as inventors in the patent.
 5   This is known as the “inventorship” requirement.contend that certain of their employees
 6   should be listed as joint inventors on five of Apple’s patents. The verdict form specifies
 7   for each claim the employees and patents associated with each of Plaintiffs’ five claims
 8   for correction of inventorship.
 9         To succeed on a correction of inventorship claim, Masimo and Cercacor bear the
10   burden of proving both of the following:
11              1. To be an inventor, one must make a significant contributionthe listed
12                 employee of Masimo and/or Cercacor contributed to the conception of at
13                 least one of the claims of the patent; and
14              2. . Whether the contribution iswas significant in quality isas measured
15                 against the scope of the full invention.
16         Masimo and Cercacor must prove these elements by clear and convincing
17   evidence. An alleged co-inventor’s testimony regarding the facts surrounding his or her
18   alleged contribution cannot, standing alone, rise to the level of clear and convincing
19   proof. Additional evidence to corroborate that testimony is required, though that
20   evidence may take many forms, including contemporaneous documents, testimony from
21   another witness, or circumstantial evidence about the inventive process.
22         If someone only explains to the actual inventors well-known concepts or the
23   current state of the art,      he or she is not an inventor. Merely helping with
24   experimentation, by carrying out the inventor’s instructions, also does not make
25   someone an inventor. What is required is some significant contribution to the idea
26   claimed.
27         Persons may be inventors even if they do not make the same type or amount of
28   contribution, and even if they do not contribute to the subject matter of each claim of the
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 1   patent. Persons may be joint or co-inventors even though they do not physically work
 2   together, but they must have some open line of communication during or at
 3   approximately at the time of their inventive effort. Therefore, if Apple independently
 4   developed the inventions and technologies disclosed and claimed by a patent without
 5   any communication with or contribution from the Masimo and/or Cercacor employees
 6   alleged to be joint inventors, then Plaintiffs’ employees were not joint inventors.
 7         In deciding whether an alleged co-inventor’s contribution was significant in
 8   quality, you must measure that contribution against the dimension of the full invention.
 9   For instance, if someone only explains to the actual inventors well-known concepts or
10   the current state of the art, then he or she is not a joint inventor. Similarly, if someone’s
11   contribution is too far removed from the real-world realization of the invention, such as
12   by merely suggesting an idea of a result to be accomplished by the invention, then he or
13   she is not an inventor. Nor is someone an inventor if he or she focused solely on real-
14   world realization of the invention, such as if the assistance was provided after the claim
15   invention was conceived. Merely helping with experimentation, by carrying out the
16   inventor’s instructions, also does not make someone an inventor. What is required is
17   some significant contribution to the idea claimed.
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20   Model: Model Patent Jury Instructions, Fed. Cir. Bar Assoc. § 4.3d (2020)
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 1                    APPLE’S PROPOSED INSTRUCTION NO. 47B
 2         A verdict form has been prepared for you. The verdict form sets forth the elements
 3   of each claim and is designed to assist you in your deliberations. You should follow the
 4   instructions in the verdict form as you move through your deliberations. After you have
 5   reached unanimous agreement on a verdict, your foreperson should complete the verdict
 6   form according to your deliberations, sign and date it, and advise the clerk that you are
 7   ready to return to the courtroom.
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10   Model: Manual of Model Civil Jury Instructions for the District Courts of the Ninth
11   Circuit § 3.5
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